                 Case 2:20-bk-15015-BR         Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23            Desc
                                               Main Document    Page 1 of 365


                     1   KASOWITZ BENSON TORRES LLP
                     2   Attorneys for Cairn Capital
                         Investment Funds ICAV
                     3   for its sub fund Cairn Capstone
                         Special Opportunities Fund
                     4

                     5

                     6

                     7
                                                 UNITED STATES BANKRUPTCY COURT
                     8

                     9                            CENTRAL DISTRICT OF CALIFORNIA

                    10                                     LOS ANGELES DIVISION

                    11

                    12   In re:                                            Bankruptcy Case No.: 2:20-bk-15015-BR

                    13   TEMERITY TRUST MANAGEMENT, LLC,                   Chapter 11

                    14                         Debtor.                     NOTICE OF MOTION AND MOTION
                                                                           FOR (I) ORDER APPOINTING
                    15                                                     TRUSTEE PURSUANT TO 11 U.S.C. §
                                                                           1104(A), OR, ALTERNATIVELY, (II)
                    16                                                     ORDER GRANTING RELIEF FROM
                                                                           AUTOMATIC STAY PURSUANT TO 11
                    17                                                     U.S.C. § 362(D); MEMORANDUM OF
                                                                           POINTS AND AUTHORITIES;
                    18                                                     DECLARATIONS OF BRANDON
                                                                           KUFRIN AND ANDREW K. GLENN IN
                    19                                                     SUPPORT THEREOF

                    20                                                     Hearing Date: July 21, 2020

                    21                                                     Time: 10:00 a.m.

                    22                                                     Courtroom: 1668

                    23

                    24
                         TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE,
                    25   DEBTOR AND ITS COUNSEL, THE UNITED STATES TRUSTEE, AND OTHER
                         INTERESTED PARTIES:
                    26

                    27            PLEASE TAKE NOTICE THAT on July 21, 2020 at 10:00 a.m., Cairn Capital

                    28   Investment Funds ICAV, for its sub fund Cairn Capstone Special Opportunities Fund (“Cairn”),
KASOWITZ BENSON
  TORRES LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23              Desc
                                                   Main Document    Page 2 of 365


                     1   will move the Court for (i) order appointing a trustee pursuant to 11 U.S.C. § 1104(a), or,
                     2   alternatively, (ii) order granting relief from the automatic stay pursuant to 11 U.S.C. § 362(d) (the
                     3   “Motion”).
                     4          PLEASE TAKE FURTHER NOTICE that the Motion is based on this Notice of
                     5   Motion, the accompanying Memorandum of Points and Authorities, the concurrently filed
                     6   Declarations of Andrew K. Glenn and Brandon Kufrin, supporting statements, arguments and
                     7   representations of counsel who will appear at the hearing on the Motion, the record in this case,
                     8   and any other evidence properly brought before the Court in all other matters of which this Court
                     9   may properly take judicial notice.
                    10          PLEASE TAKE FURTHER NOTICE that pursuant to Rule 9013-1(f) of the Local
                    11   Bankruptcy Rules of the United States Bankruptcy Court for the Central District of California
                    12   (the “Local Bankruptcy Rules”), a party opposing or responding to the Motion must file and serve
                    13   the response (the “Response”) on Cairn and the United States Trustee not later than fourteen (14)
                    14   days before the date designated for hearing. The Response must be a complete written statement
                    15   of all reasons in opposition to the Motion or in support thereof, declarations and copies of all
                    16   evidence on which the responding party intends to rely, and any responding memorandum of
                    17   points and authorities.
                    18          PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-
                    19   1(h), failure to file and serve a timely objection to the Motion may be deemed by the Court to be
                    20   consent to the relief requested herein.
                    21

                    22                                [Remainder of page intentionally left blank]
                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             -2-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23        Desc
                                                Main Document    Page 3 of 365


                     1   Dated: June 19, 2020
                     2
                                                                 KASOWITZ BENSON TORRES LLP
                     3

                     4
                                                                   /s/ Andrew R.J. Muir
                     5                                             Andrew R.J. Muir
                                                                   101 California Street, Suite 3000
                     6                                             San Francisco, California 94111
                                                                   Telephone: (415) 421-6140
                     7                                             Facsimile: (415) 398-5030
                                                                   Email: amuir@kasowitz.com
                     8

                     9                                             Andrew K. Glenn (pro hac vice application
                                                                   pending)
                    10                                             Shai Schmidt (pro hac vice application pending)
                                                                   1633 Broadway
                    11                                             New York, New York 10019
                                                                   Telephone: (212) 506-1700
                    12                                             Facsimile: (212) 506-1800
                    13                                             Email:      aglenn@kasowitz.com
                                                                               sschmidt@kasowitz.com
                    14

                    15                                           Attorneys for Cairn Capital Investment Funds ICAV,
                                                                 for its sub fund Cairn Capstone Special
                    16
                                                                 Opportunities Fund
                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                       -3-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR                    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                              Desc
                                                          Main Document    Page 4 of 365


                     1                                                       TABLE OF CONTENTS
                     2                                                                                                                                             Page
                     3   MEMORANDUM OF POINTS AND AUTHORITIES ................................................................ 1
                     4   PRELIMINARY STATEMENT..................................................................................................... 1
                     5   BACKGROUND ............................................................................................................................ 2
                     6   I.        THE PARTIES .................................................................................................................... 2
                     7   II.       SADLEIR’S PREPETITION FRAUDULENT SCHEMES ............................................... 3
                     8             A.         Sadleir’s Fraud on BlackRock ................................................................................ 4
                     9             B.         Sadleir’s Fraud on the Paycheck Protection Program ............................................. 6
                    10   III.      CAIRN’S CLAIMS AGAINST THE DEBTOR AND LIEN ON THE
                                   PROPERTY ........................................................................................................................ 7
                    11
                                   A.         The Credit Agreement and Promissory Note .......................................................... 7
                    12
                                   B.         The Guaranty........................................................................................................... 7
                    13
                                   C.         The Borrower Breaches the Credit Agreement ....................................................... 8
                    14
                                   D.         The Debtor Defaults on the Guaranty and Cairn Commences a
                    15                        Foreclosure Action ................................................................................................ 10
                    16   RELIEF REQUESTED ................................................................................................................. 11
                    17   JURISDICTION............................................................................................................................ 11
                    18   ARGUMENT ................................................................................................................................ 11
                    19   I.        THE COURT SHOULD APPOINT A TRUSTEE PURSUANT TO SECTION
                                   1104(A) OF THE BANKRUPTCY CODE ...................................................................... 11
                    20
                                   A.         Cause Exists to Appoint a Trustee Under Section 1104(a)(1) .............................. 14
                    21
                                   B.         Appointment of a Trustee Is in the Best Interests of Creditors and the
                    22                        Bankruptcy Estate Under Section 1104(a)(2) ....................................................... 17
                    23   II.       ALTERNATIVELY, THE COURT SHOULD LIFT THE AUTOMATIC
                                   STAY TO ALLOW CAIRN TO COMPLETE THE FORECLOSURE .......................... 18
                    24
                                   A.         The Court Should Lift the Automatic Stay for “Cause” Under Section
                    25                        362(d)(1) ............................................................................................................... 18
                    26             B.         Relief from Stay Is Also Justified Under § 362(d)(2) ........................................... 21
                    27   CONCLUSION ............................................................................................................................. 23
                    28
KASOWITZ BENSON
  TORRES LLP                                                                                  -i-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                        Desc
                                                         Main Document    Page 5 of 365


                     1                                                  TABLE OF AUTHORITIES
                     2                                                                                                                                  Page(s)
                     3   Cases
                     4   In re Am. Res., Ltd.,
                             54 B.R. 245 (Bankr. D. Haw. 1985)........................................................................................ 14
                     5
                         In re Avila,
                     6       311 B.R. 81 (Bankr. N.D. Cal. 2004)...................................................................................... 19
                     7   Baldino v. Wilson (In re Wilson),
                            116 F.3d 87 (3d Cir. 1997) ...................................................................................................... 19
                     8
                         In re Bibo, Inc.,
                     9       76 F.3d 256 (9th Cir. 1996)..................................................................................................... 13
                    10   In re Big3D, Inc.,
                             Case No. 08-16768, 2009 WL 9085556 (Bankr. E.D. Cal. Aug. 28, 2009),
                    11       aff’d, 438 B.R. 214 (B.A.P. 9th Cir. 2010) ............................................................................. 19
                    12   In re BLX Grp., Inc.,
                             419 B.R. 457 (Bankr. D. Mont. 2009) .................................................................................... 18
                    13
                         In re Briarwood Capital, LLC,
                    14       Case No. 10-02677, 2010 WL 2884949 (Bankr. S.D. Cal. July 19, 2010) ....................... 14, 18
                    15   In re Brotman Med. Ctr., Inc.,
                             2008 WL 8444797 (B.A.P. 9th Cir. Aug. 15, 2008) ............................................................... 19
                    16
                         In re Chevy Devco,
                    17       78 B.R. 585 (Bankr. C.D. Cal. 1987) ...................................................................................... 20
                    18   In re Clinton Centrifuge, Inc.,
                             85 B.R. 980 (Bankr. E.D. Pa. 1988)........................................................................................ 17
                    19
                         In re Colo.-Ute Elec. Ass’n, Inc.,
                    20       120 B.R. 164 (Bankr. D. Colo. 1990) ..................................................................................... 13
                    21   Commodity Futures Trading Comm’n v. Weintraub,
                           471 U.S. 343 (1985) ................................................................................................................ 12
                    22
                         In re Conejo Enters., Inc.,
                    23       96 F.3d 346 (9th Cir. 1996)..................................................................................................... 19
                    24   In re Davis,
                             Case No. 09-10198, 2010 WL 2640587 (Bankr. E.D.N.C. June 29, 2010) ............................ 13
                    25
                         In re DB Capital Holdings, LLC,
                    26       454 B.R. 804 (Bankr. D. Colo. 2011) ..................................................................................... 20
                    27   Delaney-Morin v. Day (In re Delaney-Morin),
                            304 B.R. 365 (B.A.P. 9th Cir. 2003) ....................................................................................... 19
                    28
KASOWITZ BENSON
  TORRES LLP                                                                               - ii -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR                  Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                        Main Document    Page 6 of 365


                     1   In re Duvar Apt., Inc.,
                             205 B.R. 196 (B.A.P. 9th Cir. 1996) ................................................................................. 20, 21
                     2
                         In re Edwards,
                     3       454 B.R. 100 (B.A.P. 9th Cir. 2011) ....................................................................................... 19
                     4   In re Eurospark Indus., Inc.,
                             424 B.R. 621 (Bankr. E.D.N.Y. 2010) .................................................................................... 16
                     5
                         In re Gundrum,
                     6       509 B.R. 155 (Bankr. S.D. Ohio 2014) ................................................................................... 20
                     7   In re H.T. Pueblo Props., LLC,
                             Case No. 11-24718, 2011 WL 6962754 (Bankr. D. Colo. Dec. 30, 2011) ............................. 20
                     8
                         In re Helionetics,
                     9       70 B.R. 433 (Bankr. C.D. Cal. 1987) ...................................................................................... 22
                    10   In re Intercat, Inc.,
                             247 B.R. 911 (Bankr. S.D. Ga. 2000) ......................................................................... 12, 15, 17
                    11
                         In re Keystone Camera Prods. Corp.,
                    12       126 B.R. 177 (Bankr. D.N.J. 1991)......................................................................................... 21
                    13   In re Klein/Ray Broad.,
                             100 B.R. 509 (B.A.P. 9th Cir. 1987) ....................................................................................... 12
                    14
                         La Jolla Mortg. Fund v. Rancho El Cajon Assocs.,
                    15      18 B.R. 283 (Bankr. S.D. Cal. 1982) ...................................................................................... 21
                    16   In re Madison Mgmt.,
                             137 B.R. 275 (Bankr. N.D. Ill. 1992) ................................................................................ 13, 14
                    17
                         In re Marvel Entm’t Grp., Inc.,
                    18       140 F.3d 463 (3d Cir. 1998) .............................................................................................. 12, 13
                    19   Meadowbrook Inv’rs’ Grp. v. Thirtieth Place, Inc. (In re Thirtieth Place, Inc.),
                           30 B.R. 503 (B.A.P. 9th Cir. 1983) ......................................................................................... 21
                    20
                         In re Nautilus of N.M., Inc.,
                    21       83 B.R. 784 (Bankr. D.N.M. 1988)......................................................................................... 12
                    22   In re Okla. Ref. Co.,
                             838 F.2d 1133 (10th Cir. 1988)............................................................................. 13, 14, 15, 17
                    23
                         In re Sharon Steel Corp.,
                    24       871 F.2d 1217 (3d Cir. 1989) .................................................................................................. 13
                    25   Stewart v. Gurley,
                            745 F.2d 1194 (9th Cir. 1984)................................................................................................. 21
                    26
                         Sun Valley Newspapers, Inc. v. Sun World Corp. (In re Sun Valley Newspapers,
                    27      Inc.),
                            171 B.R. 71 (B.A.P. 9th Cir. 1994) ......................................................................................... 22
                    28
KASOWITZ BENSON
  TORRES LLP                                                                             - iii -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR                     Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                            Desc
                                                           Main Document    Page 7 of 365


                     1   In re SunCruz Casinos, LLC,
                             298 B.R. 821 (Bankr. S.D. Fla. 2003) ............................................................................... 13, 17
                     2
                         In re Swedeland Dev. Grp., Inc.,
                     3       16 F.3d 552 (3d Cir. 1994) ...................................................................................................... 22
                     4   In re Tel-Net Haw., Inc.,
                             105 B.R. 594 (Bankr. D. Haw. 1989)................................................................................ 16, 17
                     5
                         Tradex Corp. v. Morse,
                     6      339 B.R. 823 (D. Mass. 2006) ................................................................................................ 15
                     7   United Sav. Ass’n of Tex. v. Timbers of Inwood Forrest Assocs., Ltd.,
                            484 U.S. 365 (1988) ................................................................................................................ 22
                     8
                         In re V. Savino Oil & Heating Co.,
                     9       99 B.R. 518 (Bankr. E.D.N.Y. 1989) ...................................................................................... 12
                    10   Statutes
                    11   11 U.S.C. § 362(d) ................................................................................................................. passim
                    12   11 U.S.C. § 362(g) .................................................................................................................. 19, 22
                    13   11 U.S.C. § 1104(a) ............................................................................................................... passim
                    14   28 U.S.C. § 157 ............................................................................................................................. 11
                    15   28 U.S.C. § 1334 ........................................................................................................................... 11
                    16   28 U.S.C. § 1408 ........................................................................................................................... 11
                    17   28 U.S.C. § 1409 ........................................................................................................................... 11
                    18   Other Authorities
                    19   https://www.justice.gov/usao-cdca/pr/hollywood-executive-arrested-federal-fraud-
                             charges-allege-he-pocketed-money-covid-19 ........................................................................... 7
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                                                  - iv -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                            Desc
                                                    Main Document    Page 8 of 365


                     1                           MEMORANDUM OF POINTS AND AUTHORITIES
                     2            Cairn Capital Investment Funds ICAV, for its sub fund Cairn Capstone Special
                     3   Opportunities Fund (“Cairn”), a secured creditor of the Debtor,1 hereby respectfully submits its
                     4   Memorandum of Points and Authorities in support of its Motion for (I) Order Appointing Trustee
                     5   Pursuant to 11 U.S.C. § 1104(a), or, Alternatively, (II) Order Granting Relief From Automatic
                     6   Stay Pursuant to 11 U.S.C. § 362(d) (the “Motion”).2
                     7                                        PRELIMINARY STATEMENT3
                     8            This is a paradigmatic case for the appointment of a Chapter 11 trustee to protect
                     9   stakeholders and the integrity of the bankruptcy process. The Debtor’s manager, William Sadleir,
                    10   caused the Debtor to commence this case with the intent of hindering Cairn from exercising its
                    11   right as a secured lender to foreclose on its collateral – the house in which Mr. Sadleir and his
                    12   spouse (the Debtor’s owner) live rent-free – following the maturity of loans owed to Cairn and
                    13   continuing events of default. Mr. Sadleir – who has been purportedly designated as the Debtor’s
                    14   sole authorized agent – has complete control over the Debtor. For the reasons set forth herein, he
                    15   should be removed from management.
                    16            In recent months, criminal and civil complaints filed in New York and this District by the
                    17   U.S. Attorney, the Federal Bureau of Investigation and the Securities and Exchange Commission
                    18   have revealed egregious acts of fraud by Mr. Sadleir. These authorities concluded that Mr.
                    19   Sadleir had repeatedly committed fraud on one of his affiliated companies’ investors, including
                    20   by forging that investor’s signature to release a lien, and creating fake identities and sham
                    21   companies to make false representations to the investor concerning the use of its funds. Perhaps
                    22   even more troubling, Mr. Sadleir was not deterred when the defrauded investor filed a lawsuit
                    23
                         1
                    24            All references in this Motion to Cairn shall be deemed to include, as the context may require, its investment
                         manager, Cairn Capital Limited.
                         2
                    25            The Declaration of Brandon Kufrin in Support of Cairn’s Motion for (I) Order Appointing Trustee Pursuant
                         to 11 U.S.C. § 1104(a), or, Alternatively, (II) Order Granting Relief From Automatic Stay Pursuant to 11 U.S.C. §
                    26   362(d) (the “Kufrin Declaration” or “Kufrin Decl.”) and the Declaration of Andrew K. Glenn in Support of Cairn’s
                         Motion for (I) Order Appointing Trustee Pursuant to 11 U.S.C. § 1104(a), or, Alternatively, (II) Order Granting
                    27   Relief From Automatic Stay Pursuant to 11 U.S.C. § 362(d) (the “Glenn Declaration” or “Glenn Decl.”) are being
                         filed concurrently herewith.
                         3
                    28            Capitalized terms used but not defined in this Preliminary Statement shall have the meanings ascribed to
                         them below.
KASOWITZ BENSON
  TORRES LLP                                                                     -1-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                                Main Document    Page 9 of 365


                     1   against him and obtained a court order ousting him as the manager of the companies involved.
                     2   Instead, as recently revealed in an additional criminal complaint filed against Mr. Sadleir, he
                     3   allegedly committed fraud on the federal government and JPMorgan Chase by filing a false
                     4   application for a $1.7 million loan under the Paycheck Protection Program on the false pretense
                     5   that such PPP loan proceeds were to support business activities at one or more of his affiliated
                     6   companies, and then siphoned the proceeds to pay for personal expenses. Mr. Sadleir was
                     7   indicted and arrested on these charges.
                     8          Section 1104(a) of the Bankruptcy Code mandates the appointment of a trustee for “cause,
                     9   including fraud [and] dishonesty . . . either before or after the commencement of the case[.]”
                    10   Here, because three independent official inquiries have found that the Debtor’s current manager
                    11   has repeatedly committed fraud against various parties, the conclusion is clear. Mr. Sadleir
                    12   cannot be trusted to serve as a fiduciary for the Debtor’s estate and a trustee should be appointed.
                    13   Moreover, Mr. Sadleir and his spouse are inherently and irreconcilably conflicted. Mr. Sadleir
                    14   caused the commencement of this case to avert a foreclosure of Cairn’s mortgage on his and his
                    15   spouse’s personal residence, which is owned by the Debtor, but for which they apparently pay no
                    16   rent. Neither Mr. Sadleir nor his spouse can be charged with acting as a fiduciary with respect to
                    17   the disposition of this asset. Nor can they be expected to investigate and pursue claims that the
                    18   Debtor may have against them in connection with their personal use of the asset rent-free.
                    19          Alternatively, if the Court does not appoint a trustee, cause exists to grant Cairn relief
                    20   from the stay under Section 362(d) of the Bankruptcy Code and allow it to complete the
                    21   foreclosure on the property securing the mortgage granted to Cairn. The Debtor has no
                    22   operations and no money with which to prosecute the Chapter 11 Case, it has no need for this
                    23   mortgaged property to consummate a reorganization, and it has no equity in the mortgaged
                    24   property. As such, the Debtor cannot adequately protect Cairn’s interests as the Bankruptcy Code
                    25   requires. Therefore, and as further explained below, relief from the stay is warranted.
                    26                                             BACKGROUND
                    27   I.     THE PARTIES
                    28          1.      The debtor in this chapter 11 case (the “Chapter 11 Case”), Temerity Trust
KASOWITZ BENSON
  TORRES LLP                                                             -2-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                Desc
                                                 Main Document    Page 10 of 365


                     1   Management, LLC (the “Debtor”), is an entity exclusively managed and controlled by William
                     2   Sadleir (“Sadleir”) pursuant to the Consent and Agreement of the Sole Member of Temerity Trust
                     3   Management, LLC to Commence Chapter 11 Bankruptcy Proceeding. See Docket No. 17 at 31
                     4   (“Sadleir . . . is empowered and directed, without further action, to direct the Bankruptcy Case and
                     5   is designated and authorized to act as a ‘Responsible Individual’ or ‘Authorized Agent’ for the
                     6   Company[.]”). The Debtor was formed in 2015 and is currently owned by Sadleir’s wife, Hanan
                     7   Kadadu (“Kadadu”), who is the sole member of the Debtor. See id. at 25; Glenn Decl., Exhibit D
                     8   at 4.
                     9           2.     The Debtor is not operating any business and has no funds. See Statement of
                    10   Financial Affairs [Docket No. 17 at 18] (listing gross revenue from business as “none”); Schedule
                    11   A/B: Assets – Real and Personal Property [Docket No. 17 at 9] (cash, cash equivalents and
                    12   financial assets valued at $0). The Debtor has no accounts receivable, inventory of any kind,
                    13   equipment, intangible assets or intellectual property. See id.
                    14           3.     Sadleir was the chairman and chief executive officer of the Debtor’s indirect
                    15   subsidiary Aviron Pictures LLC, a film production and distribution company based in Los
                    16   Angeles, California (“Aviron Pictures”), and oversaw its operations from circa 2015 until circa
                    17   December 2019. See Glenn Decl., Exhibit D at 3. Sadleir and Aviron Pictures operated through
                    18   multiple related legal entities (collectively, the “Aviron Entities”). See id.
                    19           4.     As described in detail below, Cairn is a secured creditor of the Debtor by virtue of a
                    20   loan Cairn extended to one of the Aviron Entities, which the Debtor unconditionally and
                    21   irrevocably guaranteed on a secured basis.
                    22   II.     SADLEIR’S PREPETITION FRAUDULENT SCHEMES
                    23           5.     Recent federal criminal complaints filed against Sadleir in New York and
                    24   California, for which he has been arrested, as well as a Securities and Exchange Commission (the
                    25   “SEC”) complaint and a civil lawsuit filed against him, reveal that Sadleir is a serial fraudster who
                    26   should not be allowed to act as a fiduciary for the Debtor’s creditors or maintain any control of the
                    27   Debtor.
                    28
KASOWITZ BENSON
  TORRES LLP                                                               -3-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                                   Main Document    Page 11 of 365


                     1           A.       Sadleir’s Fraud on BlackRock
                     2           6.       On December 17, 2019, BlackRock Multi-Sector Income Trust (“BlackRock”)
                     3   filed a complaint in the Supreme Court of the State of New York (the “BlackRock Complaint”)
                     4   against Sadleir, Aviron Pictures and certain other Aviron Entities, alleging a long history of acts
                     5   of fraud, dishonesty and willful misconduct, including, among other things, fraudulent
                     6   misrepresentations, forgery of signature pages and invoices, and the intentional and improper
                     7   release of certain liens by Sadleir and those Aviron Entities, in which BlackRock had invested
                     8   (the “BlackRock Litigation”).4 On December 20, 2019, the New York court granted BlackRock’s
                     9   request for a preliminary injunction and ordered the removal of Sadleir from his position at
                    10   Aviron Pictures and Aviron Capital, LLC, permitting BlackRock to select a replacement manager
                    11   for those entities.5 The BlackRock Litigation is in its early stages and discovery has not yet
                    12   commenced.6
                    13           7.       The severity of Sadleir’s fraud on BlackRock was further revealed in a criminal
                    14   complaint filed against Sadleir by the U.S. Attorney in the Southern District of New York on May
                    15   18, 2020 (the “Criminal Complaint”). The Criminal Complaint includes three counts: (i) wire
                    16   fraud – advertising scheme; (ii) wire fraud – UCC scheme; and (iii) aggravated identity theft –
                    17   UCC scheme.7 See Glenn Decl., Exhibit D at 1-2. As described in the Criminal Complaint,
                    18   Sadleir participated in two long-running fraudulent schemes relating to an approximately $75
                    19   million investment made by BlackRock in certain Aviron Entities. See id. at 4.
                    20           8.       In one of the schemes, Sadleir allegedly misappropriated millions of dollars in
                    21   funds from Aviron Entities that had been invested by BlackRock. See id. Sadleir represented to
                    22   BlackRock that this money had been invested by Aviron Entities in pre-paid media credits with
                    23   the advertising placement company MediaCom Worldwide, LLC (“MediaCom”), which is a
                    24   subsidiary of the advertising and media agency GroupM Worldwide Inc. (“GroupM Worldwide”).
                    25   See id. Instead, Sadleir, using the bank account for a sham entity he had created, illicitly
                    26   4
                                 A true and correct copy of the BlackRock Complaint is attached as Exhibit A to the Glenn Declaration.
                         5
                    27           A true and correct copy of the preliminary injunction is attached as Exhibit B to the Glenn Declaration.
                         6
                                 A true and correct copy of a Stipulation and Order concerning discovery in the BlackRock Litigation, dated
                    28   May 20, 2020, is attached as Exhibit C to the Glenn Declaration.
                         7
                                 A true and correct copy of the Criminal Complaint is attached as Exhibit D to the Glenn Declaration.
KASOWITZ BENSON
  TORRES LLP                                                                    -4-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                                Main Document    Page 12 of 365


                     1   transferred out of Aviron Entities over $25 million of those funds. See id. Specifically, according
                     2   to the Criminal Complaint, Sadleir created a sham company called GroupM Media Services, LLC
                     3   (the “Sham GroupM LLC”) designed to appear as if it were the legitimate entity, GroupM
                     4   Worldwide, and a corresponding bank account in the name of that sham entity. See id. at 4-5.
                     5   Kadadu (Sadleir’s spouse) was listed with the California Secretary of State as Sham GroupM
                     6   LLC’s agent for service of process. See id. at 7. Sadleir allegedly used a significant portion of
                     7   those illicitly transferred funds for his personal benefit, including to purchase a private residence
                     8   in Beverly Hills, where Sadleir and Kadadu apparently live rent-free (and which, as described
                     9   below, was used as collateral to secure the Guaranty (as defined below)). See id. at 5.
                    10          9.      Sadleir then falsely represented to BlackRock that the Aviron Entities had
                    11   purchased an approximately $27 million balance in pre-paid media credits with MediaCom that
                    12   were available to promote future Aviron films, and pledged a portion of those credits to
                    13   BlackRock as collateral for additional loans, when in fact the claimed credits did not exist due to
                    14   Sadleir’s misappropriation. See id. As part of these false representations, Sadleir also allegedly
                    15   created a fake identity of a purported New York-based female employee of the Sham GroupM
                    16   LLC named “Amanda Stevens” who corresponded with a representative of BlackRock, ensuring
                    17   BlackRock that the Aviron Entities had an approximately $27 million balance in pre-paid media
                    18   credits with the Sham GroupM LLC. See id. Sadleir himself allegedly posed as Amanda Stevens
                    19   when engaging in email exchanges with a representative from BlackRock. See id.
                    20          10.     In another fraudulent scheme, Sadleir allegedly engineered the illicit and
                    21   fraudulent sale of assets worth an estimated $3 million that secured BlackRock’s loans to Aviron
                    22   Entities. See id. BlackRock had secured its investment in Aviron Entities by, among other
                    23   means, obtaining UCC liens in 2017 and 2018 on certain intellectual property and other assets
                    24   relating to Aviron Entities’ films. See id. In 2019, Sadleir allegedly used the forged signatures of
                    25   at least one of BlackRock’s portfolio managers on forms UCC-3 to release BlackRock’s UCC
                    26   liens on certain of these secured assets in order to sell or obtain financing against them without
                    27   BlackRock’s consent, thus depriving BlackRock of its collateral on outstanding loans, on which
                    28   Aviron Entities ultimately defaulted. See id.
KASOWITZ BENSON
  TORRES LLP                                                              -5-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                                   Main Document    Page 13 of 365


                     1           11.      On May 22, 2020, the SEC filed a complaint against Sadleir in the United States
                     2   District Court for the Southern District of New York for alleged violations of the anti-fraud
                     3   provisions of the Securities Act and the Exchange Act, largely based on the same facts depicted in
                     4   the Criminal Complaint (the “SEC Complaint”).8 The SEC investigation is continuing and may
                     5   reveal additional acts of fraud. See Glenn Decl., Exhibit E at 1.
                     6           B.       Sadleir’s Fraud on the Paycheck Protection Program
                     7           12.      On May 21, 2020, the Federal Bureau of Investigation (the “FBI”) filed a criminal
                     8   complaint against Sadleir in the District Court for the Central District of California alleging (i) wire
                     9   fraud; (ii) bank fraud; (iii) false statements to a financial institution; and (iv) false statements to the
                    10   Small Business Administration (the “PPP Criminal Complaint”).9 See Glenn Decl., Exhibit F at 1.
                    11           13.      According to the PPP Criminal Complaint, in or about April 2020, Sadleir
                    12   submitted three applications for loans to JPMorgan Chase, N.A. (“JPMC”) on behalf of three
                    13   Aviron Entities through the Paycheck Protection Program established by the Coronavirus Aid,
                    14   Relief, and Economic Security Act. See id. at 3. JPMC approved the loans, and Sadleir received
                    15   a total of over $1.7 million in funds as a result of these loans. See id. Sadleir allegedly obtained
                    16   the loans by making false representations about each entity’s payroll expenses, their number of
                    17   respective employees, the operational status of the companies, and how the loan proceeds would
                    18   be spent. See id. Sadleir allegedly intended to use at least some of the funds for personal and
                    19   other prohibited expenses, and immediately upon receiving the funds a significant amount was
                    20   diverted to Sadleir’s personal accounts and used for personal expenses, including purchases made
                    21   at a movie theater and a liquor store. See id. at 3, 13. Kadadu was also implicated in the PPP
                    22   Criminal Complaint, which alleged that Sadleir had used some of the illicitly obtained funds to
                    23   repay a $40,114.94 debt on Kadadu’s American Express card, which included charges at clothing
                    24   stores. See id. at 13. The Debtor disclosed on June 15, 2020 – in its dilatory filing of schedules
                    25   supporting the petition – that the Debtor’s counsel was paid a retainer from Kadadu’s American
                    26   Express account. See Docket No. 17 at 27.
                    27   8
                                 A true and correct copy of the SEC Complaint and press release in connection therewith are attached as
                    28   Exhibit E to the Glenn Declaration.
                         9
                                 A true and correct copy of the PPP Criminal Complaint is attached as Exhibit F to the Glenn Declaration.
KASOWITZ BENSON
  TORRES LLP                                                                    -6-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                                                   Main Document    Page 14 of 365


                     1           14.      On May 22, 2020, the United States Attorney’s Office announced that Sadleir had
                     2   been arrested on the charges included in the PPP Criminal Complaint.10
                     3   III.    CAIRN’S CLAIMS AGAINST THE DEBTOR AND LIEN ON THE PROPERTY
                     4           A.       The Credit Agreement and Promissory Note
                     5           15.      Before any of the foregoing schemes came to light, Cairn agreed to extend a loan to
                     6   one of the Aviron Entities, Aviron 1703, LLC (the “Borrower”) pursuant to a Credit, Security,
                     7   Guaranty and Pledge Agreement, dated October 1, 2018 (the “Credit Agreement”), and a
                     8   Promissory Note, dated October 1, 2018 (the “Note”).11 See Kufrin Decl. ¶ 3. Pursuant to these
                     9   documents, Cairn loaned the Borrower up to $22,400,000 in aggregate principal balance of loan
                    10   obligations for purposes of financing of certain distribution activities in respect of the motion
                    11   picture entitled “Serenity” and certain other limited uses in connection therewith (the “Loan”). See
                    12   id. ¶ 4. The Credit Agreement is secured by the Credit Party Collateral (as that term is defined in
                    13   the Credit Agreement), consisting of certain personal property of the Borrower and certain
                    14   personal property of certain other Aviron Entities. See id. ¶ 5. The Note is likewise secured by
                    15   personal property, consisting of certain personal property of the Borrower. See id. The scheduled
                    16   maturity date of the Loan was December 15, 2019 (the “Scheduled Maturity Date”). See id.
                    17           B.       The Guaranty
                    18           16.      Separately, Cairn entered into a Guaranty, dated October 1, 2018 (the “Guaranty”),
                    19   with the Debtor.12 See Kufrin Decl. ¶ 6. Pursuant to this Guaranty, the Debtor “irrevocably and
                    20   unconditionally” guaranteed the “full and punctual payment” of the Loan made to the Borrower.
                    21   See id. In addition to Sadleir’s execution of the Guaranty as the Debtor’s sole manager, Kadadu
                    22   also endorsed the Guaranty by signing as a “Confirmed by” party. The Guaranty is secured by a
                    23   Deed of Trust and Assignment of Rents, Fixture Filing, Security Agreement and Environmental
                    24   Indemnity (the “Deed of Trust”), dated as of October 8, 2019, which encumbers certain real
                    25   property commonly known and addressed at 9135 Hazen Drive, Los Angeles, CA 90210 (the
                    26   10
                                  See https://www.justice.gov/usao-cdca/pr/hollywood-executive-arrested-federal-fraud-charges-allege-he-
                    27   pocketed-money-covid-19.
                         11
                                  True and correct copies of the Credit Agreement and Note are attached as Exhibit A to the Kufrin
                    28   Declaration.
                         12
                                  A true and correct copy of the Guaranty is attached as Exhibit B to the Kufrin Declaration.
KASOWITZ BENSON
  TORRES LLP                                                                   -7-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                           Desc
                                                    Main Document    Page 15 of 365


                     1   “Property”).13 See id. ¶ 7. The Property was purchased by the Debtor for approximately
                     2   $13,500,000 on or around August 28, 2017. See id. ¶ 8. According to the Debtor’s schedules,
                     3   there are no other liens or encumbrances on the Property other than a statutory lien in connection
                     4   with delinquent property tax payments. See Schedule D: Creditors Who Have Claims Secured by
                     5   Property [Docket No. 17 at 10-11]. Cairn would not have extended the Loan without the Guaranty
                     6   or the inclusion of the Property in the collateral securing the Guaranty. See Kufrin Decl. ¶ 8.
                     7           C.       The Borrower Breaches the Credit Agreement
                     8           17.      On February 14, 2019, Cairn sent the Borrower a Notice of Defaults and
                     9   Reservation of Rights, identifying a number of non-monetary defaults under the Credit Agreement,
                    10   including, among others, at least one default not capable of cure.14 The Borrower failed to cure all
                    11   of the defaults that were capable of cure. See Kufrin Decl. ¶ 10. On April 2, 2019, Cairn sent the
                    12   Borrower an Acceleration and Demand Notice accelerating the Loan and declaring all
                    13   outstanding loan obligations due and immediately payable (the outstanding payment obligations
                    14   under the Credit Agreement from time to time, as of the applicable determination date, the
                    15   “Outstanding Loan Obligations”).15 The Borrower still failed to cure all of the defaults that were
                    16   capable of cure. See id. ¶ 11. Moreover, on or around the same time as Cairn’s delivery of the
                    17   Notice of Defaults and Reservation of Rights and the Acceleration and Demand Notice, Cairn
                    18   learned of additional defaults under the Credit Agreement (including at least one default not
                    19   capable of cure) occurring as early as January 2019, including the impermissible diversion of
                    20   certain proceeds of Cairn’s collateral for payment of expenses related to certain other Aviron
                    21   Entities’ films (as per Sadleir’s own written admission) (the “Diversion of Proceeds”) and the
                    22   Borrower’s alteration and manipulation (which the Borrower attempted to conceal) of purported
                    23   third-party reporting that it provided to Cairn to induce a credit extension under the Loan (the
                    24

                    25

                    26   13
                                  A true and correct copy of the Deed of Trust is attached as Exhibit C to the Kufrin Declaration.
                         14
                    27            A true and correct copy of the February 14, 2019 Notice of Defaults is attached as Exhibit D to the Kufrin
                         Declaration.
                         15
                    28            A true and correct copy of the April 2, 2019 Acceleration and Demand Notice is attached as Exhibit E to
                         the Kufrin Declaration.
KASOWITZ BENSON
  TORRES LLP                                                                     -8-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                             Desc
                                                     Main Document    Page 16 of 365


                     1   “Reporting Manipulation).16 See id.
                     2            18.      On May 24, 2019, Cairn entered into a letter agreement (the “Letter Agreement”)
                     3   with Sadleir, the Debtor, the Borrower and certain other Aviron Entities (collectively, the “Sadleir
                     4   Letter Agreement Parties”), pursuant to which Cairn agreed to refrain until July 31, 2019 (if
                     5   certain conditions were met) from enforcing certain of its rights under the Credit Agreement and
                     6   the Guaranty if the Sadleir Letter Agreement Parties paid $3,000,000 to Cairn by July 15, 2019 as
                     7   partial repayment of the Loan. See Kufrin Decl., Exhibit G ¶¶ 1(c), 2(d).17 Cairn received the
                     8   payment as provided under the Letter Agreement. See Kufrin Decl. ¶ 13. On May 31, 2019, Cairn
                     9   entered into a settlement agreement (the “Settlement Agreement”) with Sadleir and certain Aviron
                    10   Entities (not including the Borrower or the Debtor among others) (the “Sadleir Settlement
                    11   Parties”), pursuant to which Cairn agreed to waive certain claims against the Sadleir Settlement
                    12   Parties in connection with the Diversion of Proceeds and the Reporting Manipulation.18 Cairn did
                    13   not release any claims related to the Diversion of Proceeds and Reporting Manipulation, or any
                    14   other claims under the Credit Agreement and the Guaranty, against the Borrower, the Debtor and
                    15   certain other Aviron Entities. See Kufrin Decl., Exhibit H ¶ 1(b).
                    16            19.      Although under the Letter Agreement Cairn was permitted to enforce the full
                    17   extent of its rights under the Credit Agreement starting on August 1, 2019, it generally refrained
                    18   from doing so for an additional period of approximately four-and-a-half months, which gave the
                    19   Borrower the opportunity to repay the Outstanding Loan Obligations by the Scheduled Maturity
                    20   Date following representations made by Sadleir or his agents that a repayment of the Loan would
                    21   occur. See Kufrin Decl. ¶ 15. The Borrower, however, failed to repay in full the Outstanding
                    22   Loan Obligations by the Scheduled Maturity Date. See id. On December 18, 2019, Cairn sent the
                    23   Borrower a Demand for Payment, noting that, despite the acceleration of the Loan on April 2,
                    24   2019, the Borrower had further failed to repay the Outstanding Loan Obligations by the
                    25

                    26   16
                                 A true and correct copy of Sadleir’s e-mail to Cairn acknowledging the impermissible diversion of certain
                    27   proceeds of Cairn’s collateral for payment of expenses related to certain other Aviron Entities’ films is attached as
                         Exhibit F to the Kufrin Declaration.
                         17
                    28           A true and correct copy of the Letter Agreement is attached as Exhibit G to the Kufrin Declaration.
                         18
                                 A true and correct copy of the Settlement Agreement is attached as Exhibit H to the Kufrin Declaration.
KASOWITZ BENSON
  TORRES LLP                                                                       -9-
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                                  Main Document    Page 17 of 365


                     1   Scheduled Maturity Date.19 Cairn apprised the Borrower that the Outstanding Loan Obligations
                     2   at the time were not less than $16,230,747.68, with default interest and other amounts of
                     3   indemnified liabilities continuing to accrue. See id. As of the date hereof, the Borrower owes
                     4   Outstanding Loan Obligations in an amount not less than $14,724,332, with default interest and
                     5   other indemnified expenses continuing to accrue. See id. ¶ 16.20
                     6           D.       The Debtor Defaults on the Guaranty and Cairn Commences
                     7                    a Foreclosure Action

                     8           20.      The Borrower’s continuing events of default under the Credit Agreement and
                     9   continuing failure to repay in full the Outstanding Loan Obligations triggered the Debtor’s
                    10   repayment obligation under the Guaranty. See Kufrin Decl. ¶ 17. On May 1, 2019, Cairn sent the
                    11   Debtor a Demand Notice for payment of the Outstanding Loan Obligations in accordance with
                    12   the Guaranty.21 The Debtor failed to pay the Outstanding Loan Obligations. See id. ¶ 18. On
                    13   May 9, 2019, Cairn sent the Debtor a Default Notice for failure to pay the Outstanding Loan
                    14   Obligations pursuant to its demand.22 The Debtor failed to cure its default within ten days, which
                    15   gave rise to an Event of Default (as defined in the Guaranty) and permitted Cairn to declare an
                    16   Event of Default under the Deed of Trust and (among other things) cause the Property to be sold.
                    17   See id. ¶ 19.
                    18           21.      On January 6, 2020, Cairn sent the Debtor a Second Demand Notice, informing
                    19   the Debtor of the Borrower’s continued failure to repay the Outstanding Loan Obligations on the
                    20   Scheduled Maturity Date and once again demanding the payment thereof by the Debtor.23 Cairn
                    21   further apprised the Debtor that if total payment of the Outstanding Loan Obligations was not
                    22   made by January 13, 2020, then Cairn would exercise its rights under the Guaranty and Deed of
                    23
                         19
                    24            A true and correct copy of the December 18, 2019 Demand for Payment is attached as Exhibit I to the
                         Kufrin Declaration.
                         20
                    25            The Debtor’s schedules indicate that the Debtor owes Cairn $14,341,996. See Schedule D: Creditors Who
                         Have Claims Secured by Property [Docket No. 17 at 10]. That statement is incorrect.
                         21
                    26            A true and correct copy of the May 1, 2019 Demand Notice is attached as Exhibit J to the Kufrin
                         Declaration.
                         22
                    27            A true and correct copy of the May 9, 2019 Default Notice is attached as Exhibit K to the Kufrin
                         Declaration.
                         23
                    28            A true and correct copy of the January 6, 2020 Second Demand Notice is attached as Exhibit L to the
                         Kufrin Declaration.
KASOWITZ BENSON
  TORRES LLP                                                                  - 10 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                             Desc
                                                     Main Document    Page 18 of 365


                     1   Trust to the full extent necessary including (among other things) causing the Property to be sold.
                     2   See id. ¶ 20.
                     3            22.      In light of the Debtor’s continuing default under the Guaranty, Cairn initiated a
                     4   non-judicial foreclosure sale, with a sale of the Property by a trustee scheduled for June 2, 2020.
                     5   See id. ¶ 21. On June 1, 2020, however, Sadleir caused the Debtor to commence the Chapter 11
                     6   Case, which has prevented Cairn from completing the sale of the Property. See id.
                     7                                                RELIEF REQUESTED
                     8            23.      By this Motion, Cairn seeks entry of an order appointing a trustee pursuant to
                     9   Section 1104(a) of the Bankruptcy Code.24 In the alternative, if the Court does not appoint a
                    10   trustee, Cairn seeks entry of an order granting it relief from the automatic stay pursuant to Section
                    11   362(d) of the Bankruptcy Code to allow it to proceed with the foreclosure on its collateral.
                    12                                                    JURISDICTION
                    13            24.      The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334.
                    14   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The matter is a core proceeding pursuant
                    15   to 28 U.S.C. § 157(b)(2)(A), and this Court has subject matter jurisdiction to enter findings of fact
                    16   and conclusions of law and a final judgment. The statutory predicates for the relief sought herein
                    17   are Sections 1104(a) and 362(d) of the Bankruptcy Code.
                    18                                                      ARGUMENT
                    19   I.       THE COURT SHOULD APPOINT A TRUSTEE PURSUANT TO
                                  SECTION 1104(A) OF THE BANKRUPTCY CODE
                    20

                    21            25.      Section 1104(a) of the Bankruptcy Code directs the Court, upon the motion of a
                    22   party in interest, to order appointment of a chapter 11 trustee on either of the following grounds:
                    23                  1) for cause, including fraud, dishonesty, incompetence, or gross
                    24                     mismanagement of the affairs of the debtor by current management, either
                                           before or after the commencement of the case, or similar cause, but not
                    25                     including the number of holders of securities of the debtor or the amount of
                                           assets or liabilities of the debtor; or
                    26

                    27   24
                                   If the Court orders that a trustee be appointed, Cairn would be willing to set aside funds (e.g., from proceeds
                    28   of the sale of the Property), in a reasonable amount to be determined following consultation and negotiation with the
                         trustee, to (i) pay the fees and costs of the trustee; and (ii) provide a recovery to the Debtor’s unsecured creditors.
KASOWITZ BENSON
  TORRES LLP                                                                      - 11 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                                  Main Document    Page 19 of 365


                     1                2) if such appointment is in the interests of creditors, any equity security
                                         holders, and other interests of the estate, without regard to the number of
                     2                   holders of securities of the debtor or the amount of assets or liabilities of the
                     3                   debtor.

                     4   11 U.S.C. § 1104(a) (emphasis added).
                     5          26.      The usual presumption in favor of allowing a debtor’s management to remain in
                     6   the case vanishes completely when management does not or cannot perform its fiduciary
                     7   duties. See Commodity Futures Trading Comm’n v. Weintraub, 471 U.S. 343, 355 (1985) (“[T]he
                     8   willingness of courts to leave debtors in possession ‘is premised upon an assurance that the
                     9   officers and managing employees can be depended upon to carry out the fiduciary responsibilities
                    10   of a trustee.’”) (quoting Wolf v. Weinstein, 372 U.S. 633, 651 (1963)).
                    11          27.      As a corollary of the foregoing, “[w]hen a debtor in possession is incapable of
                    12   performing [its fiduciary duty to preserve estate assets for the benefit of creditors] a trustee is
                    13   properly appointed.” In re Nautilus of N.M., Inc., 83 B.R. 784, 789 (Bankr. D.N.M. 1988).
                    14   “The willingness of Congress to leave a debtor-in-possession is premised on an expectation that
                    15   current management can be depended upon to carry out the fiduciary responsibilities of a trustee.
                    16   And if the debtor-in-possession defaults in this respect, section 1104(a)(1) commands that the
                    17   stewardship of the reorganization effort must be turned over to an independent trustee.” In re
                    18   Marvel Entm’t Grp., Inc., 140 F.3d 463, 474 (3d Cir. 1998) (quoting In re V. Savino Oil &
                    19   Heating Co., 99 B.R. 518, 526 (Bankr. E.D.N.Y. 1989)); see also In re Intercat, Inc., 247 B.R.
                    20   911, 920 (Bankr. S.D. Ga. 2000) (“[T]he appointment of a trustee is a power which is critical for
                    21   the Court to exercise in order to preserve the integrity of the bankruptcy process and to insure that
                    22   the interests of creditors are served.”); Savino Oil, 99 B.R. at 525 (“Section 1104(a) represents a
                    23   potentially important protection that courts should not lightly disregard or encumber with overly
                    24   protective attitudes towards debtors-in-possession.”).
                    25          28.      If cause exists to order the appointment of a trustee under Section 1104(a)(1) of
                    26   the Bankruptcy Code, the Court has no discretion and must order the appointment of a chapter 11
                    27   trustee. See 11 U.S.C. § 1104(a) (stating that “the court shall order the appointment of a trustee”)
                    28   (emphasis added); In re Klein/Ray Broad., 100 B.R. 509, 511 (B.A.P. 9th Cir. 1987) (“Under
KASOWITZ BENSON
  TORRES LLP                                                               - 12 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                           Desc
                                                    Main Document    Page 20 of 365


                     1   Section 1104 a trial court ‘shall’ appoint a trustee for ‘cause’ or ‘in the best interest of the
                     2   creditors.’”); In re Okla. Ref. Co., 838 F.2d 1133, 1136 (10th Cir. 1988) (“Once the court has
                     3   found that cause exists under § 1104, it has no discretion but must appoint a trustee.”) (citation
                     4   omitted).
                     5           29.      “The clearest examples [where appointment of a trustee is warranted] are those in
                     6   which the debtor or its managers have engaged in serious fraud or dishonesty, or have grossly
                     7   mismanaged the business.” In re Davis, Case No. 09-10198, 2010 WL 2640587, at *2 (Bankr.
                     8   E.D.N.C. June 29, 2010). Indeed, under the express language of Section 1104(a)(1), fraud or
                     9   dishonesty committed by current management – either pre- or post-petition – mandate the
                    10   appointment of a trustee. See In re Bibo, Inc., 76 F.3d 256, 258 (9th Cir. 1996) (“The fraud
                    11   demonstrated here elicited action from the judge even though the creditors’ committee attorney
                    12   had not raised the issue. No doubt it was because of situations like this, where appointment is
                    13   highly desirable to prevent looting of the estate, and the judge is the first to comprehend its
                    14   necessity, that Congress gave bankruptcy judges the power to do so.”).
                    15           30.      Incompetence and mismanagement are additional grounds for appointment of a
                    16   trustee for “cause” under Section 1104(a)(1). See In re Sharon Steel Corp., 871 F.2d 1217, 1226
                    17   (3d Cir. 1989). Additionally, a court will appoint a trustee where the evidence shows a “lack of
                    18   [evenhandedness] in dealings with insiders or affiliated entities vis-a-vis other creditors.” In re
                    19   SunCruz Casinos, LLC, 298 B.R. 821, 830 (Bankr. S.D. Fla. 2003).25
                    20           31.      Even where there is no “cause” under Section 1104(a)(1), Section 1104(a)(2)
                    21   allows appointment of a trustee where it is in “the interests of creditors, any equity security
                    22   holders, and other interests of the estate.” 11 U.S.C. § 1104(a)(2). Among the factors to be
                    23   considered under Section 1104(a)(2) are: (1) the trustworthiness of the debtor; (2) the debtor in
                    24   possession’s past and present performance and prospects for the debtor’s rehabilitation; (3) the
                    25   25
                                   Section 1104(a)(1)’s list of grounds constituting cause is not an exclusive list. The language “or similar
                    26   cause” in section 1104(a)(1) encompasses a wide range of conduct, and the determination of “cause” must be made
                         on a case-by-case basis. Sharon Steel, 871 F.2d at 1226; see also Marvel, 140 F.3d at 472 (upholding lower court’s
                    27   appointment of a trustee where acrimony between debtor and its creditors rose to the level of “cause”); In re Colo.-
                         Ute Elec. Ass’n, Inc., 120 B.R. 164, 174 (Bankr. D. Colo. 1990) (court “need not find any of the enumerated wrongs
                    28   in the statute to find cause to appoint a trustee”); In re Madison Mgmt., 137 B.R. 275, 281 (Bankr. N.D. Ill. 1992)
                         (“lack of confidence in the debtor’s management may constitute cause”) (citations omitted).
KASOWITZ BENSON
  TORRES LLP                                                                    - 13 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                     Desc
                                                Main Document    Page 21 of 365


                     1   confidence – or lack thereof – of the business community and of the creditors in present
                     2   management; and (4) the benefits derived by the appointment of a trustee, balanced against the
                     3   cost of the appointment. In re Briarwood Capital, LLC, Case No. 10-02677, 2010 WL 2884949,
                     4   at *2 (Bankr. S.D. Cal. July 19, 2010); see also Madison Mgmt., 137 B.R. at 282 (same).
                     5          A.      Cause Exists to Appoint a Trustee Under Section 1104(a)(1)
                     6          32.     Sadleir’s repeated acts of fraud depicted in the Criminal Complaint, the SEC
                     7   Complaint, the PPP Criminal Complaint and the BlackRock Complaint paint a troubling picture
                     8   of a person who cannot be trusted to serve as a fiduciary for the Debtor’s creditors. The fraud and
                     9   dishonesty exhibited by Sadleir plainly constitute “cause” under Section 1104(a) and mandate the
                    10   appointment of a trustee.
                    11          33.     In re American Resources, Ltd., 54 B.R. 245 (Bankr. D. Haw. 1985) is instructive.
                    12   There, creditors moved the court to appoint a trustee pursuant to Section 1104(a) of the
                    13   Bankruptcy Code after two executives of the debtor had been put under a federal criminal
                    14   indictment for conspiracy, mail fraud and wire fraud, alleging that those executives had received
                    15   proceeds of illegal loans. Id. at 246. The court granted the motion, reasoning that the
                    16   “independent inquiry by the federal grand jury [among other bodies] has . . . found substantial
                    17   basis in the facts to support the concerns expressed by the creditors who seek appointment of a
                    18   trustee.” Id. at 247. Appointment of a trustee under Section 1104(a) was warranted, the court
                    19   found, because “[t]o engage in illegal loans . . . involve[s] fraud, dishonesty or gross
                    20   mismanagement. . . . And, where management operate a company for their ‘own personal benefit
                    21   and not for the benefit of the (companies) over which they had control,’ that management should
                    22   be replaced.” Id.
                    23          34.     Courts in other circuits have similarly held that a trustee must be appointed where
                    24   the debtor’s current management is subject to pending criminal charges and ongoing
                    25   investigations by governmental authorities. See Okla. Ref., 838 F.2d at 1136 n.2 (affirming
                    26   bankruptcy court’s decision to appoint a trustee, reasoning that “[c]ase law . . . supports lenders’
                    27   claims that debtor’s effort to manage the company was impeded by the existence of at least four
                    28   criminal cases pending against either the debtor’s president . . . or some of the affiliated
KASOWITZ BENSON
  TORRES LLP                                                             - 14 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                                   Main Document    Page 22 of 365


                     1   companies.”); Tradex Corp. v. Morse, 339 B.R. 823, 834-35 (D. Mass. 2006) (affirming
                     2   bankruptcy court’s decision to appoint a trustee in light of “[t]he existence of a grand jury
                     3   investigation and civil suits pursuing allegations relating to [the debtor’s president and sole
                     4   shareholder’s] business actions[.]”).
                     5           35.      Here, three independent inquiries by the U.S. Attorney, the FBI and the SEC
                     6   concluded that Sadleir, apparently with Kadadu’s assistance, had committed fraud and other
                     7   financial crimes on various parties, including the federal government, BlackRock and JPMC.
                     8   Sadleir – whom Kadadu purported to designate as the Debtor’s “Authorized Agent”26 – has shown
                     9   that he is not fit to serve as a steward of the Debtor’s estate and act as a fiduciary for its creditors.
                    10   Moreover, it is highly improbable that Sadleir can properly administer the affairs of the Debtor
                    11   when he must defend himself in two separate federal criminal actions and a civil complaint by the
                    12   SEC. Sadleir will be further distracted by the need to defend himself in the BlackRock Litigation,
                    13   which is in its early stages with discovery yet to commence. See Okla. Ref., 838 F.2d at 1136 n.2.
                    14   Furthermore, investigations are continuing and can lead to further actions and claims against
                    15   Sadleir and Kadadu.27 The Court should appoint a trustee for this reason alone.
                    16           36.      Moreover, Sadleir’s acts of fraud are unlikely to cease without the Court’s
                    17   intervention. Most glaringly, far from being deterred following his removal from management at
                    18   two Aviron Entities after his fraud on BlackRock had been revealed, Sadleir went on to commit
                    19   fraud on the federal government by filing a false application under the Paycheck Protection
                    20   Program, exploiting the ongoing pandemic. The Court should protect the Debtor’s estate – as
                    21   well as the integrity of the bankruptcy process – from additional acts of fraud, forgery and other
                    22   financial crimes.
                    23           37.      Furthermore, Sadleir’s dealings with Cairn reflect flagrant dishonesty, constituting
                    24   an additional cause to appoint a trustee. See Intercat, 247 B.R. at 922 (trustee appointed where the
                    25
                         26
                    26            See Docket No. 17 at 31.
                         27
                                  As described above, Sadleir currently has exclusive authority to manage the Debtor in the Chapter 11 Case.
                    27   Even if Kadadu had any authority over the Debtor’s affairs, however, her apparent participation in Sadleir’s
                         fraudulent schemes would warrant the appointment of a trustee for the same reasons that Sadleir must be removed
                    28   from management. Moreover, Kadadu’s recent decision to grant Sadleir full control over the Debtor notwithstanding
                         his fraudulent actions further demonstrates that Kadadu cannot be trusted to serve in any fiduciary capacity.
KASOWITZ BENSON
  TORRES LLP                                                                   - 15 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                                   Main Document    Page 23 of 365


                     1   debtor’s president and CEO “engaged in dishonest or incompetent conduct” by producing
                     2   inaccurate reports to the creditor-movant). As described in detail above, the Borrower, under
                     3   Sadleir’s sole management and control, permitted the improper diversion of certain proceeds of
                     4   Cairn’s collateral for payment of expenses related to certain other Aviron Entities’ films (as per
                     5   Sadleir’s own written admission), and altered and manipulated purported third-party reporting that
                     6   it provided to Cairn to induce a credit extension under the Loan (which the Borrower attempted to
                     7   conceal).28 See Kufrin Decl. ¶ 11.
                     8           38.      Sadleir must be removed from the Debtor’s management for the additional reason
                     9   that he and Kadadu have substantial and irreconcilable conflicts of interest with the Debtor. It is
                    10   well established that “conflicting interests preclude the proper and effective operations of [the]
                    11   Debtor and dictate the appointment of an impartial trustee.” In re Tel-Net Haw., Inc., 105 B.R.
                    12   594, 595 (Bankr. D. Haw. 1989). Here, Sadleir caused the filing of the Chapter 11 Case to avert a
                    13   foreclosure of Cairn’s mortgage on Sadleir and Kadadu’s personal residence owned by the
                    14   Debtor, but for which they apparently pay no rent. That Sadleir and Kadadu are hopelessly
                    15   conflicted is beyond cavil. On the one hand, Sadleir is charged with acting as a fiduciary with
                    16   respect to the disposition of the Property. On the other hand, he and Kadadu are apparently using
                    17   the asset for free (and they have been for years) at the Debtor’s expense (during part of such time
                    18   Cairn’s collateral position has been deteriorating as statutory liens are accruing for delinquent
                    19   property tax payments). See Docket No. 17 at 11. This is yet another reason neither Sadleir nor
                    20   Kadadu should be permitted to exercise control over the Debtor’s assets. See In re Eurospark
                    21   Indus., Inc., 424 B.R. 621, 629 (Bankr. E.D.N.Y. 2010) (“It is well established that courts may
                    22   appoint a chapter 11 trustee where a debtor-in-possession’s management has a conflict of interest
                    23   that interferes with its ability to fulfill its fiduciary duties to the estate.”).
                    24           39.      The fact that Sadleir and Kadadu have caused the Debtor to allow them to reside in
                    25   the Property rent-free serves as an additional cause to appoint a trustee. Far from displaying
                    26   “[e]venhandedness . . . in dealings with insiders . . . vis-à-vis other creditors,” Sadleir and Kadadu
                    27   28
                                   As described above, Cairn did not release any claims related to the Diversion of Proceeds or Reporting
                    28   Manipulation, or any other claims under the Credit Agreement and the Guaranty, against the Borrower, the Debtor and
                         certain other Aviron Entities. See Kufrin Decl., Exhibit H ¶ 1(b).
KASOWITZ BENSON
  TORRES LLP                                                                   - 16 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                    Desc
                                                 Main Document    Page 24 of 365


                     1   have engaged in self-dealing and exploited the Property to the detriment of Cairn. See SunCruz
                     2   Casinos, 298 B.R. at 830. Significantly, a portion of any rent paid on the Property would have
                     3   been used to pay overdue property taxes, which have eroded Cairn’s secured position in its
                     4   collateral. See Kufrin Decl. ¶ 24. Sadleir and Kadadu’s self-dealing with the Debtor and their
                     5   failure to pay rent is the epitome of “dishonesty” under Section 1104(a)(1). See Okla. Ref., 838
                     6   F.2d at 1136 (“[A] history of transactions with companies affiliated with the debtor company is
                     7   sufficient cause for the appointment of a trustee where the best interests of the creditors
                     8   require.”); In re Clinton Centrifuge, Inc., 85 B.R. 980, 985 (Bankr. E.D. Pa. 1988) (“There are a
                     9   [plethora] of decisions justifying the appointment of a trustee, pursuant to 11 U.S.C. § 1104(a)(1),
                    10   because of questionable business dealings between a debtor corporation and a related, nondebtor
                    11   entity.”).
                    12           40.     Relatedly, neither Sadleir nor Kadadu can be expected to investigate and
                    13   potentially pursue – as a fiduciary must – claims that the Debtor may have against them stemming
                    14   from their personal use of the Property for no apparent consideration. See Tel-Net Haw., 105
                    15   B.R. at 595 (trustee appointed because “[current manager] may be liable for prepetition payments
                    16   by Debtor of certain liabilities which [manager] had guaranteed that constitutes preferential
                    17   transfers.”); Intercat, 247 B.R. at 922 (trustee appointed where current president and CEO “has
                    18   not suggested that he is or will be capable of pursuing the aggressive, independent investigation
                    19   of all the transactions in issue, or that he will prosecute litigation to recover assets, or sue for the
                    20   damages sustained by the debtor”).
                    21           41.     For all the foregoing independent reasons, the Court should appoint a trustee for
                    22   “cause” pursuant to Section 1104(a)(1).
                    23           B.      Appointment of a Trustee Is in the Best Interests of Creditors and the
                                         Bankruptcy Estate Under Section 1104(a)(2)
                    24

                    25           42.     The Court should appoint a trustee for the additional, independent reason that such
                    26   an appointment would be in the best interests of creditors.
                    27           43.     Naturally, there is no confidence in present management by the business
                    28   community or creditors (nor should there be); Sadleir is clearly not trustworthy. Furthermore,
KASOWITZ BENSON
  TORRES LLP                                                               - 17 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                   Desc
                                                 Main Document    Page 25 of 365


                     1   because the Debtor has no meaningful business to run, the estate would not benefit from current
                     2   management’s institutional knowledge. See Kufrin Decl. ¶ 22. As such, the benefits derived
                     3   from the appointment of a trustee easily outweigh the cost of the appointment. Those
                     4   considerations serve as additional grounds for appointing a trustee under Section 1104(a)(2). See
                     5   Briarwood Capital, 2010 WL 2884949, at *2.
                     6          44.     The Court should appoint a trustee for the additional reason that eliminating the
                     7   conflicts of interest between Sadleir, Kadadu and the Debtor in connection with the Property
                     8   would clearly benefit the Debtor’s creditors. In re BLX Group, Inc., 419 B.R. 457 (Bankr. D.
                     9   Mont. 2009) is instructive. There, the debtor’s director and president resided in one of the real
                    10   properties the debtor owned. Id. at 472. After the debtor had filed for bankruptcy, a creditor
                    11   moved to appoint a trustee pursuant to Section 1104(a)(2). Id. at 471-72. The court granted the
                    12   motion, concluding that it was “in the best interests of all creditors to eliminate the insider
                    13   circumstances and conflicts of interest created as a result of [insider’s] interest in [the relevant
                    14   property.]” Id. at 472. The court reasoned that “putting [the insider] in charge of any debtor-in-
                    15   possession financing at [this] juncture would be ill-advised” because the insider should not be
                    16   allowed to control any spending related to the property in which she lived. Id. Here, the Court
                    17   should not allow Sadleir or Kadadu to exercise control over the Property because their personal
                    18   interests in connection therewith are irremediably at odds with the interests of the Debtor’s estate.
                    19          45.     In light of the foregoing, the Court should appoint a trustee pursuant to either
                    20   prong of Section 1104(a) of the Bankruptcy Code.
                    21   II.    ALTERNATIVELY, THE COURT SHOULD LIFT THE AUTOMATIC STAY
                                TO ALLOW CAIRN TO COMPLETE THE FORECLOSURE
                    22
                                A.      The Court Should Lift the Automatic Stay for “Cause”
                    23                  Under Section 362(d)(1)
                    24          46.     Section 362(d)(1) of the Bankruptcy Code provides that the automatic stay shall be
                    25   lifted for cause, including the lack of adequate protection, after notice and a hearing. 11 U.S.C.
                    26   § 362(d)(1). Section 362(d)(1) provides in relevant part:
                    27                  On request of a party in interest and after notice and a hearing, the
                    28                  court shall grant relief from the stay provided under subsection (a) of
KASOWITZ BENSON
  TORRES LLP                                                              - 18 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                                Main Document    Page 26 of 365


                     1                  this section, such as by terminating, annulling, modifying, or
                                        conditioning such stay –
                     2
                                        (1) for cause, including the lack of adequate protection of an
                     3
                                        interest in property of such party in interest . . .
                     4
                         11 U.S.C. § 362(d)(1) (emphasis added).
                     5

                     6          47.     Section 362(g) of the Bankruptcy Code provides that in a hearing on relief from
                     7   the stay, the party opposing relief has the burden on all issues (other than the question of the
                     8   debtor’s equity in property), including the issue of adequate protection. 11 U.S.C. § 362(g). See
                     9   In re Big3D, Inc., Case No. 08-16768, 2009 WL 9085556, at *2 (Bankr. E.D. Cal. Aug. 28,
                    10   2009), aff'd, 438 B.R. 214 (B.A.P. 9th Cir. 2010) (“Ordinarily in a motion for relief from stay, the
                    11   debtor has the burden of proof regarding the issue of adequate protection.”).
                    12          48.     The term “cause” reflects a flexible standard, taking into account the particular
                    13   facts and circumstances of the particular issue before the court. See In re Conejo Enters., Inc., 96
                    14   F.3d 346, 352 (9th Cir. 1996) (noting that “[c]ause has no clear definition and is determined on a
                    15   case-by-case basis”) (internal citations and quotations omitted); In re Brotman Med. Ctr., Inc.,
                    16   2008 WL 8444797, at *5 (B.A.P. 9th Cir. Aug. 15, 2008) (same); Delaney-Morin v. Day (In re
                    17   Delaney-Morin), 304 B.R. 365, 369 (B.A.P. 9th Cir. 2003) (same) (citation omitted); Baldino v.
                    18   Wilson (In re Wilson), 116 F.3d 87, 90 (3d Cir. 1997) (noting that section 362(d)(1) “does not
                    19   define ‘cause,’ leaving courts to consider what constitutes cause based on the totality of the
                    20   circumstances in each particular case.”).
                    21          49.     “The bankruptcy court generally has broad discretion in granting relief from stay
                    22   for cause under § 362(d).” In re Edwards, 454 B.R. 100, 107 (B.A.P. 9th Cir. 2011). “Exercising
                    23   discretion in determining cause for stay relief requires the balancing of hardships and
                    24   consideration of totality of the circumstances.” In re Avila, 311 B.R. 81, 83-84 (Bankr. N.D. Cal.
                    25   2004) (citing In re Kennedy, 165 B.R. 488, 490 (Bankr. W.D. Wash. 1994)).
                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             - 19 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                   Desc
                                                Main Document    Page 27 of 365


                     1          50.     With respect to secured creditors, the purpose of providing adequate protection
                     2   under Section 362(d)(1) is to:
                     3                  insure that a creditor receives the value for which it bargained
                     4                  prebankruptcy. Adequate protection is, essentially, protection for the
                                        creditor to assure its collateral is not depreciating or diminishing in
                     5                  value and is evaluated on a case-by-case basis . . . . The erosion, or
                                        threatened erosion, of a secured creditor’s position “may be shown
                     6                  through evidence of declining property values, the increasing amount
                                        of the secured debt through interest accruals or otherwise, the
                     7                  nonpayment of taxes or other senior liens, failure to insure the
                     8                  property, failure to maintain the property, or other factors that may
                                        jeopardize the creditor’s present position.”
                     9
                    10   In re DB Capital Holdings, LLC, 454 B.R. 804, 816-17 (Bankr. D. Colo. 2011) (granting relief
                    11   from stay) (citations omitted); see also In re Gundrum, 509 B.R. 155, 162 (Bankr. S.D. Ohio
                    12   2014) (“[A]n offer of adequate protection based on the speculative possibility that the funds will
                    13   materialize simply does not constitute adequate protection.”) (citations omitted); In re H.T.
                    14   Pueblo Props., LLC, Case No. 11-24718, 2011 WL 6962754, at *8 (Bankr. D. Colo. Dec. 30,
                    15   2011) (“[T]he Debtor’s projections are overly optimistic and speculative, and not based on the
                    16   Debtor’s recent past and present performance. Such projections cannot demonstrate adequate
                    17   protection pursuant to § 361.”); In re Chevy Devco, 78 B.R. 585, 589 (Bankr. C.D. Cal. 1987)
                    18   (finding that potential success is not sufficient for purposes of adequate protection; “the facts
                    19   show that success is more fantasy than expectation.”).
                    20          51.     Courts have also held that filing a bankruptcy petition in bad faith constitutes the
                    21   requisite cause to lift the automatic stay. See, e.g., In re Duvar Apt., Inc., 205 B.R. 196, 200
                    22   (B.A.P. 9th Cir. 1996) (citing In re Walter, 108 B.R. 244, 247 (Bankr. C.D. Cal. 1989)).
                    23          52.     In the instant case, the Debtor has no money or operations to fund the
                    24   administration of this case or the preservation or disposition of the Property, and no prospect of
                    25   proposing a viable plan. Further, as shown below, there is no evidence that the Debtor has any
                    26   equity in the Property. The Debtor filed for bankruptcy on the eve of foreclosure in order to
                    27   utilize the automatic stay as a delay tactic, preventing a sale of the Property. Cairn’s interests in
                    28   the Property are at risk of immediate diminution in value, including erosion of Cairn’s secured
KASOWITZ BENSON
  TORRES LLP                                                             - 20 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                               Desc
                                                  Main Document    Page 28 of 365


                     1   position by the continued accrual of default interest, other charges and penalties with respect to
                     2   overdue property taxes, which have already given rise to statutory liens. See Docket No. 17 at 11.
                     3   Under these circumstances, there is no adequate protection and good “cause” exists to lift the
                     4   automatic stay under section 362(d)(1) of the Bankruptcy Code to allow Cairn to exercise its state
                     5   law rights.
                     6          53.      Relatedly, the Debtor filed its bankruptcy case (in essence, a two-party dispute), to
                     7   improperly frustrate Cairn’s exercise of its foreclosure rights and remedies and improperly exert
                     8   leverage over Cairn – and not to properly rehabilitate and reorganize. As such, the bankruptcy
                     9   case was filed in bad faith and the automatic stay should be lifted for such other cause as well.29
                    10   See Duvar, 205 B.R. at 200 (“The existence of bad faith in commencing a bankruptcy case
                    11   constitutes cause for granting relief from the stay pursuant to § 362(d).”); Meadowbrook Inv’rs’
                    12   Grp. v. Thirtieth Place, Inc. (In re Thirtieth Place, Inc.), 30 B.R. 503, 506 (B.A.P. 9th Cir. 1983)
                    13   (“Where a petition is filed to subvert the legitimate rights of creditors in the absence of any
                    14   reasonable expectations that the debtor can successfully reorganize, there is no basis for access to
                    15   Chapter 11 and the protective machinery of the automatic stay.”).
                    16          B.       Relief from Stay Is Also Justified Under § 362(d)(2)
                    17          54.      Section 362(d)(2) of the Bankruptcy Code provides that the automatic stay may be
                    18   terminated, annulled, modified or conditioned upon a finding that the debtor does not have equity
                    19   in the subject property and such property is not necessary to an effective reorganization.
                    20          55.      An “equity analysis” pursuant to section 362(d)(2) requires a determination of
                    21   whether a debtor has any interest above the value of all liens. Stewart v. Gurley, 745 F.2d 1194,
                    22   1195 (9th Cir. 1984); La Jolla Mortg. Fund v. Rancho El Cajon Assocs., 18 B.R. 283, 289-90
                    23   (Bankr. S.D. Cal. 1982). In determining whether there is an excess of security so as to constitute
                    24   equity, courts must decide whether the collateral should be valued on a going concern or
                    25   liquidation basis. See, e.g., In re Keystone Camera Prods. Corp., 126 B.R. 177, 184 (Bankr.
                    26   D.N.J. 1991).
                    27          56.      In Chapter 11 cases where there is no reasonable prospect of a reorganization,
                    28   29
                                Cairn reserves its right to seek dismissal of the Chapter 11 Case, including on the basis of a bad-faith filing.
KASOWITZ BENSON
  TORRES LLP                                                                    - 21 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                                Main Document    Page 29 of 365


                     1   liquidation value is the more appropriate method for valuing collateral and determining whether
                     2   the debtor has any equity in the collateral. See id. at 184-85 (holding that liquidation value is
                     3   appropriate where debtor ceased operations and attempted to revive itself through financing
                     4   secured by priming lien); In re Helionetics, 70 B.R. 433, 439 (Bankr. C.D. Cal. 1987) (stating that
                     5   although going concern value is appropriate when there is reason to believe a reorganization will
                     6   be successful, other circumstances may warrant a different result).
                     7          57.     Sadleir purports to have attempted to refinance the mortgage for months,
                     8   apparently with no success. See Kufrin Decl. ¶ 25. Upon information and belief, the only parties
                     9   credibly interested in financing the mortgaged property in recent months have sought to acquire
                    10   the mortgage at a significant discount. See id. Indeed, the most recent third-party appraisal of the
                    11   property prepared for Cairn indicates that the Property’s value is much lower than the total
                    12   indebtedness owed to Cairn and secured by the mortgage, in the amount of not less than
                    13   $14,724,332 with default interest and other indemnified expenses continuing to accrue. See id.
                    14   Accordingly, the Debtor does not have any equity in the Property.
                    15          58.     Once the Debtor’s lack of equity in the Property is demonstrated, the burden shifts
                    16   to the Debtor to prove that the Property is necessary for an effective reorganization. See 11
                    17   U.S.C. § 362(g)(2); In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 557 (3d Cir. 1994). In
                    18   determining whether the Property is necessary to the Debtor’s reorganization, the Court must look
                    19   to whether the Debtor has a reasonable probability of successfully reorganizing within a
                    20   reasonable time. See United Sav. Ass’n of Tex. v. Timbers of Inwood Forrest Assocs., Ltd., 484
                    21   U.S. 365, 375-76 (1988); Sun Valley Newspapers, Inc. v. Sun World Corp. (In re Sun Valley
                    22   Newspapers, Inc.), 171 B.R. 71, 75 (B.A.P. 9th Cir. 1994) (debtor must prove that a proposed
                    23   plan “is not patently unconfirmable and has a realistic chance of being confirmed”).
                    24          59.     Here, the Debtor cannot meet its burden because there is no reasonable prospect
                    25   that the Debtor will be able to propose a viable plan in this case. The Debtor is not operating any
                    26   business and has no funds. And even if there were a viable plan, the Property is not a business
                    27   asset and would not be necessary to any reorganized business. Accordingly, Cairn is entitled to
                    28
KASOWITZ BENSON
  TORRES LLP                                                             - 22 -
 ATTORNEYS AT LAW
   LOS ANGELES
                 Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                             Desc
                                                    Main Document    Page 30 of 365


                     1   relief from the stay under Section 362(d)(2) of the Bankruptcy Code.30
                     2                                                    CONCLUSION
                     3            For all the reasons set forth above, Cairn requests that the Court (i) enter an order
                     4   appointing a trustee pursuant to 11 U.S.C. § 1104(a); or, alternatively, if the Court does not
                     5   appoint a trustee, (ii) enter an order granting Cairn relief from automatic stay pursuant to 11
                     6   U.S.C. § 362(d) to complete the sale of the Property in accordance with Cairn’s rights under state
                     7   law; and (iii) grant such other and further relief as the Court deems necessary and appropriate.
                     8

                     9
                         Dated: June 19, 2020
                    10

                    11

                    12                                                         KASOWITZ BENSON TORRES LLP
                    13
                                                                               /s/ Andrew R.J. Muir
                    14                                                         Andrew R.J. Muir
                                                                               101 California Street, Suite 3000
                    15                                                         San Francisco, California 94111
                                                                               Telephone:     (415) 421-6140
                    16                                                         Facsimile:     (415) 398-5030
                                                                               Email: amuir@kasowitz.com
                    17
                                                                               Andrew K. Glenn (pro hac vice application pending)
                    18                                                         Shai Schmidt (pro hac vice application pending)
                                                                               1633 Broadway
                    19
                                                                               New York, New York 10019
                    20                                                         Telephone: (212) 506-1700
                                                                               Facsimile: (212) 506-1800
                    21                                                         Email: aglenn@kasowitz.com
                                                                                       sschmidt@kasowitz.com
                    22
                                                                               Attorneys for Cairn Capital Investment Funds ICAV,
                    23
                                                                               for its sub fund Cairn Capstone Special
                    24                                                         Opportunities Fund

                    25

                    26

                    27
                         30
                    28           Cairn reserves the right to seek relief from the stay under Section 362(d)(3) if the Chapter 11 Case is
                         determined to be a single asset real estate case.
KASOWITZ BENSON
  TORRES LLP                                                                     - 23 -
 ATTORNEYS AT LAW
   LOS ANGELES
                    Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                           Desc
                                                   Main Document    Page 31 of 365


                     1
                                   DECLARATION OF ANDREW K. GLENN IN SUPPORT OF CAIRN’S
                     2              MOTION FOR (I) ORDER APPOINTING TRUSTEE PURSUANT TO
                                    11 U.S.C. § 1104(A), OR, ALTERNATIVELY, (II) ORDER GRANTING
                     3
                                   RELIEF FROM AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(D)
                     4

                     5           I, Andrew K. Glenn, being duly sworn, state the following:
                     6           1.       I am a partner at the law firm of Kasowitz Benson Torres LLP, counsel for Cairn
                     7   Capital Investment Funds ICAV (“Cairn”) in the Chapter 11 Case.1
                     8           2.       I make this declaration to present the Court with the attached documents in
                     9   connection with Cairn’s Motion for (I) Order Appointing Trustee Pursuant to 11 U.S.C.
                    10   § 1104(a), or, Alternatively, (II) Order Granting Relief From Automatic Stay Pursuant to
                    11   11 U.S.C. § 362(d) (the “Motion”).
                    12           3.       Attached hereto as Exhibit A is a true and correct copy of the BlackRock
                    13   Complaint, filed with the Supreme Court of the State of New York, County of New York, on
                    14   December 17, 2019.
                    15           4.       Attached hereto as Exhibit B is a true and correct copy of the Order Granting
                    16   Preliminary Injunction, dated December 20, 2019, in the BlackRock Litigation.
                    17           5.       Attached hereto as Exhibit C is a true and correct copy of the Stipulation and
                    18   Order, dated May 20, 2020, in the BlackRock Litigation.
                    19           6.       Attached hereto as Exhibit D is a true and correct copy of the Criminal Complaint,
                    20   filed in the United States District Court for the Southern District of New York on May 18, 2020.
                    21           7.       Attached hereto as Exhibit E is a true and correct copy of the SEC Complaint,
                    22   filed with the United States District Court for the Southern District of New York on May 22,
                    23   2020, and the press release in connection therewith.
                    24

                    25

                    26
KASOWITZ BENSON
  TORRES LLP        27
 ATTORNEYS AT LAW
   LOS ANGELES           1
                    28            Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion (as
                         defined below).
                 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                 Desc
                                                Main Document    Page 32 of 365


                     1          8.       Attached hereto as Exhibit F is a true and correct copy of the PPP Criminal

                     2   Complaint, filed with the United States District Court for the Central District of California on

                     3   May 21, 2020.

                     4          I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that, to the best of my
                     5   knowledge and after reasonable inquiry, the foregoing is true and correct.
                     6

                     7          Executed this 19th day of June in New York, New York.

                     8

                     9                                                                 /s/ Andrew K. Glenn
                                                                                         Andrew K. Glenn
                    10

                    11

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
KASOWITZ BENSON
  TORRES LLP                                                             -2-
 ATTORNEYS AT LAW
   LOS ANGELES
Case 2:20-bk-15015-BR   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 33 of 365




                   GLENN DECLARATION

                            EXHIBIT “A”
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                    INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                         Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                               RECEIVED     Desc 12/17/2019
                                                                                         NYSCEF:
                                           Main Document    Page 34 of 365


          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------------------------------x
          BLACKROCK MULTI-SECTOR INCOME
          TRUST,                                                            COMMERCIAL DIVISION
                                                                            Index No. - 657496/2019
                                                                                           ----
                                     Plaintiff,
                                                                            Plaintiff designates New York County as
                   - against -                                              the place of trial. The basis of venue is
                                                                            C.P.L.R. § 501.
          AVIRON GROUP, LLC, AVIRON CAP ITAL,
          LLC, AVIRON PICTURES, LLC, AVIRON 1701 ,                          SUMMONS
          LLC, AVIRON 1702, LLC, AVIRON 1705, LLC,
          AVIRON 1706, LLC, AVIRON 1801, LLC, MAA
          RELEASING, LLC, AVIRON RELEASING, LLC,
          and WILLIAM SADLEIR,

                                    Defendants.
          ----------------------------------------------------------------x

          TO THE ABOVE NAMED DEFENDANTS:

                  YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve

          a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of

          appearance, on the Plaintiff's attorney within 20 days after service of this summons, exclusive of

          the day of service (or within 30 days after service is complete if this summons is not personally

          delivered to you within the State of New York); and in case of your failure to appear or answer,

          judgment will be taken against you by default for the relief demanded in the complaint.




                                                             1 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                       INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                       RECEIVED     Desc 12/17/2019
                                                                                 NYSCEF:
                                   Main Document    Page 35 of 365




                                                         :~                           C9Q
          Dated: New York, New York                        Respectfully submitted,
                 December 17, 2019



                                                              Nicho1asP.Crowe
                                                              Charlotte K. Newell
                                                              Alexander B. Porter
                                                              ncrowell@sidley.com
                                                              cnewell@sidley.com
                                                              alex.porter@sidley.com
                                                              787 Seventh A venue
                                                              New York, New York 10019
                                                              (212) 839-5300
                                                              (212) 839-5599 (fax)

                                                              Attorneys for PlaintiffBlackRock Multi-
                                                              Sector Income Trust

          TO:

          Aviron Group, LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County of New Castle

          Aviron Capital, LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County ofNew Castle

          Aviron Pictures, LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County of New Castle

          Aviron 1701, LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County ofNew Castle

          Aviron 1702, LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County of New Castle



                                                     2



                                                 2 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                               INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                  Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                        RECEIVED     Desc 12/17/2019
                                                                                  NYSCEF:
                                    Main Document    Page 36 of 365


          Aviron 1705, LLC
          c/o Cogency Global Inc.
          850 New Burton Road, Suite 201
          Dover, Delaware 19904, County of Kent

          Aviron 1706, LLC
          c/o Cogency Global Inc.
          850 New Burton Road, Suite 201
          Dover, Delaware 19904, County of Kent

          Aviron 1801 , LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County ofNew Castle

          MAA Releasing, LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County ofNew Castle

          Aviron Releasing, LLC
          c/o The Corporation Trust Company
          1209 Orange Street
          Wilmington, Delaware 19801, County ofNew Castle

          William Sadleir
          9135 Hazen Drive
          Beverly Hills, CA 90210




                                                     3



                                                  3 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                  INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                                RECEIVED     Desc 12/17/2019
                                                                                          NYSCEF:
                                            Main Document    Page 37 of 365



          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------------------------------x
          BLACKROCK MULTI-SECTOR INCOME                                   : COMMERCIAL DIVISION
          TRUST,                                                          :
                                                                          : Index No. _657496/2019_____
                                    Plaintiff,                            :
                                                                          :
                  - against -                                             :
                                                                          : COMPLAINT
          AVIRON GROUP, LLC, AVIRON CAPITAL,                              :
          LLC, AVIRON PICTURES, LLC, AVIRON 1701, :
          LLC, AVIRON 1702, LLC, AVIRON 1705, LLC, :
          AVIRON 1706, LLC, AVIRON 1801, LLC, MAA :
          RELEASING, LLC, AVIRON RELEASING, LLC, :
          and WILLIAM SADLEIR,                                            :
                                                                          :
                                    Defendants.                           :
                                                                          :
          ----------------------------------------------------------------x

                              Plaintiff BlackRock Multi-Sector Income Trust, by its attorneys, Sidley Austin

          LLP, as and for its Complaint in this action alleges as follows based upon its personal knowledge

          and upon information and belief as to all other matters:

                                                NATURE OF THE ACTION

                              1.     This emergency action for preliminary and permanent injunctive relief and

          declaratory judgment arises out of Defendants’ fraud and gross mismanagement of the Aviron

          Entities (as defined below), and the resulting grave threat to the value of Plaintiff’s investment in

          the Aviron Entities.

                              2.     Plaintiff BlackRock Multi-Sector Income Trust (the “Fund”) is a non-

          diversified, closed-end mutual fund. The Fund’s goal is to deliver attractive risk-adjusted returns

          to its investors.

                              3.     Defendants Aviron Group, LLC (“Aviron Group”), Aviron Capital, LLC

          (“Aviron Capital”), Aviron Pictures, LLC (“Aviron Pictures”), Aviron Releasing, LLC (“Aviron




                                                           4 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 38 of 365



          Releasing”), Aviron 1701, LLC (“Aviron 1701”), Aviron 1702, LLC (“Aviron 1702”), Aviron

          1705, LLC (“Aviron 1705”), Aviron 1706, LLC (“Aviron 1706”), Aviron 1801, LLC (“Aviron

          1801”), and MAA Releasing, LLC (“MAA”), presumably together with other related “Aviron”

          subsidiaries and affiliates (collectively, the “Aviron Entities”), acquire, market, and distribute

          theatrical films in North America.

                         4.      Upon information and belief, Aviron Group is (i) the parent company of the

          Aviron Entities and (ii) the legal and beneficial owner of 100% of the equity of Aviron Capital,

          Aviron Pictures, and Aviron Releasing (and is thus the “Sole Member” of each). Section 10(b) of

          the LLC Agreements for each of Aviron Capital and Aviron Pictures provide that the Sole Member

          of each entity may remove the Manager of each entity “at any time” and “for any reason or no

          reason.”

                         5.      Upon information and belief, Aviron Group, Aviron Capital, and Aviron

          Pictures, in turn (whether directly or indirectly) own 100% of the equity of several special purpose

          entities, which are allegedly created in tandem with each planned or purported film in which the

          Aviron Entities invest. Plaintiff understands that these include (i) Aviron 1701, (ii) Aviron 1702,

          (iii) Aviron 1705, (iv) Aviron 1706, (v) Aviron 1801, and (vi) MAA (collectively the “Special

          Purpose Entities”). Sadleir is the Manager of each of the Special Purpose Entities. Each of the

          Special Purpose Entities owns the rights and title to licensing fees from motion pictures that are

          pledged to the Fund. Certain of the Special Purpose Entities are listed as debtors on the Fraudulent

          Amendments, as defined herein.

                         6.      William Sadleir owns (whether directly or indirectly) and manages the

          Aviron Entities. Sadleir is the President of Aviron Group, and purportedly Chairman and CEO of




                                                           2


                                                       5 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 39 of 365



          Aviron Pictures.1 Sadleir and an affiliated entity, Temerity Trust Management, LLC (“Temerity”),

          own 100% of the equity of the Aviron Entities’ parent, Aviron Group. Upon information and

          belief, Temerity is Sadleir’s personal, private wealth management vehicle, jointly owned or

          controlled, directly or indirectly, by Sadleir and/or his wife.

                           7.     Upon information and belief, the following chart illustrates the structure of

          the Aviron Entities:




                           8.     The Fund’s relationship with the Aviron Entities began in 2015 under a

          Credit and Security Agreement between the Fund, as lender, and Aviron Capital, as borrower (as

          amended, the “Credit Agreement”) and an Equity Pledge Agreement (as amended, “the Pledge

          Agreement”) and various related agreements. In short, under those agreements the Fund agreed

          to extend Aviron Capital credit for the financing of the distribution of motion pictures. The credit


          1   See http://avironpictures.com/#team.

                                                             3


                                                         6 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                   INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 40 of 365



          extended was secured by, among other things, Aviron Group’s pledge of 100% of the equity in

          Aviron Capital and Aviron Pictures (which in turn own many of the Special Purpose Entities

          through ownership of each of their outstanding equity) as collateral, as well as Aviron Group’s

          voting rights in those two entities should an Event of Default occur. As is customary, the collateral

          pledge was perfected by the filing of UCC-1 financing statements against Aviron Group in the

          office of the Secretary of State of the State of Delaware.

                            9.    In 2017, the Fund and Aviron Capital entered into a $75,000,000 Note

          Purchase and Security Agreement (as amended, the “NPA”) to refinance the financ ing

          arrangements under the Credit Agreement and provide capacity to finance the distribution of

          additional motion pictures. Via subsequent letter agreements entered in March 2019 (the “Funding

          Agreements,” as defined below), the Fund also agreed to further finance the distribution of another

          motion picture.

                            10.   Aviron Group’s pledge of its equity in Aviron Capital and Aviron Pictures

          remained in place to secure the obligations under the NPA and the Funding Agreements. Aviron

          Capital further agreed in the NPA that the Fund’s “Collateral” would “include all of the Issuer’s

          right, title, and interest in and to,” among other things, “100% of the equity interests issued by

          each Qualifying Picture SPV now owned or hereafter acquired by” Aviron Capital.                 Aviron

          Capital’s obligations under the NPA and the Funding Agreements are also secured by other

          specific collateral, including Aviron Capital’s “right, title, and interest” in specific revenue streams

          from certain motion pictures. These arrangements were likewise perfected by the filing of UCC-

          1 financing statements against certain of the Aviron Entities in the office of the Secretary of State

          of the State of Delaware.




                                                             4


                                                         7 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                               INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 41 of 365



                           11.   The Aviron Entities have since failed to meet their obligations to the Fund.

          As the Fund notified Aviron Group in July 2019, various identified Events of Default (as defined

          in the NPA, and including among other things a failure to repay the Fund as agreed) have occurred

          under the NPA and the Funding Agreements. Those Events of Default have not been waived or

          corrected and are continuing. As a result, the Fund has the right to, among other things, control

          Aviron Group’s 100% equity stake in each of Aviron Capital and Aviron Pictures pursuant to the

          Pledge Agreement.

                           12.   The situation has since worsened severely. The Fund recently discovered

          that the Aviron Entities have purported to sell or otherwise finance several of the motion picture

          rights or related receivables that were pledged as collateral to the Fund. These actions were

          facilitated by the Aviron Entities’ filing of fourteen UCC-3 amendments that operated to delete

          the purportedly sold or financed collateral from the Fund’s documented, perfected collateral (the

          “Fraudulent Amendments”). Any such filing, however, would require an authorized release from

          the Fund, indicating that its lien is released and that UCC-3 amendments could be filed. The Fund

          has not authorized or consented to these filings, nor authorized or consented to these recent sales

          of collateral.

                           13.   In investigating this conduct, Plaintiff’s counsel contacted Defendants’

          transaction counsel and requested copies of any such purported releases. Defendants’ transaction

          counsel provided five such alleged releases, all purporting to date from July 2019 (the “Fraudule nt

          Releases”). As outlined in the contemporaneously filed Affidavits of Randy Robertson and Mark

          Volosov, these documents are forgeries. It appears that Sadleir, the Aviron Entities’ officers or

          employees, and/or their agents copied and pasted signature pages from prior agreements among




                                                           5


                                                       8 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                               INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 42 of 365



          the parties onto these documents to create the appearance that the Fund approved the Fraudulent

          Releases.

                         14.     In a recent phone call with the Fund’s advisers, Sadleir confirmed as much,

          saying that he “f----d up” and had effectuated the Fraudulent Amendments by recycling signature

          pages from prior transactions with the Fund on the Fraudulent Releases—a remarkable admissio n

          of fraud.

                         15.     The Fund’s recent investigation suggests that Sadleir resorted to fraud for

          his own self-serving ends. In connection with a separate litigation alleging fraud against Sadleir,

          it appears that Sadleir agreed to a $2.7 million judgment against himself on July 15, 2019, the same

          day that many of the Fraudulent Amendments were filed with the Delaware Secretary of State.

                         16.     As a result of this fraudulent conduct and the multiple Events of Default

          that have occurred, on December 16, 2019 Plaintiff informed Defendants that it was exercising its

          rights under the Pledge Agreement to step into the shoes of Aviron Group and install the manager

          of its choice, Amir Agam, at Aviron Capital and Aviron Pictures (and, in turn, the Special Purpose

          Entities). But Defendants have not acknowledged the Fund’s right to do so.

                         17.     Defendants’   ongoing    wrongful conduct violates the law and their

          agreements with the Fund. The Fund has been and will continue to be harmed by Defendants’

          conduct, and therefore seeks immediate relief from this Court to clarify the Fund’s rights and

          compel Defendants to comply with the terms of the parties’ agreements.

                         18.     If injunctive relief is not granted and Sadleir continues to purport to be in

          control of the Aviron Entities, then the Fund’s bargained-for contractual rights to (i) control 100%

          of the equity of Aviron Capital and Aviron Pictures, (ii) consequently replace Sadleir as Manager

          at Aviron Capital and Aviron Pictures with Amir Agam (and, in turn, the Special Purpose Entities)



                                                            6


                                                         9 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                    INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 43 of 365



          with immediate effect to prevent further fraud and mismanagement, and (iii) collect on the Aviron

          Entities’ outstanding debt through other collateral will be negated. Worse still, the Fund’s pledged

          collateral may well continue to be fraudulently conveyed by the time of final judgment. These

          losses cannot be adequately measured or compensated by money damages. Immediate injunc tive

          relief is the only remedy available that will ensure the stabilization of the Aviron Entities’ financ ia l

          status, preserve the value of the pledged collateral, and thus protect the investment made on behalf

          of the Fund’s investors.

                                  THE PARTIES AND RELEVANT NON-PARTIES

                          19.     Plaintiff is a Delaware statutory trust which operates as a closed-end mutual

          fund and which trades on the New York Stock Exchange. Non-party BlackRock Advisors, LLC

          (“the Advisor”) acts as the Trust’s investment advisor. The Advisor has its principal place of

          business in New York, New York and is responsible for, among other things, the management of

          the Fund’s portfolio.    The Advisor has retained non-parties BlackRock Financial Management,

          Inc. and BlackRock Investment Management, LLC to serve as the Trust’s sub-advisers (the “Sub-

          advisers”). The Sub-advisers have their principal places of business in New York, New York, and

          perform the actual day-to-day investment management of the Fund. This includes negotiating the

          transactions relevant to this action.

                          20.     Defendant Aviron Group, LLC, is a Delaware limited liability company

          with its principal place of business in Los Angeles, California.

                          21.     Defendant Aviron Capital, LLC, is a Delaware limited liability company

          with its principal place of business in Los Angeles, California.

                          22.     Defendant Aviron Pictures, LLC, is a Delaware limited liability company

          with its principal place of business in Los Angeles, California.



                                                              7


                                                         10 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                   INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 44 of 365



                          23.     Defendant Aviron Releasing, LLC, is a Delaware limited liability company

          with its principal place of business in Los Angeles, California.

                          24.     Defendant Aviron 1701, LLC is a Delaware limited liability company with

          its principal place of business in Los Angeles, California.

                          25.     Defendant Aviron 1702, LLC is a Delaware limited liability company with

          its principal place of business in Los Angeles, California.

                          26.     Defendant Aviron 1705, LLC is a Delaware limited liability company with

          its principal place of business in Los Angeles, California.

                          27.     Defendant Aviron 1706, LLC is a Delaware limited liability company with

          its principal place of business in Los Angeles, California.

                          28.     Defendant Aviron 1801, LLC is a Delaware limited liability company with

          its principal place of business in Los Angeles, California.

                          29.     Defendant MAA Releasing, LLC, is a Delaware limited liability company

          with its principal place of business in Los Angeles, California.

                          30.     Defendant William Sadleir is a domiciliary of Beverly Hills, California.

                          31.     Sadleir also is or purports to be (i) President of Aviron Group; (ii) Manager,

          Chairman, and Chief Executive Officer of Aviron Capital; (iii) Manager of Aviron Pictures, and

          (iv) Manager of each of the Special Purpose Entities.

                          32.     Upon information and belief, Sadleir largely operates the Aviron Entities as

          a single business out of a single office in Beverly Hills, California. Sadleir is the direct or indirect

          owner of the entities (either individually or though his family trust), and is or was the designated

          “Manager” of each. Sadleir has thus exercised domination and control over these purportedly

          separate entities, which he in fact treats as one, and has used to defraud the Fund.



                                                             8


                                                        11 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                 INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 45 of 365



                                         JURISDICTION AND VENUE

                         33.     Jurisdiction is proper in this Court as to the Aviron Entities because

          (i) Aviron Group, LLC consented to the jurisdiction of this Court pursuant to Section 23(b) of the

          Pledge Agreement it entered with Plaintiff on October 20, 2015 and (ii) Aviron Capital did the

          same pursuant to Section 9.08 of the NPA it entered with Plaintiff on July 17, 2017. Each of the

          Pledge Agreement and the NPA provide that Aviron Group and Aviron Capital, respectively,

          “irrevocably and unconditionally submits, for itself and its property, to the exclusive jurisdic tio n

          of . . . the Supreme Court of the State of New York sitting in New York county . . . in any action

          or proceeding arising out of or relating to this Pledge Agreement or any other Loan Document or

          the transactions contemplated hereby . . . .” (the “New York Forum Provisions”).

                         34.     Jurisdiction is also proper in this Court pursuant to CPLR 302(a)(1) because

          Sadleir and the Aviron Entities each transact business within New York and this action arises out

          of such business.

                         35.     Jurisdiction is also proper as to Sadleir and the Aviron Entities pursuant to

          CPLR 302(a)(3)(i) and 302(a)(3)(ii) because they have committed a tortious act without the state

          causing injury to Plaintiff within New York, and upon information and belief (i) regularly do or

          solicit business in New York and derive substantial revenue from services rendered in New York,

          and (ii) expect or reasonably should have expected the act to have consequences in the state and

          derive substantial revenue from interstate or international commerce.

                         36.     Venue is proper in this Court pursuant to CPLR 501, because of the New

          York Forum Provisions.




                                                            9


                                                       12 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                  INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                        Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                              RECEIVED     Desc 12/17/2019
                                                                                        NYSCEF:
                                          Main Document    Page 46 of 365



                                              FACTUAL BACKGROUND

                               2015: The Fund First Contracts With the Aviron Entities.

                         37.        On October 20, 2015, Aviron Capital and the Fund entered into the Credit

          Agreement, pursuant to which the Fund made available to Aviron Capital a senior secured credit

          facility to assist its funding of prints, advertising, marketing and promotion for certain feature -

          length motion pictures.

                         38.        On October 20, 2015, Aviron Group and the Fund also entered into the

          Pledge Agreement. Sadleir signed the Pledge Agreement on behalf of Aviron Group.

                         39.        Pursuant to the terms of the Pledge Agreement, Aviron Group pledged its

          ownership of certain Pledged Collateral to the Fund, including 100% of the “equity interests issued

          by” each of Aviron Capital and Aviron Pictures. 2 This pledge was made to “induce [the Fund] to

          . . . extend credit to” Aviron Group. Section 4(g) of the Pledge Agreement further warranted that

          “[t]here are no restrictions upon the voting rights associated with, or upon the transfer of, any of

          the Pledged Collateral” (i.e., the equity of Aviron Capital and Aviron Pictures).



          2        Section 1 of the Pledge Agreement defines Pledged Collateral as “(i) all Pledged LLC
          Interests now owned or hereafter acquired by the [Aviron Group], and all options and warrants for
          the purchase of the Pledged LLC Interests now or hereafter held in the name of the [Aviron Group],
          (ii) any certificates representing such Pledged LLC Interests, and (iii) all dividends, cash, warrants,
          rights, options, instruments, investment property and other property or proceeds from time to time
          received, receivable or otherwise distributed in respect of or in exchange for any or all of the
          Pledged LLC Interests.” The Pledged LLC Interests are itemized on Schedule 1 to the Pledge
          Agreement as follows:




                                                            10


                                                        13 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                     INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                        Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                              RECEIVED     Desc 12/17/2019
                                                                                        NYSCEF:
                                          Main Document    Page 47 of 365



                           40.     The Fund filed a UCC-1 financing statement against the Pledged Collateral

          that same day.

                           41.     All defined terms in the Pledge Agreement, including “Event of Default, ”

          were agreed to have “the same meaning” as defined in the 2015 Credit Agreement. 3

                           42.     Pursuant to Section 6 of the Pledge Agreement, “[a]t such time as an Event

          of Default shall have occurred and be continuing,” and following “written notice from” the Fund

          to Aviron Group, the Fund may “exercise all voting powers pertaining to the Pledged Collateral,”

          including the right to “exercise, or direct [Aviron Group] as to the exercise of all voting, consent,

          managerial, election, and other membership rights with respect to the applicable Pledged

          Collateral.”

                           43.     Thus, upon an Event of Default under the NPA (as defined therein), the

          Fund is permitted to step into the shoes of Aviron Group as it pertains to the “voting, consent,

          managerial, election, and other membership rights” associated with the equity of Aviron Capital

          and Aviron Pictures.

              2017: The Fund Invests $75 Million in the Aviron Entities Via a Note Purchase Agreement

                           44.     On July 17, 2017, Aviron Capital and the Fund entered into the NPA

          through which the Fund provided a term loan in the amount of $75,000,000 in return for Aviron

          Capital simultaneously providing a broadly defined “security interest” in

                   all of the Issuer’s right, title and interest, whether now existing or hereafter acquired
                   or arising, in and to the following, including, without limitation, relating to each
                   motion picture in which the Issuer or a Qualifying Picture SPV may have rights
                   (including, without limitation, each Qualifying Picture) and each Qualifying
                   Picture SPV: all goods, accounts, Records, instruments, intercompany obligatio ns,
                   contract rights, partnership, joint venture and other equity interests, documents,
                   chattel paper, general intangibles, goodwill, equipment, machinery, inventor y,

          3        As outlined below, this was later revised via an omnibus amendment to instead reference
          definitions in the NPA.

                                                              11


                                                          14 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                   INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 48 of 365



                  investment property, copyrights, trademarks, insurance proceeds, cash, deposit
                  accounts (including the Interest and Guarantee Fee Reserve Account and the
                  Capital Collection Account and any proceeds thereof, products thereof or income
                  therefrom, further including, without limitation, all of the Issuer’s right, title and
                  interest in and to all other personal property, tangible and intangible, wherever
                  located or situated and whether now owned, presently existing or hereafter acquired
                  or created (such assets, collectively, the “Collateral”).

                          45.     Section 4.01 of the NPA further provided that Collateral included, among

          other things:

                  (i) 100% of the equity interests issued by each Qualifying Picture SPV4 now owned
                  or hereafter acquired by the Issuer, consisting of all economic rights, includ ing
                  without limitation all rights to share in the profits and losses of each such
                  Qualifying Picture SPV and all rights to receive distributions of the assets of such
                  Qualifying Picture SPV, and all governance rights, including without limitation all
                  rights to vote, consent to action and otherwise participate in the management of
                  such Qualifying Picture SPV ,

                  (ii) all options and warrants for the purchase of such equity interests now or
                  hereafter held in the name of the Issuer,

                  (iii) any certificates representing such equity interests, and

                  (iv) all dividends, cash, warrants, rights, options, instruments, investment property
                  and other property or proceeds from time to time received, receivable or otherwise
                  distributed in respect of or in exchange for any or all of such equity interests (the
                  foregoing being the “Pledged Equity Interests”) . . . .

                          46.     The NPA contained a number of additional requirements regarding

          “Pledged Collateral,” i.e., the Pledged Equity Interests. This included informing the Fund as

          necessary so that the Fund could “take steps to perfect its security interest” in those equity positions

          as appropriate (e.g., as new subsidiaries were formed).

                          47.     Consequently, and consistent with the NPA, UCC-1 financing statements

          were filed for the benefit of the Fund and against Aviron Capital and the other “Credit Parties,” to


          4       Qualifying Picture SPV is defined in the NPA to mean “each Subsidiary of [Aviron
          Capital] formed for the purpose of entering into a Producer Agreement with respect to a Qualifying
          Picture.”

                                                            12


                                                        15 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                    INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 49 of 365



          secure the Fund’s Collateral, as appropriate. These documents thus served to perfect the security

          interests granted by Aviron Capital and its affiliates to secure all loans and advances to, and all

          debts, liabilities, obligations, covenants, and duties of Aviron Capital arising under the NPA

          (including the $75,000,000 investment).

                         48.     In Section 7.03 of the NPA, Aviron Capital also agreed to a number of

          “negative covenants,” which prohibited it or any Credit Party taking certain actions “until the debt

          repayment date” without the Fund’s written consent. The first listed item reflects Aviron Capital’s

          commitment to not:

                         Sale of Assets; Liens. (i) Sell, assign (by operation of law or otherwise) or
                         otherwise transfer, or grant any option with respect to, or create, incur,
                         assume or suffer to the extent any Lien (other than Permitted Liens) upon
                         or with respect to any of the Collateral, or any interest thereon, whether now
                         owned or hereafter acquired, or (ii) assign any right to receive any income
                         in respect of the Collateral, or sign or file under the Laws of any jurisdictio n,
                         a financing statement . . . or other similar document covering any of the
                         foregoing that names [Aviron Capital] as debtor, other than those in favor
                         of the [Fund] under this Agreement and the other Facility Documents, or
                         sign any security agreement authorizing any lenders or other Persons
                         thereunder to file such financing statement or other similar document
                         covering any of the foregoing.

                         49.     Aviron Capital agreed to other negative covenants under Section 7.03 of the

          NPA that are pertinent here. These include agreements to not:

                         Amendment, Cancellation or Termination of Documents. (i) Make or
                         permit to be made by any Person any material amendment, modification to
                         or cancellation or termination of any of the Transaction Documents 5 to
                         which it is a party or by which its assets are bound (or under which it has
                         rights as a third-party beneficiary), or waive any default under or any breach
                         of any term or condition of any of the Transaction Documents to which it is
                         a party or by which its assets are bound (or under which it has rights as a
                         third-party beneficiary), without the prior written consent of the Noteholder;
                         or (ii) upon the occurrence and during the continuance of a Potential Event

          5      Transaction Documents is defined to include “all other agreements, instruments, and
          documents . . . now or hereafter made under, pursuant to, or in connection with the foregoing or
          any other aspect of the transactions contemplated by the foregoing.”

                                                            13


                                                        16 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                              INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                     Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                           RECEIVED     Desc 12/17/2019
                                                                                     NYSCEF:
                                       Main Document    Page 50 of 365



                         of Default or Event of Default, exercise any material remedies available to
                         Issuer or any other Credit Party under the Transaction Documents to which
                         it is a party (or under which it has rights as a third-party beneficiar y),
                         without the prior written consent of the Noteholder.

                         Violation of Laws. Take any action (or omit to take any action) otherwise
                         permitted by this Agreement which would cause the performance of any of
                         the Transaction Documents or Facility Documents, to which it is a party, to
                         violate any Law, rule or regulation or require an order, consent, permit or
                         approval to be obtained from any governmental authority which has not
                         been obtained.

                         50.    On July 17, 2017, the Fund, Aviron Group, and certain of its affiliates also

          entered into the Omnibus Amendment No. 1. As pertinent here, this agreement provided that “[a]ll

          references to ‘Credit Agreement’ in the Subject Agreements,” including the Pledge Agreement,

          “shall be replaced with ‘Note Purchase Agreement.’”

                         51.    Thus, under the Pledge Agreement, Events of Default are those as defined

          in the NPA.


                                   2019: The Fund Invests Additional Amounts

                         52.    On March 22, 2019, the Fund, Aviron Capital, Sadleir, and Temerity

          entered into a letter agreement whereby the Fund agreed to advance $6 million to fund the

          distribution of a motion picture titled AFTER (the “March 22 Letter Agreement”).

                         53.    In the event that the outstanding principal amount of the $6 million loan,

          along with its accrued unpaid interest, was not paid by its maturity date, the parties agreed that

          “such failure shall be deemed an Event of Default under the Note Purchase Agreement.”

                         54.    The maturity date for the loan advanced under the March 22 Letter

          Agreement was June 12, 2019. The outstanding principal of the loan was not paid by that date,

          and remains unpaid. An Event of Default thus occurred on June 12, 2019 and continues to occur.




                                                         14


                                                      17 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 51 of 365



                          55.    On March 25, 2019, the same parties entered into a similar letter agreement

          whereby the Fund agreed to advance an additional $4 million for the distribution of AFTER (the

          “March 25 Letter Agreement,” and together with the March 22 Letter Agreement, the “Funding

          Agreements”). The terms of the March 25 Letter Agreement mirror in all respects pertinent here

          those of the March 22 Letter Agreement.

                          56.    The maturity date for the loan advanced under the March 25 Letter

          Agreement was also June 12, 2019. The outstanding principal was not paid by that date, and

          remains unpaid. This failure constitutes a second Event of Default that occurred on June 12, 2019

          and continues to occur.

                  July 2019: The Fund Notifies the Aviron Entities of Multiple Events of Default.

                          57.    On July 9, 2019,6 the Fund informed Aviron Capital by letter that multip le

          Events of Default had occurred (the “July Default Letter”) including, for example:

                 the above-outlined failure to repay the amounts owed in connection with the Funding

                  Agreements by their Maturity Date;

                 the failure to timely deliver certain required financial information associated with the

                  motion pictures titled A Private War, AFTER and, The Informer as required pursuant to the

                  NPA;

                 the failure to obtain the prior written consent of the Fund to establish a Capital Collection

                  Account7 other than the account held at East West Bank as provided in the NPA;


          6       The Default Letter is dated July 1, 2019 but was sent on July 9, 2019.
          7       Pursuant to the NPA, the Capital Collection Account (the “CCA”) is an identified account
                  where Aviron Capital receives payments from its film distribution activities. Those
                  payments in turn come out of controlled accounts held by a third-party payment agent—
                  referred to as “FCAM” —whose role is to direct film payment streams among the various
                  parties with rights in the film. The CCA is also the account into which the Fund deposited
                  loan proceeds under the NPA and the Funding Agreements. Section 2.02(b) of the NPA
                                                           15


                                                       18 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                              INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 52 of 365



                opening of an account other than the Capital Collection Account and the withdrawal or

                 usage of amounts on deposit without the Fund’s prior written consent;

                the failure to make the payments required on each Settlement Date—the 10th of each

                 month—from the Capital Collection Account as provided in the NPA, a failure once

                 attempted to be cured, then breached in the immediately following payment period;

                the failure of the amount on deposit in the Interest and Guarantee Fee Reserve Account to

                 equal the Interest and Guarantee Fee Reserve Required Amount, as defined in the NPA for

                 more than one calendar quarter—in other words, the failure of Aviron Capital to have on

                 deposit in an agreed-upon account the estimated interest for the prescribed time period on

                 the aggregate outstanding principal amount of the loan under the NPA, together with the

                 fees assessed by the financial guarantee provider in support of the obligations thereunder;

                 and

                the failure of Aviron Capital to obtain a Financial Guarantee Replacement by April 15,

                 2019, as defined in and required by the NPA and amendments 4 and 5 thereto.

                         58.     The July Default Letter expressly confirmed that it did not constitute a

          consent or waiver to the Events of Default, or otherwise operate to amend or modify any of the

          parties’ agreements.

                         59.     Defendants neither remedied these myriad Events of Default, nor formally

          responded to the July Default Letter.




                 requires that the CCA be subject to a deposit control account agreement (“DACA”), which
                 allows the Fund to take control of the account and have full visibility upon an Event of
                 Default. In 2018, Aviron moved almost all of its accounts from East West Bank to First
                 Republic Bank and failed to put a DACA in place over the CCA. That failure was itself an
                 Event of Default under the NPA.
                                                         16


                                                     19 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                 INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 53 of 365



                          60.     Thus, numerous Events of Default have occurred and are continuing to

          occur, in flagrant breach of the parties’ agreements.

                      Late 2019: The Fund Discovers Apparent Fraud at the Aviron Entities

                          61.     As outlined above, the Fund filed numerous UCC-1 financing statements

          pertaining to the collateral securing its agreements with the Aviron Entities, including the Credit

          Agreement, the Pledge Agreement, and the NPA.

                          62.     The Fund has recently become aware of events that suggest fraudule nt—

          and illegal—activity connected to the Aviron Entities and Sadleir which has purportedly removed

          the Fund’s perfected security interest in certain collateral.

                          63.     Various Aviron Entities have recently purported to sell or finance several

          of the motion picture rights that were collateralized to the Fund. These actions were only made

          possible by the Aviron Entities’ (or their agents’) filing of fourteen fraudulent UCC-3 amendme nts

          with the Delaware Secretary of State, starting in July 2019, that operated to delete the purportedly

          sold or financed collateral from the Fund’s documented list of collateral.         Any such UCC-3

          amendment could only be filed with the authorization of the secured party: the Fund. Such consent

          is typically documented through a signed, executed release.

                          64.     The UCC-3 amendments each identify the Fund as the “Secured Party of

          Record authorizing” each amendment which purported to delete from the Fund’s collateral covered

          by such underlying UCC-1 financing statements the property described in such UCC-3

          amendments. The Fund did not authorize the amendments, rendering them fraudulent.

                          65.     The Fund has likewise never consented to these purported sales or

          financings of its collateral. Upon information and belief, the Aviron Entities, through Sadleir, filed

          the Fraudulent Amendments, or caused them to be filed, to effectuate these changes and create the



                                                            17


                                                        20 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                 INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 54 of 365



          appearance that the applicable Aviron Entities could sell or finance the collateral it had pledged to

          the Fund.

                         66.     The Fund’s recent investigation suggests that Sadleir, the Aviron Entities,

          and/or their agents resorted to outright fraud to achieve these objectives.

                         67.     Plaintiff’s counsel contacted Defendants’ transaction counsel and requested

          copies of the purported releases that would have been necessary to effectuate filing any of the

          Fraudulent Amendments.

                         68.     Defendants’ transaction counsel provided five such documents—the

          Fraudulent Releases—which all purport to date from July 2019 and reflect signatures of the Fund’s

          advisers authorizing a release of the Fund’s lien on certain perfected collateral.

                         69.     As outlined in the contemporaneously filed Affidavits of Randy Robertson

          and Mark Volosov, those documents are forgeries. None of the Fraudulent Releases were executed

          by Mr. Robertson in July 2019.

                         70.     It appears that to create the Fraudulent Releases, Sadleir and/or his agents

          copied and pasted Mr. Robertson’s signature from prior agreements between the Fund and

          Defendants onto the Fraudulent Releases.

                         71.     To date, the Fund has identified what appear to be three such copied and

          pasted signatures, as outlined below.

                         72.     For example, Mr. Robertson’s purported signature for the Fund’s partial

          release of its security interest in the motion picture The Strangers: Prey at Night, purportedly dated

          July 12, 2019 appears below on the left. That signature appears to have been copied from Mr.

          Robertson’s authentic signature from the February 21, 2019 Amendment Five to the Note Purchase

          Agreement which appears below on the right.



                                                           18


                                                       21 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                              INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                     Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                           RECEIVED     Desc 12/17/2019
                                                                                     NYSCEF:
                                       Main Document    Page 55 of 365



                   Forged (Copied) Signature                        Source Authentic Signature




                         73.    Similarly, Mr. Robertson’s purported signature for the Fund’s partial

          release of its security interest in the motion picture My All American, purportedly dated July 12,

          2019 appears below on the left. That signature appears to have been copied from Mr. Robertson’s

          authentic signature from the 2015 Credit Agreement, which appears below on the right.

                 Forged (Copied) Signature                         Source Authentic Signature




                         74.    Finally, Mr. Robertson’s purported signature for the Fund’s partial release

          of its security interest in the HBO licensing agreement for the motion picture The Strangers: Prey

          at Night, purportedly dated July 17, 2019 appears below on the left. That signature appears to

          have been copied from Mr. Robertson’s authentic signature from the October 19, 2016

          Amendment One to the Credit and Security Agreement, which appears below on the right.

                 Forged (Copied) Signature                         Source Authentic Signature




                                                         19


                                                     22 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                               INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 56 of 365



                          75.     Upon information and belief, Sadleir and/or others working with him

          provided the Fraudulent Releases to the filers of the Fraudulent Amendments in order to create the

          appearance that the Fund had authorized the filing of UCC-3 amendments.

                          76.     Upon information and belief, Sadleir was motivated to undertake this

          fraudulent activity to benefit himself.

                          77.     For example, on July 15, 2019—the same day that many of the Fraudulent

          Amendments were filed—Sadleir stipulated to a $2.7 million judgment.

                          78.     In late October 2019, the Fund discovered the Fraudulent Amendments. In

          response to the Fund’s counsel’s inquiries, on October 24, 2019, Louis Spoto, Aviron Capital’s

          General Counsel, asserted that he had “not reviewed the individual UCC-3s” but that “for sure

          Blackrock [sic] knew what it was doing and why.” Sadleir responded on October 25, 2019 that he

          was the “best contact for now to discuss the license sales,” and that he would “pull together funds

          flow you asked for” and that “[w]e’ll get this cleaned up.”

                          79.     Those statements reflect an effort to prevent the Fund from discovering the

          Fraudulent Amendments.

                          80.     Sadleir and Spoto then declined to respond to repeated requests for

          (i) evidence that the Fund consented to the releases, (ii) information as to where the funds flowed

          from any purported sales of the collateral, and (iii) who they understood had reviewed and

          consented to the Fraudulent Amendments at the Fund, given that Defendants’ filings with the

          Delaware Secretary of State claim that the Fund approved them.

                          81.     On November 25, 2019, Sadleir finally spoke with a representative from the

          Fund’s Sub-advisers. During their phone call, Sadleir admitted that he “f----d up,” conceding that




                                                           20


                                                       23 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                               INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 57 of 365



          he engaged in fraudulent activity in connection with the Fraudulent Releases and Fraudulent

          Amendments.

                         82.     Later that same day, a representative from the Fund’s Sub-advisers sent

          Sadleir an email that asked him to “share as promptly as possible the documents utilized to

          facilitate the sale of assets . . .and the detailed funds received and the allocation of the same.”

          Sadleir never responded to those requests.

                         83.     On December 2, 2019,8 the Fund sent a letter to the Aviron Entities (the

          “December Default Letter”) describing again these fraudulent actions and also noting that the

          defaults identified in the July Default Letter “continue unwaived,” and thus that “Events of Default

          have occurred and are continuing under the NPA.”

                         84.     Specifically, the December Default Letter informed the Aviron Entities of

          the Fund’s understanding that they had “fraudulently filed or instructed, directed or otherwise

          permitted Paul Hastings LLP [Defendants’ transaction counsel] or other agents or representatives

          of the Credit Parties to file UCC-3 amendments to certain of the NPA Financing Statements . . . to

          delete the Specific Collateral from the collateral covered by such NPA Financing Statements.”

                         85.     That same letter instructed Sadleir and many of the Aviron Entities9 to,

          among other things, “immediately cease making any modifications of any kind to any of the NPA

          Financing Statements” and again requested any evidence that the Fund released its interest in the

          collateral.




          8       The December Default Letter is dated December 3, but was mailed on December 2 and
          arrived on December 3.
          9       The December Default Letter was addressed to Aviron Group, Aviron Capital, Aviron
          Pictures, Aviron Releasing, Aviron 1702, Aviron 1705, and MAA, all at the attention of Sadleir.

                                                          21


                                                       24 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 58 of 365



                         86.     Neither Sadleir, nor any officer or employee of any of the Aviron Entities

          responded to the December Default Letter.

                         87.     Instead, Sadleir responded by email, sharing plans to further sell the Fund’s

          pledged collateral to repay certain of Sadleir’s attorneys’ fees (and thereafter, allegedly, pay the

          Fund). Sadleir further explained that he planned travel to Doha, Qatar on December 13, 2019, to

          close “a new credit facility for Aviron Funding, LLC, that will be the vehicle for Aviron’s future

          slate of 35 films and from which we expect to purchase from Aviron Capital certain assets, such

          as media, to reduce the NPA principal balance.” As of the date of this filing, it does not appear

          that Aviron Funding, LLC exists.10

                         88.     On December 16, 2019, the Fund sent Aviron Group, Aviron Capital,

          Aviron Pictures, and Sadleir a letter notifying them, among other things, that the Fund was

          exercising its right pursuant to the Pledge Agreement to “exercise, or direct Aviron Group as to

          the exercise of all voting, consent, managerial, election and other membership rights with respect

          to the applicable Pledged Collateral” (the “December 16 Letter”). Further, the letter made clear

          that, pursuant to the Pledge Agreement and the LLC Agreements, the Fund was removing Sadleir

          as Manager of Aviron Pictures, Aviron Capital, and appointing Amir Agam to fill the position at

          each entity. Mr. Agam is a Senior Managing Director in the Corporate Finance & Restructur ing

          practice at FTI Consulting and has significant experience serving in interim corporate positions

          overseeing operational or financial turnarounds. The December 16 Letter requested a response by

          5 P.M. Pacific Time on December 16, 2019.



          10        This is per a search on the Delaware Division of Corporations webpage (the jurisdiction in
          which Sadleir has chosen to incorporate the other Aviron entities of which the Fund is aware). See
          Division of Corporations, Search Page (last searched December 17, 2019), available at
          https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx.

                                                          22


                                                      25 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                  INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 59 of 365



                         89.     Defendants’ transaction counsel responded shortly after the close of

          business on December 16 merely to confirm receipt. Defendants have not recognized Mr. Agam

          as the Manager of Aviron Capital and Aviron Pictures. Even should they, their fraud requires that

          any such conciliatory act should be disregarded.

                                    COUNT I – DECLARATORY JUDGMENT

                         90.     Plaintiff repeats each of the allegations above as if fully set forth herein.

                         91.     On October 20, 2015, Aviron Group, LLC and the Fund entered into the

          Pledge Agreement whereby the Aviron Group affirmed it was the legal and beneficial owner of

          100% of the equity interests issued by each of Aviron Capital and Aviron Pictures. The Pledge

          Agreement is a valid, binding and enforceable agreement entered into by the Fund and Aviron

          Group, LLC, as amended by the Omnibus Amendment No. 1, agreed on July 17, 2017.

                         92.     In order to induce the Fund to extend credit, Aviron Group pledged its

          equity interest in Aviron Capital and Aviron Pictures to the Fund and warranted that “there are no

          restrictions upon the voting rights associated with, or upon the transfer of, any of the Pledged

          Collateral.”

                         93.     Section 6 of the Pledge Agreement, as amended, provides that upon an

          Event of Default, Aviron Group’s voting power pertaining to the Pledged Collateral (100% of the

          equity in Aviron Capital and Aviron Pictures) shall cease, granting the Fund the power to “exercise

          all voting powers pertaining to the Pledged Collateral, including the right to . . . direct the Grantor

          [Aviron Group] as to the exercise of all voting, consent, managerial, election, and other

          membership rights with respect to the applicable Pledged Collateral.”

                         94.     In the July Default Letter, the Fund notified Aviron Capital that it had

          permitted multiple Events of Default to occur, as defined in the NPA. The Aviron Entities were



                                                             23


                                                        26 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                               INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                         Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                               RECEIVED     Desc 12/17/2019
                                                                                         NYSCEF:
                                           Main Document    Page 60 of 365



          further informed in the December Default Letter that the Events of Default identified in the July

          Default Letter are continuing and have not been waived. These Events of Default triggered Section

          6 of the Pledge Agreement thus allowing the Fund to “exercise . . . all voting, consent, managerial,

          election, and other membership rights with respect to the applicable Pledged Collateral” – i.e.,

          exercise all voting power pertaining to the equity of Aviron Capital and Aviron Pictures as Sole

          Member under those entities’ LLC Agreements. The Fund exercised this right via proper notice

          (the December 16 Letter).

                         95.     Further, Section 10(b) of the Aviron Capital and Aviron Pictures LLC

          Agreements, and Section 10(b) of the LLC Agreements of the Special Purpose Entities, provide

          that “[t]he Sole Member may remove the Manager [Sadleir] for any reason or no reason at any

          time in its sole and absolute discretion. Any vacancy occurring for any reason in the position of

          Manager may be filled by the Sole Member.”

                         96.     In its December 16 Letter, the Fund also validly noticed that it would

          immediately exercise Aviron Group’s voting rights as to Aviron Capital and Aviron Pictures to

          remove and place Sadleir as Manager of Aviron Capital and Aviron Pictures.

                         97.     As outlined above, the Fund has the power to control 100% of the equity in

          Aviron Capital and Aviron Pictures and replace Sadleir as its Manager. The Fund anticipates that

          Amir Agam (the “Replacement Manager”) will immediately notice the removal of Sadleir as

          Manager of the Special Purpose Entities, as appropriate pursuant to their respective LLC

          Agreements.

                         98.     As a result of the foregoing, the Fund is entitled to an order adjudging,

          declaring, and decreeing that:




                                                          24


                                                      27 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                             INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                       RECEIVED     Desc 12/17/2019
                                                                                 NYSCEF:
                                   Main Document    Page 61 of 365



                         a. Pursuant to the Pledge Agreement, the NPA, the Funding Agreements, and

                            the LLC Agreements of Aviron Capital, Aviron Pictures, and the Special

                            Purpose Entities, effective December 16, 2019:

                                i. Aviron Group’s right to act as Sole Member of Aviron Capital and

                                    Aviron Pictures pursuant to the Pledge Agreement and LLC

                                    Agreements immediately ceased and has been supplanted by the

                                    Fund’s right to exercise “all voting, consent, managerial, election,

                                    and other membership rights with respect” over the equity of Aviron

                                    Capital and Aviron Pictures;

                                ii. The Fund validly noticed and exercised the voting rights of Aviron

                                    Group to replace Sadleir as the Manager of Aviron Capital with the

                                    Replacement Manager;

                               iii. The Fund validly noticed and exercised the voting rights of Aviron

                                    Group to replace Sadleir as the Manager of Aviron Pictures with the

                                    Replacement Manager; and

                               iv. The Replacement Manager has the authority to exercise manager ia l

                                    control regarding Special Purpose Entities that are subsidiaries of

                                    Aviron Capital or Aviron Pictures.

                         b. Defendants and those acting in concert with or on behalf of them have no

                            right to interfere with or frustrate the Fund’s exercise of its rights regarding

                            its perfected security interests, granted by the Defendants to secure the

                            Obligations set forth in the Pledge Agreement and the NPA, as applicable.




                                                      25


                                                  28 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                 INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 62 of 365



                         99.     An actual and justiciable controversy exists between the parties concerning

          control of Aviron Group, Aviron Pictures, and Aviron Capital. Defendants have not acknowledged

          the Fund’s replacement manager. A declaratory judgment issued by a court in the proper forum

          will settle the rights and obligations of the parties under the Agreements.

                  COUNT II – PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

                         100.    Pending the declaratory judgement         sought herein, and in light        of

          Defendants’ failure to acknowledge the Fund’s replacement manager, the Fund is entitled to

          preliminary and permanent injunctive relief.

                         101.    No other remedies at law are adequate to address the harm to the Fund if

          Sadleir were to continue in his refusal to step down as Manager from Aviron Capital and Aviron

          Pictures, and/or continue to represent to the Aviron Entities’ officers and employees or third parties

          that he has the right to act for Aviron Capital, Aviron Pictures, and/or the Special Purpose Entities.

                         102.    The Fund and its investors have suffered and will continue to suffer

          irreparable harm that cannot be adequately compensated through monetary damages as a direct

          and proximate result of Sadleir’s and the Aviron Entities’ refusal to relinquish control of Aviron

          Capital and Aviron Pictures, compounded further by Defendants’ apparently fraudulent conduct.

          Consequently, the balance of equities are in the Fund’s favor.

                         103.    The Fund is entitled to injunctive relief as to Defendants (each expressly

          defined to include their respective employees, managers, officers, directors, parents, subsidiar ies,

          affiliates, agents, attorneys, and any persons acting with or in concert with them), preliminar ily

          enjoining them from the following, unless expressly otherwise authorized in writing by the

          Replacement Manager:




                                                            26


                                                         29 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                             INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 63 of 365



                         a. Sadleir and Aviron Group from acting by member consent, or directing the

                              voting,    consent,   managerial,    election   or other membership     rights

                              agreements connected to the equity of Aviron Capital or Aviron Pictures;

                         b. Sadleir and Aviron Group from contesting the right of the Replacement

                              Manager to control and direct all management and operations of Aviron

                              Capital and Aviron Pictures (or any of their wholly or majority owned

                              subsidiaries, including as appropriate the Special Purpose Entities, as that

                              term is defined in the Complaint);

                         c. Sadleir and Aviron Group from controlling, or purporting to control, the

                              day-to-day conduct, operation, and management of Aviron Capital and

                              Aviron Pictures (or any of their wholly or majority owned subsidiar ies,

                              including as appropriate the Special Purpose Entities, as that term is defined

                              in the Complaint);

                         d. Sadleir and Aviron Group from acting as or holding themselves out to

                              anyone as the Manager of or otherwise controlling Aviron Capital and

                              Aviron Pictures (or any of any of their wholly or majority owned

                              subsidiaries, including as appropriate the Special Purpose Entities);

                         e. Sadleir and Aviron Group from withdrawing or transferring any funds from

                              any accounts in the names of Aviron Capital or Aviron Pictures (or any of

                              their wholly or majority owned subsidiaries, including as appropriate the

                              Special Purpose Entities);

                         f.   Sadleir and Aviron Group from refusing to relinquish all property, books,

                              records, or other assets of the Aviron Capital or Aviron Pictures (or any of



                                                         27


                                                     30 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                  INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                      Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                            RECEIVED     Desc 12/17/2019
                                                                                      NYSCEF:
                                        Main Document    Page 64 of 365



                                 their wholly or majority owned subsidiaries, including as appropriate the

                                 Special Purpose Entities);

                            g. Sadleir and Aviron Group from filing any litigatio n (including any

                                 bankruptcy proceeding) on behalf of or affecting the rights of Aviron

                                 Capital or Aviron Pictures (or any of their wholly or majority owned

                                 subsidiaries, including as appropriate the Special Purpose Entities);

                            h. Sadleir and Aviron Group from issuing new debt, executing any loans, or

                                 pledging any assets as collateral on behalf of Aviron Capital and Aviron

                                 Pictures (or any of their wholly or majority owned subsidiaries, includ ing

                                 as appropriate the Special Purpose Entities); and

                            i.   Sadleir and Aviron Group from interfering with or frustrating the Fund’s

                                 exercise of its rights with respect to any collateral Defendants have pledged

                                 to the Fund.

                            COUNT THREE – FRAUDULENT CONCEALEMENT

                         104.    Plaintiff repeats each of the allegations above as if fully set forth herein.

                         105.    The Fund learned in October 2019 that Defendants filed fourteen Fraudulent

          UCC-3 Amendments with the Delaware Department of State that deleted the purportedly sold or

          financed collateral from the Fund’s documented list of collateral, in direct contravention of the

          NPA. Defendants could have only effectuated this filing by creation of the Fraudulent Releases.

                         106.     Defendants and their employees did not disclose this material informa tio n

          to the Fund at any time, contrary to the mandates of the parties’ Agreements, including the

          covenants listed in Section 7.03 of the NPA (e.g., covenant in subsection (n) to not make or allow




                                                           28


                                                       31 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                             RECEIVED     Desc 12/17/2019
                                                                                       NYSCEF:
                                         Main Document    Page 65 of 365



          “any material amendment, modification to or cancellation or termination of any of the Transaction

          Documents . . . without the prior written consent” of the Fund).

                         107.      Defendants otherwise omitted material information in their discussions with

          the Fund’s attorneys on October 24, 2019 and October 25, 2019, including that “for sure Blackrock

          [sic] knew what it was doing and why,” that Sadleir would “pull together funds flow you asked

          for” and that “[w]e’ll get this cleaned up.” Defendants and their employees and agents intended

          for the Fund to rely on those statements.

                         108.      Defendants continued to omit material information as to its fraudule nt

          conduct by refusing to respond to repeated inquiries from the Fund’s counsel.

                         109.      The Fund justifiably relied on Defendants’ non-disclosures to their

          substantial detriment.

                         110.      Defendants had a duty to disclose their fraudulent actions related to the

          Fund’s perfected security interest in the collateral, compounded by their otherwise partial,

          ambiguous, and/or misleading statements required additional disclosure to avoid misleading the

          Fund, especially given that Defendants’ fraudulent actions were particularly within the knowledge

          of the Defendants and given that Defendants took action to delay the Fund’s discovery of the fraud.

                         111.      Sadleir exercises domination and control over the Aviron Entities, which

          operate as one and which Sadleir has used to defraud Plaintiff.

                         112.      As a direct and proximate result of Defendants’ fraudulent concealment, the

          Fund has been harmed in an amount to be determined at trial.




                                                            29


                                                        32 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                    INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                        Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                              RECEIVED     Desc 12/17/2019
                                                                                        NYSCEF:
                                          Main Document    Page 66 of 365



                                                COUNT FOUR – FRAUD

                         113.      Plaintiff repeats each of the allegations above as if fully set forth herein.

                         114.      Defendants filed the Fraudulent Amendments as outlined in Exhibit II to

          Volosov Ex. 51, and created the Fraudulent Releases. Defendants also made false statements to

          the Fund’s attorneys on October 24, 2019 and October 25, 2019 as to its fraudulent UCC-3

          amendments and sale of the collateral, including that “for sure Blackrock [sic] knew what it was

          doing and why,” that Sadleir would “pull together funds flow you asked for” and that “[w]e’ll get

          this cleaned up.”

                         115.      Defendants knew those statements to be false, and intended for the Fund to

          rely on those statements so as to perpetuate and further Defendants’ fraud.

                         116.      The Fund justifiably relied on Defendants’ misrepresentations to its

          substantial detriment.

                         117.      Sadleir exercises domination and control over the Aviron Entities, which

          operate as one and which Sadleir has used to defraud Plaintiff.

                         118.      As a direct and proximate result of Defendants’ fraud, the Fund has been

          harmed in an amount to be determined at trial.




                                                             30


                                                         33 of 34
FILED: NEW YORK COUNTY CLERK 12/17/2019 04:14 PM                                                                                                                                INDEX NO. 567496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 1                                              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                                                    RECEIVED     Desc 12/17/2019
                                                                                                              NYSCEF:
                                                                Main Document    Page 67 of 365



                                                                                 PRAYE_R                 FOR      RELIEF



                                        WHEREFORE,                       Plaintiff          respectfully           requests          that     this     Court        enter    judgment         in its


            favor     and     against       Defendants                as follows:


                         1.    An     order     adjudging,               dechring,            and    decreeing            that   Plaintiff            is entitled         to declaratory        and


                               injunctive            relief     as set forth               above;


                        2.     An     order      in favor             of Plaintiff          as to its fraudulent                 concealment                 and     fraud     claims;


                         3.    Monetary              damages             in    an     amount         to    be     determined                at trial         but    estimated          to   exceed


                               $3,000,000;


                        4.     That      Plaintiff            be awarded             all    pre-judgment             interest         allowable              by    law;

                                                                                                               attorneys'
                         5.    That      Plaintiff            be awarded             its costs      and                          fees        as allowable             by     law;    and


                         6.    Granting         such          other      and     further        relief     as the       Court        deems           just    and     proper.




                    Dated:            New       York,          New        York                                    Respectfully               submitted,
                                        December               17, 2019
                                                                                                                  SIDLEY                USTIN               LLP




                                                                                                                  Nicholas           P. Crowell
                                                                                                                    ncrowell@sidley.com
                                                                                                                  Charlotte           K.Newell
                                                                                                                    enewell@sidley.com
                                                                                                                  Alexander             B. Porter
                                                                                                                    alex.porter@sidley.com
                                                                                                                  787       Seventh          Avenue
                                                                                                                  New        York,          New       York         10019

                                                                                                                  (212)       839-5300

                                                                                                                  (212)       839-5599(fax)


                                                                                                                  Attorneysfor                Plaintiff
                                                                                                                  BlackRock             Multi-Sector                Income          Trust




                                                                                                          31




                                                                                               34 of 34
Case 2:20-bk-15015-BR   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 68 of 365




                   GLENN DECLARATION

                             EXHIBIT “B”
FILED: NEW YORK COUNTY CLERK 12/20/2019 01:12 PM                              INDEX NO. 657496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 81                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                       RECEIVED     Desc 12/20/2019
                                                                                 NYSCEF:
                                   Main Document    Page 69 of 365




                                               1 of 4
FILED: NEW YORK COUNTY CLERK 12/20/2019 01:12 PM                              INDEX NO. 657496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 81                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                       RECEIVED     Desc 12/20/2019
                                                                                 NYSCEF:
                                   Main Document    Page 70 of 365




                                               2 of 4
FILED: NEW YORK COUNTY CLERK 12/20/2019 01:12 PM                              INDEX NO. 657496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 81                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                       RECEIVED     Desc 12/20/2019
                                                                                 NYSCEF:
                                   Main Document    Page 71 of 365




                                               3 of 4
FILED: NEW YORK COUNTY CLERK 12/20/2019 01:12 PM                              INDEX NO. 657496/2019
NYSCEF DOC.Case
            NO. 2:20-bk-15015-BR
                 81                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                       RECEIVED     Desc 12/20/2019
                                                                                 NYSCEF:
                                   Main Document    Page 72 of 365




                                               4 of 4
Case 2:20-bk-15015-BR   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 73 of 365




                   GLENN DECLARATION

                            EXHIBIT “C”
FILED: NEW YORK COUNTY CLERK 05/20/2020 04:50 PM                                                                                                                     INDEX NO. 657496/2019
         Case
NYSCEF DOC.   2:20-bk-15015-BR
            NO. 118                                             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                                                   RECEIVED      Desc
                                                                                                            NYSCEF: 05/20/2020
                                                                Main Document    Page 74 of 365


          SUPREME                  COURT           OF THE             STATE            OF NEW YORK
          COUNTY                   OF NEW         YORK
          -------1---------                                 --------------------x
          BLACKROCK                     MULTI-SECTOR                        INCOME                        )      COMMERCIAL                          DIVISION

          TRUST,                                                                                          )
                                                                                                          )       Index       No.      657496/2019
                                                   Plaintiff,                                             )
                                                                                                          )      Hon.         Barry      R. Ostrager
                           - agamst      -

                                                                                                          )       STIPULATION                     AND       [PROPOSED]
           AVIRON             GROUP,            LLC,        AVIRON             CAPITAL,
                                                                                                          )       ORDER
           LLC,       AVIRON             PICTURES,               LLC,       AVIRON             1701,
           LLC,       AVIRON             1702,     LLC,         AVIRON               1705,    LLC,
           AVIRON              1706,     LLC,      AVIRON               1801,        LLC,     MAA
           RELEASING,                  LLC,      AVIRON              RELEASING,                 LLC,
           and     WILLIAM              SADLEIR,


                                                   Defendants.
                                                                                                          )
           ---------------------                                -----------------------x



                           WHEREAS              Plaintiff       BlackRock              Multi-Sector           Income        Trust        ("BlackRock")           has filed      and


           served          a Complaint          (NYSCEF             No.     1) in this        action   (the     "Action")             against    Aviron      Group,          LLC,


           Aviron          Capital,      LLC,      Aviron          Pictures,         LLC,     Aviron      1701,        LLC,      Aviron         1702,     LLC,      Aviron


           1705,      LLC,         Aviron       1706,       LLC,      Aviron          1801,    LLC,     MAA            Releasing,         LLC,     Aviron        Releasing,


           LLC,       and     William         Sadleir       (the    "Aviron           Defendants");


                           WHEREAS              on January           27, 2020          the undersigned            parties        filed     a Stipulation         Extending


           Time       to Respond             to Complaint            that    extended          the time       within      which          Defendant        William       Sadleir


           may      file     a motion        relating       to, answer,             or otherwise       respond          to the Complaint                up to and including


           February           7, 2020;


                           WHEREAS              on February             7, 2020        the undersigned            parties        filed     a Stipulation         Extending


           Time       to Respond             to Complaint            that    extended          the time       within      which          Defendant        William       Sadleir



           may      file     a motion        relating       to, answer,             or otherwise       respond          to the Complaint                up to and     including


           February           28, 2020;




                                                                                              1 of 3
FILED: NEW YORK COUNTY CLERK 05/20/2020 04:50 PM                                                                                                                             INDEX NO. 657496/2019
         Case
NYSCEF DOC.   2:20-bk-15015-BR
            NO. 118                                          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                                                RECEIVED      Desc
                                                                                                         NYSCEF: 05/20/2020
                                                             Main Document    Page 75 of 365


                           WHEREAS              on February           26, 2020         the undersigned                    parties        filed     a Stipulation           Extending


           Time      to Respond             to Complaint            that    extended        the time             within          which       Defendant           William        Sadleir



           may      file    a motion         relating      to, answer,         or otherwise               respond           to the Complaint                  up to and        including


           April      1, 2020;


                           WHEREAS              the Preliminary              Conference              Order         so ordered            on February             11, 2020


           (NYSCEF             No.       94) provided         for    discovery          deadlines            in this        Action:


                           WHEREAS              on March        25, 2020         the     undersigned                   parties      entered         into     a Stipulation        to


           extend          all discovery         deadlines          by 30 days          from      the dates             provided            in the Preliminary              Conference


           Order       in light      of COVID-19              and to extend             the time           within         which          Defendant           William       Sadleir          may


           respond          to the Complaint              up to and         including          April        30, 2020;


                           WHEREAS              on April       30, 2020,         due     to COVID-19,                     Defendant              William        Sadleir       could       not


           efile    his answer            due to the Administrative                     Orders           then      in effect,       but      forwarded           a copy       of his


           Answer           to the Complaint              by email         to counsel          for     Plaintiff          on May            1, 2020,        and thereafter         efiled


           his Answer            to the Complaint              on May          7, 2020,        during            the    first    week        when      the NYSCEF               system


           began       accepting           filings      in non-essential          pending            cases;


                           WHEREAS              the Stipulating             Parties     have         conferred            and agreed             to extend        all discovery


           deadlines          in this     Action        by 90 days          (except      to the extent                  such     newly        calculated         deadlines         fall       on


           a Saturday           or Sunday,           in which        case the deadline                   shall     be the following                 Monday),           from     the dates


           provided           in light     of COVID-19               and delays          in discovery                  related     to the same;


                           IT IS FURTHER                  STIPULATED                  AND        AGREED                  that     all discovery             deadlines         in this


           Action          be extended          by 90 days          as follows:          responses               to demand            for    document           production            and


           interrogatories               to be served        by July        27, 2020;          initial       document              production              to occur     by July         27,


           2020;       completion            of all document               production          by August                13, 2020;           depositions          to take      place       on or




                                                                                           2 of 3
FILED: NEW YORK COUNTY CLERK 05/20/2020 04:50 PM                                                                                                  INDEX NO. 657496/2019
         Case
NYSCEF DOC.   2:20-bk-15015-BR
            NO. 118                                          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23
                                                                                                RECEIVED      Desc
                                                                                                         NYSCEF: 05/20/2020
                                                             Main Document    Page 76 of 365


          before        September             28, 2020;     end date     for all disclosure    to occur        on November           2, 2020;     and note


          of issue          to be filed        on or before        November     30, 2020.

                                          A Status Conference is scheduled for September 9, 2020 at 9:30 a.m.
          Dated:            May         19, 2020


           New        York,         New      York




           SIDLEY              A             N LL                                        MCDERMOTT,                   PIERRO,       MANDERY           &
                                                                                         MANDERY,               LLP


           B     :
                     Nicholas            P. Crowel                                            Melanie
                     Charlotte           K. Newell                                            Robert         McDermott
                     Alexander             B. Porter                                          3075     Veterans        Highway,       Suite     260
                     787     Seventh          Avenue                                          Ronkonkoma,              NY   11779
                     New      York,         NY      10019                                     Tel:   (631)      414-0094
                     Tel:    (212)        839-5300

                                                                                         Attorney      for    Defendant         William   Sadleir
           Attorneys              for                  BlackRock      Multi-
                                         Plaintif
           Sector           Income         Trust




           SO ORDERED




                                          J.S.C.




                                                                                    3 of 3
Case 2:20-bk-15015-BR   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 77 of 365




                   GLENN DECLARATION

                            EXHIBIT “D”
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  1 of 27    Desc
                       Main Document      Page 78 of 365


Approved: ________________________________
          JARED LENOW
          Assistant United States Attorney

Before:     HONORABLE KEVIN NATHANIEL FOX

                                                      20 MAG 5114
            United States Magistrate Judge
            Southern District of New York

                                             SEALED COMPLAINT
UNITED STATES OF AMERICA
                                             Violations of 18 U.S.C. §§
        - v. –                               2, 1028A, and 1343

WILLIAM SADLEIR,                             COUNTY OF OFFENSE:
                                             NEW YORK
                   Defendant.




SOUTHERN DISTRICT OF NEW YORK, ss.:

     DANIEL MARDAKHAYEV, being duly sworn, deposes and says that
he is a Special Agent with the Federal Bureau of Investigation
(the “FBI”), and charges as follows:

                               COUNT ONE
                   (Wire Fraud – Advertising Scheme)

     1.   From at least in or about 2016, up to and including in
or about March 2020, in the Southern District of New York and
elsewhere, WILLIAM SADLEIR, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations and promises,
and attempting to do so, transmitted and caused to be transmitted
by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, to
wit, SADLEIR, who was the chairman and chief executive officer of
Aviron Pictures, LLC (together with its affiliated entities,
“Aviron”), misappropriated millions of dollars in investor funds
from Aviron for his own personal use through fraud and deceit,
including through the use of a sham company he created to carry
out the scheme.

          (Title 18, United States Code, Sections 1343 & 2.)
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  2 of 27    Desc
                       Main Document      Page 79 of 365




                                COUNT TWO
                        (Wire Fraud – UCC Scheme)

     2.   In or about 2019, in the Southern District of New York
and elsewhere, WILLIAM SADLEIR, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations and promises,
and attempting to do so, transmitted and caused to be transmitted
by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, to
wit, SADLEIR caused the forging of the signature of one of the
managers of an investment fund (the “Fund”) that invested in Aviron
on documents used to remove liens on Aviron assets that secured
loans made by the Fund to Aviron, and SADLEIR then sold the Aviron
assets without the Fund’s consent.

         (Title 18, United States Code, Sections 1343 & 2.)

                              COUNT THREE
               (Aggravated Identity Theft – UCC Scheme)

     3.   In or about 2019, in the Southern District of New York
and elsewhere, WILLIAM SADLEIR, the defendant, willfully and
knowingly did transfer, possess, and use, without lawful
authority, a means of identification of another person, during and
in relation to a felony violation enumerated in Title 18, United
States Code, Section 1028A(c), to wit, SADLEIR possessed, used,
and transferred the name of another person in connection with the
wire fraud scheme charged in Count Two of this Complaint.

           (Title 18, United States Code, Section 1028A.)

     The bases for my knowledge and for the foregoing charge are,
in part and among other things, as follows:

     4.   I have been a Special Agent with the FBI since 2019. I
am currently assigned to a squad within the New York Division
responsible for investigating violations of federal securities
laws and related offenses.     I am familiar with the facts and
circumstances set forth below from my personal participation in
the investigation, including my examination of reports and
records, interviews I have conducted, and conversations with other
law enforcement officers and other individuals.      Because this
affidavit is being submitted for the limited purpose of

                                       2
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  3 of 27    Desc
                       Main Document      Page 80 of 365


establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation. Where
the contents of documents and the actions, statements and
conversations of others are reported herein, they are reported in
substance and in part, unless noted otherwise.

                      RELEVANT ENTITIES AND INDIVIDUALS

     5.   From my review of documents from the Fund, financial
institutions, the State of Delaware, and an escrow company, as
well as public filings and other publicly-available information,
and from speaking with one of the individuals currently responsible
for managing Aviron Pictures, LLC, I have learned the following,
in substance and in part:

          a.   The   Fund  is   a   publicly-traded,  closed-end
investment fund. Shares in the Fund trade on the New York Stock
Exchange.    As of in or about December 2019, the Fund had
approximately $649.1 million in assets. The Fund was managed by
an investment adviser (the “Investment Adviser”) whose principal
place of business is New York, New York. The Investment Adviser
is registered as such with the United States Securities and
Exchange Commission (the “SEC”). The Investment Adviser in turn
utilized several other SEC-registered investment advisers (the
“Sub-Advisers”), which also have their principal places of
business in New York, New York, to perform the day-to-day
management of the Fund’s investments, including investments
relating to Aviron.

          b.   WILLIAM SADLEIR, the defendant, was the chairman
and chief executive officer of Aviron Pictures, LLC, and oversaw
its operations, from in or about 2015 until in or about December
2019.

          c.   At all times relevant to this Complaint, Aviron
Pictures, LLC, was a film production and distribution company based
in Los Angeles, California and formed under the laws of Delaware.
Aviron Pictures, LLC was founded in or about 2015, and participated
in the distribution of a number of films in the United States,
including My All American (2015), Kidnap (2017), The Strangers:
Prey at Night (2018), A Private War (2018), Destination Wedding
(2018), Serenity (2019), and After (2019).      SADLEIR and Aviron
Pictures, LLC operated through multiple related legal entities
also based in Los Angeles, California, and formed under the laws
of Delaware, including Aviron Capital, LLC, Aviron Releasing, LLC,
Aviron 1601, LLC, MAA Releasing, LLC, and Aviron Group, LLC, among


                                       3
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  4 of 27    Desc
                       Main Document      Page 81 of 365


other entities (collectively referred to herein as “Aviron”).1
Aviron Group formally operated as a holding company for Aviron
Pictures, Aviron Capital, and Aviron Releasing.

          d.   Temerity Trust Management, LLC (“Temerity Trust”)
was an entity controlled and used by SADLEIR to hold his ownership
interests in Aviron Group, among other things. SADLEIR also used
Temerity Trust to establish a sham entity used in furtherance of
the fraudulent scheme charged in Count One, and to purchase real
estate using the proceeds of that scheme. According to the Limited
Liability Company Agreement for Temerity Trust, SADLEIR’s spouse
(the “Spouse”) formed Temerity Trust under the laws of the State
of Delaware on or about October 14, 2015, and at or about the time
of its formation the Spouse was its sole member.2 As of at least
in or about 2017, SADLEIR held himself out as the Managing Member
of Temerity Trust.

          e.   An individual referred to herein as the “Aviron IT
Employee” was an information technology specialist employed by
Aviron from at least in or about 2017 through in or about April
2020.

                   OVERVIEW OF THE FRAUDULENT SCHEMES

     6.   As set forth below, WILLIAM SADLEIR, the defendant,
participated in two fraudulent schemes (together, the “Schemes”)
relating to an approximately $75 million investment made by the
Fund in Aviron.

     7.   In one of the schemes (the “Advertising Scheme”),
WILLIAM SADLEIR, the defendant, misappropriated millions of
dollars in funds from Aviron that had been invested in Aviron by
the Fund.   SADLEIR represented to the Fund that this money had
been invested by Aviron in pre-paid media credits3 with the
advertising    placement   company   MediaCom    Worldwide,    LLC
(“MediaCom”), which is a subsidiary of the advertising and media
agency GroupM Worldwide Inc. (“GroupM Worldwide”).        Instead,
SADLEIR, using the bank account for a sham entity he had created,
illicitly transferred out of Aviron over $25 million of those
funds. Specifically, SADLEIR created a sham New York-based company

1 When discussed individually herein, each of these entities is
referred to without the “LLC” aspect of its legal title.
2 The Spouse was also employed by Aviron.
3 Pre-paid media credits, also referred to as “up fronts,” are

advance payments for media advertising that can be redeemed for
specific media advertising at a later time.
                                       4
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  5 of 27    Desc
                       Main Document      Page 82 of 365


called GroupM Media Services, LLC (the “Sham GroupM LLC”) designed
to appear as if it was the legitimate entity, GroupM Worldwide,
and a corresponding bank account in the name of that sham entity.
SADLEIR then used a significant portion of those illicitly
transferred funds for his personal benefit, including to purchase
a private residence in Beverly Hills for approximately $14 million.
SADLEIR then falsely represented to the Fund that Aviron had
purchased an approximately $27 million balance in pre-paid media
credits with MediaCom that were available to promote future Aviron
films, and pledged a portion of those credits to the Fund as
collateral for additional loans, when in fact the claimed credits
did not exist due to SADLEIR’s misappropriation. As part of these
false representations, SADLEIR also created a fake identity of a
purported New York-based female employee of the Sham GroupM LLC
named “Amanda Stevens” who corresponded with a representative of
the Fund, ensuring the Fund that Aviron had an approximately $27
million balance in pre-paid media credits with the Sham GroupM
LLC.   In fact, SADLEIR himself posed as Amanda Stevens when
engaging in email exchanges with a representative from the Fund.

     8.   In the other scheme (the “UCC Scheme”), WILLIAM SADLEIR,
the defendant, engineered the illicit and fraudulent sale and
refinancing of assets worth an estimated $3 million that secured
the Fund’s loans to Aviron. The Fund had secured its investment
in Aviron by, among other means, obtaining UCC liens in 2017 and
2018 on certain intellectual property and other assets relating to
Aviron’s films. In 2019, SADLEIR used the forged signature of one
of the Fund’s portfolio managers (“Manager-1”)4 on releases to
remove the Fund’s UCC liens on certain of these secured assets in
order to sell or refinance them without the Fund’s consent, thus
depriving the Fund of its collateral on outstanding loans, loans
on which Aviron ultimately defaulted.

                          THE ADVERTISING SCHEME

                                  Background

     9.   From reviewing documents provided by the Fund, a bank
headquartered in New York, New York (“Bank-A”), a bank
headquartered in Pasadena, California (“Bank-B”), GroupM Worldwide
and MediaCom, and an escrow company that assisted WILLIAM SADLEIR,
the defendant, in his purchase of residential property (the “Escrow
Company”), I have learned the following, in substance and in part:




4   Manager-1 was a Managing Director at one of the Sub-Advisers.
                                       5
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  6 of 27    Desc
                       Main Document      Page 83 of 365


          a.   Aviron Pictures and MediaCom entered into a Master
Services Agreement made effective as of on or about August 1, 2015
(the “2015 MediaCom Agreement”), which included a provision
providing for the pre-purchase of discounted media by Aviron
Pictures from MediaCom and its affiliate GroupM Worldwide.
MediaCom and GroupM Worldwide are both based in New York, New York.

          b.    On or about October 20, 2015, the Fund agreed to
extend credit to Aviron Capital, a financing affiliate of Aviron
Pictures, to finance prints, advertising, marketing, and promotion
of feature-length motion pictures pursuant to a credit and security
agreement (the “Credit Agreement”). The Credit Agreement provided
for an initial loan of $12 million to finance the distribution of
the film My All American, among other things, and further provided
that the Fund may provide subsequent loans to finance additional
films. The Credit Agreement also gave the Fund a security interest
in intellectual property and other assets relating to My All
American. SADLEIR signed the Credit Agreement in his capacity as
the Manager of Aviron Capital. On the same date, October 20, 2015,
Aviron Group, which owned all equity in Aviron Capital and Aviron
Pictures, separately agreed to pledge its equity interests in those
wholly owned subsidiaries as collateral for the Fund’s extension
of credit to Aviron Capital (the “Equity Pledge Agreement”).
SADLEIR signed that agreement in his capacity as President of
Aviron Group.

          c.   Also on or about October 20, 2015, the Fund wired
approximately $12 million to an Aviron Capital account at Bank-B
with account number ending in 5748 (“Aviron Capital Bank Account-
1”).   At the time, SADLEIR was one of the individuals with
signatory authority over Aviron Capital Account-1.

          d.   On or about October 7, 2016, a certificate of
formation for the Sham GroupM LLC was filed in Delaware. According
to the Limited Liability Company Agreement for the Sham GroupM
LLC, its Manager was SADLEIR and its sole member was Temerity Trust
(whose Manager was listed as the Spouse).

          e.   On or about October 18, 2016, SADLEIR opened an
account at Bank-A in the name of the Sham GroupM LLC with account
number ending in 8082 (the “Sham GroupM Bank Account”). Statements
for the Sham GroupM Bank Account were mailed to the same address
on Wilshire Boulevard in Los Angeles, California as account
statements for Aviron.

          f.   On or about October 19, 2016, the Credit Agreement
was amended to provide for, among other things, the financing of


                                       6
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  7 of 27    Desc
                       Main Document      Page 84 of 365


an additional film, Drunk Parents.5 The amendment provided that
the entity Aviron 1601, LLC could serve as the direct borrower for
certain funds provided by the Fund in connection with Drunk
Parents.   SADLEIR signed the amendment in his capacity as the
Manager of Aviron Capital and the Manager of Aviron 1601.

          g.   On or about October 20, 2016, a Statement of
Information for the Sham GroupM LLC was filed with the California
Secretary of State, listing the entity’s place of organization as
Delaware, its Manager as “William K. Sadleir,” and its agent for
service of process as the Spouse.

          h.   On or about January 12, 2017, Aviron Pictures, the
Fund, and MediaCom entered into a letter agreement providing, in
substance and in part, that, upon request, unused funds from media
pre-purchases would be refunded to the Fund (or to Aviron, with
the Fund’s consent). SADLEIR signed the agreement in his capacity
as Manager of Aviron Pictures.

                 SADLEIR’s Use of the Sham GroupM LLC
                   to Misappropriate Investor Funds

     10. From reviewing materials provided by the Fund, Bank-A,
Bank-B, GroupM Worldwide and MediaCom, and the Escrow Company, I
have learned the following, in substance and in part:

          a.   On or about February 24, 2017, the Fund wired
approximately $21 million to an account in the name of Aviron 1601,
LLC, at Bank-B, with account number ending in 8642 (the “Aviron
1601 Bank Account”), pursuant to the Credit Agreement.       At the
time, WILLIAM SADLEIR, the defendant, was one of the individuals
with signatory authority over the Aviron 1601 Bank Account. Per
agreement with the Investment Adviser, monthly statements for the
Aviron 1601 Bank Account were sent to both Aviron and the
Investment Adviser. Three days later, on or about February 27,
2017, SADLEIR caused $12,134,000 to be wired from the Aviron 1601
Bank Account to the Sham GroupM Bank Account. From reviewing bank
statements for the Sham GroupM Bank Account, the only expenditure
I was able to locate that appeared to relate to media or
advertising purchases or expenses was one $150,000 cashier’s check
drawn on the account on or about March 20, 2017 that was made out
to “MEDIACOM” from “Aviron Pictures” for the film Drunk Parents.6


5 Aviron Pictures ultimately did not serve as the distributor for
Drunk Parents.
6 It does not appear that the Sham GroupM LLC’s name would have



                                       7
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  8 of 27    Desc
                       Main Document      Page 85 of 365


Many of the other expenditures reflected in that account include
what appear to be personal expenditures by SADLEIR, such as the
following:

             i.   A $420,000 wire           transfer on or about June 21,
2017 to the Escrow Company for a            down payment on a residence in
Beverly Hills (the “Beverly Hills          Residence”) that SADLEIR agreed
to purchase on or about June 16,           2017 through Temerity Trust for
approximately $14 million.

            ii.   Thousands of dollars in other expenditures in
connection with SADLEIR’s purchase of the Beverly Hills Residence,
such as a wire of approximately $35,000 on or about September 21,
2016 to an interior design firm and checks totaling approximately
$1,776 for chimney inspectors in or about the summer of 2017.

           iii.   An approximately $27,000 wire transfer on or
about September 19, 2017 to a private jet charter company.

            iv.   An approximately $127,000 payment to Tesla
Motors on or about October 11, 2017.   From reviewing SADLEIR’s
Department of Motor Vehicles records, I have learned that he
currently owns a 2017 Tesla Model X.

          b.   On or about July 17, 2017, the Fund and Aviron
Capital entered into a note purchase and security agreement (the
“2017 Note Purchase Agreement”) to refinance the credit
arrangements under their earlier agreements and to provide
capacity to finance the distribution of additional movies by
Aviron, including Kidnap.      The 2017 Note Purchase Agreement
increased the amount of credit extended by the Fund to $75 million.
The agreement also gave the Fund a security interest in certain
intellectual property and other assets relating to the films My
All American, Drunk Parents, Kidnap, and potential future Aviron
films. SADLEIR signed the agreement in his capacity as Manager of
Aviron Capital. Also on or about July 17, 2017, the Fund entered
into an omnibus amendment agreement with Aviron Group, Aviron
Pictures, and MAA Releasing, providing, among other things, and in
substance and in part, that all references to the Credit Agreement
in the Equity Pledge Agreement would be replaced by references to
the 2017 Note Purchase Agreement, and affirming that the Equity
Pledge Agreement would remain in effect.       SADLEIR signed the



been printed on this cashier’s check. Rather, the bank records
indicate that it would have appeared to have been a check from
Aviron Pictures.
                                       8
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/18/20   Page 19:11:23
                                                                  9 of 27    Desc
                       Main Document      Page 86 of 365


amendment in his capacity as Manager of Aviron Group, Aviron
Pictures, and MAA Releasing.

           c.   On or about July 18, 2017, the Fund wired
$40,629,615.63 to Aviron Capital Bank Account-1. Also on or about
July 18, 2017, SADLEIR sent an email from a particular Aviron email
address (“Sadleir Aviron Email Account-1”) to a representative of
Bank-B, stating, in substance and in part, that “Aviron Capital
should be receiving an incoming wire from [the Fund] today in the
amount of 40,696,615.63 to its collection account, number ending
in 5748,” and providing instructions for the transfer of some of
those funds. A portfolio manager for the Fund (“Manager-2”)7, and
others, were copied on the email. A portion of those funds appears
to have been misappropriated by SADLEIR to pay for the purchase of
the Beverly Hills Residence through the following series of
transfers:

              i.  On or about August 10, 2017, approximately
$9,475,000 was wired from Aviron Capital Bank Account-1 to an
Aviron Capital account at Bank-A with account number ending in
3036 (“Aviron Capital Bank Account-2”). At the time, SADLEIR was
one of the individuals with signatory authority over Aviron Capital
Bank Account-2.    Approximately two months later, on or about
October 11, 2017, an additional approximately $4,250,642 was wired
from Aviron Capital Bank Account-1 to Aviron Capital Bank Account-
2.

            ii.   On or about October 16, 2017, approximately
$13,525,000 was transferred from Aviron Capital Bank Account-2 to
the Sham GroupM Bank Account.

           iii.   On or about October 17, 2017, approximately
$13,515,156.60 was wired from the Sham GroupM Bank Account to the
Escrow Company to pay for the Beverly Hills Residence. The nominal
purchaser of the Beverly Hills Residence was Temerity Trust, but
SADLEIR executed the purchase and escrow documents for the Beverly
Hills Residence as the Managing Member of, and Authorized Signor
for, Temerity Trust, and the Escrow Company that facilitated the
purchase dealt directly with SADLEIR as a representative of
Temerity Trust.     For example, in a June 21, 2017 email, a
representative of the Escrow Company emailed SADLEIR at Sadleir
Aviron Email Account-1, and said, in substance and in part, “Hello
Mr. Sadleir: Attached please find opening escrow paperwork for
your purchase [of the Beverly Hills Residence].”



7   Manager-2 was a Director at one of the Sub-Advisers.
                                       9
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 10 of 27    Desc
                        Main Document     Page 87 of 365


        SADLEIR’s Continued Misrepresentations Concerning
    the Sham GroupM LLC to Secure Additional Investment Funds

     11. From reviewing materials provided by the Fund, including
emails, an audio recording, and other materials; documents
provided by Bank-A; and documents from GroupM Worldwide and
MediaCom, as well as from speaking with a representative of GroupM
Worldwide, I have learned the following, in substance and in part:

          a.   On or about March 12, 2019, WILLIAM SADLEIR, the
defendant, sent an email to Manager-2 purporting to detail the
substantial pre-paid media credit assets held by Aviron Pictures’
financing affiliate, Aviron Capital. The email attached the 2015
MediaCom Agreement and documents “reflecting the payments to
GroupM Media Services,” and stated:

      Some of the payments were wired from other banks, and
      the payments Aviron Capital made were bank account
      transfers since GroupM banks at [Bank-A], as do we. . .
      . I’ll track down and forward the emails that detail
      how to have our own media planning company coordinate
      with GroupM’s media traffic desk to apply our banked
      national television media towards specific television
      campaigns for films being released by Aviron Pictures.

The signature block for SADLEIR’s email included a cellphone number
ending in 6969 (the “Sadleir Cellphone Number”).        One of the
attached documents was an accounting spreadsheet that purports to
reflect a total of $28,597,000 in pre-paid media credits purchased
by Aviron Capital between in or about November 2016 and in or about
January 2018.

          b.   On or about March 15, 2019, Manager-2 sent an email
to SADLEIR at another Aviron email address (“Sadleir Aviron Email
Account-2”), copying Manager-1, and stating, in substance and in
part, that the Fund needed resolution about whether $10 million of
Aviron Capital’s unused pre-paid media credits could be relied on
as collateral for potential additional loans from the Fund. On or
about March 18, 2019, SADLEIR responded to Manager-2 from Sadleir
Aviron Email Account-2, copying Manager-1, stating, in substance
and in part, “we have confirmation from GroupM that the national
television media that was banked remains available to Aviron
Pictures to use on future Aviron films, regardless of the fact
that we no longer use MediaCom (a GroupM company) as our
advertising agency.” Manager-2 in turn responded to SADLEIR at
Sadleir Aviron Email Account-2, copying Manager-1, stating, in
substance and in part, “[w]ithout receiving something in writing
from Group M, we have little certainty that they would take
                                       10
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 11 of 27    Desc
                        Main Document     Page 88 of 365


direction from us.   Perhaps, you could share a contact at the
comp[any [sic] and we would be glad to speak to them.” SADLEIR
replied to Manager-2 from Sadleir Aviron Email Account-2, copying
Manager-1, stating, in substance and in part, “GroupM wouldn’t
take direction from you because the contract is exclusively with
Aviron Pictures. But, we’d take direction for you.”

          c.    On or about March 22, 2019 and on or about March
25, 2019, the Fund, SADLEIR, Aviron Capital, and Temerity Trust
signed agreements providing for the extension of an additional $10
million in loan funds for use in connection with the film After.
Under these agreements, SADLEIR and Temerity Trust pledged their
entire membership interests in Aviron Group to secure the loans
from the Fund, with the entities owned by Aviron Group listed as
including Aviron Pictures; Aviron Releasing; and Aviron Capital
and its wholly owned subsidiaries, including MAA Releasing, LLC,
Aviron 1601, LLC, Aviron 1701, LLC, Aviron 1702, LLC, Aviron 1704,
LLC, Aviron 1705, LLC, Aviron 1706, LLC, and Aviron 1801, LLC.
Aviron Capital agreed to use unused pre-paid media credits with
“Group M, the parent of Mediacom” as collateral for the $10 million
in loans. SADLEIR was a signatory to those agreements on his own
behalf, and also in his capacity as Manager of both Aviron Capital
and Temerity Trust.

           d.  Between on or about March 25 and on or about March
26, 2019, the Fund wired a total of approximately $10 million to
an Aviron Capital account at Bank-A with account number ending in
0956 (“Aviron Capital Account-3”). At the time, SADLEIR was one
of the individuals with signatory authority over Aviron Capital
Account-3.

          e.   In a letter dated July 1, 2019 (but actually sent
on or about July 9, 2019), the Fund notified Aviron Capital, in
substance and in part, that Aviron Capital was in default on its
loan payments and other obligations.

          f.   On or about September 16, 2019, an individual in
the finance and accounting department at Aviron Pictures sent an
email to Manager-2, copying SADLEIR at Sadleir Aviron Email
Account-2, stating, in substance and in part, that the email was
attaching documents constituting the “backup given to the CPAs for
the $28,522,000 in Prepaid Media.” Those documents included, among
other things, purported MediaCom forms showing the pre-purchase of
approximately $27 million in media for Aviron, with instructions
that funds for the pre-purchase of media be wired to the Sham
GroupM Bank Account.     Four separate such forms, each bearing
SADLEIR’s signature, memorialize the following approximate
purported purchase amounts on or about the following dates:

                                       11
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 12 of 27    Desc
                        Main Document     Page 89 of 365


                i.      October 18, 2016: $2,557,800

              ii.       December 13, 2016: $460,000

             iii.       February 17, 2017: $12,134,200

              iv.       October 10, 2017: $13,525,0008

     12. Based on my discussion with a representative of
MediaCom, I have learned that these purchases never took place,
and that in or about September 2019 Aviron did not have a pre-paid
media balance with MediaCom or GroupM Worldwide.

    SADLEIR’s Use of the Fake “Amanda Stevens” Identity to Deceive
            the Fund into Continuing its Support of Aviron

     Sadleir Directs the Establishment of the Sham Company’s Web
           Presence and the “Amanda Stevens” Email Account

     13. From reviewing materials provided by the Fund, GroupM
Worldwide and MediaCom, telephone service providers T-Mobile,
Axion Communications (“Axion”), and Bandwidth.com, and internet
domain name registrar and website hosting and email service
provider GoDaddy.com, LLC (“GoDaddy”), as well as from speaking
with a representative of Axion and reviewing publicly available
content on the internet, I have learned the following, in substance
and in part:

           a.   The domain name “groupm-ms.com” was registered with
GoDaddy using a GoDaddy customer account (the “GoDaddy Account”)
on or about November 12, 2019. The administrator of the GoDaddy
Account   (the    “GoDaddy   Account    Administrator”)  identified
themselves to GoDaddy as “William Sadleir,” residing at the Beverly
Hills     Residence,     and     having     the    email    address
groupmms212@gmail.com (the “GroupM Gmail Address”) and the Sadleir
Cellphone Number. The name “William Sadleir” was also provided as
the technical, administrative, and billing contact for the GoDaddy
Account, and the domain and email hosting fees for groupm-ms.com
were paid for with an American Express card in the name of “William
Sadleir” with account number ending in 2000. However, as discussed
below, based on my review of customer service audio recordings and
phone records, it appears that the GoDaddy Account Administrator
was actually the Aviron IT Employee, who established and



8 No bank wiring information was listed on the October 10, 2017
form.
                                       12
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 13 of 27    Desc
                        Main Document     Page 90 of 365


administered     the   GoDaddy     Account    for    WILLIAM    SADLEIR,     the
defendant.

          b.   The email address “a.stevens@groupm-ms.com” (the
“Stevens Email Account”) was also established through the GoDaddy
Account on or about November 12, 2019. The purported user of the
Stevens Email Account was listed as “Amanda Stevens” and as being
located in the United States. However, as discussed in greater
detail below, based on my review of IP records, it appears that
SADLEIR was actually the user of the Stevens Email Account after
it was established by the Aviron IT Employee.

          c.   There is currently no website content hosted at the
internet   URL  www.groupm-ms.com.     However,   from   reviewing
historical internet content available at a website that preserves
archives of webpages, I was able to review content for that
website, and a screen capture of that content is posted below:




                                       13
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 14 of 27    Desc
                        Main Document     Page 91 of 365


          d.   For the sake of contrast, a screen capture9 of the
legitimate website for GroupM Worldwide, located at the URL
www.groupm.com, is depicted below:




          e.   Also on or about November 12, 2019, the same day
the Stevens Email Account was established, the Aviron IT Employee
contacted a representative of Axion (“Axion Representative-1”)
both by telephone (with a number ending in 2155, hereinafter the
“Aviron IT Employee Cellphone Number”)10 and through email (using
the GroupM Gmail Address) about establishing a voicemail account
on Axion’s network that would have a 212 area code. As discussed
above, both MediaCom and its parent company GroupM Worldwide are
based in New York, New York, and the 212 area code is associated
with that area.    Axion’s customer service system automatically
recorded a series of telephone calls from the Aviron IT Employee
on or about November 12, 2019.     During one of those calls, in
substance and in part, the Aviron IT Employee stated that he had
a “dilemma” for which he needed a “solution,” that he needed to
set up a number with a 212 area code and a voicemail box, and that
he did not need the 212 number to be capable of placing outgoing
calls. Axion Representative-1 noted that he did not have any 212
numbers available for purchase, but that the Aviron IT Employee
could try purchasing a 212 number from another provider and

9 This screen capture was taken on or about March 8, 2020.
10 In T-Mobile records, the subscriber for the Aviron IT Employee
Cellphone Number is listed as the Aviron IT Employee, although
with a different spelling of his first name.
                                       14
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 15 of 27    Desc
                        Main Document     Page 92 of 365


transferring it to Axion to set up a voicemail box. The Aviron IT
Employee replied, in substance and in part, “I got to talk to my
boss about this and then I will, I will hit you back up.” In a
subsequent call on the same day, the Aviron IT Employee informed
Axion Representative-1, in substance and in part, that the Aviron
IT Employee was able to purchase a 212 number from another service
provider, and began arranging to have that number “ported” (i.e.,
transferred) to the Axion network.    Toll records show that the
Sadleir Cellphone Number and the Aviron IT Employee Cellphone
Number exchanged calls on or about November 12, 2019 after the
Aviron IT Employee Cellphone Number contacted Axion and stated
that he needed “to talk to my boss about this,” as reflected in
the table below:

 Time11        Caller                   Recipient                 Duration
 10:57 a.m.    Aviron IT    Employee    Axion12                   5:29
 1:35 p.m.     Aviron IT    Employee    Axion                     1:20
 3:33 p.m.     Aviron IT    Employee    Axion                     3:25
 3:39 p.m.     Aviron IT    Employee    Axion                     3:33
 4:23 p.m.     SADLEIR                  Aviron IT Employee        3:02
 4:26 p.m.     Aviron IT    Employee    SADLEIR                   1:15

          f.   On or about November 13, 2019, the Aviron IT
Employee emailed Axion Representative-1 from the GroupM Gmail
Address, in substance and in part, “can you setup the email [for
the account] to the following and make the name Amanda instead of
Eddie please. a.stevens@groupm-ms.com”.    Axion Representative-1
replied to the GroupM Gmail Address, in substance and in part,
“Email address updated. The name on the extension isn’t used for
anything, so I just left it as Eddie so if you call in the guys
can find it easier.” On or about the same day, the GoDaddy Account
Administrator set up a two-factor authentication protocol for the
GoDaddy Account with a cellphone number ending in 2155 (the “2155
Authentication Number”), pursuant to which the user of the account
would be required to provide an authentication number texted to
that cellphone number in addition to using a standard password to
make certain changes to the account. GoDaddy account records do
not list the first six digits of the 2155 Authentication Number,
but, as noted above, the Aviron IT Employee Cellphone Number also
ends in 2155, and thus they appear to be the same phone number.
Further, I have compared Axion customer service audio recordings
of the Aviron IT Employee with GoDaddy customer service audio

11 All times listed in this Complaint are in Pacific Standard Time
unless otherwise noted.
12 From reviewing documents provided by Axion, I learned Axion’s

office telephone number, which ends in 1414.
                                       15
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 16 of 27    Desc
                        Main Document     Page 93 of 365


recordings of the GoDaddy Account Administrator, and based on that
comparison the Aviron IT Employee appears to be the GoDaddy Account
Administrator. Thus, it appears that SADLEIR enlisted the Aviron
IT Employee in establishing a website for the Sham GroupM LLC and
an email account and voicemail box for “Amanda Stevens.”

          Sadleir Uses the “Amanda Stevens” Email Account to
                     Deceive the Portfolio Manager

          g.   On or about November 13, 2019, SADLEIR, using
Sadleir Aviron Email Account-2, sent an email to the Stevens Email
Account, copying Manager-2, and stating, in substance and in part,
“Dear Ms. Stevens: I understand you are likely the person who can
validate the available media balance on account for Aviron
Pictures. Aviron participated in the up-fronts in late 2016 and
again in 2017, but has not yet applied the media towards marketing
campaigns for our films. Can you please send me an accounting of
the Aviron Pictures media balance, along with information about
how it can be used, including possible refunds, and the equivalent
gross rating points associated with the purchased media?”      The
Stevens Email Account responded to SADLEIR at Sadleir Aviron Email
Account-2, copying Manager-2, on or about November 14, 2019, and
stating, in substance and in part, “Mr. Sadleir: We changed our
tracking systems earlier this year. To facilitate my search and
provide the information that you’re requesting, please tell me who
is (or was) Aviron Picture’s media agency of record when the media
purchases were made? Sincerely, Amanda.” The signature block for
that email is reproduced below:




The phone number listed in that signature block, (212) 299-4768,
is hereinafter referred to as the Stevens Phone Number.



                                       16
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 17 of 27    Desc
                        Main Document     Page 94 of 365


          h.   On or about November 14, 2019, the Aviron IT
Employee sent an email from his gmail account (the “Aviron IT
Employee Gmail Address”) to Axion Representative-1 with paperwork
for transferring the Stevens Phone Number from another service
provider to the Axion network.     That document identified the
existing billing contact information for the Stevens Phone Number
as “William Sadleir” at the Beverly Hills Residence.13

          i.   On or about November 15, 2019, the Stevens Email
Account sent an email to SADLEIR at Sadleir Aviron Email Account-
2, copying Manager-2, stating the following, in substance and in
part:

      The summary balance report for Aviron is attached. There
      remains a credit of $27,650,000 in total unused media
      purchases. Except for $250,000 for print in 2017, all
      of the media was purchased through the Up-front process
      for years 2017 and 2018.      Unused media purchased in
      conjunction with broadcast Up-fronts is refundable only
      the participation year, and then only with a 90-day
      advance notice. . . .      Finally, although the media
      credits are generally not transferable to other clients,
      we have worked creatively in past situations to help
      recover value for a client when their media requirements
      change.

SADLEIR responded to the Stevens Email Account on or about November
22, 2019 from Sadleir Aviron Email Account-2, copying Manager-2,
stating, in substance and in part, “can you please provide some
times you might be available for a call with me and my colleague,
[Manager-2], to review the possible options that you mention in
your last paragraph in the email below?” The Stevens Email Account
responded to SADLEIR at Sadleir Aviron Email Account-2, copying
Manager-2, “I’m away for the Thanksgiving holiday until December
2 but can speak with you and [Manager-2] upon my return, if
necessary.” Manager-2 replied to the Stevens Email Account, also
including SADLEIR at Sadleir Aviron Email Account-2, “Hi Amanda,
Thank you for the response. Can we proceed with setting up a time
to discuss upon your return.”

          j.   Also on or about November 15, 2019, the Aviron IT
Employee sent an email from the Aviron IT Employee Gmail Address

13From reviewing documents provided by Google, I have learned, in
substance and in part, that the account holder for the Aviron IT
Employee Gmail Address is the Aviron IT Employee and that the phone
number provided by that account holder for account authentication
and recovery purposes is the Aviron IT Employee Cellphone Number.
                                       17
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 18 of 27    Desc
                        Main Document     Page 95 of 365


to Axion Representative-1 stating, in substance and in part, “Can
you please change the VM e-mail name to Amanda. Please.....” Axion
Representative-1 responded, in substance and in part, “It’s
already set to a.stevens@groupm-ms.com. Do you need me to change
something else?” The Aviron IT Employee replied, in substance and
in part, “Just the name that show’s up when a VM message is e-
mailed to that address. It say[s] Eddie.”

          k.   The Stevens Phone Number was assigned to the Axion
telephone network between on or about November 15, 2019 and on or
about March 6, 2020. During that time frame, the Stevens Phone
Number did not place any outgoing calls.

          l.   On or about December 3, 2019, the Stevens Email
Account emailed Manager-2 and SADLEIR at Sadleir Aviron Email
Account-2, in substance and in part, “[Manager-2]: I followed up
yesterday with my colleague who is pulling together the media
details that Mr. Sadlier [sic] requested.     He should have it
completed by tomorrow. It’s our busiest time of year, so please
excuse the delay.”

          m.   On or about December 16, 2019, the Fund sent a
letter to SADLEIR, Aviron Pictures, Aviron Capital, and Aviron
Group, asserting that the Fund would exercise its rights to
collateral under the loan and security agreements between the Fund
and those entities to take ownership of Aviron Pictures and Aviron
Capital and replace SADLEIR as Manager of those entities.

           n.  On or about December 17, 2019, the Fund filed a
lawsuit against SADLEIR and Aviron in New York Supreme Court,
seeking, among other things, to have SADLEIR removed from his
positions at Aviron Pictures and Aviron Capital. The lawsuit was
initially filed on an ex parte basis, and sought a temporary
restraining order, which was granted on the same day the lawsuit
was filed.

          o.   The next day, on or about December 18, 2019, the
Fund served a copy of the temporary restraining order on SADLEIR
and Aviron.

          p.   On or about December 19, 2019, the Fund’s request
for a preliminary injunction removing SADLEIR from his position at
Aviron Pictures and Aviron Capital was granted, and the Fund was
permitted to select a replacement Manager for those entities.

          q.   On or about January 6, 2020, GoDaddy records show
a login to the Stevens Email Account from an IP Address registered
to SADLEIR at the Beverly Hills Residence (the “Sadleir IP

                                       18
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 19 of 27    Desc
                        Main Document     Page 96 of 365


Address”).14 The Sadleir IP Address also logged in to the Stevens
Email Account on or about January 20, 21, 22, 23, 24, 27, 28, 29,
30, and February 17.

          r.    On or about January 16, 2020, the replacement
Manager for Aviron Pictures and Aviron Capital selected by the
Fund (the “Replacement Manager”), sent an email to the Stevens
Email Account, stating, in substance and in part, “Hi Amanda, I
just left you a voice mail. I’m the new manager of Aviron Pictures.
. . . I’d like to talk to you about the pre-paid media contract
summary, attached.”     The Stevens Email Account responded, in
substance and in part, “My authorized contact at Aviron is Mr.
Sadlier [sic]. Can you either have him confirm by email that you
are now the authorized representative of Aviron Pictures or provide
some other evidence upon which I can rely in responding to you.
Also, I’m on maternity leave, but working from home. If you can
please email the questions you have, I’ll do my best to provide
answers as quickly as possible.”

          s.   On or about January 22, 2020, the Stevens Email
Account sent an email to the Replacement Manager, stating, in
substance and in part, “I received your voicemail message. Please
send me an email with any questions, and I’ll do my best to respond
as quickly as possible. Thank you, Amanda”.        The Replacement
Manager responded, in substance and in part, “We’re requesting
full refund of the unused portion of the pre-paid media.       It’s
likely best to talk to you directly to discuss the process and
timing.” The Stevens Email Account replied, in substance and in
part, “We have already discussed this subject with Mr. Sadlier
[sic] at considerable length. I suggest you confer with him. . .
. I provided a general accounting to Mr. Sadlier [sic] of the
possible ‘credits’ that may be available at the various networks.”

          t.   On or about January 29, 2020, SADLEIR, using
Sadleir Aviron Email Account-2, sent an email to the Stevens Email
Account asking, in substance and in part, for an updated pre-paid
media credits report. On or about January 30, the Stevens Email
Account responded to SADLEIR at Sadleir Aviron Email Account-2,
adding the Replacement Manager as a recipient for the email and
attaching a list of media credits purportedly belonging to Aviron
that totaled approximately $27,650,000, and stating, in substance
and in part, “[w]hen you're ready to use the credits, simply have
your Agency of Record contact me, preferably with a media plan,
and we'll notify the various media companies.” The Replacement
Manager responded on or about February 4, 2020, dropped SADLEIR
from the email chain and added others, and asked, in substance and

14   GoDaddy does not possess IP login data for earlier dates.
                                       19
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 20 of 27    Desc
                        Main Document     Page 97 of 365


in part, for additional documentation concerning Aviron’s pre-paid
media credits. The Replacement Manager also noted that “neither
Mr. Sadleir nor any other person or entity has the authority to
direct you how to use those credits except for me/Aviron Pictures
LLC.”

          u.   On or about January 30, 2020, counsel for Aviron
Pictures sent a letter to the Stevens Email Account, stating, in
substance and in part, “demand is hereby made for a refund to
Aviron for unused Pre-Paid Media in an amount of at least $27.65
million.”

          v.   On or about February 6, 2020, the Stevens Email
Account sent an email to the Replacement Manager, copying others,
and stating, in substance and in part, “I will be sending a reply
later today to the letter we received from Aviron’s attorney.”
The Replacement Manager responded the next day, on or about
February 7, stating, in substance and in part, that he had not yet
received the reply letter, and asking for confirmation of the email
address of GroupM Worldwide’s general counsel (the “GroupM
Worldwide General Counsel”).

          w.   On or about February 7, 2020, outside counsel for
Aviron Pictures sent a letter to the GroupM Worldwide General
Counsel, copying “Amanda Stevens” and others, and, in substance
and in part, reiterating a demand for a refund of Aviron Pictures’
pre-paid media credits. The letter also noted that “[a] copy of
our letter, dated January 30, 2020, to your colleague Amanda
Stevens on this matter is attached hereto.”

          x.   On or about February 8, 2020, the Stevens Email
Account sent an email to the Replacement Manager, copying SADLEIR
at Sadleir Aviron Email Account-2, counsel for Aviron, an associate
of the Replacement Manager, and Manager-2, and stating, in
substance and in part, “This is in response to the demand for a
refund notice that we received from Aviron Picture’s attorney,
dated January 30, 2020. We are not aware of any previous requests
by Aviron for a refund, as claimed in [Aviron’s counsel]’s letter.
Nonetheless, it is our position that no refunds will be made by
GroupM Media Services or any of the associated media companies and
that only media credits remain available to Aviron.”

          y.   On or about February 24, 2020, the GroupM Worldwide
General Counsel sent an email from her email address, ending in
“@groupm.com,” to outside counsel for Aviron Pictures, stating, in
substance and in part, “I acknowledge receipt of your letter dated
7 February 2020. Please note my correct contact details. I note
that you have sent the letter to an Amanda Stevens, I have no

                                       20
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 21 of 27    Desc
                        Main Document     Page 98 of 365


record of such a person so please do let me know if you have
received any response.   I will look into this matter with the
agency concerned and revert to you as soon as possible.”

          z.   On or about February 25, 2020, a call placed to the
Stevens Phone Number was directed to a voicemail box, which played
the following recorded message, in substance and in part, in what
appears to be a woman’s voice: “Hi, this is Amanda Stevens at
GroupM Media Services. I’m either on a call or away from my desk.
Please leave your name, number, and a brief message, and I’ll get
back to you. Thank you.”

          aa. On or about February 28, 2020, the GoDaddy Account
Administrator (who, as discussed above, appears to be the Aviron
IT Employee) deleted the mailbox for the Stevens Email Account.
Also on that date, SADLEIR and the Aviron IT Employee exchanged a
series of calls, and shortly thereafter the Aviron IT Employee
called Axion, as detailed in the table below:

Date/Time     Caller                   Recipient                 Duration
1:55 p.m.     SADLEIR                  Aviron IT Employee        No connect.
1:55 p.m.     Aviron IT    Employee    SADLEIR                   0:03
1:57 p.m.     Aviron IT    Employee    SADLEIR                   5:37
2:11 p.m.     Aviron IT    Employee    SADLEIR                   1:09
2:33 p.m.     Aviron IT    Employee    Axion                     2:44

Axion’s customer service system automatically recorded the
telephone conversation between the Aviron IT Employee and an Axion
representative (“Axion Representative-2”) on or about February 28,
2020.   During that call, the Aviron IT Employee requested, in
substance and in part, that Axion “cancel” the Stevens Phone Number
and “just let it be a dead end.”

        bb.    On or about March 2, 2020, at approximately 10:23
a.m., the Aviron IT Employee Cellphone Number placed an
approximately 10-minute phone call to the Sadleir Cellphone
Number.   Approximately one hour after that call, between 11:22
a.m. and 11:29 a.m., GoDaddy records show that the GoDaddy Account
Administrator cancelled his account registration and hosting of
the domain groupm-ms.com. Less than one hour later, at
approximately 12:09 p.m., the Aviron IT Employee Cellphone Number
placed a call to a GoDaddy customer service line. The Aviron IT
Employee Cellphone Number then placed two calls to Axion over the




                                       21
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered
                                                 05/18/2006/19/20 19:11:23
                                                            Page 22 of 27    Desc
                        Main Document     Page 99 of 365


course of the next several hours.               The following table details
this series of phone calls:

 Date/Time     Caller                        Recipient           Duration
 10:23 a.m.    Aviron   IT   Employee        SADLEIR             10:08
 12:09 p.m.    Aviron   IT   Employee        GoDaddy15           8:22
 12:58 p.m.    Aviron   IT   Employee        Axion               0:25
 1:34 p.m.     Aviron   IT   Employee        Axion               4:54

From my review of Axion customer service recordings from on or
about March 2, 2020, I learned, in substance and in part, that in
the first phone call to Axion listed in the table above, the Aviron
IT Employee asked to speak with Axion Representative-1, but was
informed by Axion Representative-2 that Axion Representative-1 was
not in the office at the time.     In the second phone call, the
Aviron IT Employee asked Axion Representative-2, in substance and
in part, whether Axion had a means of looking up information about
a particular phone number to “see where it goes to,” and claimed
that his question related to a call the Aviron IT Employee had
received from someone trying to serve legal documents on one of
his relatives regarding a debt. Axion Representative-2 responded
that Axion previously used a particular website to look up
information about phone numbers, but that website was taken down.

        cc.    On or about March 4, 2020, the Aviron IT Employee
contacted the GoDaddy customer service line about the GoDaddy
Account, with customer service notes being made in the account’s
electronic file between approximately 12:54 p.m. and 1:07 p.m.
Phone records show an approximately 28 minute call from the Aviron
IT Employee Cellphone Number to GoDaddy at or about 12:38 p.m. on
the same day. The latter half of the ensuing call between the
Aviron IT Employee and a GoDaddy customer service representative
was recorded by GoDaddy. In the beginning of the call, according
to GoDaddy customer service notes, the Aviron IT Employee stated,
in substance and in part, that the Aviron IT Employee had deleted
his domain with GoDaddy but that the Aviron IT Employee’s account
information was still accessible on a GoDaddy internet domain
registration database.    As discussed above, that user account
information would have included the name “William Sadleir.”16 A

15 According to GoDaddy’s website, (480) 463-8390 is one of the
numbers for its sales and support team.
16 From reviewing documents provided by GoDaddy, I know that the

GoDaddy Account’s user contact information was shielded by a
privacy service from on or about November 12, 2019 to on or about
March 2, 2020. However, that information became visible on public


                                        22
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered 06/19/20
                                                 05/18/20        19:11:23
                                                           Page 23 of 27    Desc
                       Main Document     Page 100 of 365


GoDaddy representative informed the Aviron IT Employee, who the
GoDaddy representative referred to as “William,” in substance and
in part, that it takes time for user information to be removed
completely from GoDaddy’s domain registration database, and “it is
true that your name is still there, but don’t you worry. Like I
said, we will be able to make it disappear within this day.”

        dd.    The next day, on or about March 5, 2020, the Aviron
IT Employee Cellphone Number placed a call to the Sadleir Cellphone
Number that lasted for approximately two minutes and 17 seconds.

        ee.     On or about March 7, 2020, the Aviron IT Employee
contacted the GoDaddy customer service line again about the GoDaddy
Account, with customer service notes being made in the customer
file between approximately 3:03 p.m. and 3:25 p.m. Phone records
show an approximately 31 minute call from the Aviron IT Employee
Cellphone Number to GoDaddy at or about 2:53 p.m. on the same day.
The ensuing call between the Aviron IT Employee and a GoDaddy
customer service representative was recorded by GoDaddy. On that
call, the Aviron IT Employee identified himself as “William,” and
provided a customer number, PIN number, and a separate number
texted to the Aviron IT Employee(at the 2155 Authentication Number,
which as discussed above appears to be the Aviron IT Employee
Cellphone Number) during the call as part of a two-factor
authentication process.      The Aviron IT Employee stated, in
substance and in part, that his account information was still
accessible on a GoDaddy internet domain registration database
despite multiple requests to remove it, and that “I’m a very
private person and this was a venture I was going to do that I
decided not to and I’d like for it to be removed.” The GoDaddy
customer service representative responded, in substance and in
part, that the account information would be removed from GoDaddy’s
internet domain registration database that day.

        ff.    Three days later, on or about March 10, 2020, the
Aviron IT Employee Cellphone Number placed a call to the Sadleir
Cellphone Number that lasted for approximately two minutes and
seventeen seconds.

     14. From speaking with a representative of GroupM Worldwide
(the “Legitimate GroupM Representative”), I have learned, in
substance and in part, that the Sham GroupM LLC is not associated
in any way with GroupM Worldwide, and that neither the Stevens

internet domain registration databases when the GoDaddy Account
Administrator cancelled various account features, including a
privacy feature, when he deleted his domain registration on or
about March 2, 2020.
                                      23
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered 06/19/20
                                                 05/18/20        19:11:23
                                                           Page 24 of 27    Desc
                       Main Document     Page 101 of 365


Email Account nor the Stevens Phone Number have ever been used by
a GroupM Worldwide employee. Further, based on a review of records
for employees in the United States, the Legitimate GroupM
Representative has found no record of any GroupM Worldwide employee
named “Amanda Stevens.”

     15. Based on the foregoing, it appears that the Sham GroupM
LLC was created by WILLIAM SADLEIR, the defendant, to
misappropriate funds that SADLEIR claimed were provided to GroupM
Worldwide, that “Amanda Stevens” is a fake identity created at
SADLEIR’s direction, that the “Amanda Stevens” identity as well as
the Stevens Email Account and domain groupm-ms.com were created at
SADLEIR’s direction to conceal and further SADLEIR’s efforts to
misappropriate investor funds, and that SADLEIR himself posed as
Amanda Stevens when engaging in email exchanges with a
representative from the Fund.

                               THE UCC SCHEME

     16. From reviewing documents provided by the Fund, including
emails, contracts, affidavits and other documents filed in court
by the Fund, and other materials, and documents provided by the
Delaware Secretary of State, I have learned the following, in
substance and in part:

          a.   In or about 2017 and 2018, certain UCC filings were
made in Delaware to secure the Fund’s loans to Aviron.
Specifically, those UCC filings secured the Fund’s loan with
certain intellectual property and other assets relating to the
films My All American, Drunk Parents, Kidnap, The Strangers: Prey
at Night, Destination Wedding, and potential future Aviron films.

          b.   As discussed above, at least as early as on or about
July 9, 2019, the Fund notified Aviron that it had defaulted on
its loan payment obligations to the Fund.

          c.   On or about July 15, 2019 and on or about September
16, 2019, a law firm representing Aviron arranged for the
electronic filing of a total of approximately fourteen UCC
amendments with the Delaware Secretary of State representing that
the Fund consented to the deletion of its security interest in
certain intellectual property and other assets that served as
collateral for the Fund’s loans to Aviron (the “Fraudulent UCC
Filings”). Specifically, on or about July 15, 2019, an individual
in the law firm’s Los Angeles office filed a total of eleven UCC
amendments relating to the Fund’s secured interests in My All
American, Kidnap, The Strangers: Prey at Night, and Destination
Wedding, and on or about September 16, 2019, an individual in the

                                      24
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered 06/19/20
                                                 05/18/20        19:11:23
                                                           Page 25 of 27    Desc
                       Main Document     Page 102 of 365


law firm’s Manhattan office filed a total of three UCC amendments
relating to the Fund’s secured interests in The Strangers: Prey at
Night. These UCC amendments allowed Aviron to sell or refinance
several of the movie rights that served as collateral for the
Fund’s loans to Aviron. However, the Fund never in fact consented
to the Fraudulent UCC Filings or to the deletion of UCC liens on
the collateral set forth in those filings, and the representations
made to that effect in the filings were false. As set forth below,
the Fraudulent UCC filings appear to have been made based on
releases that contained forged signatures from a representative of
the Fund.17

          d.   The Fund has estimated that the assets sold or
refinanced by WILLIAM SADLEIR, the defendant, and Aviron as a
result of the Fraudulent UCC Filings were worth approximately $3
million.

          e.    On or about October 22, 2019, outside counsel for
the Fund sent an email to Aviron’s general counsel at the time
(the “Former Aviron General Counsel”), copying several other
lawyers for the Fund, stating, in substance and in part, that lien
searches on behalf of the Fund had revealed several UCC filings
“releasing collateral” and that “We’re trying to piece this all
together.    We’re familiar with the release for Strangers and
Destination Wedding (attached) but not the others or when/how [the
Fund] authorized the amendments. Can you give me a call to walk
me through this or let me know who I can contact at [Aviron’s
outside counsel]?” The Former Aviron General Counsel responded on
or about October 24, 2019, copying, among others, SADLEIR, and
stated, in substance and in part, that he had “not reviewed” the
Fraudulent UCC filings but that counsel for the Fund were “fully
involved” and “may even have commented on the very UCCs about which
you are inquiring – so for sure [the Fund] knew what it was doing
and why.”

          f.   On or about October 25, 2019, outside counsel for
the Fund sent another email to the Former Aviron General Counsel,
copying several other lawyers at the Fund, again inquiring about
the Fraudulent UCC filings and asking, in substance and in part,
“[w]ho is the best contact to discuss this with? Do you know who
at or on behalf of [the Fund] approved the UCC-3s?”        SADLEIR
responded to that email (for which SADLEIR was not a recipient)
using Sadleir Aviron Email Account-2, without copying anyone else,

17The releases themselves do not appear to have been filed with
the Secretary of State’s Office, but rather provided to counsel
for Aviron, who then filed the UCC amendments based on the
releases.
                                      25
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered 06/19/20
                                                 05/18/20        19:11:23
                                                           Page 26 of 27    Desc
                       Main Document     Page 103 of 365


stating, in substance and in part, “I’m probably the best contact
for now to discuss the license sales,” and, in a later email sent
the same day, that SADLEIR would “pull together funds flow you
asked for” and that “[w]e’ll get this cleaned up.”

          g.   On or about November 25, 2019, Manager-2 spoke with
SADLEIR by phone. During that call, SADLEIR stated, in substance
and in part, that SADLEIR sold certain motion picture rights—to
which the Fund had perfected security interests pursuant to the
2017 Note Agreement—to a third party (the “Third Party Buyer”),
and that SADLEIR had done so to pay the outstanding liabilities of
Aviron. When Manager-2 informed SADLEIR that SADLEIR needed the
Fund’s approval to do so, SADLEIR admitted that he had “f----d up”
and had taken the Fund’s signature pages from an unrelated
transaction to effectuate the fraudulent sale. After this phone
call, also on or about November 25, 2019, Manager-2 sent SADLEIR
an email asking him, in substance and in part, to “share as
promptly as possible the documents utilized to facilitate the sale
of assets to the Third Party Buyer and the detailed funds received
and the allocation of the same.” SADLEIR never responded to this
email.

          h.   On or about December 12, 2019, Los Angeles-based
outside counsel for Aviron sent an email to Chicago-based outside
counsel for the Fund attaching five purported signed releases from
the Fund that supported the filing of the Fraudulent UCC Filings
(the “Fraudulent Releases”). The Fraudulent Releases were dated
between on or about July 12, 2019 and on or about July 17, 2019,
related to interests in the films My All American, Kidnap, The
Strangers: Prey at Night, and Destination Wedding. Each of those
releases bears the purported signature of Manager-1.

          i.    As discussed above, on or about December 16, 2019,
the Fund sent a letter to SADLEIR, Aviron Pictures, Aviron Capital,
and Aviron Group, asserting that the Fund would exercise its rights
to collateral under the loan and security agreements between the
Fund and those entities to take ownership of Aviron Pictures and
Aviron Capital and replace SADLEIR as Manager of those entities.
The following day, on or about December 17, 2019, the Fund filed
a lawsuit against SADLEIR and Aviron in New York Supreme Court,
seeking, among other things, to have SADLEIR removed from his
positions at Aviron Pictures and Aviron Capital.

          j.   I have reviewed an affidavit signed by Manager-1,
and filed in New York Supreme Court in connection with the Fund’s
lawsuit against SADLEIR and Aviron, in which Manager-1 stated, in
substance and in part, that he did not sign the Fraudulent Releases
or authorize them.     Manager-1’s signatures on those documents
                                      26
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-mj-05114-UA   Filed 06/19/20
                                         1 FiledEntered 06/19/20
                                                 05/18/20        19:11:23
                                                           Page 27 of 27    Desc
                       Main Document     Page 104 of 365


appear to have been created by copying Manager-1’s signature from
other documents and pasting it on the Fraudulent Releases.

          WHEREFORE, deponent prays that an arrest warrant be
issued for WILLIAM SADLEIR, the defendant, and that SADLEIR be
imprisoned or bailed, as the case may be.


                              s/ Daniel Mardakhayev
                              ByKNF,USMJ
                              ______________________________
                              DANIEL MARDAKHAYEV
                              SPECIAL AGENT
                              FEDERAL BUREAU OF INVESTIGATION
Attested to before me by reliable electronic means this
18th day of May, 2020


___________________________________
HONORABLE KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




                                      27
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 105 of 365




                   GLENN DECLARATION

                             EXHIBIT “E”
   Case| 2:20-bk-15015-BR
SEC.gov  SEC Charges Owner ofDoc
                              Film25   Filed 06/19/20
                                   Distribution Company Entered 06/19/20
                                                        with Defrauding   19:11:23
                                                                        Publicly      Desc
                                                                                 ... Page 1 of 2
                           Main Document         Page 106 of 365




                           Press Release



     SEC Charges Owner of Film Distribution
     Company with Defrauding Publicly
     Traded Fund
     FOR IMMEDIATE RELEASE
     2020-122
     Washington D.C., May 22, 2020 — The Securities and Exchange Commission today announced
     charges against William Sadleir, the owner of a film distribution company, for defrauding a publicly
     traded fund of at least $13.8 million.

     The SEC alleges that BlackRock Multi-Sector Income Trust (BIT), a registered closed-end
     management investment company, invested approximately $75 million in Aviron Group LLC, a film
     distribution company founded, owned, and operated by Sadleir. The complaint alleges that Sadleir
     represented that the investments would be used to support the company’s distribution of films.
     Contrary to these representations, Sadleir allegedly used a sham company as a vehicle to fraudulently
     divert and misappropriate BIT funds and issued fake invoices seeking BIT funds for services that were
     never provided. Sadleir allegedly used the funds to pay personal expenses, including his purchase,
     furnishing, and renovation of a Beverly Hills mansion.

     “When private companies and individuals solicit or accept investments, including from investment
     companies, they must comply with the federal securities laws,” said Adam S. Aderton, Co-Chief of the
     Enforcement Division’s Asset Management Unit. “We allege that Sadleir raided millions from BIT and
     its investors, and rather than using those funds for investment purposes he spent them lavishly on
     himself.”

     The SEC’s complaint, filed in federal court in Manhattan, charges Sadleir with violating the antifraud
     provisions of the federal securities laws and seeks disgorgement of ill-gotten gains, civil penalties, and
     permanent injunctive relief.

     In a parallel action, the U.S. Attorney’s Office for the Southern District of New York today filed criminal
     charges against Sadleir.

     The SEC’s investigation, which is continuing, is being conducted by Salvatore Massa, Vincent T. Hull,
     and Brian Fitzpatrick of the Asset Management Unit, and Dugan Bliss and Kerri L. Palen of the New
     York Regional Office. The case was supervised by Andrew Dean of the Asset Management Unit. The
     SEC’s litigation will be led by Mr. Bliss and Mr. Massa. The SEC appreciates the assistance of the
     U.S. Attorney’s Office for the Southern District of New York and the Federal Bureau of Investigation.

                                                         ###



https://www.sec.gov/news/press-release/2020-122                                                             6/17/2020
   Case| 2:20-bk-15015-BR
SEC.gov  SEC Charges Owner ofDoc
                              Film25   Filed 06/19/20
                                   Distribution Company Entered 06/19/20
                                                        with Defrauding   19:11:23
                                                                        Publicly      Desc
                                                                                 ... Page 2 of 2
                           Main Document         Page 107 of 365



                                                       Related Materials

                                                           • SEC Complaint




https://www.sec.gov/news/press-release/2020-122                                       6/17/2020
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 1 of 15                      Desc
                       Main Document     Page 108 of 365



Andrew Dean
Dugan Bliss
Salvatore Massa
Vincent Hull
Attorneys for Plaintiff
SECURITIES AND EXCHANGE COMMISSION
New York Regional Office
Brookfield Place
200 Vesey Street, Suite 400
New York, New York 10281-1022
212-336-0971 (Bliss)
blissd@sec.gov

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SECURITIES AND EXCHANGE
 COMMISSION,                                                   COMPLAINT

                             Plaintiff,                        20 Civ. 3997

                -against-
                                                               JURY TRIAL DEMANDED
 WILLIAM SADLEIR,

                             Defendant.


       Plaintiff Securities and Exchange Commission (“Commission”), for its Complaint against

Defendant William Sadleir (“Defendant” or “Sadleir”), alleges as follows:

                                          SUMMARY

       1.     This is a securities fraud case in which Sadleir engaged in a longstanding scheme

to misappropriate millions of dollars from a publicly traded investment company known as

BlackRock Multi-Sector Income Trust (“BIT”), using a sham company and forged signatures.

       2.     Sadleir was the owner and founder of Aviron Group, LLC, which was the parent

of several film distribution and related companies (collectively with parent, “Aviron”). BIT

invested approximately $75 million net in Aviron’s film distribution business through two notes,

which were securities, issued in 2015 and 2017, respectively. In 2017, Sadleir fraudulently
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 2 of 15                       Desc
                       Main Document     Page 109 of 365



diverted over approximately $25 million to a sham company he owned and operated. Sadleir

falsely represented to BIT that the sham company was affiliated with a legitimate media

company performing work to market and promote Aviron’s business. Sadleir also

misappropriated for his personal use at least approximately $13.8 million of BIT’s invested

funds. Sadleir used the misappropriated money to support his lavish lifestyle, including cash

withdrawals and the purchases of a luxury car and a mansion in Beverly Hills. Then, in 2019,

Sadleir forged BIT personnel signatures to authorize the release of collateral BIT valued at

approximately $3 million that it had secured to protect its interest in the notes.

                                          VIOLATIONS

       3.      By virtue of the foregoing conduct and as alleged further herein, Defendant has

violated Section 17(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77q(a)],

Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)],

and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

       4.      Unless Defendant is restrained and enjoined, he will engage in the acts, practices,

transactions, and courses of business set forth in this Complaint or in acts, practices, transactions,

and courses of business of similar type and object.

                NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

       5.      The Commission brings this action pursuant to the authority conferred upon it by

Securities Act Sections 20(b) and 20(d) [15 U.S.C. §§ 77t(b) and 77t(d)] and Exchange Act

Section 21(d) [15 U.S.C. § 78u(d)].

       6.      The Commission seeks a final judgment: (a) permanently enjoining Defendant

from violating the federal securities laws and rules this Complaint alleges he has violated;

(b) ordering Defendant to disgorge all ill-gotten gains he received as a result of the violations




                                                  2
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 3 of 15                      Desc
                       Main Document     Page 110 of 365



alleged here and to pay prejudgment interest thereon; (c) ordering Defendant to pay civil money

penalties pursuant to Securities Act Section 20(d) [15 U.S.C. § 77t(d)] and Exchange Act Section

21(d)(3) [15 U.S.C. § 78u(d)(3)]; (d) permanently prohibiting Defendant from directly or

indirectly, including, but not limited to through any entity he owns or controls, participating in

the issuance, offer, or sale of any security, provided, however, that such injunction shall not

prevent Defendant from purchasing or selling securities for his own personal account; and

(e) ordering any other and further relief the Court may deem just and proper.

                                 JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this action pursuant to Securities Act Section

22(a) [15 U.S.C. § 77v(a)] and Exchange Act Section 27 [15 U.S.C. § 78aa].

       8.      Defendants, directly and indirectly, have made use of the means or

instrumentalities of interstate commerce or of the mails in connection with the transactions, acts,

practices, and courses of business alleged herein.

       9.      Venue lies in this District under Securities Act Section 22(a) [15 U.S.C. § 77v(a)]

and Exchange Act Section 27 [15 U.S.C. § 78aa]. BIT conducts business operations in this

District, is advised by BlackRock Advisors, LLC in this District, is traded on the New York

Stock Exchange in this District, and many of the acts, practices, transactions, and courses of

business involving BIT’s investments in Sadleir’s company Aviron occurred in this District.

                                          DEFENDANT

       10.     Sadlier, age 66, a resident of Beverly Hills, California, was the founder of Aviron

Group, LLC, a holding company engaged in the film distribution business. Sadleir owned and

controlled Aviron Group, LLC and its subsidiaries until December 19, 2019, when he was

removed from most of the subsidiaries for defaulting on a BIT note.




                                                 3
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 4 of 15                     Desc
                       Main Document     Page 111 of 365



                               OTHER RELEVANT ENTITIES

       11.      BIT is a Delaware statutory trust traded on the New York Stock Exchange that

operates as a registered closed-end management investment company and is advised by

BlackRock Advisors, LLC and related entities. BIT invests in loans and other debt instruments

to generate income. BIT’s shares are publicly traded and may be purchased by retail investors.

       12.      Aviron Group, LLC is a Delaware limited liability company based in Beverly

Hills, California that is owned and was founded by Sadleir. Aviron Group, LLC is a holding

company with several subsidiaries engaged in the business of film distribution that were solely

owned and controlled by Sadleir, and in some cases by a trust controlled by Sadleir. In

approximately December 19, 2019, Sadleir lost control of many of Aviron Group LLC’s

subsidiaries.

       13.      GroupM Media Services, LLC is a Delaware limited liability company

established by Sadleir in October 2016 that served as a vehicle for Sadleir to misappropriate BIT

funds. The entity’s name bears a close resemblance to one of the world’s largest advertising

media companies.

                                             FACTS

I.     BIT INVESTS IN SADLEIR’S COMPANY AVIRON

       14.      From October 2015 until April 2019, BIT invested approximately $75 million net

in Sadleir’s company Aviron through two notes and related agreements. For Aviron, the purpose

of the notes and related agreements was to raise money to finance Aviron’s efforts to distribute

specific films. Generally, a film distributor markets films to get them into theaters and onto

streaming services and receives revenue from those sources. For BIT, the purpose of its

investment was to profit in the form of interest payments and capital appreciation from Aviron




                                                 4
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 5 of 15                           Desc
                       Main Document     Page 112 of 365



warrants.

       A.      The First Note

       15.     On October 20, 2015 Aviron and BIT entered into the first note, also known as

the credit and security agreement (the “First Note”). The First Note operated as a secured credit

facility to provide funding to support Aviron’s efforts to distribute specific films and provided

BIT warrants in Aviron. The First Note had a 15% interest rate. Under the terms of the First

Note, all principal and interest were due in one year, and Aviron was required to make quarterly

interest payments. The First Note contained a number of restrictions on Aviron’s use of the BIT

proceeds including a prohibition against engaging in affiliate transactions. The First Note

provided BIT the option to extend the maturity of the note for an additional four years. An

extension would have the effect of extending the due date for Aviron to repay the principal.

Aviron’s revenue streams and associated rights to, or property of, the films acted as collateral

under the First Note. Aviron and Sadleir also could not use the investments for activities

unrelated to film distribution. The First Note defined any funding provided by BIT as an

“investment.” As part of the agreement, BIT also obtained warrants it could exercise for LLC

interests in Aviron. The terms of the warrants allowed BIT to acquire a specified share class of

LLC interests in Aviron. BIT could acquire the LLC interests for $1,000 per unit. The number

of units available for exercise was determined by a formula that was derived in part on how

much money BIT invested in Aviron and did not have an expiration.

       16.     In addition to the collateral identified in the First Note, Sadleir agreed – in a

separate agreement executed the same day as the First Note – to pledge Aviron’s LLC interests

in two subsidiaries “to induce [BIT] to . . . extend credit” to Aviron (the “Pledge”). In the event

of a default, the First Note and Pledge permitted BIT to acquire Aviron’s interest in the two




                                                  5
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 6 of 15                      Desc
                       Main Document     Page 113 of 365



subsidiaries. Consistent with the First Note and the Pledge, and to protect its interest, BIT filed

UCC liens on all of the collateral from both agreements: the film distribution rights and

properties, as well as the LLC interests of the two Aviron subsidiaries.

       17.     The First Note provided for an initial investment by BIT of $12 million, which

occurred in October 2015, after which Aviron was required under the First Note to make

additional written representations for any additional investment. Those representations included

an assurance that the funds would be used in connection with a specified film project and that

Aviron had not defaulted on any of the terms of the First Note.

       18.     BIT extended the one-year term of the First Note on October 19, 2016 and

ultimately provided $21 million in additional funding for film distribution projects pursuant to

the First Note as extended. The extension also kept the terms of the Pledge in place.

       B.      The Second Note

       19.     On July 17, 2017 Aviron and BIT entered into the second note, which replaced

the First Note, and was also known as the note purchase and security agreement (the “Second

Note”). The Second Note increased the total investment amount that BIT made available to

Aviron, up to $75 million. The Second Note had a term of three years, but provided that BIT

could enter into one or two one-year extensions. Aviron’s outstanding debt under the First Note

was rolled into the Second Note. As a result, the $75 million in funding available under the

Second Note included the outstanding balance of the First Note. The interest rate of the Second

Note varied: Aviron was required to pay 15% interest on pre-existing debt from the investments

under the First Note, which at that that time totaled approximately $11.6 million. For new

investments, the interest rate was 5%. The agreement required Aviron to make quarterly interest

payments and the principal was due by the maturity of the note. BIT eventually invested




                                                 6
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 7 of 15                         Desc
                       Main Document     Page 114 of 365



approximately $50.6 million in new money under the Second Note.

       20.     The Second Note reiterated that its purpose was to fund Aviron’s efforts to

distribute films. As additional collateral for its investments, Aviron granted rights to LLC

interests in additional subsidiaries that were to be established to hold the rights to subsequent

films. Contemporaneous with the Second Note, BIT and Sadleir amended the Pledge so that it

remained in effect with respect to the Second Note. In addition, BIT maintained its rights to the

Aviron warrants from the First Note and extension, and increased the number of Aviron units

available to BIT under the warrants.

       21.     The Second Note also required Sadleir and Aviron to comply with certain

conditions in order to receive investments unless BIT expressly waived that provision. For

example, Aviron and Sadleir could not sell collateralized assets for which BIT had effected a lien

pursuant to the First Note, Second Note, and Pledge. Aviron and Sadleir also could not enter

into affiliated transactions or use the investments for activities unrelated to film distribution.

       22.     The Second Note, like the First Note, allowed BIT to transfer its interest in the

note to others. The Second Note incorporated additional language on transferability that

acknowledged that the Second Note was a security under the Securities Act. In particular, the

Second Note states that it is not registered and that BIT meets the requirements of the “accredited

investor” definition in Rule 501 of Regulation D of the Securities Act for purposes of the

transaction with Aviron.

       23.     In April 2019, BIT invested $10 million in Aviron under the Second Note to fund

its distribution efforts for a specified film, which was memorialized in two letter agreements (the

“Letter Agreements”) that were executed the prior month. The Letter Agreements did not

change the terms of the Second Note, but rather supplemented them. The Letter Agreements




                                                   7
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 8 of 15                         Desc
                       Main Document     Page 115 of 365



required repayment of the $10 million in investments within sixty days after the specified film’s

release. As collateral for the Letter Agreements, Sadleir pledged LLC interests in 11 Aviron

entities: Aviron Group, LLC and ten subsidiaries.

II.    SADLEIR MISAPPROPRIATES BIT ASSETS USING A SHAM COMPANY

       24.     By no later than October 2016, Sadleir began a scheme to defraud BIT by

fraudulently diverting and misappropriating a portion of its investments. Sadleir used a

substantial portion of the diverted funds for himself and to support his lavish lifestyle.

       A.      Sadleir Uses GroupM Media Services, LLC to Misappropriate Funds

       25.     In October 2016, Sadleir formed GroupM Media Services, LLC which he used as

a vehicle to misappropriate BIT funds. The entity’s name bears a close resemblance to GroupM,

which describes itself as one of the world’s leading media investment companies. An affiliate

company of GroupM had an ongoing business relationship with Aviron to provide media

services. Sadleir, either directly or through others at his direction, established a corporate

website for his sham entity purporting to provide media services, obtained a New York phone

number, and obtained an email address for a fictitious individual named Amanda Stevens

purporting to work for the entity. Through this deceptive conduct and numerous

misrepresentations to BIT, Sadleir intentionally sought to deceive BIT into thinking that GroupM

Media Services, LLC was affiliated with the legitimate company with a similar name and that at

one point had provided similar services to Aviron.

       26.     Sadleir created fake documents dated as of December 2016, February 2017, and

October 2017, purporting to be invoices directed to his company Aviron, and requesting payment

be made to his sham company GroupM Media Services, LLC for purported marketing credits or

services from a legitimate company affiliated with the real GroupM. Those purported invoices




                                                  8
Case 2:20-bk-15015-BR   Doc 25 Document
        Case 1:20-cv-03997-JGK  Filed 06/19/20  Entered
                                          1 Filed       06/19/20
                                                  05/22/20  Page19:11:23
                                                                 9 of 15                   Desc
                       Main Document     Page 116 of 365



diverted more than $25 million to Sadleir’s sham company and were fraudulent: Sadleir’s

GroupM Media Services, LLC did not provide any marketing credits or services to Aviron. And

the invoices, which Sadleir signed, falsely represented that they were from “a GroupM

company,” when in fact the fake documents were from Sadleir and directed payment to his sham

company’s bank account.

       27.    Relying on the fake December 2016 and February 2017 invoices, BIT authorized

Aviron to release funds to GroupM Media Services, LLC. Aviron appears to have released the

funds reflected in the fake October 2017 invoice without BIT’s prior knowledge or authorization.

Specifically, Sadleir’s fraudulent invoices claimed to support the following payments to GroupM

Media Services, LLC, as described in Table 1:

              Table 1: Fraudulent Payments to GroupM Media Services, LLC
                              As Reflected In Fake Invoices

                Invoice Date           Invoice Paid Date         Invoice Amount
                                                                (Stated and Paid)
             December 13, 2016          January 13, 2017            $460,000
              February 17, 2017        February 27, 2017          $12.1 million
               October 10, 2017         October 16, 2017          $13.5 million


       28.    The payment BIT authorized in connection with the fake December 2016 invoice

had been previously released from the account of another third party who provided Aviron with

financing. BIT funds reimbursed Aviron for the payment. The payment BIT authorized in

connection with the fake February 2017 invoice was paid from an Aviron entity account to

Sadleir’s GroupM Media Services, LLC after receiving proceeds from BIT. And the payment in

connection with the fake October 2017 invoice was paid to GroupM Media Services, LLC from

an Aviron entity account using at least $9 million from BIT proceeds.




                                                9
Case 2:20-bk-15015-BR   Doc 25 Document
       Case 1:20-cv-03997-JGK   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/22/20   Page 19:11:23
                                                                  10 of 15                      Desc
                       Main Document     Page 117 of 365



       29.     In an effort to further perpetrate and conceal his fraud, Sadleir made several

misrepresentations to BIT concerning his sham company GroupM Media Services, LLC and

these fake invoices. After Sadleir shared the first GroupM Media Services, LLC invoice with

BIT, on December 22, 2016 Sadleir e-mailed BIT’s portfolio manager, asked him to authorize

payment, and falsely conveyed that the fake invoice was, in fact, from the real GroupM, which

he described as “the largest advertising media company in the world[.]” On January 5 and 11,

2017 Sadleir twice again asked BIT’s portfolio manager by e-mail to authorize payment of the

first fake invoice and again conveyed that the payment would go to the real GroupM for media

services work. These representations were false: the fake invoice fraudulently directed payment

to Sadleir’s GroupM Media Services, LLC, not the real GroupM. Rather, Sadleir diverted or

misappropriated the funds.

       30.     Sadleir made similar misrepresentations concerning the February 17, 2017

invoice. On February 17 and 23, 2017 Sadleir e-mailed BIT personnel requesting payment of the

second fake invoice and again conveyed that the payment would go to the real GroupM for

media services work. These representations were false for the same reasons: the fake invoice

fraudulently directed payment to Sadleir’s GroupM Media Services, LLC, not the real GroupM.

Rather, Sadleir diverted or misappropriated the funds.

       31.     Months after the payments were made pursuant to the fake invoices, Sadleir

continued his efforts to conceal his fraud. On several occasions including on at least June 19,

2018, March 12, 2019, and September 16, 2019, Sadleir or Aviron personnel acting at his

direction e-mailed BIT personnel and conveyed that the payments were made to the real GroupM

and that the real GroupM had provided or would provide in the future certain media services

work to Aviron. And from at least November 2019 through February 2020, this concealment




                                                10
Case 2:20-bk-15015-BR   Doc 25 Document
       Case 1:20-cv-03997-JGK   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/22/20   Page 19:11:23
                                                                  11 of 15                      Desc
                       Main Document     Page 118 of 365



continued with e-mails from the fictitious Amanda Stevens (created by Sadleir) at GroupM

Media Services, LLC, which were sent to BIT or agents of BIT. These e-mails also falsely

claimed that Aviron had over $27 million in media credits with GroupM. In fact, the real

GroupM did not have a relationship with Aviron during the time of any of these e-mails and

Aviron did not have any pending credits or services owed from the real GroupM.

        32.     Sadlier misappropriated at least the majority of funds obtained through his sham

company and used the proceeds for purposes unrelated to film distribution. Instead, he used

them to fund his lavish lifestyle. Among other things, Sadleir used the misappropriated funds to:

purchase a $14 million mansion in Beverly Hills (approximately $4 million of the purchase

amount may have been sourced from Aviron-related revenue); spend nearly $3 million to

remodel Aviron’s offices; pay himself and his wife over $350,000; pay $254,000 to settle a legal

dispute; buy a $127,000 Tesla; and spend about $109,000 on home furnishings and remodeling.

        33.     Sadleir’s deceptive conduct, misrepresentations, and omissions, including as

described herein, were material: a reasonable investor would have wanted to know that his or her

investment and related collateral was being fraudulently diverted and misappropriated.

II.     SADLEIR MISAPPROPRIATES BIT COLLATERAL

        34.     As described above, Sadleir’s fraudulent diversion and misappropriation of funds

that were intended to benefit the Aviron entities, some of which served as collateral to BIT,

meant that Sadleir was also devaluing BIT’s collateral. In addition, in approximately July 2019,

Sadleir continued his scheme to misappropriate BIT assets, this time using a new strategy:

forging BIT personnel signatures to fraudulently release liens on Aviron assets, and reselling

those assets to third parties.

        35.     In March 2019 Sadleir had requested additional funding from BIT for a new film




                                                11
Case 2:20-bk-15015-BR   Doc 25 Document
       Case 1:20-cv-03997-JGK   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/22/20   Page 19:11:23
                                                                  12 of 15                        Desc
                       Main Document     Page 119 of 365



distribution project. Pursuant to the Second Note, Sadleir and BIT entered into the Letter

Agreements that totaled $10 million in proceeds to be made available for such purposes under

that note. Shortly after the agreements were executed, BIT transferred $10 million to Aviron in

April 2019.

        36.     To protect its interests in that collateral, BIT filed liens on the specified assets in

Delaware under the Uniform Commercial Code (“UCC”). BIT filed multiple liens with each one

defining a set of distinct assets—such as the revenue streams and rights to distribute a particular

film. Under the First Note and Second Note, Aviron and Sadleir could not unilaterally release

the liens, but rather required BIT to consent to such a release.

        37.     During July 2019, Sadleir drafted at least five fake agreements between BIT and

Aviron for which he forged the signatures of the BIT portfolio manager. These forged

agreements enabled Sadleir to have fourteen UCC amendments filed to remove BIT’s liens on

Aviron’s film distribution revenue streams. These amendments further enabled Sadleir to

misappropriate collateral valued by BIT at approximately $3 million that he may have re-sold or

attempted to re-sell to third parties.

        38.     By October 2019, BIT learned about the unauthorized UCC amendments to the

liens, which led to a confrontation with Sadleir. In a phone call on November 25, 2019 with BIT

personnel, when confronted about the unauthorized amendments and forgeries, Sadleir admitted

he had “fucked up.”

        39.     Sadleir’s deceptive conduct, misrepresentations, and omissions, including as

described herein, were material: a reasonable investor would have wanted to know that his or her

investment and related collateral was being fraudulently diverted and misappropriated.




                                                   12
Case 2:20-bk-15015-BR   Doc 25 Document
       Case 1:20-cv-03997-JGK   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/22/20   Page 19:11:23
                                                                  13 of 15                        Desc
                       Main Document     Page 120 of 365



                                FIRST CLAIM FOR RELIEF
                           Violations of Securities Act Section 17(a)

       40.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 39.

       41.     Defendant, directly or indirectly, singly or in concert, in the offer or sale of

securities and by the use of the means or instruments of transportation or communication in

interstate commerce or the mails, (1) knowingly or recklessly has employed one or more devices,

schemes or artifices to defraud, (2) knowingly, recklessly, or negligently has obtained money or

property by means of one or more untrue statements of a material fact or omissions of a material

fact necessary in order to make the statements made, in light of the circumstances under which

they were made, not misleading, and/or (3) knowingly, recklessly, or negligently has engaged in

one or more transactions, practices, or courses of business which operated or would operate as a

fraud or deceit upon the purchaser.

       42.     By reason of the foregoing, Defendant, directly or indirectly, singly or in concert,

has violated and, unless enjoined, will again violate Securities Act Section 17(a) [15 U.S.C.

§ 77q(a)].

                               SECOND CLAIM FOR RELIEF
             Violations of Exchange Act Section 10(b) and Rule 10b-5 Thereunder

       43.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 39.

       44.     Defendant, directly or indirectly, singly or in concert, in connection with the

purchase or sale of securities and by the use of means or instrumentalities of interstate

commerce, or the mails, or the facilities of a national securities exchange, knowingly or

recklessly has (i) employed one or more devices, schemes, or artifices to defraud, (ii) made one




                                                 13
Case 2:20-bk-15015-BR   Doc 25 Document
       Case 1:20-cv-03997-JGK   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/22/20   Page 19:11:23
                                                                  14 of 15                    Desc
                       Main Document     Page 121 of 365



or more untrue statements of a material fact or omitted to state one or more material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading, and/or (iii) engaged in one or more acts, practices, or courses of

business which operated or would operate as a fraud or deceit upon other persons.

       45.     By reason of the foregoing, Defendant, directly or indirectly, singly or in concert,

has violated and, unless enjoined, will again violate Exchange Act Section 10(b) [15 U.S.C.

§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                     PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter a Final

Judgment:

                                                 I.

       Permanently enjoining Defendant and his agents, servants, employees and attorneys and

all persons in active concert or participation with any of them from violating, directly or

indirectly, Securities Act Section 17(a) [15 U.S.C. § 77q(a)], Exchange Act Section 10(b) [15

U.S.C. § 78j(b)], and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

                                                 II.

       Ordering Defendant to disgorge all ill-gotten gains he received directly or indirectly, with

pre-judgment interest thereon, as a result of the alleged violations;

                                                III.

       Ordering Defendant to pay civil monetary penalties under Securities Act Section 20(d)

[15 U.S.C. § 77t(d)] and Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)];

                                                 IV.

       Permanently prohibiting Defendant from directly or indirectly, including, but not limited




                                                 14
Case 2:20-bk-15015-BR   Doc 25 Document
       Case 1:20-cv-03997-JGK   Filed 06/19/20
                                          1 FiledEntered 06/19/20
                                                  05/22/20   Page 19:11:23
                                                                  15 of 15                        Desc
                       Main Document     Page 122 of 365



to through any entity he owns or controls, participating in the issuance, offer, or sale of any

security, provided, however, that such injunction shall not prevent Defendant from purchasing or

selling securities for his own personal account; and

                                                 V.

       Granting any other and further relief this Court may deem just and proper.


Dated: New York, New York
       May 22, 2020
                                       s/Dugan Bliss__________________________
                                       Andrew Dean
                                       Dugan Bliss
                                       Salvatore Massa
                                       Vincent Hull
                                       Attorneys for Plaintiff
                                       SECURITIES AND EXCHANGE COMMISSION
                                       New York Regional Office
                                       Brookfield Place
                                       200 Vesey Street, Suite 400
                                       New York, New York 10281-1022
                                       212-336-0971 (Bliss)
                                       blissd@sec.gov




                                                 15
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 123 of 365




                   GLENN DECLARATION

                             EXHIBIT “F”
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 124 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23       Desc
                        Main Document    Page 125 of 365


                                  AFFIDAVIT
I, Nathan Cherney, being duly sworn, declare and state as

follows:

                              I. INTRODUCTION
        1.   I am a Special Agent with the Federal Bureau of

Investigation (“FBI”) and have been so employed since January

2018.    I am currently assigned to a Complex Financial Crime

squad of the FBI’s Los Angeles Field Office, which is

responsible for investigating corporate and securities fraud,

including mail fraud, wire fraud, securities fraud, and insider

trading.

        2.   Since becoming an FBI Special Agent in 2018, I have

received approximately 19 weeks of formal training at the FBI

Training Academy in Quantico, Virginia, in financial analysis,

interviewing, surveillance, and other investigative techniques.

In June 2019, I also attended a multi-day Securities Industry

Essentials formal training sponsored by the FBI Economics Crimes

Unit.    At this training, I received formal training essential to

securities industry markets, regulatory agencies and their

functions, and prohibited practices.          Before joining the FBI, I

performed numerous financial audits while employed as an auditor

at a public accounting firm for approximately three years.                 I

participated in many aspects of the audits including, but not

limited to, procedures for fraud detection, financial analysis,

and reviews of accounting and bank records.           I received

approximately eight weeks of formal training from the accounting

firm including, but not limited to, fraud, accounting
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 126 of 365


principles, financial analysis, and auditing principles.              I hold

a Bachelor of Arts degree in Economics from the University of

Michigan and a Master of Science in Accounting from Michigan

State University.       I am currently a Certified Public Accountant

in the state of California.

     3.    In addition to my formal training and personal

experience, I have learned from and worked alongside numerous

senior FBI agents with years of experience in various criminal

investigations including, but not limited to, corporate and

securities fraud, mail fraud, wire fraud, securities fraud, and

insider trading.    Throughout my experiences with these senior

agents, I have received guidance, training, and hands-on

experience in various investigative techniques including, but

not limited to, interviewing, surveillance, financial analysis,

and other investigative techniques, including with respect to

the identification and tracing of illicit proceeds.

                         II. PURPOSE OF AFFIDAVIT
     4.    This affidavit is made in support of a criminal

complaint against, and arrest warrant for, WILLIAM SADLEIR

(“SADLEIR”) for violations of 18 U.S.C. § 1343 (Wire Fraud), 18

U.S.C. § 1344(2) (Bank Fraud), 18 U.S.C. § 1014 (False

Statements to a Financial Institution), 15 U.S.C. § 645(a)

(False Statements to the Small Business Administration), and 18

U.S.C. 1957 (transactional money laundering).

     5.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and


                                       2
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 127 of 365


witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

does not purport to set forth all of my knowledge of or

investigation into this matter.         Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE
     6.      Until recently, SADLEIR operated a film production

company called Aviron Pictures, LLC (“Aviron Pictures”) and its

related entities, all of which are based in Los Angeles,

California.    In or about April 2020, SADLEIR submitted three

applications for loans to JPMorgan Chase, N.A. (“JPMC”) on

behalf of three of the Aviron entities -- Aviron Group, LLC

(“Aviron Group”), Aviron Licensing, LLC (“Aviron Licensing”),

and Aviron Releasing, LLC dba Regatta (“Aviron Releasing”) --

through the Paycheck Protection Program established by the

Coronavirus Aid, Relief, and Economic Security Act.             JPMC

approved the loans, and SADLEIR received a total of over $1.7

million in funds as a result of these loans.            SADLEIR obtained

the loans by making false representations about each entity’s

payroll expenses, their number of respective employees, the

operational status of the companies, and how the loan proceeds

would be spent.    In fact, SADLEIR intended to use at least some

of the funds for personal and other prohibited expenses, and

immediately upon receiving the funds a significant amount was

diverted to SADLEIR’s personal accounts and used for personal

expenses.


                                       3
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 128 of 365


                   IV. STATEMENT OF PROBABLE CAUSE
     7.    Based on witness interviews I have conducted, my

review of documents obtained from third parties, reports of

interviews conducted by other law enforcement officers,

conversations with other law enforcement officers, and publicly

filed documents, I know the following:

     A.    The Paycheck Protection Program
     8.    The Coronavirus Aid, Relief, and Economic Security

(“CARES”) Act is a federal law enacted in or around March 2020

and designed to provide emergency financial assistance to the

millions of Americans who are suffering the economic effects

caused by the COVID-19 pandemic.           One source of relief provided

by the CARES Act was the authorization of up to $349 billion in

forgivable loans to small businesses for job retention and

certain other expenses, through a program referred to as the

Paycheck Protection Program (“PPP”).          In or around April 2020,

Congress authorized over $300 billion in additional PPP funding.

     9.    In order to obtain a PPP loan, a qualifying business

must submit a PPP loan application, which is signed by an

authorized representative of the business.           The PPP loan

application requires the business (through its authorized

representative) to acknowledge the program rules and make

certain affirmative certifications in order to be eligible to

obtain the PPP loan.       One such certification requires the

applicant (through its authorized representative) to affirm that

“[t]he [PPP loan] funds will be used to retain workers and

maintain payroll or make mortgage payments, lease payments, and


                                       4
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 129 of 365


utility payments; I understand that if the funds are used for

unauthorized purposes, the federal government may pursue

criminal fraud charges.”        In the PPP loan application, the small

business (through its authorized representative) must state,

among other things, its: (a) average monthly payroll expenses;

and (b) number of employees.        These figures are used to

calculate the amount of money the small business is eligible to

receive under the PPP.       In addition, businesses applying for a

PPP loan must provide documentation showing their payroll

expenses.

     10.    A business’s PPP loan application is received and

processed, in the first instance, by a participating financial

institution, then transmitted, for further review, to the Small

Business Administration (“SBA”) to assess the applicant’s

eligibility.    If a PPP loan application is approved, the

participating financial institution funds the PPP loan using its

own monies.

     11.    PPP loan proceeds must be used by the business on

certain permissible expenses -- payroll costs, interest on

mortgages, rent, and utilities.         The PPP allows the interest and

principal on the PPP loan to be entirely forgiven if the

business spends the loan proceeds on these expense items within

a designated period of time (usually eight weeks of receiving

the proceeds) and uses at least 75% of the PPP loan proceeds on

payroll expenses.




                                       5
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23    Desc
                        Main Document    Page 130 of 365


     B.    SADLEIR and the Aviron Entities
     12.   Based on my review of law enforcement databases and

public source documents, I know that SADLEIR is an experienced

executive in the film industry who lives in Beverly Hills.                 In

2015, he founded Aviron Pictures, a Los Angeles-based film

production company that, according to its website, “specializes

in the acquisition, marketing, and wide release distribution of

talent and story-driven theatrical films in North America.”

     13.   From my review of publicly available filings with the

California Secretary of State (“CA SOS”), I know that SADLEIR is

affiliated with several entities with the name Aviron.              For

example, SADLEIR is listed with the CA SOS as the manager of

both Aviron Licensing and Aviron Releasing.

     14.   According to counsel for Aviron Pictures, SADLEIR was

formerly in control of Aviron Pictures but was terminated from

all managerial roles at Aviron Pictures in approximately

December 2019.    According to J.B., the Vice President of Finance

for Aviron Pictures, who also manages payroll, SADLEIR did not

retain any involvement in the day-to-day operations of the film

production business of Aviron Pictures after December 2019.

     15.   Law enforcement officers asked J.B. and counsel for

Aviron Pictures whether either was aware of any ongoing

operations carried out by Aviron Group, Aviron Licensing, and

Aviron Releasing.       Neither was aware of any active operations.

     16.   SADLEIR retains signing authority over various bank

accounts associated with certain of the Aviron entities.              JPMC

records show that SADLEIR maintains a number of bank accounts


                                       6
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 131 of 365


with JPMC, both personal accounts and business accounts related

to the Aviron entities.       For example:

           a.    SADLEIR is a signatory to a JPMC business

checking account in the name of Aviron Group ending in 3760 (the

“Aviron Group JPMC account”).         The only other signatory to this

account is J.B., who, according to publicly filed documents with

the CA SOS, is the Vice President of Finance for Aviron Group.

           b.    SADLEIR is a signatory to a JPMC business

checking account in the name of Aviron Licensing ending in 6567

(the “Aviron Licensing JPMC account”).          J.B. is the only other

signatory to this account.

           c.    SADLEIR is a signatory to a JPMC business

checking account in the name of Aviron Releasing ending in 2786

(the “Aviron Releasing JPMC account”).          J.B. is the only other

signatory to this account.

           d.    SADLEIR has a JPMC personal checking account with

his wife, Hanan Kadadu (“Kadadu”), ending in 8832 (the “8832

Personal JPMC account”).        SADLEIR and Kadadu are the only

signatories to this account.

     17.   Based on my training and experience and publicly

available information regarding JPMC, I know that JPMC is a

financial institution, as that term is defined in 18 U.S.C.

§ 20, that is insured by the Federal Deposit Insurance

Corporation and is based in New York, New York.




                                       7
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 132 of 365


     C.      SADLEIR Submits Three Materially False Applications to
             JPMC for PPP Loans on Behalf of the Aviron Entities
     18.     From loan documents provided by JPMC and the SBA, I

know that in or around April 2020, SADLEIR submitted three

applications for PPP loans to JPMC, each requesting funds for a

different Aviron entity, and each was received by the SBA:

             a.   First, SADLEIR applied for a loan in the name of

Aviron Licensing, claiming that Aviron Licensing had average

monthly payroll expenses of $224,418 and a total of 33

employees.    The application listed SADLEIR as the principal and

listed SADLEIR’s home address in Beverly Hills as the loan

mailing address. 1      As proof of Aviron Licensing’s payroll

expenses, SADLEIR provided an IRS Form W-3, purporting to show

wage and taxes for Aviron Pictures for tax year 2019.

             b.   Second, SADLEIR applied for a loan in the name of

Aviron Releasing, claiming that Aviron Releasing had average

monthly payroll expenses of $224,418 and a total of 33 employees

(the same numbers used in the Aviron Licensing application).

The application listed SADLEIR as the principal and listed
SADLEIR’s home address in Beverly Hills as the loan mailing

address.   As proof of Aviron Releasing’s payroll expenses,

SADLEIR provided an IRS Form W-3, purporting to show wage and

taxes for Aviron Pictures for tax year 2019.            This was the same

IRS Form W-3 that SADLEIR submitted in support of Aviron

Licensing’s application.

     1 I know that this is SADLEIR’s home address based on
documents provided to me by Granite Escrow showing that SADLEIR
and Kadadu purchased this home in 2017 in the name of their
trust, Temerity Trust Management, LLC.

                                       8
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 133 of 365


           c.    Third, SADLEIR applied for a loan in the name of

Aviron Group, claiming that Aviron Group had average monthly

payroll expenses of $236,250 and a total of 33 employees (the

same number of employees SADLEIR used in the Aviron Licensing

and Aviron Releasing applications).          The application listed

SADLEIR as the principal and listed SADLEIR’s home address in

Beverly Hills as the loan mailing address.           As proof of Aviron

Group’s payroll expenses, SADLEIR submitted what appears to be a

list of employees at Aviron Group and Aviron Pictures.              The

document was not dated.

     19.   I have reviewed additional certifications SADLEIR made

on and submitted with each loan application package (and which

were required by the SBA).        Among other things, SADLEIR

certified the following:

           a.    SADLEIR certified that each entity “was in

operation on February 15, 2020 and had employees for whom the

Applicant paid salaries and payroll taxes or paid independent

contractors.”

           b.    SADLEIR also again certified that “the funds will

be used to retain workers and maintain payroll or make mortgage

interest payments, lease payments, and utility payments.”

     20.   Based on witness interviews and a review of the

documentation SADLEIR submitted with the three loan

applications, there is probable cause to believe these

certifications were false.

           a.    SADLEIR submitted the same 2019 Aviron Pictures

W-3 as proof of payroll expense to support separate loan


                                       9
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 134 of 365


applications in two different entities’ names: Aviron Licensing

and Aviron Releasing.       For the third application, in Aviron

Group’s name, SADLEIR submitted a list of employees and their

purported salaries.       The list claimed that many of the employees

in question were employed by Aviron Pictures, the same entity

whose W-3 SADLEIR submitted in support of the other two

applications.

           b.    J.B. and counsel for Aviron Pictures informed law

enforcement that Aviron Pictures has never applied for PPP

loans.

           c.    Former employees of Aviron Pictures and J.B.

informed law enforcement that at least 50 percent of Aviron

Pictures employees were laid off in or about January 2020 and

all remaining employees but just a few have been laid off since

due to a forced restructuring.         Former employees of Aviron

Pictures and J.B informed law enforcement that, by February 15,

2020, Aviron Pictures had far fewer than 33 employees.

           d.    The laid-off Aviron Pictures employees include

G.F., I.L., and C.H. The names of all three employees appear on

the employee list SADLEIR submitted in support of his payroll

expense claim on the Aviron Group loan application.             However, in

or around May 2020, G.F., I.L, and C.H. each separately

confirmed to law enforcement that they were not employees of

Aviron Group, Aviron Licensing, or Aviron Releasing as of

February 15, 2020, and that they have not been asked to return

to Aviron Pictures as employees or been told that their




                                      10
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 135 of 365


employment may be restored.        I.L. and C.H. are now employed

elsewhere.

     D.      JPMC Initially Funds the Loans Based on the
             Information Provided by Sadleir
     21.     Based on the information provided by SADLEIR, JPMC

approved the loans that SADLEIR applied for in the names of

Aviron Group, Aviron Releasing, and Aviron Licensing.

     22.     On or about May 1, 2020, JPMC funded the PPP loans,

wiring the approved funds to the respective Aviron JPMC

accounts, for a total of approximately $1,712,715:

             a.   JPMC wired approximately $561,045 into the Aviron

Licensing JPMC account.       The balance in the Aviron Licensing

JPMC account the day before this deposit (April 30, 2020) was

approximately $330.52, meaning that virtually all funds in the

account after the deposit were from the PPP loan.

             b.   JPMC wired approximately $590,625 into the Aviron

Group JPMC account.       The balance in the Aviron Group JPMC

account the day before this deposit (April 30, 2020) was

approximately $27, meaning that virtually all funds in the

account after the deposit were from the PPP loan.

             c.   JPMC wired approximately $561,045 into the Aviron

Releasing JPMC account.       The balance in the Aviron Group JPMC

account the day before this deposit (April 30, 2020) was

approximately $17.35, meaning that virtually all funds in the

account after the deposit were from the PPP loan.

     23.     J.B. told law enforcement that she recalled seeing the

May 1, 2020 deposit of PPP loan funds into the Aviron Releasing



                                      11
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 136 of 365


JPMC account, which she regularly checks as part of her duties

at Aviron Pictures.       She reported that, the same day, she called

SADLEIR about the deposit.        According to J.B., on the call,

SADLEIR confirmed that he was aware of the deposit.             J.B. also

told law enforcement that about one month before the deposit,

SADLEIR called her and asked for Aviron Pictures’ payroll

information.    J.B. told law enforcement that she did not provide

the payroll information to SADLEIR because she did not have it.

     E.    SADLEIR Uses the PPP Loan Funds for Personal Expenses
     24.   After these funds were deposited into the Aviron

Group, Aviron Licensing, and Aviron Releasing JPMC accounts,

records and information provided by JPMC show that SADLEIR did

not use these funds for the business expenses allowed under the

PPP but rather used a substantial portion of the funds to pay

his and his wife’s personal expenses.

     25.   On or about May 1, 2020, the day the loan funds were

deposited in the three JPMC accounts in each of the applicant-

entities’ names, all of the loan funds -- more than

approximately $1.7 million -- were consolidated into the Aviron

Group JPMC account.       As discussed above, supra ¶ 22.b, because
the balance in this account the day before this transfer was

approximately $27, the funds in the Aviron Group JPMC account

were almost exclusively composed of the PPP loan funds for the

three Aviron entities.

     26.   On or about the next day, May 2, 2020, $966,000 was

transferred from the Aviron Group JPMC account into the 8832

Personal JPMC account.       Prior to this transfer, the 8832


                                      12
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23    Desc
                        Main Document    Page 137 of 365


Personal JPMC account had approximately $349.05 in funds,

meaning that virtually all funds in the account after the

deposit were from the PPP loans that had been funneled into the

Aviron Group JPMC account.

     27.   Between approximately May 2, 2020, and May 5, 2020, a

significant portion of the funds in the 8832 Personal JPMC

account, which was composed almost entirely of the PPP loan

funds transferred from the Aviron Group JPMC account, was used

to pay for various personal and other expenses via interstate

wires, contrary to the representations in the loan applications

that the funds would be used for the specified business expenses

allowed under the PPP.       The expenditures included the following:

           a.    On or about May 4, 2020, approximately $67,295.25

was paid to American Express.         Records from American Express

show that, on or about May 2, 2020, there was a payment of

approximately $26,180.31 made on an American Express credit card

in SADLEIR’s name and a payment of approximately $40,114.94 made

on an American Express credit card in Kadadu’s name.             Both of

these credit cards appear to be personal credit cards.              For

example, the statements of the credit card in SADLEIR’s name

include charges at the Apple.com record store, the movie theater

Arclight Hollywood, and the wine and liquor store Wally’s in

Beverly Hills, among other expenses.          Similarly, the statements

of the credit card in Kadadu’s name include charges at clothing

stores and various PayPal charges, among other expenses.

           b.    On or about May 4, 2020, a payment of

approximately $20,510.10 was sent to Bank of America VISA.                 Bank


                                      13
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23    Desc
                        Main Document    Page 138 of 365


of America records show that this payment was for a Bank of

America credit card account in SADLEIR’s name.            The statements

for this credit card in the months leading up to this payment

show what appear to be personal expenses, such as purchases at

the Disney Store, CVS Pharmacy, and the Los Angeles-based

restaurant Spago.

             c.   On or about May 4, 2020, SADLEIR sent two wire

transfers for a total of approximately $69,117.10 to the law

firm of Antoni Albus LLP for “SADLEIR INVOICES” and “SADLEIR

RETAINER.”

             d.   On or about May 5, 2020, approximately $40,000

was paid to U.S. Bank, N.A.        U.S. Bank records show that this

payment was for a car loan in SADLEIR’s name.            This payment was

reversed on the basis that JPMC had implemented a freeze on the

8832 Personal JPMC account by this date.

             e.   SADLEIR incurred other non-payroll expenses

between approximately May 1, 2020 and May 5, 2020, including at

restaurants such as Eataly.

     28.     J.B. informed law enforcement that Sadleir has never

provided Aviron Pictures with PPP loan funds for its payroll

expenses.    As described above, the government has interviewed

three former Aviron Pictures employees, G.F., I.L, and C.H.,

laid off before February 15, 2020, and whom SADLEIR listed as

employees in support of the Aviron Group loan application.                 Each

told law enforcement that they have never been asked to return

to Aviron Pictures or any other Aviron entity.




                                      14
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 139 of 365


     F.    SADLEIR Emails JPMC After JPMC Freezes His Accounts
           and Acknowledges the Purpose of the PPP Loans
     29.   Based on documents provided by JPMC, I know that JPMC

placed a hold on the Aviron Group, Aviron Licensing, and Aviron

Releasing JPMC accounts on or about May 5, 2020, and a hold on

the 8832 Personal JPMC account on or about May 7, 2020, to

prevent SADLEIR from dissipating the funds from these accounts.

The current balances of these accounts are as follows:

           a.    The current balance of the Aviron Group JPMC

account is approximately $662,038.14.

           b.    The current balance of the Aviron Licensing JPMC

account is $0.

           c.    The current balance of the Aviron Releasing JPMC

account is approximately $17.

           d.    The current balance of the 8832 Personal JPMC

account is approximately $497,988.

     30.   On or about May 7, 2020, SADLEIR emailed D.M.E., an

employee of JPMC, in reference to a call SADLEIR had with D.M.E.

the day before in which D.M.E. informed SADLEIR that “Aviron’s

corporate bank accounts, as well as my wife and my personal bank

accounts, have been put on hold by Chase.”           SADLEIR then wrote:

     The Aviron PPP loans were reviewed by Chase, submitted
     to and approved by the SBA, and funded last Friday.
     As required to satisfy the SBA loan forgiveness
     provisions, we were prepared and ready to hire full-
     time employees this week to engage in film acquisition
     and production (Aviron Licensing), in film marketing
     and administration (Aviron Group), and in film
     distribution (Aviron Releasing), all employment
     restored before the required June 30, 2020 deadline.
     (emphasis added). Chase’s actions have impaired our
     ability to satisfy these requirements and has
     potentially damaged our business viability.


                                      15
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 140 of 365


     I would appreciate the benefit of being able to
     explain how we intended to also finance, through the
     pledge of personal assets, including our home,
     Aviron’s revived operations so that not only would
     employment be restored, but long-term viability of the
     companies be sustained beyond the June 30, 2020
     period.

     We, along with our attorney—copied here, would
     appreciate a reply today, along with the contact
     information of the Chase officer reviewing the PPP
     loans, so that we can immediately remedy the harm
     caused Chase’s misinformed and inappropriate actions.

                                   * * * *

     31.   Based on the above information, there is probable

cause to believe that SADLEIR made material false statements to

JPMC and the SBA in the PPP loan applications submitted on

behalf of three Aviron entities and that he improperly used the

PPP funds he acquired through these loans from JPMC for personal

expenses rather than for the business expenses for which the

loan applications certified they would be used.

//

//

//

//

//

//

//

//

//

//

//

//


                                      16
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 141 of 365


                               V. CONCLUSION
     32.   For all the reasons described above, there is probable

cause to believe that SADLEIR violated 18 U.S.C. § 1343 (Wire

Fraud), 18 U.S.C. § 1344(2) (Bank Fraud), 18 U.S.C. § 1014

(False Statements to a Financial Institution), 15 U.S.C.

§ 645(a) (False Statements to the Small Business

Administration), and 18 U.S.C. § 1957.


                                                         V
                                           Nathan Cherney, Special Agent
                                           Federal Bureau of
                                           Investigation

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 21st day of May,
2020.



HONORABLE PEDRO V. CASTILLO
UNITED STATES MAGISTRATE JUDGE




                                      17
DocuSign Envelope ID: 9636B48B-497F-48A0-8DEC-7E827210643B
                   Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                Desc
                                                  Main Document    Page 142 of 365


                       1
                                          DECLARATION OF BRANDON KUFRIN IN SUPPORT OF CAIRN’S
                       2                  MOTION FOR (I) ORDER APPOINTING TRUSTEE PURSUANT TO
                                          11 U.S.C. § 1104(A), OR, ALTERNATIVELY, (II) ORDER GRANTING
                       3
                                         RELIEF FROM AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(D)
                       4
                                  I, Brandon Kufrin, being duly sworn, state the following:
                       5

                       6          1.       I am a senior portfolio manager at Cairn Capital Limited, investment manager to
                       7   Cairn Capital Investment Funds ICAV (alone or together, as the context may require,
                       8   “Cairn”). In my capacity with Cairn, I am generally familiar with Cairn’s business and
                       9   operations.
                      10          2.       I submit this declaration (the “Declaration”) in my capacity with Cairn and on
                      11   Cairn’s behalf in support of Cairn’s Motion for (I) Order Appointing Trustee Pursuant to 11
                      12   U.S.C. § 1104(a), or, Alternatively, (II) Order Granting Relief From Automatic Stay Pursuant to
                      13   11 U.S.C. § 362(d) (the “Motion”). Capitalized terms not defined herein have the meanings used
                      14   in the Motion. Except as otherwise indicated, all statements in this Declaration are based upon
                      15   my personal knowledge, my review of Cairn’s books and records, relevant documents and other
                      16   information prepared or collected by Cairn’s employees, agents and/or advisors, or my opinion
                      17   based on my experience with Cairn. In making my statements based on my review of Cairn’s
                      18   books and records, relevant documents and other information prepared or collected by Cairn’s
                      19   employees, agents and advisors, I have relied upon these persons accurately recording, preparing
                      20   or collecting any such documentation and other information. If I were called to testify as a
                      21   witness in this matter, I could and would competently testify to each of the facts set forth herein
                      22   based upon my personal knowledge, review of documents, or opinion. I am authorized to submit
                      23   this Declaration in support of Cairn’s Motion.
                      24   The Credit Agreement and Promissory Note
                      25          3.       Cairn extended a loan to Aviron 1703, LLC (the “Borrower”) pursuant to a Credit,
                      26   Security, Guaranty and Pledge Agreement, dated October 1, 2018 (the “Credit Agreement”), and a
                      27   Promissory Note, dated October 1, 2018 (the “Note”). True and correct copies of the Credit
                      28   Agreement and the Note are attached hereto as Exhibit A.
 KASOWITZ BENSON
   TORRES LLP
   ATTORNEYS AT LAW
     LOS ANGELES
DocuSign Envelope ID: 9636B48B-497F-48A0-8DEC-7E827210643B
                   Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                                  Main Document    Page 143 of 365


                       1          4.      Pursuant to the Credit Agreement and the Note, Cairn loaned the Borrower up to

                       2   $22,400,000 in aggregate principal balance of loan obligations for purposes of financing of certain

                       3   distribution activities in respect of the motion picture entitled “Serenity” and certain other limited

                       4   uses in connection therewith (the “Loan”).

                       5          5.      The Credit Agreement is secured by the Credit Party Collateral (as that term is

                       6   defined in the Credit Agreement), consisting of certain personal property of the Borrower and

                       7   certain personal property of certain other Aviron Entities. The Note is likewise secured by

                       8   personal property, consisting of certain personal property of the Borrower. The scheduled

                       9   maturity date of the Loan was December 15, 2019 (the “Scheduled Maturity Date”).

                      10   The Guaranty
                      11          6.      Separately, Cairn entered into a Guaranty, dated October 1, 2018 (“Guaranty”),
                      12   with Temerity Trust Management, LLC (the “Debtor”). Pursuant to this Guaranty, the Debtor
                      13   “irrevocably and unconditionally” guaranteed the “full and punctual payment” of the Loan made to
                      14   the Borrower. In addition to Sadleir’s execution of the Guaranty as the Debtor’s sole manager,
                      15   Sadleir’s wife, Ms. Hanan Kadadu (“Kadadu”), also endorsed the Guaranty by signing as a
                      16   “Confirmed by” party. A true and correct copy of the Guaranty is attached hereto as Exhibit B.
                      17          7.      The Guaranty is secured by a Deed of Trust and Assignment of Rents, Fixture
                      18   Filing, Security Agreement and Environmental Indemnity (“Deed of Trust”), dated as of October
                      19   8, 2019, which encumbers certain real property commonly known and addressed at 9135 Hazen
                      20   Drive, Los Angeles, CA 90210 (the “Property”). A true and correct copy of the Deed of Trust is

                      21   attached hereto as Exhibit C.

                      22          8.      Cairn understands that the Property was purchased by the Debtor for approximately

                      23   $13,500,000 on or around August 28, 2017. Cairn would not have extended the Loan without the

                      24   Guaranty or the inclusion of the Property in the collateral securing the Guaranty.

                      25   The Borrower Breaches the Credit Agreement

                      26          9.      On February 14, 2019, Cairn sent the Borrower a Notice of Defaults and

                      27   Reservation of Rights, identifying a number of non-monetary defaults under the Credit Agreement,

                      28   including, among others, at least one default not capable of cure. A true and correct copy of the
 KASOWITZ BENSON
   TORRES LLP                                                               -2-
   ATTORNEYS AT LAW
     LOS ANGELES
DocuSign Envelope ID: 9636B48B-497F-48A0-8DEC-7E827210643B
                   Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                 Desc
                                                  Main Document    Page 144 of 365


                       1   February 14, 2019 Notice of Defaults is attached hereto as Exhibit D.

                       2          10.      The Borrower failed to cure all of the defaults that Cairn determined were capable

                       3   of cure. On April 2, 2019, Cairn sent the Borrower an Acceleration and Demand Notice

                       4   accelerating the Loan and declaring all outstanding loan obligations due and immediately payable

                       5   (the outstanding payment obligations under the Credit Agreement from time to time, as of the

                       6   applicable determination date, the “Outstanding Loan Obligations”). A true and correct copy of

                       7   the April 2, 2019 Acceleration and Demand Notice is attached hereto as Exhibit E.

                       8          11.      The Borrower still failed to cure all of the defaults that Cairn determined were

                       9   capable of cure. Moreover, on or around the same time as Cairn’s delivery of the Notice of

                      10   Defaults and Reservation of Rights and the Acceleration and Demand Notice, Cairn learned of

                      11   additional defaults under the Credit Agreement (including at least one default not capable of cure)

                      12   occurring as early as January 2019, including the impermissible diversion of certain proceeds of

                      13   Cairn’s collateral for payment of expenses related to certain other Aviron Entities’ films (as per

                      14   Sadleir’s own written admission) (the “Diversion of Proceeds”) and the Borrower’s alteration and

                      15   manipulation (which the Borrower attempted to conceal) of purported third-party reporting that it
                      16   provided to Cairn to induce a credit extension under the Loan (the “Reporting Manipulation”). A
                      17   true and correct copy of Sadleir’s e-mail to Cairn acknowledging the impermissible diversion of
                      18   certain proceeds of Cairn’s collateral for payment of expenses related to certain other Aviron
                      19   Entities’ films is attached hereto as Exhibit F.
                      20          12.      On May 24, 2019, Cairn entered into a letter agreement (the “Letter Agreement”)

                      21   with Sadleir, the Debtor, the Borrower and certain other Aviron Entities (collectively, the “Sadleir

                      22   Letter Agreement Parties”), pursuant to which Cairn agreed to refrain until July 31, 2019 (if

                      23   certain conditions were met) from enforcing certain of its rights under the Credit Agreement and

                      24   the Guaranty if the Sadleir Letter Agreement Parties paid $3,000,000 to Cairn by July 15, 2019 as

                      25   partial repayment of the Loan. A true and correct copy of the Letter Agreement is attached hereto

                      26   as Exhibit G.

                      27          13.      Cairn received the payment as provided under the Letter Agreement.

                      28          14.      On May 31, 2019, Cairn entered into a settlement agreement (the “Settlement
 KASOWITZ BENSON
   TORRES LLP                                                                 -3-
   ATTORNEYS AT LAW
     LOS ANGELES
DocuSign Envelope ID: 9636B48B-497F-48A0-8DEC-7E827210643B
                   Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                Desc
                                                  Main Document    Page 145 of 365


                       1   Agreement”) with Sadleir and certain Aviron Entities (not including the Borrower or the Debtor

                       2   among others) (the “Sadleir Settlement Parties”), pursuant to which Cairn agreed to waive certain

                       3   claims against the Sadleir Settlement Parties in connection with the Diversion of Proceeds and the

                       4   Reporting Manipulation. Cairn did not release any claims related to the Diversion of Proceeds and

                       5   Reporting Manipulation, or any other claims under the Credit Agreement and the Guaranty,

                       6   against the Borrower, the Debtor and certain other Aviron Entities. A true and correct copy of the

                       7   Settlement Agreement is attached hereto as Exhibit H.

                       8          15.     Although under the Letter Agreement Cairn was permitted to enforce the full

                       9   extent of its rights under the Credit Agreement starting on August 1, 2019, it generally refrained

                      10   from doing so for an additional period of approximately four-and-a-half months, which gave the

                      11   Borrower the opportunity to repay the Outstanding Loan Obligations by the Scheduled Maturity

                      12   Date following representations made by Sadleir or his agents that a repayment of the Loan would

                      13   occur. The Borrower, however, failed to repay in full the Outstanding Loan Obligations by the

                      14   Scheduled Maturity Date. On December 18, 2019, Cairn sent the Borrower a Demand for

                      15   Payment, noting that, despite the acceleration of the Loan on April 2, 2019, the Borrower had

                      16   further failed to repay the Outstanding Loan Obligations by the Scheduled Maturity Date. Cairn

                      17   apprised the Borrower that the Outstanding Loan Obligations at the time were not less than

                      18   $16,230,747.68, with default interest and other amounts of indemnified liabilities continuing to

                      19   accrue. A true and correct copy of the December 18, 2019 Demand for Payment is attached

                      20   hereto as Exhibit I.

                      21          16.     As of the date hereof, the Borrower owes Outstanding Loan Obligations in an

                      22   amount not less than $14,724,332 with default interest and other indemnified expenses continuing

                      23   to accrue.

                      24   The Debtor Defaults on the Guaranty and Cairn Commences a Foreclosure Action

                      25          17.     The Borrower’s continuing events of default under the Credit Agreement and

                      26   continuing failure to repay in full the Outstanding Loan Obligations triggered the Debtor’s

                      27   repayment obligation under the Guaranty. On May 1, 2019, Cairn sent the Debtor a Demand

                      28   Notice for payment of the Outstanding Loan Obligations in accordance with the Guaranty. A true
 KASOWITZ BENSON
   TORRES LLP                                                              -4-
   ATTORNEYS AT LAW
     LOS ANGELES
DocuSign Envelope ID: 9636B48B-497F-48A0-8DEC-7E827210643B
                   Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                Desc
                                                  Main Document    Page 146 of 365


                       1   and correct copy of the May 1, 2019 Demand Notice is attached hereto as Exhibit J.

                       2          18.     The Debtor failed to pay the Outstanding Loan Obligations. On May 9, 2019,

                       3   Cairn sent the Debtor a Default Notice for failure to pay the Outstanding Loan Obligations

                       4   pursuant to its demand. A true and correct copy of the May 9, 2019 Default Notice is attached

                       5   hereto as Exhibit K.

                       6          19.     The Debtor failed to cure its default within ten days, which Cairn determined gave

                       7   rise to an Event of Default (as defined in the Guaranty) and permitted Cairn to declare an Event

                       8   of Default under the Deed of Trust and (among other things) cause the Property to be sold.

                       9          20.     On January 6, 2020, Cairn sent the Debtor a Second Demand Notice, informing

                      10   the Debtor of the Borrower’s continued failure to repay the Outstanding Loan Obligations on the

                      11   Scheduled Maturity Date and once again demanding the payment thereof by the Debtor. Cairn

                      12   further apprised the Debtor that if total payment of the Outstanding Loan Obligations was not

                      13   made by January 13, 2020, then Cairn would exercise its rights under the Guaranty and Deed of

                      14   Trust to the full extent necessary including (among other things) causing the Property to be sold.

                      15   A true and correct copy of the January 6, 2020 Second Demand Notice is attached hereto as

                      16   Exhibit L.

                      17          21.     In light of the Debtor’s continuing default under the Guaranty, Cairn initiated a
                      18   non-judicial foreclosure sale, with a sale of the Property by a trustee scheduled for June 2, 2020.
                      19   On June 1, 2020, however, Sadleir apparently caused the Debtor to commence the Chapter 11
                      20   Case, which has prevented Cairn from completing the sale of the Property.

                      21   The Debtor, Sadleir and the Property

                      22          22.     As reflected in the Debtor’s schedules, the Debtor has no meaningful business to

                      23   run. As such, Cairn believes that the Debtor’s creditors would not benefit from Sadleir’s

                      24   institutional knowledge if he were to remain in control of the Debtor.

                      25          23.     Sadleir and Kadadu have apparently resided in the Property for years rent-free and

                      26   at the Debtor’s expense.

                      27          24.     Cairn’s interests in the Property are at risk of immediate diminution in value,

                      28   including erosion of Cairn’s secured position by the continued accrual of default interest under
 KASOWITZ BENSON
   TORRES LLP                                                              -5-
   ATTORNEYS AT LAW
     LOS ANGELES
DocuSign Envelope ID: 9636B48B-497F-48A0-8DEC-7E827210643B
                   Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                Desc
                                                 Main Document    Page 147 of 365


                       1   the Credit Agreement, other charges and penalties with respect to overdue property taxes, which,

                       2   according to the Debtor’s schedules, have already given rise to a statutory lien.

                       3          25.     I understand that Sadleir purports to have attempted to refinance the mortgage on

                       4   the Property for months, apparently with no success. I understand that the only parties credibly

                       5   interested in financing the mortgaged property in recent months have sought to acquire the

                       6   mortgage at a significant discount. Indeed, the most recent third-party appraisal of the property

                       7   prepared for Cairn indicates that the Property’s value is much lower that the total indebtedness

                       8   owed to Cairn and secured by the mortgage, in the amount of not less than $14,724,332 with

                       9   default interest and other indemnified expenses continuing to accrue. Accordingly, it is Cairn’s

                      10   understanding that the Debtor does not have any equity in the Property.

                      11

                      12          I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

                      13   and correct.

                      14          Executed this 19th day of June 2020 in London, UK.

                      15
                                                                                        ___________________
                      16                                                                   Brandon Kufrin
                      17                                                                Senior Portfolio Manager,
                                                                                        Cairn Capital Limited
                      18

                      19

                      20

                      21

                      22

                      23

                      24

                      25

                      26

                      27

                      28
 KASOWITZ BENSON
   TORRES LLP                                                              -6-
   ATTORNEYS AT LAW
     LOS ANGELES
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 148 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “A”
Case 2:20-bk-15015-BR         Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                Desc
                             Main Document    Page 149 of 365



                                                                             EXECUTION VERSION




                                 CREDIT, SECURITY, GUARANTY

                                   AND PLEDGE AGREEMENT

                                                    among

                                         AVIRON 1703, LLC

                                 a Delaware limited      liability company
                                               as   Borrower,

                     THE OTHER CREDIT PARTIES REFERRED TO HEREIN

                                          as   Credit Parties,

                                                      and

                            CAIRN CAPITAL INVESTMENT FUNDS ICAV
                      for its sub fund Cairn Capstone Special Opportunities Fund

                                                as   Lender



                                     Dated as of October 1,2018

                                                    Serenity




    LEGAL US W#95804807.17
Case 2:20-bk-15015-BR                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23    Desc
                                    Main Document    Page 150 of 365




                                            TABLE OF CONTENTS


    ARTICLE     1   DEFINITIONS..........,,
            l.l       Defined Temrs
            1.2       Approval
            1.3       Miscellaneous...........".'
    ARTICLE 2 AMOLINT AND TERMS OF LOAN                                                27
            2.1       Commitment to Lend                                               27
            2.2       Advance Procedure                                                27
            2.3       Lender'Advances                                                  28

    ARTICLE 3 INTEREST, FEES, OTHER CHARGES AND COMPENSATION                    .


            3.1       Interest.,......
            3.2       MaximumRate.....".....
            3,3       Default Interest........
            3.4       Loan Fee.....
            3.5       ContingentCompensation;DistributionFee
            3.6       Right of First Refusal.
            3.7       Right of Last Refusal.
            3.8       Breach of Section 3.6 or Section 3.7...........'
            3.9       ContinuingObligations.
    ARTICLE 4 PAYMENTS AND REPAYMENTS..."..'"''                                        JJ
         4.1 Repayment of Loans                                                        33
         4.2 Mandatory Prepayments ......','.....'..'                                  33

         4.3 Voluntary Prepayments..........'..."'.                                    JJ
            4.4       Payments and Computations....."...                               34
            4.5       LenderCosts.........'                                            34
            4.6       Apportionment, Application and Reversal of Payments""''          34
            4.7       Indemnity for Retumed Payments                                   34
            4.8       Books and Records; Monthly Statements                            35

                                                                                       35
    ARTICLE 5 LENDING CONDITIONS ....,.....,...
         5.1 Conditions Precedent to Initial Advance                                   35

         5.2 Conditions Precedent to all Advances......."'.'.'                         38
         5.3 Post-ClosingConditions                                                    39

                                                                                       39
    ARTICLE 6 RELEASE AND DISTRIBUTION
         6.1 P & A Budget; Domestic General Theatrical Release Plan; Screenplay
               and Fihn                                                                39
         6.2 Initial Domestic General Theatrical Release
         6.3 Film Element Changes....
             6.4       Contingent ComPensation; Fees
             6.5       Performance and Amendment of Agreements,Etc"""""""'
             6.6       Enforcement ofAgreements..,".'.'....
             6.7       Related Agreements




     LEcAL_US_W # 95804807,1   7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23               Desc
                                   Main Document    Page 151 of 365




   ARTICLE 7 COLLATERAL .....,.....
        1,I GrantofLien......,..'.',..'.
           1.2        Perfection and Protection of the Lender's Lien...........'
           7,3        Assignment of Rights Only..."......'
           'l .4      Jurisdiction of Organization; Chief Office; Distribution Activities; and
                      Physical ProPerties..'                                                     44
           7.5        Title to and Liens on Collateral ...'.'.'.'...'.".                         44
            .6
           '7         Access and Examination,.....',...                                          44
           7.7        Attomey-in-Fact.'...'..'...'                                               45
           7.B        The Lender's Rights, Duties and Liabilities ..'...'..'......               41
           7.9        Authority to Collect                                                       47
           7.10       Copyrights..                                                               48
           7.ll       Control of Laboratory Materials                                            48
           7 .12      Reinstatement.............'..                                              49
           7.13       Third-Par1y Subsequer-rt Film Financiers..'...."....                       49
           '7
                .14   Miscellaneous,...........'..                                               49

    ARTICLE 8 GUARANTY OF GUARANTORS............                                                 49
           8.1        GuarantY.,'..                                                              49
           8.2        No Impairment of GuarantY, etc.                                            5l
           8.3          Continuation and Reinstatement, etc. ..'....'....'                       51

           8.4          Limitation on Guaranteed Amount, etc. .'......."..                       52

    ARTICLE 9 BOOKS, RECORDS;FINANCIAL REPORTING; AND NOTICES                                    52
            9.1         Books and Records                                                        52
            9.2         Financiallnfotmation                                                     53
            9.3         Cerlain Film Specific Information...'....'.'.....'                       54
            9.4         Notice of Certain Events'..'.....                                        54

    ARTICLE 10 GENERAL REPRESENTATIONS AND WARRANTIES                                            55
         10.1 Authorization, Validity and Enforceability....."".                                 55
         10,2 Validity and PrioritY of Liens                                                     56
         10.3 Organization and Qualification...'........                                         56
                10.4 Financial Statements                                                        56
                10.5 SolvencY.....                                                               56
                10.6 Ownership of Equiry Interests, Subsidiaries' etc. """"""                    56
                10.7 Rights in the Film and Collateral.".............                            JI
                10.8 Required PaYments                                                           58
                10.9 Litigation'...                                                              58
                10.10 No Defaults                                                                58
                10.I1 ERISA                                                                      58
                10.12 Taxes..........                                                            59
                10.13 Margin Stock; Investment Company; and Public Utility Holding
                        ComPanY                                                                  59
                10.14   Fictitious Names                                                         59
                10.15   Pledged Securities....                                                   59
                10.16   Compliance with Laws                                                     60
                10.17   No Material Adverse Change'....".                                         60

                                                              11



     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23    Desc
                                    Main Document    Page 152 of 365




           10.18       Disclosure                                                      60
           10, l9 Material Agreements                                                  60
           10.20 Blokers . ..,...                                                      60
           10.21 Exemption from California Constitutional Usury Provisions             60
           t0.22 Survival of Warranties,................,                              61

    ARTICLE 11 AFFIRMATIVE AND NEGATIVE COVENANTS
         1 1.1 Taxes and Other Liabilities.............

           ll.2         Keeping of Books and Accounts'...'..........'.
           I 1.3        Legal Rights and Facilities..'........'...
            11,4        Compliance
            1   1.5     Maintenance
            11.6        Insurance
            11,7        Related Agreements
            I 1.8       Approvals...
            l     Indebtedness..,...............
                1.9
            11.10 P & A Cost Funding..................
            11.11 Performance of Obligations ..........'.,...
            11.12 Subsidiaries
            1 1.13 Dissolution and Sale of Assets.....
            l 1.14 Use of Proceeds........,......
            1 1.15 Transactions with Credit Party Affiliates ...'...
            I 1.16 Lirnitation on Fundamental Changes......."..'..
            tL.17 Liens...........
            I 1.18 Negative Pledge
            11,19 Bank Accounts ...............
            lt.20 Business Activities....
            tr.2l Ownership of Distribution Rights           ....
            Lt.22 Restricted Payments....
            11.23 Further Assurances..
            tt.24 Chain of Title ................
            tl.25 Universal Agreement
            11.26 Section 365 of the Revised Bankruptcy Code

    ARTICLE 12 PLEDGE                                                                  66
                1,2,1   Pledge.........                                                66
                12.2 Covenant                                                          66
                12,3 Remedies upon Default..'.'.'.'.........                           67
                12.4 Application of Proceeds of Sale and Cash                          68
                12.5 Securities Act, etc.                                              68
                12.6 Continuation and Reinstatement...'......'.'..                     69
                12.l     Termination                                                   69

    ARTICLE 13 EVENTS OF DEFAULT; REMEDIES...".."""'                                    69
         13.1 Events of Default                                                         69
                13.2 Remedies....                                                       72
                13.3 Cumulative Remedies; No Prior Recourse to Collateral               75
                13.4 Failure or Indulgence Not Waiver .........'....'..'                75

                                                             u1

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23    Desc
                                    Main Document    Page 153 of 365




           13,5        Perfotmance of Obligations.'...."'."....                        75

    ARTICLE 14 TERM AND TERMINATION                                                    76
         14.l Termination                                                              76

    ARTICLE 15 MISCELLANEOUS                                                           76
           l5.l        SeverabilitY                                                    76
           15.2 Governing Law '.,...',..'.                                             76
           15.3 Jurisdiction.
           15.4 Reference Provision....
           15.5 Taxes.,........
           15.6 Notices
           15,7 Waiver of Notice..'..
           15.8 Successors and Assigns
           15.9 Indemnification..'......",.
           15.10 Assignrnents and Participations
              I I USA Patriot Act Notice
           I 5.
            15.12 Final Agreement, Waivers and Amendments         '
            15.   l3   Counterparts......'.....'.....
            15.14 Section Headings




                                                           1V


     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                              Main Document    Page 154 of 365




                                 CREDIT, SECURITY, GUARANTY
                                   AND PLEDGE AGREEMENT

    This Credit, Security, Guaranty and Pledge Agreement, dated as of October 1, 2018                 (as

    amended, modified, supplemented, replaced or restated from tirne to time, this "Agreement"), is
    entered into by and among Aviron 1103, LLC, a Delaware limited liability company (the
    "Borrower"), each of the other Credit Parties hereinafter identified and Cairn Capital Investment
    Funds ICAV, for its sub fund Cairn Capstone Special Opporlunities Fund (the "Lender")'

                                               RECITALS

           This Agreement is being entered into in reference to the following facts:

           A.      The Borrower has requested that the Lender make loans to the Borrower up to the
    aggregate principal amount of Twenty Two Million Four Hundred Thousand Dollars
    ($jZ,4OO,OO0) for the purpose of financing the acquisition of distribution rights in, and the cost
    of releasing in theaters before paying audiences in the United States, the motion picfure entitled
    "Serenity".

            B.     The Lender is willing to make the Loans to the Borrower upon the tetms and
    conditions hereil contained and in consideration of the agreements, representations and
    waranties of the Credit Parties hereinafter set forth'

            NOW THEREFORE, in consideration of the mutual covenants and                      agreements
    contained herein, the parties hereto hereby agree as follows:

                                               ARTICLE 1
                                              DEFINITIONS

            1.1     Defined Terms. Initially capitalized terms used herein shall have the following
    meanings:

            ,,Account Control Agreement" means (i) the account control agreement, dated as of the
    date hereof, among the Borrower, SFD, Aviron Finance, Aviron Licensing, the Collection
    Account Manager and the Collection Account Bank, in form and substance acceptable to the
    Lender; and (iij any other deposit account control agreement, in form and substance acceptable
    to the Lerider, amollg a depository bank, any of the Credit Parties, and the Lender with respect to
    a1y other deposit u."ouni related to the Film (other than the Exhibitor Account), in form and
    ,rrbrtun." acceptable to the Lender, as each may be amended, restated, modified, supplemented,
    renewed or replaced from tirne to time. Each such Account Control Agreement shall include the
    agreement and acknowledgement of each of the parties thereto that, as applicable, the Bonower,
    Aui.on Finance and Aviron Licensing, have granted ol shall be granted, r'espectively, and shall
    have a first priority security intelest in the applicable account and all funds standing to the credit
    thereof at iny time or times, which security interest shall be inevocably and unconditionally
     assigned by Aviron Finance and Aviron Licensing to the Lender for security pursuant to the
     applicable Account control Agreement Assignment and this Agreement.




     LEGAL US W#9s804807.17
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                                  Main Document    Page 155 of 365




           "Account Control Assignment Agreement" means an assignment of all of the rights, titles
    and interests of the Borrower, Aviron Finance and Aviron Licensing in, to and under any
    Account Control Agreement, in form and substance acceptable to the Lender, as each such
    Account Control Assignment Agreement may be amended, restated, modified, supplemented,
    renewed or replaced from time to time.

              "Accrued PIK Interest" has the meaning assigned thereto in Subsection 3.1(aXii) hereof.

              "Act"   has the meaning assigried thereto in Section 15'   1   I   hereof.

            "Affiliate" means, as to any Person, any other Person who directly or indirectly, controls,
    is coltrolled by, or is under common control with such Person and any officer, director, member,
    managing member, manager or other executive of such Person or such other Person. A Person
    shall be deemed to control another Person if the controlling Person possesses, directly or
    indirectly, the power to direct or cause the direction of the management and policies of the other
    Person, whether through the ownership of voting securities, by contract, or otherwise.

              "Agreement" has the meaning assigned thereto in the introductory section above.

           "Amazon" rneans Amazon Digital Services, LLC, a Delaware limited                liability company
    and each Affiliate thereof that signs the Amazon Distribution Agreement.

              "Amazon Assigned Receipts" means any and all amounts payable or paid by Amazon

              to or for the benefit of any of the Cledit Parties or for any the account of any Credit Party
    with regard to the Film pursuant to the Amazon Distribution Agreement including, without
    lirnitation, such amounts as are directly deposited into the Collection Account'

           "Amazon Distribution Agreement" means the Subscliption Video-On-Demand Master
    License Agreement, dated as of July 23,2018, by and between Amazon and Aviron Pictures, and
    any SVOD Deal Addendum (as such term is defined in the Amazon Distribution Agreement)
    reiated to the Film in connection therewith, as amended, restated, modified, supplemented,
    renewed or replaced from time to time; provided that any such amendment, restatement,
    modification, supplement, renewal or replacement that could reasonably be anticipated to
    adversely affect the amount or time of payrnent of the Assigned Receipts shall require the
    consent ofthe Lender.

            "Amazon Payment Direction" means an irrevocable and unconditional authorization and
    directiol to pay executed and delivered by each applicable Credit Parly and Amazon pursuant to
    which Amazon is directed and agrees to pay the Amazon Assigned Receipts to the Collection
    Account, in fonn and substance approved by the Lender'

            "Applicable Law" means all provisions of statutes, rules, regulations and orders of a
     Govenmer,tal Authority applicable to the Person in question, all guidelines and directives
     (whether or not having the force of law) of any Govemmental Authority and all orders and
     decrees of all courls and arbitrators in proceedings or actions in which the Person in question is a
     partY.


                                                         2

     T,EGAL US W# 95804807.1?
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                               Main Document    Page 156 of 365




           ,,Assigned Receipts" collectively means the Amazon Assigned Receipts, the Universal
    Arrign"d R"..iptr and whatever is acquired or paid to or derived by or payable directly or
    indirectly pursuant to any Subdistribution Agreenent or any proceeds thereof, any Exhibitor
    Agreement or any proceeds thereof, or othetwise on account of the lease, licensing, exchange'
    diiribution, exhitiiion, exploitation or other disposition of the Filur or the Distribution Rights
    including, without limitation, all money, royalties, fees' commissions, charges, payments,
    proceeds" of any letter of credit, advances, income, investments, profit, Exhibitor Receipts and
    other forms of payment.
            ,,Attorney Costs" means all reasonable and documented fees of Reed Smith LLP, the
    external t.g"t ."6r"t *gaged by the Lender to negotiate and close the Loan evidenced by this
    Agreement, and any retatea reasonable and documented out-of-pocket disbursements, filing,
    courier, messenger, copying, and other similar expenses incurred by such counsel.
           ,,Authorized Officer" means a secretary, president, manager, managing member', Chief
    Executive Officer, Chief Financial Officer or Chief Operating Officer of a Person.
           ,.Available Commitment" means, at any date of determination, an amount equal to: (a)
    the Total Cornrnitrnenq minus (b) the aggregate amount of all Advances made to or on behalf of
    the Borrower hereunder.
            ,,Aviron Finance" means Aviron Finance, LLC,     a Delaware   limited liability company'

            ,.Aviron Licensing" mearls Aviron Licensing, LLC,           a   Delaware limited liability
    company.
           ,.Aviron Releasing Assignment" means each "Assignment Agreement" dated as the date
    hereof between Aviron Releasing, LLC, a Delaware limited liability company, and Aviron
    Licensilg, in connection with the assignment of rights related to the Film under the Universal
    Agreement and the Amazon Agreement, respectively, from Aviron Releasing, LLC to Aviron
    L[ensi1g, as amended, restated, niodified, supplemented, reuewed or replaced from time to
    time, each in form and substance approved by the Lender'
              ,,Bankruptcy Code" means Title 1l of the United States Code (11 U.S.C. $$ 101 et seq.).

              "Bgffowgl" has the meaning assigned thereto on page t hereof'
              ,,Borowing Ceftificate" means a certificate substantially in the fotm attached hereto    as

     Exhibit A.

              "Broker's Fee" means $250,000 payable by the Bon'ower to PDL'
            ,.Business Dalz" means any day that is not a Saturday, Sunday, or a day on which banks
     in Los Angeles, california are required or pennitted to be closed.
              ..Capital Lease" means any lease of any properly (whether real, personal or mixed) by a
     person      1".r". wh-ich, in accordance with GAAP, is or should be accounted for as a capital
              ^
                                                      3

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                   Main Document    Page 157 of 365




   lease on the balance sheet of such Person, and the amount of obligations in respect of a Capital
   Lease shall be the capitalized amount thereof detetmined in accordance with GAAP.

           "Cash Equivalents" means any of the following types of Investmeuts, to the extent owned
   by the Borower free and clear of all Liens (other than Liens created under the Loan Documents
   in favor of the Lender):

                    (a) readily marketable obligations issued or directly and fully guaranteed
    or insured   by the United States of America or any agency or instrumentality thereof having
    maturities of  not  more than 360 days fi'om the date of acquisition thereof; provided that the
    full faith and credit of the United States of America is pledged in supporl thereof;
                    (b)     time deposits with, or insured cerlificates        of deposit or batrkers'
    acceptances of, any commercial bank that (i) is organized under the laws of the United States of
    Ameiica, any state thereof or the District of Columbia or is the principal banking subsidiary of a
    balk holding company organized under the laws of the United States of America, any state
    thereof or thl District of Colurnbia, and is a member of the Federal Reserve System, (ii) issues
    (or. the parent of which issues) commercial paper rated as described in clause (c) of this
    definition and (iii) has combined capital and sutplus of at least $1,000,000,000, in each case with
    maturities of not more than 180 days from the date of acquisition thereof;

                   (c) commercial paper issued by any Person organized under the laws of
    any state of the  United States of America and rated at least "Prime-l" (ol the then equivalent
    grua"; by Moody's ol at least "A-1" (or the then equivalent grade) by S&P, in each case with
    maturities of not rnore than 90 days from the date of acquisition theleof; and

                   (c) Investments classified in accordance with GAAP as cuffent assets of
    Bomower in money market investment programs registered under the Investment Company Act
    of 1940 that are administered by financial institutions that have the highest rating obtainable
    frorn either Moody's or S&P and the portfolios of which are limited solely to Investments of the
    character, quality and maturity described in clauses (a), (b) and (c) of this definition.

             "CCP" has the meaning assigned thereto in Section 15.4(a) hereof'

             ',Chain of Title Documents" means the docutnents listed in Schedule 1.1 attached hereto'

            ,.Change of Control" means that: (a) Temerity no longer has at least beneficial ownership,
    directly  *  inOit=itty, of at least 80% of the outstanding Equity lnterests of each of the Credit
    parties; or (b) Williarn K. Sadleir (or such other Person as may be approved by the Lender in its
    sole and absolute discretion) no longer is the sole Manager of each the Credit Parties'
             ((clallfl" has the meaning assigned thereto in Section 15.4(a) hereof.

             ,'Claim Date" has the meaning assigned thereto in Section 15.4(a) hereof.

            ,,Closing Date" means the date that all conditions precedent set forth in Sections 5.1 and
     5.2 hereof are satisfied or waived'


                                                       4

     LEGAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                               Main Document    Page 158 of 365




           ('Code"
                     means the United States Internal Revenue Code, as arnended fi'om time to time.

            "egllAlgl4l" collectively means (i) the Credit Parly Collateral and (ii) all other propefiy
   that is from time to time subject to any of the Liens granted in favor of the Lender pursuant to
   any of the Fundamental Documents.

           "Collateral Proceeds" means all proceeds of the Collateral, including whatever is
   acquired or paid to or derived by or payable directly or indirectly to auy Credit Party on account
   of ihe sale, lease, licensing, exchange, distribution, exhibition, exploitation or other disposition
   of the Film or any other Collateral including, without lirnitation, lnoney, royalties,         fees,
    cornmissions, charges, payments, rebates, discounts, refunds and credits, proceeds of any letter
    of credit, advances, income, profit and other forms of payment, proceeds of any casualty
    insur-ance for any of the Collateral, the proceeds of any tax incentives derived from the Film and
    all Assigned Receipts,

           "Collection Account" means the bank account no. 80006521332 held and maintained in
    the name of Stichting Freeway Custody Serenity Domestic at the Collection Account Bank, at
     111 Pine Street, San Francisco, Califomia 94111, Attention: Agnes Viszoki, ABA Number
    321081669, Swift Code FRBBUS6S, Reference: Serenity, or any otherbank account fi'om time
    to time, approved by the Lender. The Cotlection Account at all tirnes shall be subject to an
    Account Control Agreement and related Account Control Agreement Assignment.
            ,'Collection Account Bank" means First Republic Bank, or any other Bank at which the
    Collection Account is maintained from time to time, approved by the Lender.
            ,,Collection Account Management Agreement" or "QAMA" means the Collection
    Account Management Agreement, dated as of October 1,2018, entered into by and among the
    Collection Account Manager, the Collection Account Trustee, the Borrower, Aviron Finance,
    Aviron Licensing and SFD, in forrn and substance approved by the Lender, as atnended,
    modified, supplemented, replaced or restated fi'om time to time.
                                                                            means the Collection
    Account Management Agreement Assignment, dated as of October 1,2018, entered into by and
    atnollg the Collection Account Manager, the Collection Account Trustee, the Borower, Avirou
    Finance, Aviron Licensing and the Lender, satisfactory to the Lender, as amended, modified,
    supplemented, replaced or restated from time to time. Notwithstanding anything to the contrary
    in the Collection Account Management Agreement, the Collection Account Management
    Agreement Assignment shall require that the Collection Account Manager specially disburse
    fu-nds directly tolhe Lender from the Collection Account at each and any time that there is Fifty
    Thousand Ooltars ($50,000) or lnore on deposit therein within three (3) Business Days after each
    date upon which said threshold amount is reached but not more than one (1) such special
    disbursement shall be made during any single calendar week.

             ',Collection Account Manager" or "EQAM" means Freeway CAM, B.V., a compally
     registered ulder the laws of The Netherlands, or any other Persou acting in that capacity under
     the Collection Account Management Agreernent from time to titne, approved by the Lender.


                                                      5

     LECAL US W#95804807,17
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                             Desc
                               Main Document    Page 159 of 365




           "Collection Account Trustee" or "FCustodv" means Stichting Freeway Custody,                      a

   foundation registered undel the laws of The Netherlands,
            ,,Completion Guarantor" means Film Finances, Inc., a California cotporation.

            ,,Consolidated Subsidiaries" means, with respect to any Person at any time, all
    Subsidiaries of such Person which are required or permitted to be consolidated with such Person
    for financial reporling pulposes in accordance with GAAP then in effect.
           ,,Contingent Compensation" has the meaning assigned thereto in Section 3'5 hereof.

            ,,Contingent Compensation Obligations" means           all   obligations owing   to the   Lender
    arising under Section 3.5 hereof'
           ,,copyright Mortgage and Assignment" means each copyright Mortgage and
    Ar.ign-*f dut"d .ot-rtt"otty herewith, made by the Credit Parties in favor of the Lender, in
    form and substance approved ty the Lender, suitable for filing in the United States Copyright
    Office, as such document may be amended, restated, modified, supplemented, renewed or
    replaced from time to time with the approval of the Lender'

            "court" has the meaning assigned thereto in Subsection 15'4(a) hereof'

            "Credit Parly" means the Borrower and each Guarantor'
           ,,Credit partv Collateral" means (A) with respect to the Borrower and Aviron Finance, all
    of such Credit nuttyt rrght, title and interest in and to all personal property, tangible and
    intangible, wherever located or situated and whether now owned, presently existing or
                                                                                                 hereafter
                                                                               in    SPV   (other than the
    acquiied or created, excluding only such Credit Pafiy's Equity Interest       an
                                                                                   Collateral") and, prior
    equity lnterests in the Borroiver', which are included in the "Credit Parly
                                                                                          of  an SPV,  but
    to uny distribution thereof to the holder of the Equity Interests therein, the assets
    incluiing,  without limitation, all goods, accounts, insttuments, intercompany            obligations'
    contract rights, partnership and joint venture interests, documents, chattel paper,
                                                                                         general
    intangiblesl goodwill, equipmetrt, machinery, inventory, investment property, copyrights,
    tradeinarks, tiade 1ames,-insurance policies (including key mau policies, if any),
                                                                                       insurance
                                                                                             granted or to
    proceeds, cash and Cash Equivalents, Liens (including, but not lirnited to, any Lien
    te granted by SFD in fav-or  of such  Credit  Party, including     the lien created   by  a Copyright
                                       of June  15,2017,   filed for  lecordation  in the U.S.  Copyright
    Moitgage ani Assignment, dated  as
    Offic-e Jn August i8, Z0lB, and UCC-I   Financing  Statement     filed with the  Delaware   Secretary
     of State on August'28,2018,     18-76666083419, each with SFD as "Debtor" in favor of the
                   ,,Secured Party'), and all drafts, checks, certificates of deposit, notes, bills of
     Borrower as
     exchange and other writings-oi negotiable instruments which evidence atighl
                                                                                          to the payment of
     money-and are not themsJlves security agreements      or  leases  and  are  of  a type  which is in the
                                                          with  any necessary    endorsement     or necessary
     ordinary course ofbusiness transferred by delivery
                                                             deposit  accounts,   letter of credit  rights, the
     assignment whether now owned or hereaiter acquired,
     pled"ged Securities and other securities, all amounts on    deposit  in the  Collection   Account,     and
                                                                     foregoing'   further  including    but not
     any iroceeds of, or any products or income frotn, any of the
     limited to, all of such Credit Party's right, title and interest  in  and  to  the  Film,  the   scenario,
     screenplay or script upon which t-he Film is based, all of the
                                                                         properlies thereof, tangible and
                                                         6

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                            Desc
                                 Main Document    Page 160 of 365




   intangible, and all domestic copyrights and all other rights therein and thereto, of every kind and
   chara-cter, whether now or hereafter in existence, and whether or not in possession of such Credit
   party, including and without lirniting the foregoing language, and such Credit Party's right, title
   andlnterest in and to each and all of the following particular rights and properties (in each case
   wherever located and to the extent they are now owned, presently existing or hereafter created or
   acquired by such Credit PartY):

                   (D         all scenarios, screenplays, teleplays and/or scripts at every stage thereof;

                   (ii)       all common law and/or statutory copyright and other rights in all literary
    a1d other properties (hereinafter collectively referred to as the "Literary Property") which form
    the basis of tn" f'ltttr and/or which are or will be incotporated into the Film, all component parts
    of the Film consisting of the Literary Propefty, all motion picture, television progran or other
    rights in and to the story, all treatments of said story and the Literary Properly, together with all
    pi.li-inury and final screenplays used and to be used in connection with the Film, and all other
    iit".ury material upon which the Film is based or from which it is adapted;
                    (iii)  all rights for all media in and to all rnusic and musical compositions used
    and to be used  in the  Film, if any, including, each without limitation, all lights to record, re-
    record, produce, reproduce or synchronize all of such music and musical compositions,
    including, without limitation, reuse fees, royalties and all other amounts payable with respect to
    said music and musical compositions;

                    (iv)      all tangible personal properly lelating to the Film, including, without
    lirnitation, all exposed film, developed fihn, positives, negatives, prints, positive prints, answer
    prints, magnetic tapes and other digital or electronic storage rnedia, special effbcts, preparing
    materials (including interpositives, duplicate negatives, intemegatives, color reversals,
    internediates, lavenders, fini grain master prints and matrices, and all other forms of pre-print
    elements), sound tracks, cutouts, trims and any and all other physical properties of every kind
    and natuie relating to the Fihn whether in cor-npleted fotm or in sotne state of completion, and
                                                                                                       all
    masters, duplicatei, drafts, versions, valiations and copies of each thereof, in all forrnats whether
    on film, videotape, disk or otherwise and all music sheets and promotional materials relating to
    the Fihn (collectively, the "Physical Properties");

                    (v)  all collateral, allied, subsidiary and merchandising rights appurtenant or
    related to the Filn including, without limitation, the following rights: all rights to produce
    remakes, spin-offs,
              -of       sequels or prequels to the Film based upon the Fihn, the Literary Property or
    the theme     tn" Filn and/or the text or any parl of the Literary Properly; all rights throughout
     the wor.ld to    broadcast, transmit and/or reproduce by means of television (including
     commercially sponsored, sustaining and subscription or "pay" television) or by streaming video
     or by other -"in, over the internet or any other open or closed physical or wireless network or
     by any process analogous to any of the foregoing, now known or hereafter devised, the Film or
     uny ,"-ut., spin-offlequel or prequel to the Film; all rights to produce primarily for television
     o. .i^ilu, use, a motion pi.t'rr" or series of motion pictures, by use of film or any other recording
     device or medium now known or hereafter devised, based upon the Film, the Literary Property
                                                                                                          or
     any part thereof, including, without limitation, based upon any script,   scenario  or the like used in
     ttie iltm; all merchandising rights including, without limitation, all     rights to use,  exploit and

                                                          ,7



     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                     Main Document    Page 161 of 365




    license others to use and exploit any and all commercial tie-ups of any kind arising out of or
    connected with the Literary Propefiy, the Film, the title or titles of the Film, the charactels of the
    Filn and/or the literary properties and/or the names or characteristics of said characters and
    including further, without limitation, any and all cotnmercial exploitation in connection with or
    related to the Fi|n, any remake, spin-off, sequel or prequel thereof and/or the literary properties;

                    (vi)   all statutory copyrights, domestic and foreign, obtained or to be obtained
    on the Film, together with any and all copyrights obtained or to be obtained in connection with
    the Film ot uny underlying or component elements of the Fihn, including, in each case without
    limitation, all copyrights on the property described in subparagraphs "(i)" through "(v)"
    inclusive, of this dehnition, together with the right to copyright (and all rights to renew or extend
    such copyrights, if applicable) and the right to sue in the name of such Credit Party for past,
    present^unJ futor" lnfring"-"nts of copyright with respect to the property described in
    iubparagraphs "(i)" through "(v)" inclusive, of this definition;

                    (vii)          all insurance policies and completion bonds connected with the Film    and
    all proceeds which may be derived therefrom;

                     (viii) all rights to distribute, sell, rent, license the exhibition   of and otherwise
    exploit and turn to account the  Film  in all media   (whether   now   known   or hereafter   developed),
    the Physical Properties, the motion  picture,  television  program   or other rights  in  and to the story
    andlor other liteiary material upon which    the  Fihn  is based  or fiom  which  it is  adapted,  and the
    music and musical compositions used or to be      used  in the Film;

                     (ix)   any and all sums, claims, proceeds, money, products, profits or increases,
    including money profits or increases (as those telms are used in the UCC or othetwise) or other
    properry- obtainld or to be obtained from the distribution, exhibition, sale or other uses or
    iisporliions of the Film or any part of or rights in or to the Film in all media (whether now
    known or hereafter developed), including, without limitation, all sums, claims, proceeds, profits,
    products and increases, whether in money or otherwise, from a sale and leaseback or other sale,
    iental or licensing of the Film and/or any of the elements of the Film including, without
     limitation, fi.om collateral, allied, subsidiary and merchandising rights, and furlher including'
    without limitation, all monies held in the Collection Account;

                     (x)     the dramatic, nondramatic, stage, television, radio and publishing rights,
     title and interest in and to the Film, and the right to obtain copyrights and renewals of copyrights
     therein, if applicable;

                     (xi)          the name or title of the Film and all rights of such Credit Party to the use
     thereof, including, without limitation, rights protected pursuant to trademark, service mark,
     unfair cornpetition and/or any other applicable statutes, comlnon law, or other rule or principle of
     law;

                      (xii)        any and all contract rights and/or chattel paper which may arise in
     conuectiou with the Film;

                      (xiii) all accounts and/or other rights to payment which such Credit Parfy
     presently owns or which may arise in favor of such Credit Party in the future in connection with
                                                             8

     LEGAL_US_W # 95804807,   I7
Case 2:20-bk-15015-BR                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                    Main Document    Page 162 of 365




    the Fi1n, including, without limitation, any refund or rebate in connection with a completion
    bond or otherwise, any refund, rebate, discount or credit in connection with any item of P & A
    Costs, any and all refunds in connection with any VAT or value added tax, all accounts and/or
    rights to iayment due from Persons in connection with the distribution and/or exploitation of the
    Fiirn, or iiom ttre exploitation of any and all of the collateral, allied, subsidiary, merchandising
    and other rights in cbnnection with the Film, including tax refunds and tax rebates received in
    connection with tax incentives and Net Proceeds;

                       (xiv)
                           any and all "general intangibles" (as that term is defined in the UCC) not
    elsewhere included in this definition, exclusive of the Equity Interests in an SPV, but including,
    without limitation, any and all general intangibles consisting of any right to payment which may
    arise in connection with the distribution or exploitation of any of the rights set out herein, and
    any and all general intangible rights in favor of such Credit Party for seruices or other
    p"rforr11uo"..    1yuny third parties, including actors, writers, directors, individual producers
    and/or any and all other performing or nonperforming artists in any way connected with the
    Film, any and all general intangible rights in favor of such Credit Party relating to licenses of
    sound oioth., .qrrip*"trt, or licenses for any photograph or photographic or other processes, and
    any and all generai intangibles related to the distribution or exploitation of the Film including
    general intarigibles related to or which grow out of the exhibition of the Film and the exploitation
    of any and all other rigl,ts in the Film set out in this definition;

                       (xv)
                          any and all "goods," including, without limitation, "inventory" (as such
    terms are defined in the UCC) which may arise in counection with the Film, which goods are
    owned by such Credit Party pursuant to any distribution agreement or otherwise;

                        (xvi) all and each of the rights, regardless of denomination, which arise in
    connection with the acquisition, creation, production, completion of production, delivery,
    distribution, or other exploitatiori of the Film including, without limitation, any and all rights in
    favor of such Credit Party, the ownership or control of which are or may become necessary or
    desirable, in the reasonable opinion of the Lender to distribute and othetwise exploit the Fihn;

                        (xvii) any and all documents issued by any pledge holder or bailee with respect
     to the   Filn   or any Physical Properlies (whether or not in cornpleted form) with respect thereto;

                        (xviii)   any and all deposit accounts established by such Credit Party with respect
     to the Fihn;

                        (xix) any and all rights of such Credit Parly under any agreement with respect
     or relating to the distributiori of the Film;

                           any and all rights of such Credit Party under contracts relating to the
                        (*x)
     productiol or acquisition of the Film or othetwise, including, but not limited to, all such
     contracts which have been delivered to the Lender pursuant to this Agreement;

                            any and all security granted in favor of such Credit Party in or related to
                        (xxi)
     the Film includilg, without limitation, any rights to payment or other rights relating to the Film;


                                                           9

     LECAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                 Main Document    Page 163 of 365




                   (xxii)     any rebates, discounts, credits, refunds, grants or other similar benefits
   relating to the Fihn; and

                   (xxiii)        all accessions and additions to, substitutions for, aud replacements,
    products and   proceeds  any  of  the foregoiug including, without limitatior,, proceeds of any
    inrurun." policies and claims against third Persons with respect to the foregoing;

                   (B)       with respect to Aviron Licensing, (i) the Exhibitor Receipts on deposit in
    the Exhibitor Account and (ii) all of Aviron Licensing's right, title and interest in and to all
    personal property, tangible and intangible, wherever located or situated and whether now owned,
    presently- existing or hereafter acquired or created, in connection with the Film (excluding any
    ieposit accounts), including, without limitation, all goods, accounts, instruments, intercompany
    obiigations, contract rights, partnership and joint venture interests, documents, chattel paper'
    general intangibles, goodwill, equipment, machinery, inventory, investment property, copyrights,
    irademarks, irade names, insurance policies (including key man policies, if any), insurance
    proceeds, cash and Cash Equivalents, Liens (including, but not limited to, any Lien granted or to
    te granted by SFD in favoi of Aviron Licensing), and all drafts, checks, certificates of deposit,
     notis, bills of exchange and other writings or negotiable instruments which evidence a right to
     the payment of money and are not themselves security agreements or leases and are of a type
     whiih- is in the ordinary course of business transferred by delivery with any necessary
     endorsernelt or necessary assignment whether now owned or hereafter acquired, letter of credit
     rights, securities, and any procieds of, or any products or income from, any of the foregoing, in
     each case in connectiol with the Film, further including but not limited to, all of Aviron
     Licensing's right, title and interest in and to the Film, the scenario, screenplay or script upon
     which tne Eitm is based, all of the properties thereof, tangible and intangible, and all domestic
      copyrights and all other rights therein and thereto, of every kind and character, whether llow or
     heieafter iu existeuce, and whether or not in possession of Aviron Licensing;
                    (C)       with respect to Aviron Finance, the      Subsequent   Aviron Film   Excess
    Proceeds to whicli the Lender is entitled hereunder; and
                    (D)       with respect to Temerity, the Temerity Guaranty collateral.
             ,,Debtor" mealls each of the Borower, each Guarantor atrd those Persons that from time
     to time own any of the Pledged Securities'
           ,,Default" means any event or condition which, with notice, the passage of time, the
     happening of any other condition or event, or any combination thereof, would constitute an
     Event of Default.

            "Default Rate" has the meaning given to that term in Section 3.3 hereof.
             ,,Dgliygly,, means "Essential Delivery" and "Full Delivery" (as such terms are defined in
     the Distribution Agreement.
             ..Delivery ltems" means the "De.Uvel)Ljenq!" and all other materials required to be
     delivered to the Borrower under the Distribution Agreetnent'
             ,.Distribution Agreernent" means the SFD Distribution Agreement.

                                                        10

     LECAL US W#95804807.17
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                               Main Document    Page 164 of 365




             "Distribution Fee Participation" has the meaning given to that tetm in Subsection 3.5(b)
   heleof.

          ',Distribution Fees Assignment Agreement" means the "Assignment Agreement" dated as
   of the date hereof by and between Aviron Finance and Aviron Licensing with respect to the
   Film, as amended, restated, modified, supplemented, renewed or replaced from time to time'

         "Distribution Rights" means all of the "Distribution Rights" granted and to be granted to
   the Bonower pursuant to the Distribution Agreement, or otherwise, or to the Borrower or any
    other Credit Parly pursuant to any other agreement, document or instrument'

             "Distribution Term" has the meaning assigned thereto in the Distribution Agreement.
             ,,Distributor" means Aviron   ll03,LLC,   a Delaware   lirnited liability company.

             "DgIlgIq" and "$" means lawful money of the United States of America,
           ,'Domestic General Theatrical Release" means the initial general theatrical release of the
    Film in the Domestic Territory, concurrently on no less than two thousand (2,000) screens, in
    accordance with the Domestic General Theatrical Release Plan.

            ,'Domestic Genelal Theatrical Release Date" means the date on which the Fihn is
    1.rquir"d to b. initially theatrically generally released in the Domestic Territory pursuant to the
    Distribution Agreement, and in accordance with the Domestic General Theatrical Release Plan,
    in any event not later than: (a) the latest pennitted release date in the Distribution Agreement; or
    (b) January 25,2019, unless otherwise approved in writing by the Lender.

           "Domestic General Theatlical Release Plan" means the plan for the initial Domestic
    General Theatrical Release of the Film and expenditure of the P & A Budget in accordance with
    Exhibit B attached hereto.
            ,,Domestic Tenitory" means the "Distribution Tetritory," as such tenn is defined in the
    Distribution Agreement.
           ,,Drawdown Schedule" meal1s the schedule for the disbursement of cerlain Advances to
    the Borrower as follows: (a) the Initial Advance as and when hereinafter provided, in the amount
    of Twelve Million Dollars ($12,000,000); (b) on October 22,2018, in the amount of Five Million
    Dollars ($5,000,000); and (c) provided that the Tracking Standard has beeu satisfied, as
    hereilafter provided, on a Business Day selected by the Bortower, and of which the Borower
    has providei notice to the Lender in accordance with Section 2.2 hereof, so long as such date is
    1ot earlier than one (1) week after the date upon which the Lender and the Bonower confirm in
    writing that such satisfaction has occured, in the amount of Three Million Dollars ($3,000,000)'
             ,,Equipment" rneans all rnachinery, electrical and electronic components, equipment,
     fixtures, fumiture, office machinery, vehicles, trailers, implements and other tangible personal
     pr.operty of every kirid and description now owred or hereafter acquired by the Credit Pafties and
     utt'gooOr of lile kind or type hereafter acquired by the Credit Parlies in substitution or

                                                       l1
     LEGAL US W#95804807.I7
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                Main Document    Page 165 of 365




   replacement thereof, and all additions and accessions thereto, wherever any of the foregoing is
    located.

            ,'Equitv Interests" means shares of the capital stock, partnership iuterests, membership
    interests or other ownership units iu a limited liability company, beneficial interests in a trust or
    other equity interests in any Person or any waffants, options or other rights to acquire such
    interests.

               ,,ERISA" means the Employee Retirement Income Security Act of 1974, as amended (or
    any successor statute).

          "ERISA Affiliate" means any trade or business (whether or not incorporated) under
    common control with any Credit Parly within the meaning of Section4l4(b) or (c) of the Code
    (and Sectiols 414(m) and (o) of the Code for purposes of provisions relating to Section 412 of
    the Code).

            "ERISA Event" means: (a) a Reportable Event with respect to a Pension Plan; (b) the
    withdrawal of a Credit Party or any ERISA Affiliate from a Pension Plan subject to Section 4063
    of ERISA during a plan year in which such eritity was a "substantial employer" as defined in
    Section 4001(aX2) of ERISA or a cessation of operations that is treated as such a withdrawal
    under Section4062(e) of ERISA; (c) a complete or paftial withdrawal, within the meaning of
    Title IV of ERISA, by a Credit Parly or any ERISA Affiliate from a Multiemployer Plan or
    receipt by a Credit Parly or any ERISA Affiliate of notification that a Multiernployer Plan is in
    reorganiiation, within the meaning of Title lV of ERISA; (d) the filing of a notice of intent to
    terminate or the treatment of a Pension Plan or Multiernployer Plan amendment as a termination
    under Section414l or 40414 of ERISA; (e) the institution by the PBGC of proceedings to
    terminate a Pension Plan or Multiemployer Plan; (0 any event or condition which constifutes
    grounds under Section4042 of ERISA for the termination of, orthe appointment of a trustee to
    idrnir1irt"., any Pension Plan or, to the best knowledge of such Credit Party, any Multiemployer
    plan; (g) the determination that any Pension Plan or Multiemployer Plan is considered an at-risk
    ptan oi a plan in endangered or critical status within the meaning of Sections 430,43I and 432 of
    ih" Cod"-ot Sections 303, 304 and 305 of ERISA; or' (h) the irnposition of any liability under
    Title IV of ERISA, other than for PBGC premiums due but not delinquent under Section 4007 of
     ERISA or contributions due but not delinquent under the Pension Funding Rules, upon such
     Credit Party or any ERISA Affiliate'
               ,.Event of Default" has the meaning specified in Article 13 hereof.


             "Excluded Taxes" means any Tax imposed on or with respect to the Lender or required to
     be withheld or deducted from a payment due to the Lender, which Tax (i) would not be due from
     the Lender if the Lender were dorniciled or regularly conducting a trade or business in the United
     States or (ii) is imposed on, or measured by net income (however denorninated, including
     franchise Taxes, branch profit Taxes and gross receipt Taxes), in each case, as a result of the
     Lencler being organized under the laws of, or having its principal office located in, the
     jurisdiction imposing such Tax (or any political subdivision thereof).



                                                        l2
     LEGAL US W#95804807,17
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                              Main Document    Page 166 of 365




            ,,EIbibiIgI" means each Person authorized by any Credit Par1y, directly or indirectly, to
    exhibit the Film in motion picture theaters in the Domestic Territory.
           ,,Exhibitor Account" means the bank account no. 332996567 owned and maintained in
    the name of Aviron Licensing at the Exhibitor Account Bank, ABA Number 021000021, Swift
    Code CHASUS33, or any other bank account from time to time, approved by the Lender' The
    Exhibitor Account at all times shall be in the name and under the sole control of Aviron
    Licensing.

             "Exhibitor Account Bank" means JPMorgan Chase Bank, N'A'
            ,,Exhibitor Agreement" means each agreement pefiaining to the Film with an Exhibitor
    that operates more than one (1) motion picture theater pursuant to which such Exhibitor is
    authorized to exhibit the Film in motion picture theaters in the Domestic Territory as any such
    document may be amended, restated, modified, supplemented, renewed or replaced from time to
    tirne.
            ,'Exhibitor Receipts" collectively means whatever is acquired or paid to or derived by or
    payable Ot.".tty o. indiiectly by any Exhibitor for or in connection with the exhibition of the
    Fil- o, ally proceeds thereof including, without limitation, all money, royalties, fees,
    commissionr, aitu.gat, payments, proceeds of any letter of credit, advances, income, investmeuts,
    profit and other fotms of PaYment.

            ,,Film" means the color, full-length, motion picture, cinematographic film and photoplay
    based on the Screelplay, entitled Serenity (by whatever title such motion picture is now or
                                                                                                  may
    hereafter become known), including the sound records thereof, as well as trailers       and  clips
    thereof, produced by means of any photographic, electronic, mechanical or other processes or
    devices no* o, hereafter known, invented, used or contemplated, by which photographs, films,
    drawings, images or other visual reproductions or repl'esentations are or may be printed,
    imprintld, ,..o-rd.d or otherwise preserved ou film, tape or any other material of any description
    (w^hether translucent or not) for later projection, exhibition or transmission by any means or
    media now known or hereafter devised, in such manner that the same are or appear to be in
    motion or in sequence ou a screen, mirror, tube or other medium or device, whether or uot
     accompanied by sound record.
             ,,Financial Statements" means the financial statements of the Parent and each of the
     Credit pu.ti* * r.quired to be provided to the Lender in accordance with Section 10.4 hereof.
           ,,Fundamental Documents" rneans this Agreement, the Note, each Laboratory Access
     Agreemenffie Amazon Agreement, the Universal Agreement, the Distribution Agreement, the
     power of Attorney, the Security Documents, the Temerity Guaranty and Temerity Guarantor
     Documents, the Collection Account Management Agreement, the Collection Account
     Management Agreement        Assignment, the Payment Directions, each Aviron Releasing
                      -Exhibitor
     Assigiment, the             Agreements,   the Chain-of-Title Documents, the License Agreement,
     the iunding Agreernelt,  the Distribution  Fees Assignment Agreemeut, and all other agreements,
     instrurnentJ and documents   heretofore,  now  or hereafter evidencing, securing, guaranteeing or

                                                     l3
     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                     Desc
                                   Main Document    Page 167 of 365




    otherwise relating to the Loan Obligations, the Collateral, the Lender's Liens in the Collateral or
    any other aspect of the transactions conternplated by this Agreetnent, and any other ancillary
    documentation which is required to be or is otherwise executed by any Credit Parly and
    delivered to the Lendel in connection with this Agreement or any of the documents listed above,
    as any of the foregoing may be amended, restated, modified, supplemented, renewed or replaced
    from time to time with the approval of the Lender.

           "Funding Agreement" means the Funding Agreement dated as of the date hereof by and
    between Aviton Finance and the Borrower with respect to the Film, as amended, restated,
    modified, supplemented, renewed or replaced from time to time.

            "GAAP" means generally accepted accounting principles in the United States of America
    in effect from time to time consistently applied (except for accounting changes in response to
    FASB releases, or other authoritative pronouncements).

             "Govemmental Authoriry" means the government of the United States or any other
    nation, or of any political subdivision thereof, whether state or local, and any agency' authority,
    instrumentality, regulatory body, coufi, central bank or other entity exercising executive,
    legislative, judicial, taxing, regulatory or administrative powers ot' functions of or pertaining to
    government (including any supra-national bodies such as the European Union or the European
    Central Bank).

             "GuaIa$gI" means Temerity, Aviron Licensing and Aviron Finance'
            ,,Guaranty" means, as to any Person, any direct or indirect obligation of such Person
    guaranteeing or intended to guarantee any Indebtedness, Capital Lease, dividend or other
    ilonetary obligation ("primary oblisation") of any other Person (the "pd:nety_qbligq") in any
    manner, whether directly or indirectly, including any obligation of such Person, whether or not
    contingent, (a) to purchase any such primary obligation or any property constituting direct or
    indirecl security therefor, or (b) to advance or supply funds for the purchase or payment of any
    such primary obligation, or (c) to maintain working capital or equity capital of the primary
    obligor or oihelwiie to maintain the net wofth or solvency of the primary obligor, or (d) to
    pu..hur. propefty, securities or selices, in each case, primarily for the putpose of assuring the
    perfor-ariceby    the primary obligor of any such primary obligation; plovldgd, however, the tetm
    ^Guurunty
               shall not include endorsements for collection or collections for deposit, in either case iu
     the ordinary course of business. The amount of any Guaranty shall be deerned to be an amount
     equal to the lesser of (x) the stated or determinable amount of the primary obligation in respect
     of which such Guaranty is made (or, if the amount of such prirnary obligation is not stated or
     cleterminable, the maximum reasonably anticipated liability in respect thereof (assuming such
     person is required to perform thereunder)), or (y) the stated maximum liability under such
     Guaranty.

             "Indebtedness" means (without double counting), at any time and with respect to any
     person, 1a; inOeUteOness of such Person for borrowed money (whether by loan or the issuance
     and sale of debt securities) or for the deferred purchase price of properly or services purchased
     (other than (x) amounts constituting trade payables (payable within one hundred twenty (120)
     iuy, o1. ,rr.h-long"t terms as may be customary in the industry), or (y) any purchase price
                                                      l4
     LEGAL   US._W # 95804807.17
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                  Main Document    Page 168 of 365




    adjustment, eam out   or deferred payment of a similar nature incurred in connection with an
    acquisition (but only to the extent that no payment has at the time becorne due and payable
    puisuant to such purchase price adjustment, earn out or deferred payment obligation), (b)
    tbligations of suchPerson in respect of letters of credit, acceptance facilities, or drafts or similar
    instirments issued or accepted by banks and other financial institutions for the account of such
    person, (c) obligations of such Person under Capital Leases and any financing lease involving
    substantiaily the same economic effect, (d) defened payment obligations of such Person
    resulting from the adjudication or settlement of any litigation to the extent not already reflected
    as a cuient liability on the balance sheet of such Person, and (e) indebtedness of others of the
    type described in ciauses (a) through (d) hereof which such Person has (i) directly or indirectly
    assurned or guaranteed in connection with a Guaranty, or (ii) secured by a Lien on the assets of
    such Person, whether or not such Person has assumed such ildebtedness.

            ',Indemnified Taxes" means (a) all Taxes, other than Excluded Taxes, imposed on or
    with respect to any payrnent made by or on account of any obligation of the Bonower under any
    Fuldameltal Document and (b) to the extent not otherwise described in (a), Other Taxes.
             ,'Initial Advance" has the meaning assigned thereto in Section 5.1 hereof.

            "Initial Theatrical Release       Version"      has the meaning assigned thereto                in
    Subsection 6. I (a) hereof.

           ,,Instrument of Assumption and Joinder" means an Instrument of Assumption and Joinder
    substantially in the form of Exhibit C attached hereto.

            "Interest PIK Date" means the first Business Day of each month'
             ,,lnterest Rate" means the Loan Interest Rates and the Loan Default Interest Rate set
     forth in Section 3 hereof,
             ,,Investment" meal1s any stock, evidence of iridebtedness or other securities of any
     person, uny fo^3avance, contribution of capital, extension of credit or commitment therefor
     (includrng the Guaranty of loans made to others, but excluding current trade and customer
     accounts receivable ariiing in the ordinary course of business and payable in accordance with
     customary trading terms in the ordinary course of business), any purchase of
                                                                                       (a) any Equity
     Interests bf another Person, or (b) any business or undertaking of any Person or any commitment
     to make any such purchase, or any other investment'
             ,,Laboratory" means (i) Foto-Kem Industries, Inc.,    (ii)   Schedule   2,Ltd., (iii)   Post Haste
     Digital 6r" *d (*) any other laboratory, sound, post-production, or other similar facility, which
     hal beeri approved Uy ihe Lender and that has been engaged to perform trausfers, telecine, or
     other services for the Film or holds at any time any original or duplicate materials or elements of
     the Film.
              ,,Laboratory Access Agreement" means a letter or other form of agreement among (a) a
     Luborutory holding uny Phyrical Properties or other elements (iricluding data backups of work in
     progress) ll tn" plt1-n to which any Credit Parfy has the right of access, (b) such Credit Party and
     ^(c)
          i6. Lender and any other applicable Persons, substantially in the fotm of Exhibit D attached
                                                       l5
     LEGAL US W#9580480?.17
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                               Main Document    Page 169 of 365




   hereto or other fonn approved by the Lender, which permits the Lender to control' to the
   exclusion of the Cr.edit parties, the access of the Credit Pafties to any of the Laboratory Materials
   held by that Laboratory upon the issuance of a notice to the Laboratory.as amended,
   supplemented or otherwise modified, renewed, restated or replaced from tine to time.

          ,,Laboratory Materials" means all physical elements of the Film, including all negatives,
   dupti"ut" *gutiu"g fitre grain prints, soundtracks, positive prints (cutouts and trims excepted),
   ani sound, Jl video fonnats (including PALAITSC), and other physical properties in connection
   with the Filn and the trailer for the Film, exposed fihn and tape, developed film, positives,
   negatives, prints, answer prints, special effects, Laboratory Matelials (including interpositives,
   ne[atives, duplicate ,r"guiiu"r, internegatives, color reversals, intermediates, lavenders, fine
   griin master prints and matrices and all other forms of pre-print elements which may be
   i"""rrury or useful to produce prints or other copies or additional pre-print elements, whether
   now known or hereaftei devised) soundtracks, recordings, audio and video tapes and discs of all
   types and gauges, cutouts, trims, non-analog recordings and tapes, including without limitation,
   any video-digital recordings and HDTV format recordings, and any and all other physical
   properties of ivery kind and nature relating to the Film in whatever state of completion, and all
    iupiicates,drafts, versions, variations and copies of each thereof, at any time or times owned or
    controlled by any of the Credit Parties.
              ,,Lender Advance(s)" has the meaning assigned thereto in Subsection 2.2(d) hereof.

           ,,Lender" means the Lender and each other Person that becomes                a "Lender"    in
    accordance with this Agreement and their respective successors and assigns'
            ,,Lender payment Direction" means an irevocable and unconditional authotization and
    direction to pay execuied and delivered by each Credit Parly to the Collection Account Manager
                                                                                    approved by the
    as to the payrnent of the Lender's Share of Net Proceeds in form and substance
    Lender.
            ,,Lender's Share of Net Proceeds" mealls 20% of 100% of the Net Proceeds to which
    the Borower shall become entitled to pursuant to the Distribution Agreement'
            ,,Lender Termination Date" means the earliest to occur of: (a) the Maturity Date; (b) the
                                                                             pursuant to Section 14.1
    date the rr"Ait fu"ltity p-"la"A hereunder is terminated by the Lender
                                                                                      permitted under
    hereof; and (c) ttre Oate tnis Agreement is otherwise terminated by the Lender as
    this Agreement.
              ,,Lender Transactional Costs" means: (a) all Attorney Costs and all other all reasonable,
     documeriied und u"r,*l *t-otpocket costs and expenses (including but not lirnited
                                                                                                   to
                                                                                         and  out-of-
     consultancy fees, information seruice costs, travel costs and accommodation costs),
     pocket courl costs for the use of any electronic system and any other Intemet or extranet
                                                                                               based

     ,it., in.urt.d by the Lender in connection with the negotiation, preparation and filirig of this
                                                                                             referred
     Agreemelt, the other Fundamental Documents and the other agreements and documeuts
                                              amount   of such  Lender Transactional Costs  shall not
     to herein; provided that the   aggregate
     exceed O1e Hundred Thousand Dollars ($100,000); and (b) all Title Insurauce Costs'


                                                      16

     LEGAL US W#95804807.I7
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                              Main Document    Page 170 of 365




          "License Agreement" means the License Agreement dated as of the date hereof by and
   between Aviron Licensing and the Borrower with respect to the Film, as amended, restated,
   modified, supplemented, renewed or replaced from time to time'
           ,,Lig!" means any interest in property securing ari obligation owed to, or a claim by, a
   person other than the owner of the properly, whether such interest is based on the comnton law,
   statute, or contract, and including without limitation, a security interest, charge, claim, or lien
   arising from a mofigage, deed of trust, encumbrance, pledge, hypothecation, assignment, deposit
   arr.angement, agreement, security agreement, conditional sale or trust receipt or a lease,
   consi-gnment or-bailment for security purposes, or other security device or arl'angement of any
   kind or nafure whatsoever (including, without limitation, any financing or sirnilar statement or
   notice filed under the UCC, as in effect from time to time in the relevant jurisdiction, or any
   other similar recording or notice statute, and any lease having substantially the same effect as
    any ofthe foregoing).
           ,,Loan Default Interest" has the meaning assigned thereto in Section 3 hereof.

           ,.Loan Default Interest Rate" has the meaning assigned thereto in Section 3 hereof.

          ,,Lg4L!gg" is the amount of Two Million Four Hundred Thousand Dollars ($2,400,000)
    which shall be deemed eamed irnmediately on the Closing Date and shall not be subject to
    refund, in whole or in paft, for any reason whatsoever'
            ,,Loan Interest" has the meaning assigned thereto in Section 3 hereof.

            ,,Loan Interest Rate" has the meaning assigned thereto in Section 3 hereof.

              .,Loan Obligations" collectively means all present and future loans, fees, advances'
    liabilities, obligations, covenants, duties, and indebtedness owing by any Credit Party or any
    other person arising under this Agreement or any of the other Fundamental Documents, whether
    or not evidenced by uuy note, or other instrument or document, whether arising from an
    extension of credit, op.niug of a letter of credit, acceptance, loan, guaranty, indemnificatiou
                                                                                                      or
    otherwise, whether diiect or: indirect (including, without limitation, those acquired by assignment
    from others), absolute or contingent, due or to become due, primary or secondary, as principal or
    guarantor, and including, without limitation, all principal, interest, charges, expenses, fees,
    Iutside atiorneys' fees and filing fees; provided that, for the avoidance of doubt, the term 'ol-oan
     Obligations" shall exclude (i) the Contingent Compensation Obligations, (ii) the Distribution Fee
     Participation, (iii) the ROFR Right and (iv) the ROLR Right.
            ,,Lg4!!,, means the loans and Advances provided for in Article 2 hereof.

            ,,Material Adverse Effect" shall mean a material and adverse effect on: (a) the business,
     op.,utio@ualorcontingent),proSpectS,orfinancialcondition,of(i)the
                                                                     or
     Borr.ower or (ii) the other Credit Parties (taken as a whole); (b) the ability of
                                                                                       (i) the Borrower
     (iD the other iredit Parties   (taken as  a  whole)  to perform  their obligations   under any of the
     FundamentalDocumentstowhichtheyare             aparty;(c)thelegality,    validity,  binding  effect or
     enforceability against t h e Borrower or      any other Credit Party of any  Fundamental    Document
     to which it is a party; or (d) the validity or perfection or priority of any Lien in favor of
                                                                                                   the

                                                       17

     LEGAL US W#95804807.I7
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                              Main Document    Page 171 of 365




   Lender on any material porlion of the Collateral or on the aggregate value of the Collateral or on
   the validity oi enforceability of the rights, remedies ol benefits available to the Lender under any
   of the Fundamental Documents,
           ,,Material Agreement" has the meaning assigned thereto in Section 10.20 hereof'

           ,,Maturit-v Date" means the earlier of December 15,2019 or such other date as the Loans
    shall be due aird payable in accordance with this Agreement or any other Fundamental
    Document.
           ,.Maximum Legal Rate" has the meaning assigned thereto in Section 3.2 hereof.

            ,,Multiemployer Plan" means any employee benefit plan of the type described in
    Section +OOf taltl) of BnISA, to which a Credit Parfy or any ERISA Affiliate makes
                                                                                          or is
    obligated to maie contributions, or during the preceding five plan years, has made or been
    obligated to make contributions.
            ,,MultiBlg_Elqplsygl!1a4" means a Plan which has two or more contributing sponsors
    (includingd;dit Party or any ERISA Affiliate) at least two of whom are not under common
    control, as such a plan is described in Section 4064 of ERISA'
           ,.Net proceeds" has the meaning assigned to such term in the Distribution Agreement.


            "NBG" means National Research Group,
           ,.Ng!gG),, means a Note, issued by the Bonower        in favor of the Leuder, as atnended,
    modified, supplemented or restated frotn time to time'
           ,.Notice to Insurer" means that certain Notice to Insurer of even date herewith executed
    by the uppl.uUt" Credit Parties and the Lender and directed to the insurer(s) for the errors and
    omissioris policy for the Film, in the form attached hereto as Exhibit "E'"
           ,,Other Taxes" means any and all present or future stamp or documentary taxes or auy
    other excise or property taxes, charges or similar levies arising from any payment made
    hereunder or from the eiecution, delivery or enforcement of, or otherwise with respect to, this
    Agreement.
            ,.EAIgIl!,' means Temerity Trust Management,         LLC, a Delaware limited liability
     company.

            ,,p& A Budget" means the P & A Budget for the Film, dated as of September 26,2018,
     in th. un-unt of' Sn,On,+ge inclusive of the amount of the Purchase Price ($4,250,000), the
     Lender Transactional Costs and the Broker's Fee, attached hereto as Exhibit F'
            ,,p   &   ACosts" means all direct, out-of-pocket costs and expenses relating to prints,
                                                                                                  P&A
     udu"rtiring, -u--rLetitrg and promotion of the Film and certain other costs specified in the
     Budget iriconnectiori with Distributor's initial theatrical release of the Film in the Domestic
     Tenltory, net of all credits, rebates, refunds and discounts, including any and all laboratory and
                                                     18

     LEGAL US W#95804807,17
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                     Desc
                              Main Document    Page 172 of 365




   other.discounts (whether volume or otherwise) which the Bonower is obligated to provide under
   the Distribution Agreement or otherwise provides (to the extent actually expended by the
   Borrower or any A.lfiliate thereof with third Persons that are not in any way Affiliates of the
   Bosower or any other Credit Party), and is thereafter entitled to recoup or retain fi'om the
   proceeds of the Film, in connection with the theatrical release of the Film in the Dornestic
    Territory.
            .,parlicipant Register" has the meaning assigned thereto in Subsection   1   5   .   l0(c) hereof.

            ,,parlicipating Lender" has the meaning assigned thereto in Subsection       1   5. I   0(b) hereof.

            ,,payment Account" means the Lender controlled bank account uo. 67 1850400001'
    accourlt name BANA LONDON GCAS CASH, held and maintained in the name of Caim
    Capstone Special Opportunities Fund at the Payment Account Bank, IBAN 6550660591, Swift
    Code BOFAUS3N, Reference: Serenity or any other account designated by the Lender to which
    furids disbursed from the Collection Account to or for the benefit of Lender are to be deposited'
           ,,payment Account Bank" means Bank of America N.A. Global Custody and Agency
    S.ruir"rFuny other Bank at which the Payment Account is maintained from time to time, as
    designated by the Lender.
            ,,payment Direction" means each of the Amazon Payment Direction, the Universal
    puy*"rrtEr""tion, th" Lender Payment Direction and any other authorization and direction to
    pay executed and delivered by a Credit Pady, a Subdistributor or other Person obligated to pay
    uny ,t sslgned Receipts and the Leuder, each in fomr and substance approved by the Lender'
           ,,PBGC" means the Pension Benefit Guaranty Corporation and any successor thereto
    performing similar functions.
           ,,BDL,, means Preferred Development Limited, a company otganized under the laws of
     England and Wales.
             ,,pension Funding Rules" means the rules of the Code and ERISA regarding minimum
     ,.qui."d@ngal1yirrsta11merrtpaynentthereof)toPensionPlatrsand
     Multiemployer Plans and set forth in, with respect to plan years ending prior to the effective date
                                                                                                 prior to
     of the pension Act, Section 412 of the Code and Section 302 of ERISA, each as in effect
     the Pension Act and, thereafter, Section 412,      430'   43I, 432  and  436   of  the  Code    and

     Sections 302, 303, 304 and 305 of ERISA.
             ,,pensionplan" rneans any employee pension benefit plan (including a Multiple
     nr-,ploy.r.flun;3th"r than a Multiemployer Plan, that is rnaintained or is contributed to by a
     Credit party and any ERISA Affiliate and is either covered by Title IV of ERISA or is subject
                                                                                                   to
     the minimurn funding standards under Section  412  of the Code'

            ,.permitted Liens" lrleans: (a) the Liens granted to the Lender under this Agreement and
                            -Documents; (b) the Lien of each Laboratory provided for or referred to in
     the other Fundamentil
     any Laboratory Access Agreernent, provided such Lien (i) occurs in the ordinary course of
     *u6ng materials for the Domestic General Theatrical Release of the Film, (ii) is for an
                                                      t9
     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                     Desc
                                   Main Document    Page 173 of 365




   aggregate amount which does not at any time exceed the sum of $50,000 and (iii) is security for
   amounts that, at the time the Lien is granted, are not yet due and payable or are being contested
   in good f-aith; (c) rnechanics, workmen's, materialman's and repairmen's liens; provided (i) such
    liens arise from claims arising in the ordinary course of business, and (ii) such liens for an
    aggregate amount which does not at any time exceed the sum of $25,000, and (iii) arise from
    claims which are not in default or are being contested in good faith; (d) Liens in favor of unions
    and guilds having jurisdiction over the production of the Film, (e) Liens in favor of the
    Completion Guarantor, and (f) solely in connection with Aviron Finance and Aviron Licensing,
    any Lien in favor of any Third-Party Subsequent Film Financier on the property of Aviron
    Finance or Aviron Licensing that constitutes the distribution rights, and the proceeds thereof,
    derived from the distribution of any Subsequent Aviron Film for the purpose of securing
    advances made by said Third-Party Subsequent Film Financier to pay the purchase price for the
    acquisition of said distribution rights, and P & A Costs for the general domestic theatrical release
    of, said Subsequent Aviron Film(s). The foregoing shall not constitute an acknowledgment by
     the Lender that any of the rights of the third Persons refered to therein are equal or senior to the
    rights of the Lender under this Agreement or the other Fundamental Documents and the parties
     hereto do not intend by the inclusion of references to various third parly agreements in this
     definition or otherwise to create any third party beneficiary rights herein or under any of the
     agreements which incotporate this definition by teference,

            "Person" means any natural person, corporatioll, partnership, joittt venture, association,
    trust or unincorporated organization or any other legal entity, or a nation, state, govenlment
    entity or any agellcy or political subdivision thereof.

            "Physical Propefiies" shall have the meaning given to such term in paragraph "(iv)" of
    the definition of Collateral herein.

            "Plan" means any employee benefit plan within the meaning of Section 3(3) of ERISA
    (including a Pension Plan), maintained for ernployees of a Credit Palty or any such Plan to which
    such Credit Party is required to contribute on behalf of any of its ernployees.

            "Pledged Collateral" means the Pledged Securities and any proceeds (as defined in
    Section gt01(d64;1 of the UCC) including cash proceeds (as defined in Section 91029102(a)(9)
    of the UCC) of the Pledged Securities.

            "pledged Securities" means all of the issued and outstanding capital stock, partnership
    interests, membership interests, beneficial interests ot' other Equity Interests of or in the
    Borrower and all other Equity Interests now owned or hereafter acquired by any Guarantor in the
    BorroweL, whether now owned or heleafter acquired.

             "Plgd€pl" rneans each Person that from tirne to time owns any of the Pledged Securities.

             "Potential Financiers" has the meaning assigned thereto in Subsection 3.7(b) (i) hereof.

            "Power of Attomey" means the Power of Attomey, dated as of the date hereof, executed
     by the Credit Parties in favor of the Lender, pursuant to which each of the Credit Parties has
     respectively appointed the Lender as its attorney-in-fact with respect to the Collateral, as
     amended, restated, modified, supplemented, renewed or replaced from time to time.
                                                      20
     LECAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR                  Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                      Main Document    Page 174 of 365




               ,,purchase Price" means the "Minimum Guarantee" as defined               in the Distribution
   Agreement equal to $4,250,000.

               "&9&Igg" has the meaning assigned thereto in Subsection l5'4 hereof'

           "Register" has the meaning assigned thereto in Subsection 15.10(b) hereof.
           ,,Registered Loan" has the meaning assigned thereto in Subsection I 5. 10(d).

          ,.Rggi$IAI" has the meaning assigned thereto in Subsection 15.10(d)."Regulation T,"
    ,,RegulatGiU' and "Regulation X" means Regulations T, U and X, respectively, of the FRB as
    .u"t L from time to time in effect and all official rulings and interpretations thereunder or
    thereof.
           .,Related Parties" means, with respect to any Person, such Person's Affiliates and the
    pu.tn"r., ,h*"hol,Cers, members, directors, officers, employees, agents, trustees, administrators,
    -unugarr,   advisors, agents and other representatives of such Person and of such Person's
    Affiliates.
           ,,Replacement SVOD Subdistribution Agreernent" has the meaning assigned thereto in
    Subsection 3.6(b) hereof.
           ,,Repoftable Event" means any of the events set forlh in Section 40a3@) of ERISA, other
    than events for which the 30 day notice period has been waived'
             ,.Restricted Payment" means (a) any distribution, cash dividend or other direct or indirect
                            -of
    payment on account          any Equity Interest in any Credit Par1y, (b) any redernption or other
    acquisition, re-acquisition or t"iir.*ent by a Credit Parly of any Equity lnterests in any Credit
    narty or any Affiliate thereof, now or hereafter outstanding, (c) any payment made by any Cledit
    larty to ,.iir", o. obtain the surrender of, any outstanding warrants, puts or options or other
    righis to purchase or otherwise acquire any Equity Interest in any Credit Party or any Affiliate
    th"ereofl no* o, hereafter outstanding, (d) any payment by a Credit Party of
                                                                                                 principal of,
    premium, if any, or interest on, any redemption,    purchase,   retirement,   defeasance,     sinking fund
                                                             Debt, (e)  any  advance,  loau   or  extension of
    or similar payment with respect to, any Subordinated
    credit by a CreOlt Party to any other Person, and  (f) any  payment   of  any kind  to  or  for the benefit
    of an Aifiliate of the aCredii Party (including, without  limitation,  any  payment    to  an  owner  of an
    Equity Interest, or any Affiliate ilhether on account of sales  commissions,     salary  subsidies,   profit
     or'similar participations or payments, overhead expenses or cost reimbursement, for any sales
                                                                                                              or
     distribution ,"*ice, with iespect to any motion picture or other          production,    whether    or not
     resulting in revenues for a Credit Party); provided that, the definition of "Restricted Payment"
                                                                                              (other than the
     shall not include any payments made by Aviron Finance and its Subsidiaries
     Borrower) or Aviron Li""nsing to any Third-Party Subsequent Film Financier          in  connection    with
                                                                                          purchase    price  for
     any Third-par1y Subsequent Flnancings for the financing provided to pay the
                                                                                                        Aviron
     the acquisition of distribution rights, and P & A Costs with respect to, such Subsequent
     Film(s).
                ,.ROFR Holder" has the meaning assigned thereto in Subsection 3.6(a) hereof.


                                                         2l
     LEGAL-US_W # 95804807,   1   7
Case 2:20-bk-15015-BR                  Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                      Main Document    Page 175 of 365




             ,,ROFR Notification Date" has the meaning assigned        to such tenn in Section     3'6(b)
   hereof.

             ,,ROFR Right Exercise Election" has the meaning assigned thereto in Subsection 3'6(c)
   hereof.
             ,,ROFR Right Exercise Election Period" has the meaning assigned thereto in Subsection
    3.6(c) hereof.
             .,ROFR Rights" has the meaning assigned thereto in Subsection 3.6(a) hereof.

              ,,ROFR Term" has the meaning assigned thereto in Subsection 3.6(d) hereof.

             .,ROLR Film" means each of the first five (5) feature length theatrical motion pictures
                                                                   and The War With Grandpa or any
    ii.r"tuding ttrore currently entitled Three Seconds, After
    ieplacemint for any such motion picture), each    of  which  is  intended to be generally theatrically
    reieased in the United States by Aviron Licensing    or, if approved   by the Lender, by an Affiliate
    of Aviron Licensing, after the Domestic General       Theatrical    Release of the Film, in so-called
    "wide release" (i.e. not less than seven hundred fifty (750)  films  simultaneously)'

              ,,ROLR Holder" has the meaning assigned thereto in Subsection 3.7(a) hereof'

              ,,ROLR Match Notice" has the meaning assigned thereto in Subsection 3.7(b) het'eof.

               ,,ROLR Right" has the meaning assigned thereto in Subsection 3.7(a) hereof.

            ,,Screenp:lgy" means the original screenplay entitled Serenity, dated June 29, 2076,
    written UV St*"" f"ight, and all versions and variations thereof in existence at any time,
    including, without limitition, those registered in the United States Copyright Office in the name
    of Mr. I{night as copyright claimant as follows: (a) January 10,2017, Document Number PAU
     003g47794; (b) Januaryl 0, 2077, Document Number PAu 003861'744 utder the title
                                                                                             Serenity:
                                                                       PA  0002046604   under  the title
    This Smalt Dark Looki(c) January 70,2017, Document Number
    serenity: This smalt Dark Look; and (d) February 9,2018, Document      Number  TX   00008503094'

              "secured Pafty" means the Lender.
            ,,Securitr' Documents" means each Copyright Mortgage and Assigntnent, the Ternerity
                                                                                           Assignment
     Guaranty Do.rr11"ntr, th. Laboratory Access Agreements, the Laboratory Access
                                                      the Account   Control   Assignment  Agreements,
     Agreernlnts, the Account Control Agreements,
     the Collection Account Management Agreement Assignment, the UCC financing statements
                                                                                                    and
                                                    letter, security agreement,   mortgage,  charge  or
     each other financing statement, authorization
                                                                    Party, or any other Person in favor
     assignment ugr.r-.it respectively entered into by  any  Credit
     of tie   Lender,   in conneition *ith the Film or the other Collateral, as any such document
     amended, restated, modified, supplemented, renewed or replaced frotn time to
                                                                                  time.

              ,,SFD', means Serenity Financing and Distribution LLC, a California limited liability
     company.


                                                       22

     LECAL-US_W # 95804807.   I   7
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                           Desc
                               Main Document    Page 176 of 365




          ,,SFD Distribution Agreement" means the Distribution Agreernent, dated as of June 15,
   2017, between SFD and the Borrower, as such docutnent may be amended, restated, modified,
   supplemented, renewed or replaced from tirne to time with the approval of the Lender'.

           ,,Sglyg44" shall mean, with respect to any Person on a pafticular date, that on such
   Out", 14 t6" tuir value of the assets of such Person exceeds its liabilities, including
   contingent liabilities; (b) the present fair saleable value of the assets of such Person is not
   less than the amount that will be requir'ed to pay the probable liabilities of such Person or its
    debts as they become absolute and matured; (c) the remaining capital of such Person is not
    unreasonably small to conduct its business; and (d) such Person will not have incuned debts
    and does not have the present intent to incur debts beyond its ability to pay such debts as
    they mature. In compuiing the amount of contingent liabilities of any Person on any date,
    .uri liubilities shall Le computed at the amount that, in the judgment of the Lender, in light
    of all facts and circumstances existing at such time, represents the amount of such liabilities
    that reasonably can be expected to become actual or matured liabilities.
           ((SpV" rreans a Subsidiary the Equity Interests of which are wholly owned by Aviron
    Finance -d ,"t i.h is a special purpose entity the sole purpose and business of which is to
    acquire the right to distribute, und to distribute, in the United States a single motion
                                                                                              picture and
    with respect ti which no other Credit   party  at any time has or will have any obligation or liability
    of any kind whatsoever.
            ,,subdistribution Agreement" means: (i) the Universal Agreement; (ii) the Amazon
    Ag.."*.n[Gd liii; tu"h other subdistribution and license agreements with respect to the
    diiribution and exploitation of the Film by any means and in any medium as may be entered into
    by the Borrower or any other Credit Party with the approval of the Lender, as any such document
    may Ue amended, restated, rnodified, supplemented, renewed or replaced frorn titne to time
                                                                                               with
    the approval ofthe Lender.
            ,,subdistributor" means any Person, other than the Borrower, that             is a patly to   a

    Subdistributi on Agreement.
            ,,subordinated Debt" means any Indebtedness of any Credit Party that is subordinated to
                                                                                                (b) does
    the Loan Obligations that (a) does not require cash payments prior to the Matutity Date,
                                                                 maturity   date, in each case,  prior to
    not require any mandatory principal amofiization or have a
                                                                      financial  covenant, (d)  does  not
    the first anniversary of the Maturity Dute, (c) does nothave any
                                                                                  contained herein,  and
    have any covenants or events ofdefault that ate more restlictive than  those
    (e) has subordination provisions satisfactory to the Lender"

             ,,subsequent Aviron Film" means each feature lerigth motion picture intended for
     do*"rti"l.*rll th.utri.ul ..lease in the United States, in so-called "wide release"any(i.e.of not less
                                                                                                    Aviron
     than seven hundred fifty (750) screens simultaneously),    with  respect to which
                                                                                                    rights,
     Finance, Aviron Licensing or any of their respective Subsidiaries acquires any distribution
     other than the tnotion picture entitled I Private War'
             ,,subsequent Aviron Film Costs" has the meaning assigned thereto iri the definition          of
     Subsequent Aviron Fihn Excess Proceeds'

                                                       23

     LEGAL US W#9s804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                   Main Document    Page 177 of 365




          ,,subsequent Aviron Film Excess Proceeds" means the proceeds fi'om the distribution or
   .*ploitutio*f utry Subsequent Aviron Film which is payable to Aviron Finance, Aviron
   Licensing or any of their iespective Subsidiaries in excess only of the amount thereof: (i)
   contractrially required to be, and actually, paid to the Third-Party Subsequent Fihn Financier of
   the applicable Subsequent Aviron Film(s) in consideration for: (a) the purchase price for the
   acquisition of the distiibution rights to said Subsequent Aviron Fihn(s) (excluding any portion
   theieof that may be calculated with reference to the performance of said Subsequent Aviron
   Film(s)); and @j the p & A Costs paid by Aviron Finance or Aviron Licensing to initially release
   ,uiO buUs"quent Aviron Film(s) in theatrical distribution in the U.S.; and (ii) other customary
   costs contractually required to be, and actually, paid from said proceeds only in respect
                                                                                              of the
    applicable Subsequeni Aviron Film(s) (e.g. applicable guild residuals, broker's fees, talent
    bon.rr"r, collectioir accoult management fees, licensor payments) (the "subsequent Aviron Film
    Other Costs' ').
              ,'subsequent Film" has the meaning assigned thereto in subsection 3.7(a) hereof.

              ..Subsequent     Film Distribution Rights" means the theatrical distribution rights in the
    United States      t;   u SrUr"q*nt film comparable to, and no less extensive than, the Distribution
    Rights.
              ..Subsequent Film Financing" has the meaning assigned thereto         in   Subsection 3'7(a)
    hereof,
                                                                                                    joint
            "Subsidiary" means with respect to any Person, any colporation, association,
    venture, pr1*tr6tp or other Person (whether     now  existing  or hereafter organized)  of  which  at
                                                              interests therein having ordinary   voting
    least a ma.1o.lty of the voting stock or other ownership
    power foi ttr" election of*directors (or the equivalent) is, at the time as of which any
    ieterrnination is being made, owned or controlled by such Person or one or lnore Subsidiaries
                                                                                                       of
    such person or by suih Person and one or more Subsidiaries      of  such Person.  Unless   otherwise
    specified, all references herein to a "subsidiary" or to "subsidiaries" shall
                                                                                  refer to a Subsidiary
    or Subsidiaries of the Bon'ower.
              ,,SVOD Receivables" has the meaning assigned thereto in Subsection 3'6(a) hereof.

              ,.SVOD Rights" has the meaning assigned thereto in Subsection 3.6(a) hereof.

                                   all present or fufure taxes, levies, imposts, duties (including
              ,,T@Ig!,, means any and
     stamp duties) deductions, withholdings or similar charges (including ad valorem
                                                                                          charges)
                                                                                taxes or penalties
     imposed by any Govemmental Authoriiy, including any interest, additions to
     applicable thereto.
               ,,Temerit-,y',, means Temerity    Trust Management, LLC, a Delaware limited liability
     company.
             .,Temeritv Guarant-v" means the Guaranty to be executed and delivered by Temerity
     .on"rrrr"ntly ho=*ith substantially in the fonn of Exhibit G attached hereto.


                                                          24

     LEGAL US W#9s804807.17
Case 2:20-bk-15015-BR                  Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                   Desc
                                      Main Document    Page 178 of 365




           ,,Temerity Guaranty Collateral" means the real property and related collateral described
   in the Temerity Guaranty Documents.
            ,,Temerity Guaranty Documents" means the Temerity Guaranty, the Deed of Trust,
    Arrign*.r1t of R.nts, Fi*tur" Filing Security Agreement and F.nvironmental Indemnity, in the
    form-of Exhibit H attached hereto, and all other documents and instruments to be executed and
    delivered by Temerity in favor of the Lender.
             ,,Ternination Notice" means the notice issued by the Lender to the Credit Parties stating
    that all of th, Loun Obiigations have been indefeasibly repaid in full in cash and the commitment
    of the Lender to make Advances hereunder has tenninated'
           ,,Third-party Subsequent Film Financier" means any Person that is uot an Affiliate of any
    credit Party that provides any Third-Party subsequent Financing.
            ,,Third-party Subsequent Financing" means any financing provided by a Third-Party
    Subr"qu.r1t Fil- Finu*i.. ior financing the acquisition of distribution rights in, and/or
                                                                                              the cost
                                    paying           in  the United  States, any  Subsequent   Aviron
    of releasing in theaters before        audiences
    Film.

            "Threshold Amount" means $250,000'
            ,.Title Insurance Costs" means all fees, costs and expenses of the Person providing title
                                                                                                 not
    insurance for the U"trent of the Lender in connection with the Temerity Guaranty Collateral,
    in excess of Ten Thousand Dollars ($10'000)"

            "Total commitment" means an aggregate amount up to Twenty Two Million Four
    Hundred 'Thousand D"ll-"^ ($22,400,000).equa1 to the sum of:(a) Seventeen Million
                                                                                        Dollars
    ($17,000,000); plus (b) so long as the Tracking  Standard has been satisfied, Three Million
    ijoilars (Sf,CiOOpOO); pf"s (c) the amount of the Loan Fee; plQvtdgd, however, that if the
                                                                                      (b) hereof shall be
     Tracking Standard lras not been satisfied, the amount provided for in clause
     made available to the Borrower, if at all, in the Lender's sole and absolute discretion.

              ,,Tracking Standard" means as such time as both of the following conditions have been
                                                                                                      "First
     sutirfi"d, 1u) tl",e ,irrrpG .iUr*etic average of three (3) distinct observations of NRG's
                                                          consecutively  no   sooner  than 3'5 weeks   prior
     Choice,,rating rnetric for the Film, each occuning
     to the Domestic General Theatrical Release Date        and no  latet' lhan  2.5   weeks   prior to  the

     Dornestic General Theatrical Release Date, is equal       to  "3"  ol   greater;  and (b)  the  simple
     arithmetic averageof three (3) distinct observations of NRG's "Total Awareness" rating
                                                                                                     metric,
     each occurring consecutively no soonerthan 3.5 weeks priorto the
                                                                      Domestic General Theatrical
                                                                                      Release Date,
     Release Date ind no later than2.5 weeks prior to the Domestic General Theatrical
     is equal to "50" or greater.

             ,.UCC" means the Uniform Commercial Code - Secured Transactions (or any other
     ,u.."rro1. ,tutote) of the State of California or of any other state the laws of which are
                                                                                                  required
                                                                 with  the issue of perfection of Liens.
     by Section 9301-9306 thereof to be applied in connection

             "Ugiyg$Al" lneans Universal Studios Home Enterlainment, LLC'
                                                       25

     LEGAL_US,W # 95804807.   1   7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                              Desc
                                   Main Document    Page 179 of 365




          ,,Universal Agreement" means the Universal - Aviron Pictures, LLC Deal Tetms
   Exclusive Home Enteitainrnent Distribution Services Agreement, dated as of August 20,2015,
   by and between Universal and Aviron Pictures, as amended, testated, rnodified, supplemented,
   renewed or replaced from time to time; provided that any such amendment, restatement'
   modification, supplernent, renewal or replacement that could reasonably be anticipated to
   adversely affect the amount or time of payment of the Assigned Receipts shall require the
    consent ofthe Lender.
            ,,Universal Assigned Receipts" means any and all amounts payable or paid by Universal
    to or for the benefit of uny of tfre Credit Parties or for any of the Credit Parties' account with
    regard to the Film pursuint to the Universal Agreement including, without limitation' such
    amounts as are directly deposited into the Collection Account'
            ,.Universal payment Direction" means an irrevocable and unconditional authorization and
                                                                                           pursuant
    direction to pay .^."t*d and delivered by each applicable Credit Party and Universal
    to which Universal is directed and agrees to     pay  the  Universal Assigned  Receipts   to the
    Collection Account, in forrr and substance approved by the Lender.

            ,,USA patriot Act" means the USA Patriot Act (Title        III of Pub. L. 107 56 (signed into
    law October.   iA,   ZOOtll as arnended, and the rules and regulations  theleunder and any successors
    thereto.

            ,,Withdrawal Liability" means liability to a Multiemployer Plan as a result of complete or
    partial *itfrOt"*uf nott *.ft Multiemployer Plan, as such tetms are defined in Parl I of Subtitle
    E of Title lV of ERISA.

             1.2   Approval. The words "approval" and "approved" as used herein with reference to
    an approval rigl-tt granted to the Lender rneans that the Lender shall have the right in
                                                                                                  the

    Lender.,s sole discretion to approve or to withhold approval of the subject matter
                                                                                       with respect to
    which the approval is required.

             1.3     Miscellaneous. Wherever from the context it appears appropriate, each term
     stated in either the singular or plural shall include the singular and the
                                                                                          plural, and pronouns
     stated i1 the masculinel feminine or neuter gender shall include the masculine,
                                                                                                   feminine and
                                  ,'including," "includes" and "include" shall be deemed to be followed
     neuter genders. The woids
                    ,,without limitation"; the word "or" is not exclusive; references to Persous include
     by the irrords
     their respective successors and assigns (to the extent and only to the extent permitted by
                                                                                                                 the
     Fundamental Documents) or,        in thJ case  of  govemmental       Persons,   Persons  succeeding     to  the
                                                   all refereuces    to  statutes and  related  regulations   shall
     relevant functiols of such Persons;      and
                                                                                                                any
     i,clude any amendments of the same and any successor statutes and regulations' Wherever
     provision in any Fundamental Document        refers  to the knowledge      (or an analogous   phrase)   of any
     'Credit party,                                                                 has  actual  knowledge      of
                     such words are intended to signify        that  such   Person                                 a

     parlicular iact or circumstance or that such        Person,    if it had  exercised   reasonable   diligence,
     would have known of such fact or circumstance'




                                                           26

     LEGAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                 Desc
                                   Main Document    Page 180 of 365




                                             ARTICLE 2
                                     AMOUNT AND TERMS OF LOAN

           2.1     Commitment to Lend.

                   (a)    Subject to satisfaction or waiver of all the terms and conditions of this
    Agreement, ilcluding the applicable conditions precedent in Arlicle 5, the Lender agrees, upon
    the request of the Borower made from time to time during the period from the Closing Date to
    the Lender Termination Date, to make loans (each of which is hereinafter refered to as an
    .,Advance") to the Borower for the sole purpose of paying the amounts permitted under
    Sut r.rtbn-Z.Z(u) hereof, in an amount not to exceed (except with respect to any Lender
    Advances) tt € Available Commitrnent; ptqvidgd, however that, except as hereinafter expressly
    set fofth, no Advances will be made if a Default or Event of Default exists'

                   (b)       the sum of the outstanding Advances made pursuant to this Section 2.1
                              If
    exceeds at any time, as applicable, the Available Commitment, the Lender may refuse to make or
    otherwise resirict the maling of Advances on such tenns as the Lender may determine until such
    excess has been eliminated. Any porlion of the Total Commitment that is bonowed and repaid
    may not be re-borrowed.

            2.2     Advance Procedure.

                    (a)     Advance requests shall be made in accordance with the Drawdown
    Schedule, and consistent with the Domestic General Theatrical Release Plan and the P & A
    Budget, or as otherwise approved by the Lender, and in accordance with the provisions of this
    SubJeciion 2.2(a). Whenever the Bonower desires an Advance, the Boruower shall deliver to the
    L.r,t"r B"*"*irig Certificate, signed by an Authorized Officer of the Borower no later than
            " (pacific iirne) three (3) Business Days before the requested funding date; provided,
    5:00 p.m.
    however that: the Lender shall not have any obligation to make Advances if the outstanding
    f.6rr" Otrtig"tions exceed (or would exceed pursuant to such Advance) the Total Commitment on
    any particular date.

                    (b)   Each Bonowing Certificate shall specifu: (i) the requested funding date
    (which shall be a Business Day); (ii) the aggregate amount of the requested Loans; and (iii) the
    purpor" for which each such requested Loan is to be expended. Any Borrowing Certificate made
    pu.ruunt to Subsection 2.2(a) stritt Ue irrevocable and the Bomower shall be bound to borrow the
    funds requested therein in accordance therewith.

                    (c)    The Lender shall make each such Loan available to the Borrower in the
     arnount of such Loan in same day funds (except for any part thereof paid by the Lender to third
     persons or to the Lender as permitted hereunder or under any of the Fundamental Documents).

                    (d)     Subject to the limitations set forth in the provisos contained in this
     Subsection 2.2, the Lender is hereby authorized by the Borower, from time to time
                                                                                                 in the
     t .nA"tt Alrcretion: (i) after the occurrence of a Default or an Event of Default; or  (ii) at any
     time that any of  the oiher applicable conditions precedent set forth in Article 5 have  not  beeu
      satisfied, to make Advances-   to the Borrower   which the  Leuder,  in its reasonable  business
     judgment, deems llecessary or desirable (A) to preselve or protect the Collateral or any portion
                                                     27

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                                  Main Document    Page 181 of 365




   thereof, (B) to enhance the likelihood of, or maximize the amount of, r'epayment of the Advances
   and othei Loan Obligations, or (C) to pay any other amount chargeable to the Bonower
                                                                                            pursuant
   to the terms of this Agr..to.nt (any of the Advances described in this Subsection 2.2(dXi) being
   hereinafter referred tJ as "Lender Advances"). The Lender Advances shall be secured by the
   Collateral, shall constitute Advances and Loan Obligations hereunder, and shall be added to the
   outstanding principal balance of the Loans. The Lender shall notify the Borrower in writing
                                                                                                  of
   the Lendei Advance, which       notice shall include a description of the  purpose of  the Lender
   Advance; provided, however, that any failure to provide any such notice shall not constitute a
    breach  neregnde. by-theLender and shall not affect the Borower's obligation to repay all
    Lender Advances in accordance with this Agreement'

                   (e)  The Lender shall record in the Register the principal amount of the
    Advances owing to the Lender, including the Lender Advances, from time to time'
                                                                                    In addition'
    the Lender is authorized to note the date and amount of each payment or
                                                                             prepayment of principal
    of the Lender's Loans in its books  and records, including computer records' The Lender's books
    and records constitute rebuttably presumptive  evidence, absent manifest enor, of the accuracy of
    the information contained therein.

                    (0    Subject to the terms of this Agreement, the Lender shall be obligated to
                                                                                                specified in
    make Advances hereundei only for the purposes and in the amounts and at the times
                                      thereof  shall  not be available   for any other  purpose  other than:
    this Agreement and the proceeds
                        p
    (A) th; payment of & A Costs substantially       in accordance   with,  but not in excess of, the P & A
                                                  Release    Plan up  to  an aggregate  amount  which   shall
    iludget un-a tn. Domestic General Theatrical
                                              (B) the   payment   of the   Lender Transactional   Costs  and
    not Jxceed the Total Commitment; and
    the Broker's Fee.

             2.3   Lender' Advances. The Lender shall be deemed to have made Advances ln
    accordance *lth S""tlon Z: tt.."of on behalf of the Borrower and the
                                                                                  Leuder may apply the
                                           if   Default  or Event of  Default  shall have occurred and is
    froceeds of such Advances as follows:
                                              a
                                      Advances   up to  the amount   of the Available    Commitment and
    continuing, the Lender may make
                                                        providing  rights, services,   facilities, locations
    pay the pioceeds thereof iirectly to the  Persons
    and materials in connection wiih the domestic      theatrical release   of  the  Film.   The   Borrower
    hereby consents and agrees to the payment of such proceeds directly to
                                                                                   such Persons and that
     such Advances shall constitute Loans hereunder'

                                     ARTICLE 3
                   INTEREST,FEES,OTHERCHARGESANDCOMPENSATION

             3.1     Interest.

                     (a) All       outstanding Loan Obligations shall bear interest on the unpaid
                                                                                              not paid
     principal u*ouni thereof (including, 6 the extent permitted by law, on interest thereon
                                                                            Closing Date (the "Interest
     it i.r"; from and after the date that occurs six (6) months after the
     PII("nStart Date") until paid in full in cash as hereinafter provided:
                                  From and after the Interest PIK Starl Date, the outstanding
                                 (i)
                                                                                   percent (1%) per
     principal anrount of the Loans hereunder shall bear interest at a rate of one
                                                        28

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                   Main Document    Page 182 of 365




   month (or prorated for any portion thereof) (the "Loan Interest Rate") until the Loan Obligations
   are paid infull ("Loan Inieiest"). Loan Interest shall accrue on the first day of each month
                                                                                                with
   ,..p.rt to the outstanding principal balance of the Loans hereunder on the         last day of the
   immediately preceding month'

                         (ii) All Loan Interest and Loan Default Interest shall be payable in
   kind (the ,'Accrued PIK Interest"). Any Accrued PIK Interest on any Interest PIK Date shall
   b" cu;itulir"d und udded to the outstanding principal amount of the Loans hereunder on the
   first day of each month (inclusive of any amount theretofore added pursuant to this
   sentencej. For the pulposes of this Agreement and the other Fundanental Documents,
                                                                                                the
   amounts capitalized^puisuant to this Section 3.1(a) shall thereafter bear interest in accordance
   with this Section as such amounts shall constitute a portion of the Loans hereunder,
           3.2      Maximum Rate. No provision of this Agreernent or the Note shall be deemed to
                                                                                           perrnitted by
    establish o, ,.qrrir" th" puyo"nt of interest of a rate in excess of the maximum rate
    Applicable Law (the "Maximum Legal Rate"). If the interest required to be
                                                                                        paid  under this
    Agiee'rent or any Note eiceeds the Maximum Legal Rate, the interest required             to be paid
    he-reunder or under such Note shall be automatically reduced to the Maximum
                                                                                      Legal Rate. If any
                                                                                          the maximum
    interest paid exceeds then applicable Interest Rate, the excess of such interest over
                                                  shall  automatically be  deemed to reduce the accrued
    amount bf interest   permitteb to be charged
    a'd unpaid fees a1d expenses due to the under this Agreement, if any; then to reduce the
                                                                                                  accrued
    and unpaid interest, ii any, with  respect  to the  Loans    made   hereunder;   and then  to  reduce
    principal of the Loan; the talance of any  excess  interest  remaining  after  the application  of the
    ior"going and the issuance of the Termination  Notice   shall be refurded  to the  Bonower.   Each  of
    the credit Parlies acknowledges and     agrees  that   the  Interest Rate   applicable  to  the  Loan
                                                                                        provided for in
    Obligations hereunder is subjlct to and covered by the usury exceptions
    Secti-on 25118(e)(1) of the Califomia Corporations Code, as amended
                                                                        from time to time'

            3.3    Default Interest. From and after the Interest PIK Start Date, if any Event of
    Default shall occur unA t.t*in uncured, the interest rate on all outstanding Loan Obligations
                                                                                             portion thereof)
    shall be increased tg a rate of two percent (2%) pet month (or prorated for any
    (the ,'Loan  Default Interest Rate"). Interest  calculated   at the Loan    Default  Interest  Rate shall
    accrue from the lut", of 1^; th. Itrterest PIK Start Date (if an Event   of Default  has  occurred  and is
                                                      Event   of  Default, to  and including    the date such
    continuing) and (y) the date of the respective
    Event of Default ceases to exist (the "Loan Default    Interest").  The  provision,  or reliance  thereon
    ty tn" Lender, or the payment by the Bonower and the acceptance by the Lender of any interest
                                                                                        Event of Default or
    ai the Loan Default triteiest Rate shall not be deemed to be a waiver of any
                                                                                           The Lender shall
    of any of the Lender's rights and remedies at law, in equity          or  hereunder.
                                                                               Default  Interest  Rate to the
    e'deavor to notify the BJnower after the imposition of the Loau
                                                                                                 so shall not
     Loa' Obligations pursuant to the foregoing; plov-ldgd, however, that any failure to do
     constitute a breach of this Agreement.

             3.4  Loan Fee. On the Closing Date, the Lender shall be entitled to charge the Loan
     Fee which shall constitute an Advance and shall be capitalized, added to the
                                                                                           outstanding
     principal amoult of the Loans hereunder on the Closing Date  aud deemed   to be fully  eaured and
     non-refundable in whole or in parI. For the      pulposes  of  this Agreement     and   the other
     Fu'darneltal Documents, the arnounts capitalized  pursuant  to this Section  3.4 shall  thereafter

                                                        29

     LEGAL_US_W # 95804807.1   7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                     Desc
                                   Main Document    Page 183 of 365




   bear interest in accordance with Section3.l as such amounts shall constitute a portion of the
   Loans hereunder

           3.5      ContingentCompensatioul DistributionFee'

                    (a)  As additional corisideration to the Lender to enter into this Agreement and
   to make any Loan hereunder, the Lender shall be entitled to receive, and the Credit Parlies
   hereby inevtcably and unconditionally assign to the Lender, the Lender's Share of Net
                                                                                             Proceeds
   (the  ;'Contingeni  Compensation"), without defetrse,      setoff, counterclaim'    recoupment   or
                                                                      Collection Account   pursuant to
   ieduction for a1y reason whatsoever, by disbursement from the
                                                                                    to the Lender pro
   the Lelder payment Direction. The Contingent Compensation shall          accrue
   rata and pari passu with the accrual of the Net Proceeds to the Botrower pursuant to the
   Distribution Agreement and the CAMA.

                    (b)        As additional consideration to the Lender to enter into this Agreement and
                                                                                        to the lesser
    to make any Loan hereunder, the Lender shall be entitled to receive an amount equal
    ofi (i) twenty five percent (25%) of the "Distribution Fee" (as that term is defined in the
    Distiibution Agr.eement); otl 1ii; Thlee Hundred Fifty Thousand Dollars ($350,000)
                                                                                           (the
    ,,Distribution Fee Participation"), without defense, setoff, counterclaim, recoupment or leduction
                                                                                                Lender
    fr.-,,,="*^ *h"tro*il UV aisbursement from the Collection Account pursuant toprotherata         and
    payment Direction. The Diitribution Fee Participation shall accrue to the Lender
    pori porruwith the "Distribution Fee" accrued to Aviron Licensing (or any Related Party)'
                    (c) if the Collection Account Management Agreement is in effect, the Lender
                                                                                     pursuant to the
    shall be paid the Contingent Compensation and the Distribution Fee Participation
    Collection Account Minagernenl Agreement Assignment or a sepalate Payment
                                                                                             Direction
    among the Lender, the Credit Parlies and the Collection Account Manager,
                                                                                         in forrn  and
                                                                                  Agreement   is not in
    substance satisfactory to the Lender. If the Collection Account Management
                                                                                              and   the
    effect, the Credit Parties shall account for and pay the Contingent Compensation
                                                                                      Lender Payment
    Distri6ution Fee Participation to the Lender, with payment made directly to the
                                                                                     than quafterly by
    Account or otherwise as the Lender may instruct in writing, not less fi'equently
    the tenth (Business Day following the last Business Day of each
                                                                     quafier.

                     (d)  The rights and obligations of the Leuder and the Credit Parties,
    respectively, ur,d", this SecJion shall be continuing and remain in full force
                                                                                   and effect
    notwithstanding the occurrence of the Lender Tennination Date or the repayment
                                                                                   of the Loan
     Obligations.

             3.6     Risht of F rrst        al.

                     (a)   Until the earlier of (x) the expiration of the ROFR Right Exercise Election
     period without a ROFR Right Exercise Election from the Letrder and (y) the expiration of the
                                                                                        account to which
     ROFR Term, (i) the Lenderir its designee that is another fund and/or managed
     Caini Capital'Limited (or any of its Affiliates)    provides  investment   management    or advisory
                                                                  the  exclusive right, on the terms and
     services (as applicable, the "i{OFR Hold"t") shall     have
                                                                        Parties all amounts  payable  (the
     conditions seiforth in inis Section, to acquire from the Credit
     ,,SVOD Receivables"; fo, th" li*nsing ind exploitation of the SVOD rights to the Fihn (as

                                                         30

     LEGAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                 Main Document    Page 184 of 365




   ,,SVOD', is defined in the Amazon Agreement, the "SVOD Rights") which are, or at any time
   may be, subject to the Arnazon Agreement or to any Replacernent SVOD Subdistribution
   Agreement (the "ROFR Right")'

                     (b) The Credit Parlies shall notify in writing the ROFR Holder promptly: (A)
    of the date upon which the SVOD Deal Addenclum (as defined in the Amazon Agreement) for
    the Film has been executed and delivered by Amazon and the applicable Credit Parly and
                                                                                                 the
    Film has been fully delivered to Amazon in accordance with the Amazon Agreement;       or (B)  if
    the SVOD Rights io the Film for any reason are not subject to the Amazon Agreement,       of the
    date upon whlch the applicable Subdistribution Agreement with a Person other
                                                                                      than Amazon
    prrrrn*t to which all  or  substantially all of the first cycle SVOD  Rights are licensed  to or
    acquired by said Person (a "Replacement SVOD Sub
                                                                                  ") has been executed
                                    Sntrdistributor and  the applicable  Credit Parly  (an accurate and
    und d"liu.i"d by the uppti"uUt"
    complete ,opy of which concurrently   has   been delivered to  the Lender)  and  the Film has been
                                           in  accordance  with said   Subdistribution  Agreement   (the
    ruly aetiverei to said Subdistributor
    appiicable such date the "ROFR Notification   Date")'

                     (c) At any time during the period commencing        on the ROFR Notification
    Date and ending on the daie    thirty (30)  days  thereafter (the "ROFR Right Exercise Election
    period"), the ROFR Holder shall Lave the right to notify the Credit Parlies in writing of its
              io exercise the ROFR Right  (the "ROFR Rieht Exercise Election "); pfpvided that if the
    "l"..tir;                        -Period
    ROFR Right Exercise Election                has terminated without such ROFR Right Exercise
    Election bling made then such ROFR Right shall automatically be terminated.

                      (d) If the ROFR Holder makes a ROFR Right Exercise Election , then at any
    tirne during the period commencing on the date of the ROFR Right Exercise
                                                                                     Election and ending
                       (30)      rhereaiter (the  "ROFR    Term"),  the ROFR    Holder and the applicable
    on the datJ thirty      days
    Credit  parties shall negotiate in good   faith the tetms   and  conditions  of an acquisition by the
                                                of  any   or all SVOD     Receivables; prsvidgd   that the
    R9FR Holder from ttie Credit Farties
                                                    shall be calculated  in the same  manner  (e.g. at the
    purchase price for said SVOD Receivables
                                           price  that Cairn  Special  Opportunities  Credit Master  Fund
     same discount rate) as the purchase
     Limited paid to acquire the SVOD Receivables of the motion pictures entitled Destination
     Wedding and Strangers: Prey At Night'

                      (e) On the date that is the last day of the ROFR Term, if the ROFR Holder
     and the appScaUte Credit Parties have not consumtnated the acquisition of
                                                                                           the SVOD
                                      provided, the ROFR  Right  shall automatically terminate.
     Receivableiio the Film as herein

                      (0  Subject to the termination of the ROFR Right as provided in this Section,
     the ROFR Right shall be continuing and remain in full force and effect notwithstanding
     repayment of the Loan Obligations.

              3.'7    Right of Last Refusal.

                       (a)The Lelder or its Affiliate designee (as applicable, the "RQLR Holder")
                                                                           provide P&A (including
     shall have the exclusive right of last refusal (the "RoLR Right") to


                                                      31

      r-EGAL US W# 95804807.17
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                Main Document    Page 185 of 365




    minimum guarantee) and receivables financing (the "subsequent Fihn Financing") for all of the
    ROLR Films (each, a "Subsequent Film").

                   (b)      Before but not later than the delivery of the ROLR Match Notice (as
    defined in clause (c) below), for each ROLR Film, the Credit Parties shall provide the Lender
    with all relevant details then available or known to the Credit Parties (or thereafter becomes
    known or available to the Credit Parties during the seven (7) Business Day period after receipt of
    a ROLR Match Notice by the ROLR Holder) or othetwise made available to the applicable
    Potential Financier (as defined in clause (c) immediately below) relating to the ROLR Fihn,
    including, without limitation, the title, estimated negative cost, copyright owner, producer(s),
    principal cast, director, screen writer, subject matter, distribution and subdistribution agreements
    pertaining thereto, minimum guarantee and deposit paid or payable, anticipated P & A budget
    and projected receivables from the exploitation of the applicable distribution rights thereto and
    accuiate and complete copies of all existing documents pertaining thereto, and any additional
    information as the Lender may reasonably request'

                    (c)   The Credit Parlies (other than the Borrower) shall have the right to
    approach and negotiate with other potential Subsequent Film financiers (none of which may be
    an- Affiliate of any Credit Party) (each, a "Potential Financier") for the Subsequent Film
    Financing of any or all of the ROLR Films. Before concluding a binding agreement with a
    potential Finalcier for a ROLR Film, the Credit Parties shall give written notice thereof to the
    ROLR Holder (a "ROLR Match Notice"), which notice shall include all of the terms and
    conditions of the Subsequent Film Financing Offer from the applicable Potential Financier
    (accompanied by an accurate and complete written or email confitmation thereof by such
    Potential Financier).

                    (d)The ROLR Holder shall have seven (7) Business Days after receipt of             a
    ROLR Match Notice to accept the terms and conditions contained in the ROLR Match Notice.

                              (i) If the ROLR Holder accepts the terms and conditions contained in
    the ROLR Match Notice,    the  applicable parlies shall be deemed to have entered into a binding,
    valid and enforceable agreement upon those terms and conditions. At all times, the terrns and
    conditions to be met by the ROLR Holder shall be terms and conditions that may be met as
    easily by one (1) Person as another and shall be expressed in cash and no othel non-cash
    consideration. If the Credit Parties (other than the Borrower) and the ROLR Holder are deemed
    to have entered into an agreement, as hereinabove provided, they shall execute and deliver to
    each other a written agreement consistent therewith at the request of either party to the
    transaction.

                              (ii)   If
                                      the ROLR Holder does not accept in writing the terms and
     conilitions contained in the ROLR Match Notice within said seven (7) Business Day period, (a)
     the Credit Parties (other than the Borrower) (or any Affiliate of a Credit Parly (other than the
     Borrower)) shall be free to enter into binding agreements with the Potential Financier in
     accordance with the terms and condition set forth in the ROLR Match Notice, and (b) the ROLR
     Films that were the subject of the ROLR Match Notice shall no longer be subject to the rights of
     the Lelder hereunder other than the Lender's rights to be paid Subsequent Aviron Film Excess
     Proceeds as provided hereunder.



     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                   Main Document    Page 186 of 365




           3.8     Breach of Section 3.6 or Section 3.7. The Cledit Parlies acknowledge and agree
   that: (a) Section 3.6 and Section 3.7 hereof are each material inducements to the Lender to enter
   into this Agreernent and to make Loans hereunder; (b) it would be impossible or impractical to
   ascertain the exact amount of the damages caused as a result of the breach thereot (c) the Lender'
   shall be entitled to recover from the Credit Parties liquidated damages for any willful breach
   (other than any such breach in which the Borrower reasonably believes in its good faith business
   .ludgment thai it has complied (or attempted to substantially
                                                                     comply) with the provisions of
    S."llon 3.6 or Section 3.7 hereof, as applicable) in an amount equal to Five Hundred Thousand
    Dollars ($500,000); provided that, in connection with Section 3.7 hereof, the Credit Parties
    actually ,"rrrr. the Subsequent Film Financing for the applicable ROLR Film; the liquidated
    damages herein provided ire reasonable under the circumstances known at the time that this
    AgreJment is eniered into; and (d) notwithstanding the foregoing, the Lender shall be entitled to
    ,"iou., not less than its actual damages subject to proof. Nothing in this Section or otherwise, or
    the exercise of the Lelder's rights hereunder, shall constitute a waiver or release of any of the
    Lender's rights or remedies under this Agreement or ally other Fundamental Document.

            3.9   Continuing Obligations. The obligations of the Credit Parties under Sections 3.5,
    3.6 and 3.7 hereof shall be continuing and remain in fulI force and effect notwithstanding the
    repayment of the Loans.

                                            ARTICLE 4
                                     PAYMENTS AND REPAYMENTS

            4.1      Reo     of Loans. The Borower shall repay the outstanding principal balance
    of the applicable Loans and all other applicable Loan obligations in full, plus all accrued but
    unpaid inierest thereon, in Dollars on the Maturity Date or such earlier date as specified herein.

            4.2    Mandatory Prepayments. The Borrower shall apply to payment of the Loan
    Obligations lwrttrout -y p.trutty, premium or interest discounts based on prepayment) by the
    following amounts, u, und*h.oreieived by any Credit Parly unless otherwise indicated: (a) all
    CollaterJl proceeds; (b) all arnounts payable to the Borrower or any other Credit Parly under ol
    pursuant to the Collection Account Management Agreement including, without lirnitation, as a
    iesult of the Assignment of the Account Control Agreetnent; (c) any insurance proceeds to the
    extent and as prorrid"d in Section 11.6 hereof; (d) if at any time the aggregate amount of all
    Advances (exciuding the Lender Advances) made hereunder exceeds the aggregate amount of
    the Total Commitment, by an amount equal to such excess; (e) if at any time the then outstanding
    Advances to be used to pay for the P & A Costs exceeds the Available Commitment, by an
     amount equal to such excess; and (1) as otherwise provided hereunder. Subject to the terms
                                                                                                   of
     Section 4.6,the Lender shall have sole discretion as to the application of any
                                                                                    payments   to the
     Loan Obligations. The Borrower and any Credit Party shall have the right to pay any mandatory
     prepayment due under this Section 4'2.

             4.3    Voluntary prepayments. Upon at least one (1) Business Day prior notice to the
                                                                                          part' Once
     Lender, the Borrower tnuy ui its option prepay the Loan Obligations in whole or in
     such notice of prepaymeni has been given, the principal amount of the Loan(s) specified in such
     notice shall become due and payable on the date specified in the notice. All prepayments   shall


                                                      33

     LEGAL_US_W # 95804807.   I?
Case 2:20-bk-15015-BR                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                     Main Document    Page 187 of 365




   include payment of accrued interest on the principal amount prepaid and shall be applied to
   payment of interest before application to principal.

           4.4      Payments aud Computatiorts'

                    (a)      payments to be made by the Borrower shall (i) not be subject to, and
                               All
    shall be paid by the Borower free and clear of, any offset, counterclaim or defense whatsoever,
    a1d (ii) shall be made free and clear of, and without deduction for, any and all Taxes;
    irespective of any claim which the Borower or any other Credit Parly may have against the
    Lender. Except as otherwise expressly provided herein, all payments rnade by the Borrower shall
    be made to the Lender by direct deposit or wire transfer to the Payment Account for the benefit
    of Lender. All payrnents shall be made in Dollars and in immediately available funds, no later
    than l:00 p.m. (Facific Time) on the day specihed herein. Any payment received latel than 1:00
    p,rn. shall be deemed to have been received on the following Business Day.

                    (b)    Whenever ally payment is due on a day other than a Business Day, such
    payment shall be made on the following Business Day, without being subject to the assessment
    tf"u lut. charge, and such extension of time shall be included in the cornputation of interest or
    fees thereon, as the case maY be.

            4.5    Lender Costs. The Lender Transactional Costs and the Broker's Fee shall be
    advanced to the Borrower by the Lender as part of the Initial Advance. Any other costs, fees'
    expenses, leimbursement obligations in connection with fees, and other sums payable hereunder,
    that are incuned after the Closing Date and in connection with any Loan shall be paid by the
    Borrower to the Lender, on demand, in cash or, at the election of the Lender, in its sole and
                                                                                                to the
    absolute discretion, the amount or any paft thereof designated by the Lender shall be added
    Loan Obligations and accrue interest from the date thereof at the Loan Default Interest Rate. The
    Lender wiil give the Borrower notice of any Advance under this Section 4'5; plQvidgd, however,
    that any faiiure to do so shall not relieve the Borower of any of its Loan Obligations with
    respect thereto,

             4.6                                                          fPa            A11 payments shall be
    remitted to the Lender as herein provided. All payments not constituting payment of specific fees
    ar,d all Collateral Proceeds received by the Lender shall be applied, subject to the
                                                                                                    provisions of
    this Agreement,   as  follows:  until such    time  as  the  Lender    issues the Tennination    Notice, with
    ,.rp".Ito all Collateral   Proceeds:   first,  to pay  any  fees,  expense   reimbursements    or indemnities
                              from the Bonower       with  respect to  the   Loan; second, to pay  interest due in
    then due to the Lender
    respect of all Loans; third, to  pay  or prepay    principal  of  the Loans;   and fourth, to the  payment  of
     any other Loan Obligations.

             4.7     Indemnitv for Retumed Payments. If, after receipt of any payment of, or proceeds
     applied to the payment of, all or any part of the Loan Obligations, the Lender is for any reason
     cornpelled to iuirender such payment or proceeds to any Person, because such payment or
     application of proceeds is invalidated, declared fi'audulent, set aside, determined to be void or
     ,roiOut t" as a ireference, irnperrnissible setoff, or a divelsion of trust funds, or for any other
     reason, then the Loan Obligations or part thereof intended to be satisfied shall be revived and
     continue and this Agreement shall continue in full force as if such payment or proceeds
                                                                                                 had not

                                                          34

     LEGAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                    Desc
                                   Main Document    Page 188 of 365




   been received by the Lender, and the Bonower shall be liable to pay to the Lender, and her-eby
   does indemnify and hold the Lender and its Related Parties harmless for, the amount of such
   payment or proceeds surrendered. The plovisions of this Section 4.7 shall be and remain
   ifiective notwithstanding any contrary action which may have been taken by the Lender or any
   of its Related Parties in reliance upon such payment or application of proceeds, and any such
   contrary action so taken shall be without prejudice to the Lender's or any such Person's rights
   under this Agreemenl and shall be deemed to have been conditioned upon such payment or
   application of proceeds having become final and irevocable. The provisions of this Section 4.7
   shall survive the termination of this Agreement.

              4.8    Books and Records: Monthly Statements. The Register kept by the Lender and
    the Lender's books and records showing the Loan Obligations and the transactions pursuant to
    this Agreement and the other Fundamental Documents shall be admissible in any action or
    pro"".iing arising therefrom, and shall, absent manifest error, constitute rebuttably presumptive
    proof therlof, irrespective of whether any Loan Obligation is also evidenced by a protnissory
    irote or other instrument. The Lender will provide to the Borrower a monthly statement of Loaus'
    payments, and other transactions pursuant to this Agreement. Such statement shall be deemed
    correct, accurate, and bilding on the Bomower and an account stated (except for reversals and
    reapplications of payments made as provided in Sectior, 4.6 and corrections of erors discovered
    Uy ifre Lender), ulless the Borrower notifies the Lender in writing to the coutrary within thirly
     1iO; aays after such statement is received by the Borrower, absent manifest error.
                                                                                                If the
     ilorto*.r gives the Lender a timely written notice of objections, then only   the items to which
     exception is expressly made will be considered to be disputed by the Botrower.

                                              ARTICLE 5
                                         LENDING CONDITIONS

            The obligation of the Lender to enter into this Agreement and the other Fundamental
    Documents and to make any Advance hereunder shall be subject to the applicable conditions of
    this Article 5 being satisfied at the time thereof.

              5.1   Conditions Precedent to Initial Advance. The obligation of the Lender to make
    the initial Advance hereunder (the "Initial Advance") is subject to the conditions precedent set
    forth in this Section 5.1 and in Section 5.2 below having been satisfied in a manner approved by
    the Lender and its counsel.

                    (a) Fully executed documentation, including the Chain-of-Title Documents,
    evidencing   that the applicable Credit Parties have acquired all rights necessaly to distribute and
    otherwise-exploit the Fih, and in the underlying and included Literary Property, throughout the
    Domestic Teiritory during the Distribution Term including, without limitation, the rights which
    are or will be the subject of th" Oirttibution Agreement and the Subdistribution Agreements, and
    that Essential Deliveiy has occumed without objection by any Person, shall have been received
    by the Lender;

                        (b) All appropriate documents     evidencing the registration   of the Fihn   for'
     copyright in the iJnited States Copyright Office in the name of SFD as the sole copyright owner
     thereoi and the applicable Credii Parties' rights in and to the Film and the underlying Literary
                                                     35

     LEGAI,   us w # 95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                                   Main Document    Page 189 of 365




   propefiy, have been duly subrnitted to and accepted for registration and recordation, as
   applicable, in the United States Registrar of Copyrights, accompanied by the required filing fees,
   oi-if not yet submitted, are ready to be submitted, and if accompanied by the required fees, will
   be so accepted, shall have been received by the Lender;

                    (c) All appropriate documents requiring the signature or authorization of any
    Credit Party or other Person evidencing the Lender''s Liens in the Collateral have been duly
    executed, acknowledged and delivered to the Lender (including delivery of such documents the
    release of which to the Lender is conditioned upon payment of the "Minitnum Guarantee" as
    defined in and pursuant to the Distribution Agreement) for filing, registration and recordation in
    all appropriate govemmental offices including, without limitation, Cotnpanies House, the United
    States Registrar of Copyrights and the Delaware or other applicable Secretary of State;

                      (d) The Lender shall have received UCC, copyright, title and other searches
    approved   by  it  indicating that no other filings, encumbrances or transfers (other than Permitted
    f iins) with regard    to the Collat eral are of record in any jurisdiction in which it shall be necessary
    or desirable  for   the Lender to make a UCC or other sirnilar filing in order to provide the Lender
    with perfected Liens in the Collateral, and such searches do not reveal an interest of any Person
    which is contrary to the rights and priority of the Lender's Liens granted to the Lender hereunder
    or under any other Fundamental Document (other than Permitted Liens);

                    (e) The Lender shall have received executed copies of each of this Agreement
    and the other  Fundamental   Documents (other than any Exhibitor Agreement that has not been
    executed as of   the Closing  Date), together with all exhibits, attachments and supplementary
    documents which are   not elsewhere  identified in this Section 5.1 or in Section 5.2 all in form and
    substance approved by the    Lender, and executed by all parties thereto when the nafure of such
    items so requires;

                    (0 On or before the Closing Date: (i) the Lender shall have received in
    escrow   pending  only the closing of the transaction contemplated hereby, UCC-3 and other
    applicable  financing  statement terminations and/or arnendments, copyright security agreetnent
    and,/or rnoftgage  terminations  and/or amendments and/or other agreements or documents fol
    each of the Liins of other   Persons related to the Collateral including, but not lirnited to, those
    Liens described on Schedule      5.1(fl attached hereto, which confirm or evidence that, upon
    payment of the Purchase Price and     the  required filing, registration or recording fees, all such
    Li"nr ln respect of any of the Collateral shall be irrevocably and unconditionally released and
    terminated;

                      (g) Each Credit Party shall have performed and complied with all covenants,
    agreements and conditions contained herein and the other Fundamental Documents which are
    rJquired to be performed or complied with by such Credit Party (as applicable) before or on the
     Closing Date and        all   representations and wamanties made hereunder and             in the other
     Fundamental Documents shall be true and correct as of the Closing Date as if made on such date;

                      (h) No Default or Event of Default shall exist on the Closing Date, or would
     exist after giving effect to the Initial Advance to be made on such date;


                                                        36

     LECAL_US W # 95804807. l7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                   Main Document    Page 190 of 365




                   (i) The Cledit Parlies shall have paid (or the initial Bon'owing Certificate
    shall provide for payment from the proceeds of the Initial Advance) all accrued but unpaid
    Lender Transactional Costs, the Title Insurance Costs, the Broker's Fee and all other fees and
    expenses of the Lender incurred in connection with any of the Fundamental Documents due
    hereunder to the Lender and to the other applicable Persons on or prior to the Closing Date;

                     11)   There shall exist no action, suit, investigation, litigation or proceeding
    affecting any Credit Parly pending or threatened before any cour1, governmental agency, or
    arbitrator that might reasonably be expected to have a Material Adverse Effect upon the
    business, operations, property, prospects or condition (financial or othetwise) of any Credit Party
    or upon the creditworthiness of any Credit Party or that purport to affect the legalify, validity, or
    enforceability of this Agreement or any other Fundamental Document or the consummation of
    the transactions contemplated hereby and, upon request, the Lender shall have received a
    certificate signed by an Authorized Officer of each of the Credit Parties to such effect;

                   (k) The Collection Account Management Agreement shall have been executed
    and delivered by all parties thereto and the Collection Account shall have been established and
    the Collection Account Management Agreement Assignment shall have been executed and
    delivered by all parties thereto other than the Lender;

                    (l) The Lender shall be satisfied that the Available Commitment as of the
    Closing Date (without giving effect to any requested, but unfunded, Advances, as of the Closing
    Date) is sufficient to fund the aggregate amount of the unfunded balance, if any, of the P & A
    Budget to be funded with Loans as of the Closing Date;

                      (m) The Lender shall be satisfied that the P & A Budget includes provisions
    for all expenses necessary for the Domestic General Theatrical Release of the Film in accordance
    with the terms of the Dornestic General Theatrical Release Plan and each Distribution
    Agreement and Subdistribution Agreement;

                      G) Receipt and satisfactory review by the Lender of all information required
    to complete the Lender's know your customer ("KYC") process'

                      (o)        The ownership, legal and tax status of the Credit Parties is acceptable to
    the Lender;

                      (p)        The Lender shall be satisfied that all required consents and approvals have
    been obtained with respect to the transactions contemplated hereby from all Govetntnental
    Authorities with jurisdiction over the business and activities of each Credit Party, and from any
    other Person whose consent or approval the Lender in its reasonable discretion deems necessary
    to the transactions contemplated hereby, except for any such consents or approvals the failure of
    which to obtain could not reasonably be expected to result in a Material Adverse Effect upon the
    business, operations, property, prospects or condition (financial or othetwise) of any Credit Patly
    or upon the creditworthiness of any Credit Party;

                       (q)The Lender shall be satisfied that the transactions contemplated hereby
     a1d by the other Fuldamental  Documents will not: (i) violate any provision of Applicable Law,
     or any order of any court or other agency of the United States of America or any state thereof
                                                          5t
     r.EcAL US W # 95804807.17
Case 2:20-bk-15015-BR                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                    Desc
                                     Main Document    Page 191 of 365




   applicable to any Credit Party, or any of their respective properties or assets, or (ii) conflict with,
   or result in a default, breach or right of termination or acceleration under, any material agreement
   to which any Credit Parly is aparly, other than such as could not reasonably be expected to result
   in a Material Adverse Effect upon the business, operations, property, prospects or condition
   (financial or otherwise) of any Credit Party or upon the creditworthiness of any Credit Party;

                      (r)The Lender shall be satisfied that the Credit Pafties, other than the
    Borrower, and third party vendors and service providers to Aviron Licensing, have provided (or
    will provide) to the Borrower subordinated financing and deferred payment arrangetnents in
    connection with the Domestic General Theatrical Release of the Film and the Domestic General
    Theatrical Release PIan in an arnount not less than Eight Million Dollars ($8,000,000), all
    subject and subordinate to the Indebtedness hereunder, approved by the Lender in its sole and
    absolute discretion; prcvidgd, however, that any trade credit which is unsecured and not
    evidenced by a promissory note is deemed approved by the Lender; and

                      (s)         The Lender shall have received such other documents as the Lender rnay
    reasonably request       in order to effect fully the purposes of this Agreement and the other
    Fundamental Documents.

           The acceptance by the Borrower of the lnitial Advance shall be deemed to be a
    representation and warranty made by the Borrower to the effect that all of the conditions to the
    *it ing of the Initial Advance set forth in this Section 5.1 and in Section 5.2 have been satisfied,
    with the same effect as delivery to the Lender of a certificate signed by an Authorized Officer of
    the Borrower, dated the date of the Initial Advance, to such effect.

             5.2 Conditions Precedent to all Advances. The obligation of any Lender to make
    each Advance hereunder, including the Initial Advance, shall be subject to the further conditions
    precedent that on and as ofthe date ofany such extension ofcredit:

                      (a)The Lender shall have received a duly executed Bon'owing Celtificate           as

    and when required pursuant to Section 2.2;

                        The following statements shall be true, and the acceptance by the
                       (b)
    Borrower of any extension of credit shall be deemed to be a statement to the effect set forth in
    clauses (i) and (ii), with the same effect as the delivery to the Lender of a certificate signed by an
    Authorized Officer of the Borrower, dated the date of such extension of credit, statirig that:

                            (i) The representations and waranties of each Credit Party contained
    in this Agreement   and  the other Fundamental Documents are correct in all material respects on
    and as of the date  of such  extension of credit as though made on and as of such date (except to
    the extent that such  representations and warranties expressly relate to an earlier date, in which
    case such representations   and  wananties  shall be true and correct in all material respects as of
    such earlier date); and

                           (ii) No event has occuned and is continuing, or would result from such
    extensiol of credit, which constitutes a Default or an Event of Default


                                                          38

     LEGAL_US_W # 9s804807. I 7
Case 2:20-bk-15015-BR                     Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                         Main Document    Page 192 of 365




                    (c)               The Lender shall have received such other approvals, opinions       ot'
    documents as the Lender'tnay reasonably request;

                    (d)    No order, judgment or decree of any Govemmental Authority and no law,
    rule or regulation applicable to the Lender shall purport by its tems to enjoitt, restrain or
    otherwise prohibit the making of such Loan;

                   (e) Since the Closirig Date, there shall have occuned no material adverse
    change in the propefly, business, operations, or condition (financial or otherwise) or prospects of
    any Credit Party, Amazon   or Universal; and

                     (f)              The Lender shall have received such other customary documentation   as

    the Lender may reasonably request.

            The acceptance by the Borrower of any Advances made hereunder shall be deemed to be
    a representation and warranty made by the Borower to the effect that all of the applicable
    ronditionr to the making of such Advances set forth in this Section 5.2 have been satisfied, with
    the same effect as delivery to the Lender of a certificate signed by an Authorized Officer of the
    Borrower, dated the date of such Advance, to such effect.

              5.3  Post-Closing Conditions. The Credit Parlies shall timely and fully satisff each of
    the conditions, and comply with each of the obligations, described on Schedule 5.3 attached
    hereto.

                                                    ARTICLE 6
                                             RELEASE AND DISTRIBUTION

              The Credit Parties hereby warrant, represent, covenant and agree, as applicable,            as

    follows:

              6.1 P & A Budget: Domestic General Theatrical Release Plan: Screenplay and Film,
    Each of the Credit Parties represents and warrants that:

                    (a) True and complete copies of the P & A Budget and the Domestic General
    Theatrical Release Plan have been furnished to the Lender and a copy of the final edited version
    of the Film for ilitial Domestic General Theatrical Release (the "hiitial Theatrical Release
    Version") has been made available to the Lender for screening in such format and by such
    device(s) as the Lender has requested;

                      (b)             Each of the Credit Parties and any other Person having approval rights
    with respect thereto have approved the P & A Budget, the Domestic General Theatrical Release
    pla1, ani Initial Theatrical Release Version and all other elemettts thereof with respect to which
    they have approval rights under the Fundamental Documents; and

                      (c)  The P & A Budget includes provisions for all expenses necessary for the
     initial Domestic General Theatrical Release in accordance with the Domestic General Theatrical
     Release Plan and the tenns of the Distribution Agreement, each Subdistribution Agreement and
     each Exhibitor Agreement.
                                                             39

     LEGAL-US-W # 95804807.   I   7
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                    Desc
                                  Main Document    Page 193 of 365




            6.2      Initial Domestic             Theatrical Release.

                     (a)    The Borrower shall release the Film in the Domestic Teritory: (i) on not
    less than one (1) screerl in a first run motion picture theater no later than January 25,2019; and
    (ii) no later than the Domestic General Theatrical Release Date substantially in accordance with
    the P & A Budget and the Dornestic General Theatrical Release Plan and Initial Theatrical
    Release Version, and in a manner consistent with the provisions of the Distribution Agreement
    and each Subdistlibution Agreement.

                      (b) The Credit Parlies shall not make or pennit to be tnade any substantial
    chalges, modifications or revisions to the P & A Budget or the Domestic General Theatrical
    Releise Plan, other than the expenditure of funds in excess of the P & A Budget, without the
    express written authorization of the Lender (which shall not be unreasonably withheld,
    conditioned or delayed), and promptly shall notify and consult with the Lender with respect to all
    other changes, modifications or revisions thereto (other than immaterial changes, modifications
    and revisions). The Credit Parties shall notify, and fully consult with, the Lender prior to
    incurring any commitrnent or expenditure of funds in excess of the P & A Budget and, in any
    event, no such commitment or expenditure shall be secured by any Credit Party Collateral,
    without the approval of the Lender.

                   (c) The Credit Parlies shall cause the theatrical distribution of the Fihn to
    strictly conform to all requirements of the Distribution Agreernent, each Subdistribution
    Agreement and each Exhibitor Agreement.

             6.3      Film              Chanses     Except as permitted by the terms of the Distribution
    Agreement and the Subdistribution Agreements, the Credit Parties shall not make, agree to make,
    or permit to be made any variation or modification in any of the elements of the Film.

             6.4   Continqent Cornpensation; Fees. The Credit Parties shall not enter into ol assume
    any agreement to pay any Person from the Collateral Proceeds any profit participations, deferred
    compilsation, contingent compensation, whether computed on the basis of the Collateral
    Proceeds, net receipts or Net Proceeds from exploitation of the Film (other than to the Lender
    hereunder), bonusei of any kind (other than a residuals set-aside and "box office bonuses" that
    are subject to the terms and conditions of the Collection Account Mauagement Agreement),
    amounts deposited into the Collection Account or otherwise (whether in a fixed amount or
    cornputed on a percentage basis) (other than a residuals set-aside and "box office bonuses" that
    ar.e iubject to the terms and conditions of the Collection Account Managernent Agreement),
    unless all such paynents are subordinated and subject to the lights and Liens of the Lender under
     the Fundamental Documents, and the Credit Parties shall not pay (and shall not allow the
     payment of) any such payments from the Collateral Proceeds (other than to the Lender
     -treieunder)
                  until all Loan Obligations have been indefeasibly satisfied in full and the Lender's
     commitment to make Advances hereunder has been terminated. The Lender shall not have any
     obligation to pay any such payment to any Person.

              6.5      Perfonnance and Amendment of Agreements. Etc.



                                                          40

     LEGAL_US_W # 95804807. I 7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                   Main Document    Page 194 of 365




                   (a) The Credit Parlies shall supervise and monitor the performance of and
   payments by each Subdistributor and Exhibitor. Each Credit Party shall fully perfonn all of its
   ieipective obligations undei the Distribution Agreement, the Subdistribution Agreements and the
   othir Fundamental Documents, in each case, to which it is a party, and shall enforce all of its
   rights and remedies thereunder as it deems appropriate in its reasonable business judgment;
   provided, however, that the Credit Parties shall not take any action or fail to take any action with
   iespect to any of the foregoing, in each case, which would or might result in a waiver or other
   loss of any material right or remedy of any Credit Party thereunder.

                     (b)        Without limiting the generality of the foregoing, the Credit Parlies shall
    effect Delivery of the Film to each Subdistributor in accordance with each                  applicable
    Subdistribution Agreement and to each Exhibitor in accordance with each Exhibitor Agreement.
    Under no circumstances shall the Lender be obligated to effect delivery of the Film to any
    Person.

                     (c)   The Credit Parties shall not, without the Lender's prior written approval,
    modify, amend, supplement, compromise, satisff, release, terminate or discharge the Distribution
    Agreement, any Subdistribution Agreement or any other Fundamental Document to which any
    Ciedit party is a party, any collateral securing the same, any Person liable directly or indirectly
    with respect thereto, or any agreement relating to such agreements or the collateral therefor, in
    each case if the effect of such modification, amendment, supplement, compromise, satisfaction'
    release, termination or discharge could reasonably be expected to adversely affect the amount or
    time of payment of the Assigned Receipts or any other sum payable to the Lender hereunder
    (other than a1y amount or time of payment related to any other motion picture (including any
    Subsequent Aviron Film) and the proceeds thereof). Without limiting the generality of the
    foregoilg, the Credit Parlies shall not, without the Lender's prior written consent, amend or
    moOlfy in any way the amount or payment due date(s) or the conditions of payment of any of the
    CoIIatLTal Pioceeds. ANY SUCH AMENDMENT WITHOUT THE LENDER'S PRIOR
    WRITTEN APPROVAL IS NULL AND VOID AB INITIO'

               6.6   Enforcement of Agreements.

                     (a)   The Credit Parties shall notify the Lender in writing, prornptly after any of
    the Credit Parties becomes aware thereof, of any event or fact which could give rise to a breach
    of the Distribution Agreement, any    Subdistribution Agreement or any other Fundamental
    Document to which any Credit Party is a parry, and shall diligently pursue its rights and remedies
    arising therefrom and promptly report to the Lender on all further developments with respect
    thereto,

                      (b)       Until all Loan Obligations have been indefeasibly paid and perforrned in
    fulland the Lender's commitnent to make Advances hereunder has been terminated, the Credit
    parties shall, at their own expense, collect and take all appropriate legal action necessary to
    enforce collection, of all payments, receipts and revenues constituting Collateral Proceeds, as
    and when due, which may be owing by any Person under the Distribution Agreement, any
    Subdistribution Agreement or pursuant to any other agreement entered into by any Credit Party
    with respect to the Collateral (including, but not limited to, the benefit of any rebate, discount,
    credit oirefund of any item of P & A Costs), and shall remit all sums so collected directly to the
                                                         4l
     T.EGAL US W# 95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                 Main Document    Page 195 of 365




   Collection Account in accordance with Section 7.9 hereof and, in the case of Exhibitors, to the
   Exhibitor Account in accordance with Section 7.9 hereof. Without limiting the generality of the
   foregoing, other than payments owing from the Exhibitors of the Film as provided in Section 7'9
   trereol all such payments, receipts and revenues shall be remitted directly to the Collection
   Account pursuant to irrevocable and unconditional notices of assignrnent or directions to pay,
   each appioved by the Lender. If any of the Credit Parties fails after the Lender's demand to
   pu6u.-diligently any right or remedy under any such agreement, or if an Event of Default then
   exists, the Lender may directly enforce such rights and remedies in its own or the applicable
   Credit Party's name and may enter into such settlements or other agreements with respect thereto
   as the Lender may detetmine appropriate in its sole and absolute discretion.

                      (c)     In any suit, proceeding, arbitration   proceeding, reference proceeding or
    other action brought by the Lender under or in connection with the Distribution Agreement, any
    Subdistribution or any other Fundamental Document for any sum owing thereunder or to enforce
    any provision thereoi the Credit Parties shall indemnify and hold the Lender and its Related
    paities harmless from and against all expeuse, loss or damage suffered by reason ofany defense,
    setoff, counterclaims, recoupment, or reduction of liability whatsoever of any obligor thereunder
    arising out of a breach by any Credit Party of any obligation thereunder or arising out of any
          -agreement,
    other              indebtedness or liability at any time owing from any Credit Party to or in favor
    ofsuch obligor or its successors.

            6.j     Related Agreements. Each of the Credit Parties represents and warauts that: (a)
    it has obtained and has delivered, or will deliver or cause to be delivered, to the Lender as of the
    Closing Date an accurate and complete fully executed copy of the Distribution Agreemeut, each
    Subdistributiol Agreement and each other agreement, document or insttument related to any of
    the Collateral (inciuding any Exhibitor Agreement in effect on the Closing Date); (b) each of the
    foregoilg agreements, documents and instrumeuts has been (or, as of the Closing Date, will have
    U"""] arty Jxecuted and delivered by all parties thereto and be in fuIl force and effect, and all are
    a1d will te valid, bilding, subsisting and enforceable against the Credit Parties that are party
    thereto in accordance wiih their respective terms; (c) the Film is and will be a "Qualifying
    picture" or otherwise qualified under the tetms of each Subdistribution Agreement (whether or
     1ot by way of the exeiution and delivery of any addendum thereto or amendment thereof or
     otherwise); and (d) any Lien granted or to be granted to any Subdistributor thereunder is and
     shall be subject and subordinate at all times and in all events to the Liens of the Lender in and to
     the Collateral pursuant to this Agreement or any other Fundamental Document, in such form and
     with such substance as the Lender may approve in its sole and absolute discretion.
                                                 ARTICLE 7
                                                COLLATERAL

            '7   .l Grant of Lien. As security for all of the Loan Obligations, the Bonower and each
     of the other Credit Parties grants to the Lender a continuing security interest in, Lien on, and
     right of set-off against, all of their respective right, title and iuterest in or to the Collateral
     in"cluding, without limitation, their respective right, title and interest in, to aud under the
     Distribuiion Agreement, the Subdistribution Agreements, each Exhibitor Agreement and all
     other agreements, documents and instruments relating to the Film under which the Bonower or
     uoy oth", Cr.edit Party has any rights, including without limitation, rights to receive paytnents
                                                       42

     LECAL US W#95804807.17
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                            Desc
                               Main Document    Page 196 of 365




    thereunder and all other rights to receive film rentals, license fees, distribution fees, profit shares,
    royalties and other arnounts of every description and in all of the Pledged Securities.

            '7.2              and                  Lender           The Credit Parties shall at their
    expense, perform all steps requested by the Lender at any time to perfect, maintain, protect, and
           the Lender's Liens in the Collateral, including, without limitation (as applicable) (a)
    "nior..          recording, and refiling such financing statements, continuation statetnents,
    executing, filing,
    arnendments, copyright mofigages, form CO's, and copyright assignrnents, and (b) taking such
    other steps as the Lender may deem necessary or appropriate and wherever required or permitted
    by law in order to perfect or preserve the Lender's Liens in the Collateral. The Credit Parties
    shall do such further acts and things and execute and deliver to the Lender such additional
    conveyances, assignments, agreements, and instruments as the Lender may reasonably require or
    deem advisable to carry into effect the purposes of this Agreement or to better assure and
    confirm to the Lender its rights, powers, and remedies hereunder. The Credit Parties appoints the
    Lender as each of the Credit Parties' attomey-in-fact, to: (a) file or record financing statements
    and amendments thereto (including filing such statements and amendments by electronic means
    with or without a signature as authorized or required by Applicable Law or filing procedures),
    form CO's, copyright mortgages, copyright assignments, and any other documents in all
    appropriate govemmental offices, including the United States Registrar of Copyrights,
    atcompaniedly the required filing fees, relative to all or any part of the Collateral; (b) take all
    other steps ltecessary or desirable ir, the Lender's judgment to perfect, protect, ettforce, preserve,
    or coltinue the Lieris i1 the Collateral granted herein or in any of the other             Fundamental
    Documents to the Lelde1 without the signature of the applicable Credit Parly where permitted by
    law; and (c) do such furlher acts and things and execute such additional                   conveyances,
    assignments, agreements, and instruments consistent herewith as the Lender may reasonably
    ,"quir" or deem advisable to carry into effect the putposes of this Agreement ol to better assure
    a1d confirm to the Lender its rights, powers, and remedies hereunder. The Lender shall provide
    the Credit Parties with a copy of each document executed by the Lender pursuant to the power of
    attorney set forth in this section; provided, however, that the Lender's failure to provide any such
    document to the credit Parties shall not be deerned a breach hereunder.

             1   .3Assignment of Rights Onl)2. The Lender shall have under this Agreement and the
     other Fundamental Documents au assignment of and Liens on orily the benefits of and rights
     under the Distribution Agreement, the Subdistribution Agreements, the Exhibitor Agreements
     ald the other Collateral, and shall not assume any obligations or duties thereunder. All such
     obligations and duties of any Credit Party thereunder shall be and remaiu enforceable only
     agai-nst such Credit Pafty (as applicable) and shall      not be enforceable against the Lender.
     N-otwithstanding any  provision  hereof  to the contraty, each Credit Party (as applicable) shall at
     all times remain liable to observe and   perform  their respective  duties and obligations under the
     Distribution Agreernent, the Subdistribution     Agreements,    the  Exhibitor Agreements and the
     other agreemen-ts included in the Collateral,   and the  Lender's  exercise    of any of its rights with
     respect to the Collateral shall not release any       Credit Party    from    any  of such duties and
     obligations. The Lender shall not be obligated to   perform  or  fulfill  any  Credit Pafty's respective
     dutils or obligations under the Distribution Agreement,       the  Subdistribution     Agreements, the
     Exhibitor Agreements or any other agreement included in the Collateral         or to make  any payment
     thereunder, or to make any inquiry as to the nature or sufficiency         of any  payment   or property
     received by it thereunder or the sufficiency ofperformance by any        party thereunder,  or to present
                                                        43

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                Main Document    Page 197 of 365




   or file any claim, or to take any action to collect or enforce any performance, any payment of any
   amounts, or any delivery of any propeffy.

            7.4                                                                              and
    Properties. The Credit Parlies represent and warant to the Lender that the each of the Credit
    Parties' chief executive office, its books and records, and the Physical Properties are located at
    the address for each of the Credit Parlies specified in Section 15.6 hereof and/or at Laboratories
    in accordance with Section 7.1 t hereof, and the jurisdiction of organization of each of the Credit
    parties is Delaware. Each of the Credit Parlies covenants and aglees that if: (a) the jurisdiction of
    its organization, or the title or titles of the Fihn or the name, or any trade name of the Credit
    partiei is to be changed or modified in any manner, (b) any of the Credit Parlies proposes to
    acquire or use a new trade name, (c) the chief executive office of any of the Credit Parties is to
    be ielocated to a place other than its present address as stated in Section 15.6 hereof, or (d) there
    is proposed to be a change in location or name of any Laboratory, special effects shrdio, sound
     stuOio, other processing or storage entity or any sound studio, other processing or storage entity
     or any bailee which holds, or which is expected to process, any original negative, sound, optical
     or otirer special effects material owned or controlled by any Credit Parly including, without
     limitation, the final, complete composite master negative of the Film, then the Credit Parties
     sliall lotify the Lender thereof in writing and, prior to making any such change or modification,
     shall execute and deliver to the Lender such fuither documents and do such other acts and things
     as the Lender may reasotlably request in order to calTy out the pulposes of this Agreement,
     ilcluding, without lirnitation, the execution ar,d delivery of financing statements, atlendmettts,
     copyright assignments ancl rnortgages, and Laboratory Access Agreements' necessary or
     deiirabte to continue andlor perfect the Lender's Liens in the Collateral.

             7.5     Title to and     s on Collateral.

                     (a)    Each of the Credit Parties represents and warrants to the Lender that: (i)
    all of the Collateral is and will continue to be owned by the Credit Parties free and clear of all
    Liens, except for Permitted Liens; (ii) the Lender's Liens in the Collateral will not be subject to
    any prior Lien, except those Permitted Liens that the Lender has agreed have priority over its
    Lieni on the Collateral, if any; and (iii) the Credit Parties will not (and shall cause the other
    Credit Parties to not) sell, offer to sell, hypothecate or otherwise dispose of, or create, suffer or
    incur any additional Lien on, any Collateral, or any part thereof or interest therein, at any time,
    except   ior Permitted Liens or with the prior written           cousent   of the Lender, not to      be
    unreasonably withheld insofar as the Subsequent Aviron Films are concemed, or as otherwise
    expressly permitted in this Agreement or the other Fundamental Documents.

                      (b)   The Credit Parties will appear in, contest and defend against any action or
     proceeding purporting to affect title to or ally other interest in any portion of the Collateral, or the
     iightr ot fo*.rr of the Lender, their respective successors or assigns, or the right or interest of
     th-e Lender, legal or beneficial, in any porlion of the Collateral; and will pay all reasonable
                                                                                                         and
     documented out-of-pocket costs and expenses, including such costs of evidence         of title and such
     fees of outside coulsel, in any such action or proceeding in which the Lender may appear.

             j.6   Access and Examination. The Lender shall have the right at all reasonable titnes
     and upon te1 (10) Business Days' prior notice to the applicable Credit Party (and at any time
                                                         44
     LEGAL_US-W # 95804807.17
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                Main Document    Page 198 of 365




   when a Default or Event of Default exists) to examine, audit, make extracts frotn or copies of
   and inspect any and all of each Credit Party's respective books, records and files relating to the
   Collateral and discuss a Credit Party's affairs with its officers and management. The Credit
   Parties further agree that the Lender shall have access, at all times, to any and all of a Credit
   Party's computer hardware or software, whether maintained by such Credit Parfy, or third
   Persons on such Credit Pafty's behalf, which pertains to or reflect, such records. At such time or
   times as the Lender may reasonably request, the Credit Parties will, at such Credit Parties' sole
   cost and expense, prepare a list or lists in such form as shall be approved by the Lender, certified
   by an Authorized Officer of each Credit Party (as applicable) describing in such detail as the
   Lender shall require, the Collateral, and speci$ring the location of such Collateral and each
   Credit Parly's records pertaining thereto and permit the Lender to inspect such Collateral or any
   part thereof at such place as the Collateral may be held or located or at such other reasonable
    place.

             j.7    Attornev-in-Fact. Each Credit Party hereby constitutes and appoints the Lender
    as its true and lawful attomey-in-fact, in its place and stead and with fulI power of substitution,
    either in the Lender's owll name or in the name of any of the Credit Parties to do any and all of
    the followilg  from and after the occurrence and during the continuation of an Event of Default:

                      (a)  Endorse any notes, checks, drafts, money orders, or other evidences of
    payment payable to the Credit Parties relating to the Collateral that may come into the possession
    lfifr" l.na"r and obtain, take possession of, substitute the Lender or any designee ofthe Lender
    for the Credit Parties as the owner of, or signatory on, and otherwise apply in any manner, all
    deposit accounts, cash or Cash Equivaletrts, instruments and general intangibles of, relating to or
    deiived fi.om the Film or any other Collateral, and all proceeds thereof, including, but not limited
    to, interest, chattel paper, notes, ceftificates, writings, distributions, dividends, profits, rights,
    benefits, premiums and other payments and rights to payment, held by any Person for or in the
    name of each of the Credit Parlies;

                      (b)    Enforce all of the Credit Parties' rights under and pursuant to all
    agreements     with  respect  to the Collateral including, without limitation, the Distribution
    A-greement,    the Subdistribution   Agreements and the Exhibitor Agreements, all for the sole
    benefit of the  Lender,  and to enter into such other agreements as may be necessary or appropriate
    for the distribution  and exploitation  of the Film in the Domestic Territory;

                      (c) Enter into and perform such agreements as may be necessary in order to
    carry out the terms, covenants, and conditions of this Agreement, the Distribution Agreement,
    the 3ubdistribution Agreements, the Exhibitor Agreements and the other agreements included in
    the Collateral and the other Fundamental Documents that are required to be observed or
    performed by the Credit Parties;

                      (d)  Execute such other and further mortgages, pledges, and assignments of the
     Collateral as the Lender may reasonably require solely for the purpose of protecting,
     maintaining, or enforcing the Liens respectively granted to the Lender by this Agreement and/or
     the other Fundamental Documents;



                                                      45
     LEGAL_US-W # 95804801.\7
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                Main Document    Page 199 of 365




                  (e) Lease, license, sell or otherwise dispose of any Credit Parly's rights in or
   to the Film, and/or such distribution rights in and to the Film and such rights therein as have not
   been disposed of by or on behalf of the Credit Parlies (or to engage others to do so with the costs
   and expenses thereofto be recoupable by the Lender as provided herein);

                   (0     Renegotiate the Distribution Agreernent, the Subdistribution Agreements,
    the Exhibitor Agreements, the other Fundamental Documents and such other agreements with
    respect to which the Lender has a Lien pursuant to the terms hereof and the other Fundamental
    Documents as the Lender in its sole and exclusive discretion deems proper;

                   (g)       Require, demand, collect, receive, settle, adjust, compromise and give
    acquittances and receipts for the payment of any and all money payable pursuant to the
    Diitribution Agreement, the Subdistribution Agreements, the Exhibitor Agreements or such
    other agreements included in the Collateral and such licenses and agreements as the Lender may
    enter into as aforesaid;

                    (h)  File any claims andlor proofs of claim, to cornmence, rnaintain or
    discontinue any actions, suits or other proceedings deemed by the Lender advisable for the
    purpose of collecting or enforcing payment of any such money;

                    (i)   Execute, deliver, file and/or record any and all such instrutneltts,
    agreernelts or documents, and do all things as may be necessary or desirable to cany out the
    pulposes of this Agreernent,

                    11)       Apply any CollateralProceeds or any receipts so derived         from   the
    Lender's exercise of this power-of-attomey to the Loan Obligations as herein provided;

                   (k) Settle, compromise, prosecute or deferid auy action, claim or proceeding
    with respect thereto and to sell, assign, pledge, transfer and make any agreement respecting, or
    otherwise deal with, the same;

                    (1)   Obtain and effect delivery of the Film, as applicable, in accordance with
    the Distribution Agreement, the Subdistributiou Agreements and the Exhibitor Agreements;

                    (m)    Endorse any notes, checks, lnoney orders, ot' other evidences of payment
    relating to any of the Collateral that may corxe into possession of the Lender; process, submit,
    and execute any documents necessary to redeem or otherwise receive ploceeds in respect
    thereof; and execute such other and fuither mortgages, pledges, assignments in respect thereof as
    the Len<ler may reasonably require solely for the purpose of protecting, maintaining and
    enforcing the Liens respectively granted to the Lender under this Agreement and/or the other
    Fundamental Documents; and

                    (n)       Do any and all other acts reasonably necessary and proper to cany out the
     intent of this Agreement and the other Fundamental Documents;

     plovtdgd, however, that nothing herein contained shall be construed as requiring or obligating
     ttr. Lrnd.t to make any demand, or to make any inquiry as to the nature or sufficiency of any
     payment received by it, or to present or file any claim or notice or take any action with respect to
                                                      46

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                 Main Document    Page 200 of 365




   any of the Collateral or the lnoney due or to becotne due thereunder or the property covet'ed
   thereby, and no action taken or ornitted to be taken by the Lender with respect to any of the
   Collateral shall give rise to any defense, counterclaim or setoff in favor of the Credit Parties or to
   any claim or action against the Lender. None of the Lender or its attomeys will be liable for any
   acts or omissions or for any error of judgment or mistake of fact or law, except those arising out
   of the willful misconduct or gross (but not mere) negligence of the Lender or its attorneys.
   Except for such willful misconduct or gross (but not mere) negligence, each of the Credit Parlies
   ratifies and confirms all acts taken by the Lender as such attorney-in-fact or its substitutes by
   virtue of this power of attorney. This power, being coupled with an interest, is irrevocable until
   this Agreement has been terminated and the Loan Obligations have been fully and indefeasibly
   satisfied. The Lender shall provide the Credit Parties with a copy of each document executed by
   the Lender on the Credit Parties' behalf pursuant to the power of attomey set forth in this
   section; plevidgd, however, that the Lender's inadverlent failure to provide any such document
    to the Credit Parties shall not be deemed a breach hereunder.

            i.8     The Lender's Rights. Duties and Liabilities. Except for consequences arising out
    of the willful misconduct, intentional acts or gross (but not mere) negligence by the Lender
    and/or its attorneys, the Credit Parties assume all responsibility and liability arising from or
    relatilg to the use, sale or other disposition of the Collateral and neither the Lender, nor any of
    its officers, directors, employees or agents shall be liable or responsible in any way for the
    safekeeping of any of the Collateral, or for any loss or damage thereto, or for any diminutiorr in
    the value thereof, or for any act of default of any carrier, forwarding agency or other person
    whomsoever, all of which shall be at the Credit Parties' sole risk. The Loan Obligations shallnot
    be affected by any failure of the Lender to take any steps to perfect the Lender's Liens or to
    collect or realize upon the Collateral, nor shall loss of or damage to the Collateral, except as a
    consequence of the willful misconduct, intentional acts or gross (but not rnere) negligence by the
    Lender and/or its attorneys, release the Credit Parlies from any of the Loan Obligations. Upon
    the occunence and continuation of an Event of Default, the Lender may (but shall not be
    required to), without notice to or consent from the Credit Pafties, sue upoll or otherwise collect,
    extend the tirne for payment of, modify or amend the tenns of, compromise or settle for cash,
    credit, or otherwise upon any terms, grant other indulgences, extensions, renewals, cotrrpositious,
    or releases, and take or omit to take any other action with respect to the Collateral, any security
    therefor, any agreernent relating thereto, any insurance applicable thereto, or any Person liable
    directly or indirectly in connection with any of the foregoing, without discharging or othet'wise
    affecting the liability of the Credit Parties for the Loan Obligations or under this Agreement, any
    other Fundamental Document.

            7.9       Authoritlz to Collect.

                    (a) The Credit Parties shall take all actions reasonably necessary or
    appropriate  to cause all Collateral Proceeds to be paid: (i) directly by the Distributor, each
    SubAirtritrutor and each other obligor thereof to, as appropriate, the Collection Account; (ii) in
    the case of Exhibitol Receipts directly to the Exhibitor Account; (iii) in the case of Subsequent
    Aviron Film Excess Proceeds to the Payment Account; or (iv) otherwise to the Lender. Aviron
    Licensing exclusively shall enter into each Exhibitor Agreement, shall own and contlol the
    Exhibitoi Account, shall cause all Exhibitor Receipts to be paid directly by each Exhibitor only
    into the Exhibitor Account, without cross-collateralization, defense, setoff or counterclaim
                                                     47
    LECAL_US_W # 95804807. I 7
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                           Desc
                               Main Document    Page 201 of 365




   unrelated to the Film and, at any time when there is at least Twenty Five Thousand Dollars
   ($25,000) on deposit therern attributable to the Film, shall cause the Exhibitor Account to be
   swept no less frequently than every other Business Day, by the close of business on each
   applcable Business Day, so that all such funds on deposit therein attributable to the Film are
   deposited in the Collection Account on the next Business Day, At all other times, Aviron
   Licensing shall cause the Exhibitor Account to be swept on the first Business Day of each week
   for the immediately preceding week unless akeady swept on the last Business Day of that week
   as herein provided. Aviron Licensing shall provide the Lender with direct online "read-only"
   access to the Exhibitor Account and all information pertaining thereto and statements of account
   thereof not less robust than as is available to Aviron Licensing from the date of the initial
   Domestic General Theatrical Release of the Film to the date that is six (6) months after such
   initial release date and resumed from the date that the Film is theatrically re-released in the
   Domestic Territory until three (3) months thereafter. When received by the Leuder, Collateral
    proceeds shall be applied by the Lender to the repayment of the Loan Obligations- All
    collections of any Collateral Proceeds received directly or indirectly by any Credit Party or any
    of their respective Affiliates or the Lender, or itr any other account to which such collections are
    deposited, rnutt U. the sole property ofthe Lender and subject to the Lender's sole control.

                      (b)   If, riotwithstanding a Credit Party's direction to pay all Collateral Proceeds
    in accordance with Section 7.9(a), any Collateral Proceeds, including sums paid by the
    Distributor under the Distribution Agreement or by any Subdistributor under any Subdistribution
    Agreement or by ariy Exhibitor under any Exhibitor Agreement or otherwise are paid by the
    ap*plicable obligor thereof directly to any Credit Pafiy, or to any of their Affiliates or any other
    pei-ron, then thi Credit Parlies shall (and shall direct any othel applicable Persons) to: (i) hold in
    trust all of such receipts that it receives; and (ii) promptly remit such receipts in the form
    received directly, as appropriate, to the Collection Account or to the Lender not later than the
                                                                                                   possible,
    date that is two (2) gusiness Days following the day of its receipt thereof. To the extent
    the Credit  parlies shall not  commingle   any of the Collateral Proceeds  with its funds  or the funds
    of any other Person.

            i.l0    CopyfGh1q. Prior to the Closing Date, the Credit Parties shall take, or cause to be
    taken, any and all actions necessary to register the Film for copyright in the name of SFD for the
    U'ited Siates in conformity with the laws of the United States, and contemporaneously therewith
    the Credit Parties shall execute and record: (a) an assignment or other instrument of transfer
    satisfactory to the Lender of all of the Distribution Rights under the Distribution Agreement in
    favor of the Distributor; (b) a Copyright Mortgage and Assignmerrt (or an atnendurent to the
    applicable Copyright Mortgage and Assignrnent) and power of attomey in favor of the Lender,
    gianting to th; Le;der a Lien thereon for the pulpose of seculing the Loan Obligations; and (c)
    in u.ri[nment to the Lender of each Lien at any time granted to or held by any Credit Parly in
    the FilL or any of the Collateral, for the pulpose of securing the Loan Obligations; each
    satisfactory to tire Lender and imme<liately shall deliver to the Lender written evidence of any
    and all suih copyright registrations, recordations, mortgages and assigrunents.

            i   .11Control of Laboratory Materials. The Credit Parlies shall deliver to the Lendel a
     fully executed Laboratory Access Agreement for each Laboratory which holds or controls any
     Laboratory Material. The Credit Parties shall not deliver or deposit any of the Laboratory
     Materials in any other fi|11r or sound laboratory without first obtaining and delivering to the
                                                       48

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                 Main Document    Page 202 of 365




   Lender a fully executed Labolatory Access Agreement. No print, preprint, sound or other
   Laboratory Materials shall be deposited at any Laboratory or maintained at any place without the
   prior written consent of the Lender and compliance with the requirements of this Section 7. 1 1   .




            i.l2 Reinstatement. This Agreement shall remain in full force and effect and continue
    to be effective should any petition be filed by or against the Credit Parlies or any other Person for
    liquidation or reorganization, should the Credit Parlies or any other Person become insolvent or
    ,ouk. utr assignment for the benefit of creditors or should a receiver or trustee be appointed for
    all or any significant part of any of the Credit Pafty's or any other Pelson's assets, and shall
    continue to be effective or be reinstated, as the case may be, if at any time payment and
    performance of the Loan Obligations, or any part thereof, is, pursuant to Applicable Law,
    iescinded or reduced in amount, or must othetwise be restored or returned by any obligor of the
    Loan Obligations, whether as a "voidable preference", "fraudulent conveyance", or othetwise, all
    as though such payment or performance had not been made. In the event that any payment, or
     uny pui thereof, is rescinded, reduced, restored or returned, the Loan Obligations shall be
    reinsiated and deemed reduced only by such amount paid and not so rescinded, reduced, restored
     or retumed.

             '7.13 Third-Party Subsequent Film Financiers. The Lender covenants and agrees that if
    any   permitted   Liens are granted in favor of any Third-Party Subsequent Film Financier in
    connectiol with any Subsequent Film Financing, the Lien of such Third-Party Subsequent Film
    Financier shall be prior to the Lien of the Lender in connection with any such Subsequent Aviron
    Film(s) solely as it relates to the proceeds of the exploitation of the distribution rights to the
    applicable motion picture(s) until the applicable distribution rights acquisition financing
    piovided by said filincier has been repaid in fulI; provided, that the Lender arrd the applicable
    Third-Party Subsequent Film Financier shall enter into an intercreditor agreement with regard to
    any such shared collateral and proceeds thereof on mutually satisfactory tems, conditions and
    lirnitations as are customary in the industry.
            j   .14Miscellaneous. The Lender may execute any of its duties hereunder by or through
    agents or employees and shall be entitled to advice of counsel concerning all matters pertaining
    to its dutieJ hereunder. Neither the Lender nor any of its respective officers, directors,
    employees, agents or counsel shall be liable for any action lawfully taken or omitted to be taken
    Uy it oi them hereunder or in connection herewith, except for its or their own gross negligence or
    willful misconduct as finally determined by a court of competent jurisdiction.
                                           ARTICLE 8
                                    GUARANTY OF GUARANTORS

            8.1       Guaran{.

                     (a) Each Guarantor unconditionally and irrevocably guarantees to the Lender
     the due and  punctual   payment by, and performance of, the Loan Obligations (including interest
     accruing on  and after  the filing of any petition in bankruptcy or of reorganization of the obligor
     whetherl or not post filing interest is allowed in such proceeding). Each Guarantor further agrees
     that the Loan Obligations may be increased, extended or renewed, in whole or in part, without


                                                      49
     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                    Desc
                                 Main Document    Page 203 of 365




   notice or fufiher assent from it (except as rxay be otherwise required herein), and it will remain
   bound upon this Guaranty notwithstanding any extension or lenewal of any Loan Obligation'

                    (b)   Each Guarantor waives presentment to, demand for payment from and
    protest to, as the case may be, any Credit Party or any other guarantor of any of the Loan
    bbligations, and also waives notice of acceptance, notice of any Loans or Advances, notice of
    proteit for nonpayment, notice of acceleration and notice of intent to accelerate. The obligations
    of each Gualantor hereunder shall not be affected by: (i) the failure of the Lender to asseft any
    claim or dernand or to enforce any right or remedy against the Boruower or any Guarantor or any
    other gualantor under the provisions of this Agreement or any other agreement or otherwise; (ii)
    any extension or renewal of any provision hereof or thereof; (iii) the failure of the Lender to
    obtain the consent of any Guarantor with respect to any rescission, waiver, compromise,
    acceleration, arnendment or modification of any of the terms or provisions of this Agreement, the
    Notes or any other agreement; (iv) the release, exchange, waiver or foreclosure of any security
    held by the Lender for the Loan Obligations or any of them; (v) the failure of the Lender to
    exerciie any right or remedy against any other Guarantor or any other guarantor of the Loan
    Obligations; fti> any incapacity, bankruptcy, reorganization, liquidation, dissolution or
    receirership pioceeding or Car" by or against any Credit Party, or any change in the legal
    existence, structure, ownership or control of any Credit Party (including any of the foregoing
    arisirig from a1y merger, consolidation, amalgamatiou, reorganizalion or similar transaction); or
    (vii) the release,or substitution of any Guarantor or any other guarantor of the Loan Obligations.
    Wii6ort limitilg the generality of the foregoing or any other provision hereof (including, without
    limitation, Sections 15,2 and 15.3 hereof, itbeingtl,e specific intentof the parties thatthe choice
    of law ptouirion in Section 15.2 hereof is to apply to this Agreement), to the extent permitted by
    Applicable Law, each Guarantor hereby expressly waives any and all benefits which rnight
    otherwise be available to it under California Civil Code Sections 2799,2809,2810,2815,2819,
     2820, 2821, 2822, 2825, 2838, 2839, 2845, 2848, 2849, 28 50, 2899 and 3 433 .

                     (c) Each Guarantor further agrees that this Guaranty is a continuing guaranty,
    shall secure the Loan Obligations and any ultimate balance thereof, notwithstanding that the
    Borrower or other Persons may from time to time satisfy the Loan Obligations in whole or in
    part and thereafter incur further Loan Obligations, and that this Guaranty constitutes a guaranty
    tf performance and of payment when due and not just of collection, and waives any right to
    require that any resort be had by the Lender to any security held for payment of the Loan
    Obligations or to any balance of any deposit, account or credit on the books of the Lender in
    favor of the Bonower or ally Guarantor, or to any other Person'

                      (d)  Each Guarantor hereby expressly assumes all responsibilities to remaitr
     informed of the financial condition of the Borrower and the Guarantors and any other guarantors
     of the Loan Obligations and any circumstances affecting the ability of the Borrower to perfotm
     under this Agreement.

                      (e)   Each Guarantor's obligations under the Guaranty shall not be affected by
     the geluineness, validity, regularity or enforceability of the Loan Obligations, the Notes or any
     othei i'strument eviderrcing any Loan obligations, or by the existence, validity, enforceability'
     perfection, or extent of ariycollateral therefor or by any other circumstauce relating to the Loan
     bbligatiols which might otherwise constitute a defense to this Guaranty' The make               no

                                                     50

     LECAL_US_W # 95804807. l7
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                 Main Document    Page 204 of 365




   representation  or walTanty with respect to any such circumstances and have no duty or
   reiponsibility whatsoever to any Guarantor in respect to the managetnent and maintenance of the
   Loan Obligations  or any collateral security fol the Loan Obligations.

                    (0        Each Guarantor waives any defense to perfonnance and any right to be
    exonerated hereunder provided by Sections 2819,2822, or 2825 of the California Civil Code, or
    otherwise, arising by reason of: the impainnent or suspension of the Lender's rights or remedies
    against the Bortower; the alterationby the Lender of the Loan Obligations; any discharge of the
    Loan Obligations by operation of law as a result of the Lender's intervention or omission; or the
    acceptanct by the Lender of anything in parlial satisfaction of the Loan Obligations, and any and
    all rights of subrogation, reimbursement, indemnification, and contribution'

                   (g) Each Guarantor waives any defense arising by reason of or deriving from
    (i) any claim or defense based upon an election of remedies by the Lender; or (ii) any election by
    the Lender under Bankruptcy Code Section 1111(b) to limit the amount of, or any collateral
    securing, its claim and any and all rights and defenses, pursuant to Section 2856 of the California
    Civil Code or otherwise, of such Guarantor arising out of an election of remedies by the Lender,
    even though that election of remedies, such as a non-judicial foreclosure with respect to securify
    for a  guaranteed obligation, has destroyed such Guarantor's rights            of   subrogation and
    reimbursement against the Borrower'

            8.2   No Imoairment      Guarantv. etc. The obli gations of each Guarantor hereunder
    shall not be subject to  any reduction,  limitation, impairment or termination for any reason
    (except payment and  performance in fulI  of the Loan Obligations), including, without limitation,
    any ciaim of waiver, release, surrender, alteration or compromise, and shall not be subject to any
    deiense   or set-off,  counterclaim, recoupment or termination whatsoever by reason of the
    invalidity, illegaliry or unenforceability of the Loan Obligations or othetwise. Without limiting
    the generality of the foregoing, the obtigations of each Guarantor hereunder shall not be
    disciarged oi impaired or otherwise affected by the failure of the Lender to assert any claim or
    demand or to enforce any remedy under this Agreement or any other agreement, by any waiver
    or modification of any provision hereof or thereof, by any default, failure or delay, willful or
    otherwise, in the performance of the Loan Obligations, or by any other act or thing or omission
    or delay to do any other act or thing which may or might in any manner or to any extent vary the
    risk of such Guarantor or would otherwise operate as a discharge of such Guarantor as a matter
    of law, unless and until the Loan Obligations are paid in fulI in cash and each of the Lender's
    commitments has tetminated.

            8.3     Continuation and Reinstatement. etc.

                    (a)       Each Guarantor further agrees that its guaranty hereunder shall continue to
     be effective or be reinstated, as the case rnay be, if at any time payment, or any part thereof, of
     any Loan Obligation is rescinded or must otherwise be restored by the Lender or the Lender
     uptn the bankr-uptcy or reorganization of the Borrower or a Guarantor, or otherwise. In
     furtherance of the provisions of this Article 8, and not in limitation of any other right which the
     Lender may have at law or in equity against the Borrower, a Guarantor or any other Person by
     virlue hereof, upon failure of the Borrower to pay any Loan Obligation when and as the same
     shall become due, whether at maturity, by acceleration, after notice or otherwise, each Guarantor
                                                       51

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                              Main Document    Page 205 of 365




   hereby promises to and will, upon receipt of written dernand by the Lender, forthwith pay or
   cause to be paid to the Lender in cash an amount equal to the unpaid atnount of such unpaid
   Loan Obligations with accrued but unpaid interest thereon from the due date at the Default Rate,
   and thereupon the Lender shall assign such Loan Obligation, together with all security interests,
   if any, then held by the Lender in respect of such Loan Obligation, to the Guarantor or
   Guarantors rnaking such payment; such assignment to be subordinate and junior to the rights of
   the Lender with regard to amounts payable by the Borower in connection with the remaining
   unpaid Loan Obligations and to be pro tanto to the extent to which the Loan Obligation in
   question was discharged by the Guarantor making such payments.

                   (b)     All rights of each Guarantor against the Borrower, arising as a result of the
    payment by such   Guarantor    of any sums to the Lender hereunder by way of right of subrogation
    or otherwise, shall in all respects be subordinated and junior in right of payment to, and shall not
    be exercised by such Guarantor     until the payment in full in cash of all the Loan Obligations and
    termination of each Lender's comrnitment. If any amount shall be paid to such Guarantor for the
    accoult of the Borrower (and such payrnent is not explicitly permitted to be made to            such
    Guarantor under any provision of any Fundamental Document, then such amount shall be held in
    trust for the be1efit of the Lender, segregated from such Guarantor's own assets, and shall
    forthwith be paid to the Lender to be credited and applied to the Loan Obligations, whether
    matured or unmatured.

            8.4      Lirnitation on Guaranteed Amount. etc. Notwithstanding any other provision of
    tliis Article 8 the amount guaranteed by each Guarantor hereunder shall be limited to the extent,
    if any, required so that its obligations under this Article 8 shall not be subject to avoidance under
    Sectiol S4g of tne Bankruptcy Code or to being set aside or annulled under any Applicable Law
    relating to fraud on creditors. In determining the limitations, if any, ou the amount of any
    Guaraltor's obligations hereunder pursuant to the preceding sentence, it is the intention of the
    parties hereto that any rights of subrogation or contribution which such Guarantor may have
    under this Article 8, any other agreement or Applicable Law shall be taken into account.

                                      ARTICLE 9
                  BOOKS, RECORDS; FINANCIAL REPORTING; AND NOTICES

            The Credit Parties each covenant and aglee that, until such tirne as the Loan Obligations
    have been fully and indefeasibly repaid and the Lender's comtnitment to make Advances under
    this Agreernent has been terminated:
            9.1     Books and Records.

                    (a)   The Credit Parties shall each maintain a system of accounting established
    and administered in accordance with GAAP and keep adequate records and books of accouttt itt
    which complete entries in accordance with such accounting principles will be made.

                     (b)  The Credit Parties shall each maintain at all times correct and complete
    books and records with respect to the Collateral which are as complete and comprehensive as
    those custornarily maintained by non-public theatrical motion picture companies in the motion
    picture industry in the United States, including all books, records, coutracts, production notes

                                                      52

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                   Desc
                                     Main Document    Page 206 of 365




   and all other infonnation and data of every kind relating to the Film, the Collateral, and the
   distribution or exploitation thereof.

             9.2Financial Information. The Credit Parties each covenaut and agree that, until such
   time as the Loan Obligations have been fully and indefeasibly repaid and the Lender's
   commitment to make Advances under this Agreement has been tenninated, the Credit Parlies
    shall:

                    (a)    Within (i) sixty (60) days after the end of each fiscal year of the Parent
    and each of the Credit Parties (commencing with the fiscal year ending December 31,2017), the
    unaudited balance sheet ofeach ofthe Parent and each ofthe Credit Parlies as at the end of, and
    the related statements (in the case of the Credit Parties such statements shall be consolidated) of
    incorne, members' equity and cash flows for, such fiscal year; and (ii) within sixty (60) days
    after the end of each of the first three (3) fiscal quarters of each fiscal year commencing with the
    fiscal quarter ending Septernber 30, 2018, the unaudited balance sheet ofeach ofthe Parent and
    each oi the Credit Parties and the related unaudited statements of incorne, partners' capital and
    cash flows for, such fiscal quarter, and for the portion ofthe fiscal year through the end of such
    fiscal quarter; in each case together with a certificate signed by an Authorized Officer of the
    parent ind each of the Credit Parties to the effect that such Financial Statements, while not
     examined by independent public accountants, reflect, in the opinion of each such Person, all
     adjustrnents necessary to present fairly in all material respects the financial position of each such
     applicable Person as at the end of each such fiscal year and each such fiscal quarler and the
     results of operations for the applicable fiscal year and applicable fisca1 quarter then errded in
     conformily with generally recognized accounting standards customarily followed by non-public
     distribution companies in the motion picture industry in the United States, subject to rrotmal
    year-end audit adjustments and the absence of footnotes;

                     (b)  Simultaneously with the delivery of the statements referred to in
    Section 9.2(a) above, a certificate of an Authorized Officer of the Parent, in form and substance
    *"*""bty satisfactory to the Lender stating whether or not such Authorized Officer has
    knowledge, after due inquiry, of any condition or event which would constitute an Event of
    Default or Default and, if so, specifying each such condition or event, the nalure thereof and any
    action taken or proposed to be taken with respect thereto;

                     (c)           Promptly upon written request therefor, deliver any information
    reasonably requested by the Lender under or in connection with the USA Patriot Act;

                    (d) Provide prompt notice of the failure by the Distributor, any Subdistributor
     or any Exhibitor  to delivel to any Credit Parly entitled to the receipt thereof any payment or
     accounting  statement (and underlying information) for the Film by the date required for the
     delivery thereof under   the applicable Distribution Agreement, Subdistribution Agreement or
     Exhibitor Agreement;

                      (e)    From time to time such additional information regarding the financial
     condition or business of the Parent and its Consolidated Subsidiaries (including, but not lirnited
     to, any Credit Party), the Film or any other material agreenent in connection with the Film or the
     Collateral, as the Lender may reasonably request in writing; and

                                                        53

     LECAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                              Main Document    Page 207 of 365




                   (0     Permit representatives of the Lender to have access to and to examine its
   Physical Properlies, books and records relating to the Collateral during business hours and with
   reasonable notice to the applicable Credit Parly and shall furnish to the Lender, at such Credit
   Parties'expense, such other infolmation relating to the affairs of any Credit Party as the Lender
   reasonably may request from time to time.

           9.3     Cerlain Film Specific Infonnation.

                   Without limiting the generality of the foregoing, the Credit Parlies shall, at any
    time when any Loan Obligations remain unpaid or not performed hereunder, supply the Lender
    promptly, or cause the Lender to be promptly supplied, with the following:
                   (a)    Upon the request of the Lender, a copy of the P & A Budget showing the
    then current status of each item of P & A Cost thereon, and the amount thereof incurred or
    expended to date, not less complete than, and in the same form, as supplied to any Credit Party,
    Suidistributor or other Person including the amount and tetms of any and all rebates, discouuts,
    credits and refunds available to any Credit Party or any Affiliate in connection therewith and the
    disposition of the amount thereof;

                    (b)   Immediately upon receipt thereof, which shall be no less frequently than
    three (3) times each  week commencing three (3) weeks prior to the initial Domestic General
    Theatrical Release ofthe Fihn, a copy ofeach tracking report received by any Credit Party from
    NRG;

                    (c) A report of the performance of the Film as exploited by the Distributor
    and each   Subdistributor   including, but not limited to, then current Rentrak and sirnilar reports
    regarding the  domestic   theatrical performance of the Film (which, in any event, the Credit Parties
    ,hall defivet to the  Lelder   daily  during the first three (3) weeks, and thereafter weekly by the
    first Busiless Day of    each  week   for the immediately preceding week during the first sixty (60)
    clays, after the initial Domestic    General   Theatrical Release of the Film) in the same fotm as
    supplied to any other credit    Parly, the Distributor or any other Person; and

                  (d) Within five (5) Business Days after being sent or received by any Credit
    party, copies of all invoices and other corespondence between any Credit Party and any
    Subdistributor concerning or mentioning the paytnent of any portion of the Assigned Receipts.

            9.4    Notice of           Events   The Cledit Parlies shall each prornptly notify the
    Lender in writing of the following matters: (a) any E vent of Default or Default; (b) any default
    under any of the Distribution Agreement, the Su bdistribution Agreements and any other
    Fundamental Document or agreement material to the business, financial condition or results of
    operations of any Credit Party to which any Credit Party is a party or by which any Credit Party
    may be bound; (c) immediately after becoming aware thereof, any pending or threatened action,
    suii, proceeding, or counterclaim by any Person, or any pending or threatened investigation by a
    Governmental Authority, which action, suit, proceeding, counterclaim or investigation seeks
    damages in excess of $iOO,OOO (which amount shall not be fully covered by insurance), or which
    may otherwise materially and adversely affect the Collateral, the repayment of the Loan
    Obiigations, the Lender's rights under the Fundamental Documents, or ally Credit Party's
    propirty, business, operations, or condition (financial or otherwise) or otherwise result in a
                                                      54

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                 Main Document    Page 208 of 365




   Default or an Event of Default; and (d) immediately after becoming aware thereof, any pending
   or threatened strike, work stoppage, unfair labor practice claim, or other labor dispute affecting
   any Credit Party and in a manner which could reasonably be expected to materially and
   adversely affect the Collateral, the repayment of the Loan Obligations, the Lender's rights under
   the Fundamental Documents, or any Credit Party's propefy, business, operations, or condition
   (financial or othetwise) or otherwise result in a Default or an Event of Default.

                                      ARTICLE 10
                        GENERAL REPRESENTATIONS AND WARRANTIES

            The Credit Parties each warrants and represeuts to the Lender and (except with respect to
    any representation or warranty which is stated to be made as of a specific date which shall be
    deemed repeated as of such date), each Credit Parly shall be deemed to have repeated each such
    representation and warlanty on each date that any of the Loan Obligations remains outstanding
    or this Agreement is in effect, as follows'

            10.1 Authorization. Validity    and Enforceabilitv'

                (a) Each of the Credit Parties has the power and authority to execute, deliver
    and perform this Agreement and the other Fundamental Documents, to incur the Loan
    Obligations, to grant to the Lender Liens upon and in the Credit Party Collateral, aud in the case
    of the Guarantors, guaranty the Loan Obligations. Each of the Credit Parties has taken all
    necessary action (including without limitation, obtaining approval of its members if necessary) to
    authorizi its execution, delivery, and perfotmance of this Agreement and the other Fundamental
    Documents to which it is a par1y. No consent, approval, or authorization oi or declaration or
    filing with, any governmental authority, and no consent of any other Person, is required in
                        -any
    conniction wiih                     Parties' execution, delivery and performance of this
                                of the Credit
    Agreement and the other Fundamental Documents to which it is a party, except for those already
    duly obtained.

                     (b)    This Agreement and the other Fundamental Documents to which each of
    the Credit Parties is a parly have been duly executed arid delivered by each of the Credit Pafiies,
    and constitute the legal, valid and binding obligation of each of the Credit Patlies, enforceable
    agailst it in accordance with its terms without defense, setoff or counterclaim, except to the
    extelt that such enfolcement may be lirnited by applicable bankruptcy,                   insolvency,
    reorganizalion, moratorium, and other sirnilar laws affecting creditors' rights generally and by
    general principles of equitY.

                      (c)    Each of the Credit Pafiies' execution, delivery, and performance of this
    Agreement and the other Fundamental Documents to which it is a parly do not and will not
    .onfli.t with, or constitute a violation or breach of, or constitute a default under, or result in the
    creation or imposition of any Lien upon the properly of any of the Credit Parlies by reason of the
    terms of: (i) any contract, moltgage, lease, agleement, indenture, or instrument to which each of
    the Credit Parties is a party or which is binding upon it or its assets, (ii) any judgnent, law,
    statute, rule or governrnental regulation applicable to any of the Cledit Parties or its assets, or
    (iii) the articles of organization or the operating agreement of any of the Credit Parties'


                                                      55

     LEGAT, US W# 95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                             Desc
                                 Main Document    Page 209 of 365




            10.2 Validity and Priority of Liens. The provisions of this Agreement                and the other
    Fundamental    Docunents   create  legal and   valid  Liens    on the  Credit  Parly Collateral in favor of
    the Lender   and such Liens  shall  constitute  valid  first  priority perfected and  continuing  Liens on
    all the Credit Parly Collateral, having  prioriry  over   all  other Liens  on the Credit Parly  Collateral,
    except Permitted Liens, securing all the Loan Obligations, and enforceable against the Credit
    partGs and all third Persons, upon: (a) the filing of the appropriate UCC-I financing statements
    with the Secretary of State of Delaware; (b) the filing of the Copyright Mortgage and Security
    Agreement with the U.S. Registrar of Copyrights; (c) the delivery of any certificated Pledged
     Seiurities with appropriate stock powers (or any comparable document for non-cotporate entities
    to the extent certificated) duly executed in blank to the Lender and the Lender has taken
    possession or control ofsuch Pledged Securities; (d) the execution and delivery ofany applicable
    Account Control Agreement; and (f) the payment of all applicable filing fees for the documeuts
     leferenced i1 the preceding clauses "(a)" and "(b)". Other than the Liens granted by SFD and by
     the Collection Account Manager, the Credit Parties have no other Liens granted by third parties
    in the Film or atly products or proceeds thereof.

             10.3  Organization and Qualihcation. The Borrower and each other Credit Pafiy: (a) is
    duly formed and organized and validly existing in good standing under the laws of the State of
    Deiaware; (b) is qualified to do business in the State of Delaware, (c) is qualified to do business
    as a foreign limited liability company and is in good stariding in each jurisdiction in which the
    failure to so qualify or be in good standing could reasonably be expected to have a Material
    Adverse Effect on such Person's propefty, business, operatious, prospects or condition (financial
    or otherwise); and (d) has all requisite power and authority to conduct its business and to own its
    propefiy. Each of the Borrower and the other Credit Parlies has a valid, binding; subsisting and
    enforceable limited liability company agreement and no such Person has adopted or issued, and
    there does not exist, any sedes of limited liability company interests.

             10.4   Financial Statements. A1l financial statements, information, and other historical
    finalcial data furnished by the Credit Parties to the Lender in connection with the Credit Parties'
    application for credit hereunder, if any, are, in all material respects, accurate and correct, and
    such financial statements, informatiou, and other historical financial data have been prepared in
    accordalce with appropriate accounting principles and accurately represent the financial
    condition of the Person to whom such statements relate as of the date thereof.

             10.5     Solvency. Each of the Credit Parties is Solvent prior to and after giving effect to
     the Loans on the Closing Date and shall remain Solvent during the term hereof'

              10.6    Ownership of Equity Interests. Sub

                      (u)   Attached hereto as Schedule 10.6(a) is an accurate and complete list as of
     the Closing Date of each Credit Party showing, as to each: (i) the jurisdiction of formation;
     (ii) the autfiorized capitalization; (iii) the number of Ecluity Interests outstanding; and (iv)the
     ownership of its Equity Interests.

                   (b) Except as set forth on Schedule 10.6(b) attached hereto or as otherwise
     expressly permitted by this Agreement with respect to an SPV, as of the Closing Date: (i) no
     CreOit parly owns any voting stock, Equity Interest or other beneficial interest, directly or
                                                          56

     I-EGAL US W # 95804807.17
Case 2:20-bk-15015-BR                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                                     Main Document    Page 210 of 365




   indirectly, in any Person; and (ii) no Credit Parly is a general or lirnited partner in any
   parlnership or a parlicipant in a joint venture.

           10.'7    Ri shts        the Film arid     llateral

                    (a)   On a1d after the Closing Date, the Borrower shall own all rights in the
   Film and in the other Collateral necessary to enable the Bonower and each other Credit Patly
   having any rights therein to fully perform all of their respective obligations, representations,
                                                                                                          no
   wananties und ugr..ro.nts under this Agreement and the other Fundamental Documents. and
   other person shall own or control any of the Distribution     Rights   in or to the Film  other than  the

   Subdistributors. Other thari the Credit Parlies, no Affiliate of any Credit Party has, or
                                                                                                    has any
   right to acquire, directly or indirectly, any right, title or interest in or  to  the Film  or any other
                                                                                                     or
   Cillateral including, without lirnitation, any of the Collateral Proceeds. No Credit       Pafty,     any
                                                                                                      of the
   Affiliate of a Credit pafty, has or will have any right, title or interest in or to any  proceeds
    Film other than pursuant to the Collection Account Management Agreement'

                    (b)      The applicable Credit Parties have acquired, now own and will own until
    the indefeasible satisfaction of all Loan Obligations and the tennination of the Lender's
                                                                                                 granted or to
    commitment to make Advances under this Agreement, subject only to those rights
    be granted pursuant to the Subdistribution Agreements: (i) all right, title and       interest,  including
    rigits undei copyright in and to the Distribution Rights; (ii) all right, title and interest    necessary

    to"distribute,          and otherwise exploit the Film in the Dornestic Tenitory including, without
    limitation, all"*ttiUli
                    necessary or appropriate rights in the literary, musical or other propefy or ideas
    (including the Literary'f.operty; used therein; (iii) the right to exhibit the Film throughout
                                                                                                            the
    iomestiJterritory ltr theai..r, on television, by means of video cassettes and videodisks or in
                                                                                    (iv) the right to exploit
     any other media oi rounn.r, by any means now known or unknown, and
                                                          Territory to the extent  granted   or to be granted
     unlillury rights in and to the Film in the Domestic
                                                 subject only to payment   of  necessary   performilg    rights
     futr"uttt to the Distribution Agreement,                                 to which   the  rights  in and  to
     iees in respect of the rnusic in the Fihn,   The agreements   pursuant
     the Film have been or will be acquired by        the Credit  Parties  are  accurately   and   completely
     described in Schedule 10.7(b) attached hereto'

                     (c)  To the knowledge of the Cledit Pafties, all rnaterial or matter used in ol in
                                                                                         and events, shall be
    connection with the Fihn, including dialogue, characters, titles, episodes
                                        to ttre copyright  owner  of the.Film    and  licensed  exclusively to
    original and owned by or licensed
                                                  Agreetnent  for exploitation    in the   Domestic  Tenitory
    the Borrowe, purruunt to the Distribution
                                             Distribution  Agreement,   or in  the  public   domain,  and will
    under the terms and conditions of the
                                                         law, or constitute  a  libel,  slander or invasion of
    not infringe any copyrights, stafutory or common
    privacy o? utty  pe.son,  or otherwise infringe     on  or  violate the   rights     or any  other Person
    whornsoever, in any fashion whatsoever.

                     (d)                    be no agreements relating to music rights in connection
                                   There are and   will
     with the Film unless such agreement grants all rights with respect thereto for such media and/or
     duration as such rights arJ required under the Distribution Agreement, the
                                                                                         Subdistribution
                                                     The   Credit Parties  shall deliver (or cause to be
     Agreements and/or t-he Exhibitoi Agreements.
                                                  for its review  (but not approval)  upon  the Le'der's
     deiivered) all such agreements to the Lender
     request.
                                                                51

     LEGAL_US_W # 95804807,1   7
Case 2:20-bk-15015-BR                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                                    Main Document    Page 211 of 365




            10.8      Required Payments.    All   rents, royalties and other amounts due and payable by
   any Credit Party under tontracts, leases, license agreements and other documents and
   instruments relaiing to the Collateral including, without limitation, contracts, leases or
   agreements r.elating to the Literary Property, the services of all Persons rendering services
                                                                                                  in
   c6nnection with   the Film, and  the furnishing  of goods, services, processing,  equipment   and
   materials used in connection with the Film have been paid if due, or will be paid when due, if by
   reason of nonpayment thereof the value of any part of the Collateral or the Liens of the Lender
    therein may be impaired, and no Credit Party is in default under any such contract, lease. license
    agreement or othei document or instrument so that such impairment has now occurred.

            10.9 Litigation.    There are no actions, suits or proceedings pending or, to the
    knowledge of uny of tfte  Credit Parties, threatened against or affecting any Person or before any
             -governmental
    court or               agency,   arbitrator or instrumentality, domestic or foreign, relating to the
    Screenpliy, the Film, ttre OlstriUution  Agreement,   the Subdistribution Agreements or any other
    Fundamental Document or rights therein      or thereto or otherwise, which if determined adversely
    to any person  would have a Material Adverse     Effect  on the Collateral or the financial condition,
    othei properties or operations of any Credit     Pafiy,  or which would have a Material Adverse
    Effect onihe rights and Liens of the Lender    granted  to the Lender hereunder and under the other
    Fundamental Documents.

            10.10 No

                           Credit Party is in default under (as applicable) any Material
                       (a) No
    Agreement, the Distribution Agreement, the Subdistribution Agreements or any other
    Fundamental Document, in each case to which it is a party'

                        (b)
                        '(i)  Schedule 10.10(b) attached hereto is a true and complete listing as of the
    date hereof of:       all credit agreements, indentures, notes and other agreements related to any
                                                                                               Documents;
    indebtedness for borrowed money of any Credit Party, other than the Fundamental
    (ii) all joint ventures to which a credit Party is a party; (iii) all agreements or other arrangements
    p*ruunt to which any Credit Parly has granted a Lien to any Person other than the Fundamental
                                                                                                 (other than
    bocurnents; and (iv) all co-financing agreements and other contractual arrangements
    the Fundamental Documents) entered into by any credit Parly or by which any credit Parly
                                                                                                           is

     bound which arrangements are rnaterial to any credit Parly including, but not limited
                                                                                                             to,
     Guaranties, The Credit Parlies      have  delivered  or made    available   to  the Lender     a  true and
                                                                                                      including
     complete copy of each such agreement (or, if not yet executed, the most recent draft)
     att extribits and schedules. For    purposes of this Section,  a  contract,  agreement   or  amangement
                        ,'material" if any Credit Party reasonably expects that any Credit Parly would,
     shall be deemed
     pursuant to the terms thereof: (A) recognize future revenues in excess of $250'000;
                                                                                                      (B) incur
                                                          (C) likely  suffer damages    or losses  in  excess of
     iiubiHtl., or obligations in excess of $25b,000; or
                                                                 (each,    "Material   Agreement")'
     $250,000 by reason of the breach or termination thereof             a


             10.11 ERISA. No Credit Party nor any member of a controlled group of corporations
     (as defined in Section 1563 of the Code), nor any trade or businesses which are under common
                                                                                      member of any
     control with any Credit Party (as provided in Section ala@) of the Code) nor any
                                                                                                uow has,
     affiliated service group of airy'Creait Party (as provided in Section 414(m) of the Code)
     nor will they havi pr^ior to ih. ind.f"urible   repayment   in full of the Loan obligations arid the

                                                         58

     r.F.cAL US W   # 95804807.17
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                  Main Document    Page 212 of 365




   ter-mination of each of the Lender's cornmittnent to make Advances hereunder, any plan subject
   to Title lV of the Ernployee Retirement Income Security Act of 1974,as amended, or any such
   plan to which any Credit Pafiy, any member of a "controlled group" or affiliated service group,
   'o,
       uny trade or business under common control with any Credit Parly (as aforesaid) is required to
   contribute on behalf of its employees'

            10.12 Taxes. Each Credit Parly has filed all tax returns and other repofis which it was
    required by law to file on or prior to the date hereofand has paid all taxes, assessments, fees, and
    other governmental charges, and penalties and interest, if any, against it or its propelty, income,
                                    payable (except to the extent that (a) any such taxes, assessments,
    or fi-aichise, that are due and -hargrs,
    fees, and other  govemmental             and penalties and interest are diligently contested in good
    faith by upp.opiiut.   proceedings and proper reserves are established on the books of such Credit
    party as pitviAed in generally recognized accounting standards, and (b) a stay ofenforcement of
    uny Li"ni arising from the nonpayment thereof when due is in effect).

             10.13            S                                         U                          The
    Borrower shall use the proceeds of the Loan to pay the direct acquisition cost of the Film
    pursuant to the Distribution Agreement' and the P & A Costs for the Film in accordance with the
    bomestic General Theatrical Release Plan, and the other fees, costs and sums expressly
    identified herein, and for no other purpose. The Credit Parties are not engaged in the business of
                                         purchasing or carrying margin stock (within the tneaning of
                                 -of oi
    extending credit for the purpose
    RegulatiJn U of the Board        Go,r"*ors  of the Federal Reserve System of the United States),
    unJ no part of the proceeds of any  Loan  will be used to purchase or calry any margin stock or to
    exteld credit to others for the pulpose  of purchasing   or carrying ariy margin stock' None of the
    Credit   parties is an "investment company"     nor  atl  "affiliated person" of, or "promoter" or
    ,,principal underwriter" for, an "investment company," as such terms are defined in the
     Investment Compaly Act of 1940, as amended (15 U.S.C. $$80(a)(l), et seq.). None of the Credit
    parties is a "hold-ing company" or a "subsidiary company" of a "holding company" or an afhliate
     of a,,holding company" within the meaning of the Public Utility Holding Cornpany Act of 1935'
    as amended.

             10.14 Fictitious Names. Except as disclosed on Schedule 10.14 attached hereto, no
    Credit  party hai done business, is doing business or intends to do business other than under its
    full legal narne including, without limitation, under any trade natne or other "doing business as"
     name.

             10.15 Pledged Securities.

                     (a)     Article 7 of this Agreement creates, in favor of the Lender, a valid,
     binding an,l enforceable security interest in, and Lien upon, all right, title and interest of the
     pledgo"rs in the Pledged Collateral and constilutes a fully perfected first and prior security
     interest and Lien upon all right, title and interest of the Pledgors in such Pledged Collateral,
     provided, that on o, b"for" iuch date, the definitive instruments representing all certificated
     'lteOgeO
               Securities (if any) shall have been delivered to the Lender (and the Lender has taken
     possJssion or control of-such certificated Pledged Securities), accompanied by undated stock
     po*"r, (or any comparable documents for non-corporate       entities to the extent certificated), duly
     endor..d or executed iri blank by the appropriate Pledgor as required under Section 10'1 hereof.
                                                      s9

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR                Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                    Main Document    Page 213 of 365




                     (b)        (i) All of the Pledged Securities are duly authorized, validly issued, fully
   paid and non-assessable, and are owned and held by the Pledgols (as applicable), free and clear
   of uny Liens, other than those created pursuant to this Agreement and other Pennitted Liens, and
   there are no restrictions on the transfer of the Pledged Securities other than as a result of this
   Agreement or applicable securities laws and the regulations promulgated thereunder; (ii) the
   et-edged Securities are owned by the Persons specified on Schedules 10.15(a) and ft) attached
   heret-o; and (iii) except as set forth on said Schedules, there are no outstanding rights, warants,
   options, conversion or similar rights cur:rently outstanding with respect to, and no agreements to
   pur"6u." or otherwise acquire, any shares of the capital stock or other Equity Interests of any
   i..u., of any of the Pledged Securities; and there are no securities or obligations of any kind
   convertible into a1y shares of the capital stock or other Equity Interests of any issuer of any of
   the Pledged Securities.

           10,16 Compliance with Laws. No Credit Party is in violation of any Applicable Law or
    any order, *tit, rnju*,tion, decree, rule or regulation of any Governmental Authority binding
    upt' such Credit iarty, except for such violations which in the aggregate could not reasonably
    be expected to have a-Material Adverse Effect on any such Person. The borrowings hereunder'
    the inielded use of the proceeds of the Loans and any other transactions contemplated hereby
    will not violate any Applicable Law.
            10.17 No Material Adverse Change. No material adverse change has occurred in the
    property, business, operations, condition (financial or otherwise) or prospects of any Credit Party
    since January 1,2018.

           10.18 Disclosure, Neither this Agreement nor any document or statement furnished to
    the Lender by o. on b"hulf of any Credit Party contains any untrue statement of a material
                                                                                               fact or
    omits to state any material fact necessary in order to make the statements contained    herein  or
    therein not misleading.

           10.19 Material Agreernents. The Credit Parties have fuinished to the Lendel copies of
    all Material Agreements, indentures, and other material insttuments, relating to the Film, or
    pursuant to wf,ich any Credit Parly has incurred or may be obligated, whether directly or
    indirectly, for Indebtedness.

             10.20 Brokers. Other thari PDL, none of the Credit Parties has any obligation or
    liability to uny brok"t, finder, introducer or other Person arising out of or in connection with this
    Agreement oi the transactions conternplated hereby. The Borowel shall be solely responsible,
    an-d ttre Lender shall have no responsibility, obligation ol liability, for
                                                                                    payment of any fee,
    commission or other obligation or liability to or for the benefit of PDL  or any  Affiliate'

             10.21                                                                               The   Loans
                                                                                                    palent
     aggregate at least Three Hundred Thousand Dollars ($300,000)' The Bonower' s ultimate
     has total assets in excess of Two Million Dollars     ($2,000,000).  None   of  the proceeds   of the
     Loans will be used for personal, family or household   purposes.  No  Credit Party  is an individual,
     a revocable trust having one (1) or lnore individuals as ttustors or a partnership in which,
                                                                                                     at the
     tirne of issuance of the Note, one (1) or more individuals are general partners  within the rneaning
     of Section 25118(e)(1) of the California Corpora tions Code. The Borrower and each Credit
                                                           60

     LEGAL_IJS_W # 95804807,   I7
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                     Desc
                                   Main Document    Page 214 of 365




   Party, by reason of its own business and financial experience or that of its professional advisors,
   could reasonably be assumed to have the capacity to protect their own interests (within the
   meaning of Section25ll8(0 and (g) of the California Corporations Code) in connection with
   this Agreement and the transactions contemplated hereby. The sole manager of the Borrower has
   had prior business relationships with the Lender's asset manager or one (1) or more of the asset
   manager's officers, principals or managing directors.

           10.22 Survival of Warranties, AII covenants, agreements, representations and
   warranties made under this Agreement or in any of the other Fundamental Documents shall
   survive the execution and delivery of this Agreement, the making of the Loans hereunder, and
   the execution and delivery of the Note(s) and shall continue in full force and effect until the full
   and indefeasible payment and performance of all the Loan Obligations and the termination of
   each of the Lender's commitment to make Advances under this Agreement.

                                              ARTICLE 11
                                 AFFIRMATIVE AND NEGATIVE COVENANTS

           Each of the Credit Palties covenants to the Lender that so long as any of the Loans
    remain outstanding or this Agreement is in eff'ect, as follows'

             11.1 Taxes and Other Liabilities. The Credit Patties shall pay and discharge, before
    the same become deliriquent and before penalties accrue thereon, all taxes, assessments and
    goveffrmental charges upon or against such Credit Parly or upon such Credit Pafiy's income or
    profits or upon any of such Credit Pafty's properlies, and all such Credit Party's other liabilities
    at any time existing, except to the extent and so long as: (a) the same are being contested in good
    faith and by appropriate proceedings in such manner as not to cause any Material Adverse Effect
    upon such Credit Party's financial condition or the loss of any right of redemption frotn any sale
    thereunder; and (b) such Credit Party shall have set aside on its books resetves (segregated to the
    extent required by generally accepted accounting principles) adequate with respect thereto; and
    futher to pay all govemmental charges or taxes (except incotne, franchise or other similar taxes
    on the Lender) at any time payable or ruled to be payable in respect of the existence, execution
    or delivery of this Agreement or the other Fundamental Documents by reason of any existing or
    hereafter enacted federal or state statute.

            11.2      Keeping of Books and Accounts. The Credit Parlies shall keep complete, proper
    and separate accounts, books of record and account, including a record of all costs and expenses
    incur-r-ed, all charges made, all credits made and received, and all income derived in connection
    with the operation of such Credit Pafiy's business, all in accoldance with generally recognized
    accounting standards customarily followed by non-public distribution companies in the motion
    picture industry in the United States, in each case to the extent necessary to enable the Credit
    Parties to comply with the periodic reporting requirements of this Agreement.

            11.3 Legal Riehts and Facilities.       The Credit Parties shall maintain and preserve such
    Credit Pafty's legal existence  and all rights,  privileges, fi'anchises and other authority necessary
    fol the conduct ofits business,



                                                      61

    r-EcAL US W#   95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                         Desc
                                 Main Document    Page 215 of 365




            11.4    Compliance. The Credit Parlies shall comply with all laws, rules and regulations
   relating to, und ,huii puy prior to delinquency all license fees, registration fees, taxes, guild or
           -p"nsion,
   union             health ani welfare payments, supplemental market, reuse and other required
   puy11.nt, and assessments, and all other charges including, without limitation, non-governmental
   levies or assessments, which may be levied upon or assessed against, or which may become a
   Lien on, the ownership, operation, possession, tnaintenance, exploitation, exhibition or use of,
   the Collateral, or which create or may create a Lien upon the Collateral, or any
                                                                                        part thereof. The
   Credit parties shall pay (or cause to be paid) prior to delinquency    (i) all required guild or union
                                                                                                  Parry if
   residual payments and (ii) such other piyments to third Persons assumed by any Credit
   proceeds oi the Film otherwise pledged to the Lender are to be used to pay for such          payments
   tefore the Loan Obligations have been paid in full if and only as may be approved by the Lender
    in its sole and absolute discretion (such as so-called "box office bonuses" and "deferments")'

            11.5   Maintenance, Each of the Credit Parties shall maintain the Collateral and any
                                                                                          its business
    other material properties, Equipment and facilities in good order and repair, conduct
    in an orderly manner wiitrout intemrption and refrain from any material change in the nature
                                                                                                    of
    its business.

            l l.6   Insurance.

                    (a)  At all times, at its sole cost and expense, the Credit Parties shall rnaintain
    insurance against loss or damage to the Collateral with responsible and reputable
                                                                                             insurance
                                                                                          such risks as
    companies o-r associations approved by the Lender in such amounts and covering
                                                                       and  owning  similar property in
    are usually carried Uy companies engaged in similar businesses
                                                                is          including, general  liability
    the same general area as th. ur.u in wtrictr such property      located
    insurance,-worker's compensation insurance and property        insurance  covering  the Laboratory
                                                                                        consistent with
    Materials and rnaterials manufactured therefrom all to the extent, and in amounts,
    customary industrY standards.

                     (b)     Without lirniting the generality of the foregoing, the Credit Parties shall:
    (i) rnaintain enors and omissions insurance, covering, alnong other things' the legal liability
                                                                                                       and
                                                                 unauthorized  use of title, fonnat, ideas,
    dif"nr" of each Credit Parly against lawsuits alleging the
    character.s, plots, plagiarism,lopyright     infringement and unfair competition; and (ii) protect
                            "slander,
    uguinrt atieged tlbel,            defamution of character and invasion of privacy' The erors and
                                                                                                           in
    oirirrions p-oti"y shall be in a minimum arnount of $3,000,000 per occurrence and $5'000,000
                                                                          period of  coverage   of not  less
    the aggregate, with a deductible of not more than $50,000, and a
          -tilree
    than               years (plus such longer periods as such coverage is required to be in effect
                  (3)-the
    pursuant to           Diiiribution Agreement or any Subdistribution Agreement); and (ii)
                                                                                    things, for all claims
    comprehensive general liability insurance covering it against, among other
                                                                                                          for
    for bodily injury, personal injury or property damage including, without limitation, coverage
     all non-own"o una hired vehicles with a minimum liability limits of $1,000,000'

                      (c)       such insurance policies covering the Collateral shall name one or more
                                All
                                                                                         insured without
     of the Credit parties as named insureds and shall name the Lender as additional
     the Lender being liable for premiums or other costs or expenses. All such        casualty insurance
                                                                                        and  endorsed  in
     policies, within ten (10) Business Days after the Closing Date, shall be amended
                                                                                 to any casualty  to any
     customary form to make the Lender a loss payee theleunder with respect
                                                       62

     I-EGAL US W# 95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                                 Main Document    Page 216 of 365




   tangible personal property related to the Film, and such endorsetnents shall be delivered to the
   Lender.

                    (d)       At least thirty (30) days prior to the expiration of each such policy,     the
                                                                                                payment of
   Credit parlies shall funiish the Lender with evidence approved by the Lender of the
   premium and the reissuance of a policy continuing insurance in              force  as  required   by this
   igreement. Al1 such policies or ceftificates shall contain a provision that such        policies will  not
   be canceled or materially amended, which term shall include any reduction in the scope
                                                                                                    or limits
   of coverage, without at ieast thirty (30) days' prior written notice by such insurer to the Lender.
   If the Credit parties fail to provide, maintain, keep in force or deliver and furnish to the Lender
                                                                                                      not be
   the policies of insurance required by this Section 11.6, then the Lender may, but shall
    obligated to, procure such    insurance  or single  interest insurance   for  such  risks  covering   the
                                      Parlies will pay all premiums   thereon   promptly   upon  demand    by
    Lenler's interist, and the Credit
                                                at the Default Rate  from  the  date of expenditure    by the
    the Lender, together with interest  thereon
    Lender until reimbursement by the Credit Parlies'

                    (e) The Credit      Parties shall observe and cornply with the material
    requirements of all  policies of insurance required to be maintained hereunder and shall so
    p.rfor* and satisfy the requirements thereof so that the insurance policies are at all times in full
    force and effect.

                    (0     Upon request by the Lender, the Credit Parties shall fumish the Lender a
    certificate of an Auth orized Officer of the Credit Parties containing a detailed list
                                                                                             of the
    insurance policies of any credit Party required by or referred to in this Section
                                                                                          11.6 then
    outstanding and in force.

             ll.7  Related Agreements. The Credit Parties shall perforrn and observe, all material
                                                                               (as applicable) the
    agreements, .ou"nun(Epr"r.ntutions and warranties of such Person under
    Distribution Agreement, ih" srbdirttibution Agreements, the Exhibitor Agreements and
                                                                                                 any
    other document or agreement entered into by any such Person in connection
                                                                              with or related to the

    delivery or exploitation of the Film'

             11.8 Approvals. The Credit      Parties shall obtain, from time to time, all material
                                                                                    payments to the
    approvals, permits arld consents llecessary to allow each Credit Pafty to remit
    Lender, the Collection Account or the Payment Account from any              and  all appropriate
    Governmental Authorities having jurisdiction thereof'

             I1.9  Indebtedness. The Credit Parties shall not incur any Indebtedness, other thau
    pursuant to or as            permitted by this Agreement, uuless such Indebtedness is for trade
                       "*pr"rrty               business, which is not evidenced by a promissory note
    iayables arisilg in the ordinary course of
    tr similar document or instrument and unsecured'
            11.10 p & A Cost Funding. The Borrower shall fund or cause to be funded all P & A
                                                                                 General Theatrical
     Costs in the p & e S"dg"t f"rJh. Film in connection with the Domestic
                                                              Theatrical Release Plan and as may be
     Release thereof in accordance with the Domestic General
     required by the Distribution Agreement, any Subdistribution      Agreement   or  any Exhibitor
                                                             to the proviso  irnmediately below, the
     Agreement. Not later than February 15,2019, subject

                                                        63

     LEGAL US W#95804807.1?
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                Main Document    Page 217 of 365




   Bonower shall have paid in cash, or incuned the expense of, all such P & A Costs in the P & A
   Budget including, but not limited to, for goods and services provided by third parlies umelated
   to, and not Affiliates of, any of the Credit Parlies; provided that the Borrower shall be permitted
   to pay in cash, or incur the expense of, such P & A Costs in an amount not to exceed $500,000
   on or prior to March 25,2019.

              1   1.1   I
                   Performance of Obligations. The Credit Parties shall duly observe and perform
   all material terms of each of the Distribution Agreement, Subdistribution Agreements, Exhibitor
   Agreements and all agreements that are included in the chain of title for the Film to which a
   Credit Party is a party or as to which any Credit Party has succeeded to any rights or assumed
   any obligation or liabilify and all other material agreements with respect to the exploitation of the
   Film to which a Credit Party is a party or as to which any Credit Parly has assumed any
   obligation or liability and shall diligently protect and enforce the rights of any Credit Parly under
   all such agreements in a manner consistent with prudent business judgment.

            ll,l2 Subsidiaries. Promptly following the creation or acquisition of a Subsidiary
    other than an SPV (but in any event prior to cornmencement of operations of such Subsidiary),
    each applicable Credit Party shall cause such Subsidiary to deliver to the Lender: (a) an
    Instrument of Assumption and Joinder duly executed by such Subsidiary; and (b) an appropriate
    UCC-I financing statement naming such Subsidiary as debtor and the Lender as the secured
    party; and (c) accurate and complete copies of the organizational documents of such Subsidiary.

              I I .13 Dissolution and Sale of Assets. The Credit Parties shall not wind up, liquidate or
    dissolve such Credit Party's affairs. The Borrower shall not sell, lease, license, transfer, or
    otherwise dispose of or grant an interest in any of the Collateral or any of its other properties or
    assets (including, but not limited to, any accounts receivable or any rights or claims associated
    therewith). No Credit Party shall change its legal or trade uame'

           ll.l4 Use of Proceeds. The Borrower shall not use the proceeds of any Loan made by
    the Lender hereunder for any purpose or thing other than the items set forlh in Subsection 2'2(a)
    hereof.

            1.15 Transactions with Credit Partv Affiliates. The Credit Parlies shall not, except as
              1

    previously approved in writing by the Lender, effect any transaction with Affi liates of the Credit
    Parties on a basis less favorable to the Credit Parlies than would be the case if such transaction
    had been effected with a non-Affiliate. Other than the Credit Parlies or any SPV, no Affiliate of
    any Credit Party shall have, ol at any time acquire, directly or indirectly, in or to any right, title
    or interest in or to the Film or any Collateral Proceeds.
            11.16 Limitation on Fundamental Changes. The Credit Parties sliall not: (a) enter into
    any rnerger or consolidation with any other Person; (b) adopt a plan of division, or amend its
    limited liability company agreement to permit said Credit Party, to divide into two (2) or more
    limited liability companies; (c) adopt or permit to exist, or amend its limited liability comparly
    agreement to permit the issuance or existence of, any series of limited liability company
    inlerests; (d) liquidate, wind-up or dissolve; (e) sell, convey, transfer, assign, lease, abandon or
    otherwise dispose (including in a sale and leaseback) ol in one (1) transaction or iu a series of
    transactiols, voluntarily or involuntarily, assets (tangible or intangible (including but not lirnited
    to sale, assignment, discount or other disposition of accounts, contract rights, chattel paper or
                                                      64
    LEGAL US W#95804807.I7
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                Desc
                                Main Document    Page 218 of 365




   general intangibles with or without recourse) constituting all or substantially all of its assets and
                                                              assets constituting a business, division,
   firoperties; oi 19 acquire all or substantially all of the
   branch  or other unit of operation of any Person.

            11.11 Liens. (a) The Credit Parties shall not directly or indirectly create, incur or suffer
   to exist, and shJl promptly discharge or cause to be discharged, any Lien on or with respect to
   the Collateral, other than iermitted Liens, and (b) the Credit Parlies shall defend the Collateral
   against any and all Liens howsoever arising, other than Perrnitted Liens, and in any event
                                                                                                 defend
   aiainst any attempted foreclosure in respect of the Collateral (other than a foreclosure by the
   L-ender under this Agreement or any of the other Security Documents). Concunently herewith
                                                                                                     (or
   and after the Closing Date, (a) the Borrower shall assign to the Lender all Liens granted
   hereafter granted) to the Bogower with respect to any part of the Collateral including, but not
   limited tol any Lien granted or to be granted by SFD in favor of the Borower and (b) Aviron
   Licensing and auirotif inance shall assign to the Lender all Liens granted (or hereafter granted)
    to either such Person with respect to any part of the Credit Party Collateral in relation to the
    Fihn.

            1 1.18 Negative Pledge. The Credit Parties shall not enter into or suffer to exist any
    agreement ptottiUiting *                the creation or assumption of any Lien upon any of the
                               "onOitioning
                                     Third-Party  Subsequent Film Financier pertaining solely to the
    C"ollateral, tther than-with any
    Subsequent Aviron Film(s)     for  which  said Third-Party Subsequent Film Financier provides
    Third-irarty Subsequent Fiirancing   or as expressly  permitted by this Agreement or the other
    Fundamental Documents.

            ll,l9  Bank Accounts. The Credit Parties shall not open or maintain any bank account
    with respect to any Collateral Proceeds other than the Collection Account, the Exhibitor Account
                                                                                     proceeds from the
    and a1ybalk account owned by Aviron Finance that does not contain any
    Film. The Credit Parties shall  not permit any  deposit  account  control  agreement  to be in effect
                                                        Parties shall notify  the Lender prornptly  upon
    with respect to the Exhibitor Account.   The Credit
    the establishment of any other bank   or deposit account  with respect   to any Collateral Proceeds
    and, in the case of any ieplacement account for the Exhibitor Account, shall
                                                                                     provide the Lender
    with direct online "read-only" access to such    account   as would  otherwise   be provided under
    Section 7.9(a) hereof for the Exhibitor Account.

             11.20 Business Activities. The Credit Parties shall not engage in any business activity
                                                                                                     the Fihn and
    other than: (a) those r"futing to ttt- acquisition, distribution and other exploitation of
    any activities customarily i-ncidental   th"teto;  (b) performing     its respective   obligations   under the
    Fundamental Documents to which it         is a party  and under   all  other  agreements    related  to any of
                                                     Film;  (c)    it relates   to Aviron   Finance    and  Aviron
    the foregoing activities with respect to the                as
    Licensirig, business activities related to the ownership     and   operation   of  SPVs   and  distribution  of
              "substantially                                                      activities conducted     for  the
    picfures                  consistent with their     respective   business
    bor.'o*., in relation to the Film as permitted hereunder; (d) as it relates to Aviron Licensing in
    comrectio' with the Film, providing distribution services to the Borrower in connectiou
                                                                                                           with the
    Domestic General Theatrical Release of the Film, the              executiou    of, performance      under  and
                                                                                     of  the Film  (including   the
    e'forceme't of all Exhibitor Agreements for the theatrical exhibition
                                                                                               under   the License
     collectiol of all Exhibitor Receipts) arid such other activities as contemplated
     Agreement related to the Film; and (e) those activities described in Exhibit J attached hereto.
                                                          65

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                   Main Document    Page 219 of 365




           Il,2l      Ownership of Distribution Rights. Until the Lender Termination Date, except       as

   approved Uy t6" L"nd"t,1h" Borto*er shall, at all times, own all of the Distribution Rights in
   and to the Film, subject only to the Subdistribution Agreements'

           1   1.22 Restricted Payments. The Credit Parlies shall not make any Restricted Payments'

            11.23 Fufther Assurances. The Credit Parties shall, at any time or from time to time
   upon the t."qu"rt of the Lender, execute and deliver such furlher documents and do such
                                                                                                other
   acts arid things as the Lender may reasonably request in order to effect fully the purposes of this
   Agreement ind the other Fundamental Documents            and to   provide  for   the payment   and
   perfonnance of the Loan Obligations.

            11.24 Chain of          The Credit Parties shall promptly provide to the Lender an
                                   Title.
                                                                                     any Credit Pafty
    accurate and complete copy of any Cerlificate of Recordation that is received by
    from the United States Copyright Office for any Chain of Title Document'

            11.25 Universal Agreement. The Credit Parties shall promptly provide to the Lender
    after effectiveness thereof an accurate and complete copy of any amendment, testatemetlt'
    modification, supplement, renewal or replacement of the Universal Agreement'

            11.26                 365     Revis                            If any baukruptcy, insolvencY,
    reorganization , liquidation or other proceedings for relief under any bankruptcy
                                                                                           law or anY law
    for the relief of debtors shall be instituted bY or against SFD, and the Distribution Agreernent
                                                                                                         is
                                                                                                   take all
    rejected pursuant to Section 365 of the Revised Bankruptcy Code, the Credit Parlies shall
    actions necessary or appropriate    to preserve  the  rights of the  Borrower under  Section 365(n) of
                                     with   respect to  the  Distribution Agreemeut,  including, making   a
    the Revised Bankruptcy Code
    request for non-interference under Section    365  0rX3)  of the Revised  Bankruptcy  Code

                                                 ARTICLE     12
                                                   PLEDGE

               1Z.l pledge. Each Pledgor, as security for the due attd punctual payment of the Loan
    Obligations (includirU interest u"crring on and after the filing of any
                                                                            petition in bankruptcy or of
                                                                                              proceeding)
    reorianization of the-Bonower whether or not post filing interest is allowed in such
                                                                                in the  case  of a Pledgor
    in the case of the Borrower, and as security for its obligations hereunder
                                                                                       over, conveys   and
    other than the Borrower, grants, pledges, hypothecates, assigns, transfers, sets
                                                                                          now    owned  or
    delivers to the Lender a*first piiority security interest in all Pledged Collateral
    hereafter acquired by it. The it"ogoir shall deliver to the Lender the definitive
                                                                                           instruments  (if
    uny; ,.pr"renting att   eteogec   Securities, accompanied      by  undated   stock   powers    (or any
                                                                                                         or
    .o-purubl" docurnents for non-corporate entities to the extent certificated), duly endorsed
     .*r*t"d in blalk by the appropriate Pledgor, and such other instruments or documents relating
    thereto as the Lender or its counsel shall reasonably request. The initial
                                                                                  Pledged Securities are
     listed on Schedule 12.1 hereto.
               lZ.2  Covenant. Each Pledgor covenants that as the owner of Equity lnterests in each
     of its respectiu" Srt rtO*ries it will not take any action to allow any additional shares of
                                                                                                   common
     stock, pieferred stock or other Equity Interests of any of such Subsidiaries        or any   securities
     convertible or exchangeable into                or preferred stock or other Equity Interests of such
                                            "orrr-on
                                                       66

     LEGAL US_W   # 95804807,17
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                  Desc
                                  Main Document    Page 220 of 365




   Subsidiaries to be issued, or grant any options or wanants, unless all of such securities
                                                                                              are

   pledged to the Lend.. u, ,...ttity for the Loan Obligations and, if applicable, such Pledgor's
   obligations as a Guarantor hereunder.
            lZ.3  Remedies upon Default. If an Event of Default shall have occurred and be
   continuing, t6. t-"tnO.r t*y sell the Pledged Securities, or any part thereof, at public or
                                                                                                             private
   sale or utlny broker's board or on any securities      exchange,    for  cash,  upon     credit   or  for  future
   delivery u, ih" Lender shall deem appropriate         subject   to the   tetms    hereof     or   as  otherwise
   provided in the UCC. The Lender shall be authorized at any such sale (if the Lender deems it
   advisable to do so) to restrict to the full extent permitted by Applicable Law the
                                                                                                       prospective
                                                                                    they    are  purchasing
   bidders or purchasers to Persons who will represent and                   that
                                                                     agree                                       the
   pledged Securities for their own accourlt for investment and not with        a view    to  the  distributiou    or
                                                                                     have    the  right   to assign,
   sale ihereof, and upon consummation of any such sale, the Lender shall
                                                                                                   so sold. Each
   transfer, and delivir to the purchasel' or purchasers thereof the Pledged Securities
                                                                                                     any claim or
   such pulchaser at any such sale shall hold the ploperty sold absolutely, free fi'om
                                                                                                      prior written
   right o' the part of any pledgor. The Lender shall give the Pledgors ten (10) days'
   nJti.. of any such public or-private sale, or sale at any broker's board or on any such securities
   exchange, oi of any other disposition of the Pledged Securities. Such notice,
                                                                                                   in the case of
   public JaLe, shall state the time and place for such sale and, in the case of sale at a broker's
                                                                                                               board
                                                  board   or  exchange   at  which   such     sale  is to  be  made
    or on a securities exchange, shall  state the
    and the day on which thJPledged Securities,       or portion  thereof,   will first  be   offered    for  sale  at

    such board or exchange. Any zuch     public  sale shall be  held at such  time   or  tirnes  within     ordinary
                                                                                          state in the notice of
    business hours and at"such place oiplaces as the Lender may fix and shall
                                                             or portion  thereof,  to  be   sold may be sold in
    such sale. At a1y such sale, the PleJged Securities,
    one lot as an entirety or in separate parcels,       as  the  Lender    may   (in   its   sole and absolute
    discretion) determine. The Lender shall not be obligated to make any sale
                                                                                             of the Pledged
    Securities if it shall determine not to do so, regardless      of the fact that  notice   of sale of the
    pledged Securities may have been given. The Lender              may,  without  notice    or  publication,
    adjoirn any public or private sale oi cause the same to be adjourned            from   time    to time by
                                                                                without   further    notice, be
    ur*oun"r*.nt at the time and place fixed for sale, and such sale rnay,
    made at the time and place to which the same was so adjoumed. In case
                                                                                      the sale  of   all or any
                                                                                     Pledged    Securities   so
    part of the pledged Securities is made on credit or for future delivery, the
                                                                                 purchaser          purchasers
    sold shall be retained by the Lender until the sale price is paid by the
                                                                                               or-
                                                                            purchaser or purchasers shall
    thereof, but the Lender stratt not incur any liability in case any such
    fail to iake up and pay for the Pledged Securities so sold aud, in case of any such failure,
                                                                                                           such
    pledged Securities may be sold again upon tike notice. At any sale or sales made pulsuant to this
    Section, the Lerider        bid foi or purchase, free from any clairn or right of whatever kir-rd,
                           'ray
    i*fuO*g a1y equity of iederrption, of the Pledgors, any such demand, notice, claitn, right or
                                                                                        Securities offered
    equity bling-heriUy expressly waived and released, any or all of the Pledged
                                               the  account thereof by  using any clairn  for moneys then
    for sale, and rnay rnake any payment    on
                                                                          Pafty by any   C'edit   Pafiy as a
    clrre and payable to the Leni"i ot uny other     consenting Secured
                                                                             with the  terms   of sale, may
    cLedit against the purchase price; und th.    Lender, upon  compliance
                                                          without  further accountability   therefor  to any
    hold, rJain and dispose of ihe tlteOged Securities
    pledgor or any thiri party (other than the Lender),     The  Lender  shall in any  such   sale make   no
                                                                 Securities or any part  thereof,  and  shall
    reprJsentationi o, *uiruniies with respect to the   Pledged
    not b" chargeable with any of the obiigations or liabilities of the Pledgors
                                                                                    with respect thereto.
           pledgJr hereby ugr.., that (i) it wilt indemnify and   hold the Lender  and  its Related Parties
     Each
                                                            6',7


     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                                Main Document    Page 221 of 365




   hannless fi.om and against any and all clairns with respect to the Pledged Securities assefted
   before the taking of actual possession or control ofthe Pledged Securities by the Lender pursuant
   to this Agreement, or arising out of any aat of, or omission to act on the parl of, any Person prior
   to such taking of aclual possession or control by the Lender (whether asserted before or.. after
   such taking of possession or control), or arising out of any act on the part of any Pledgor, its
   agents or Affitiit"r before or after the commencement of such actual possession or control by the
   Lender, but excluding therefrom all claims with respect to the Pledged Securities resulting from
   (x) the gross negligence or willful misconduct of the Lender as finally determined by a court of
   competent jurisdiction in a non-appealable decision or an appealable decision that has not been
   upp.ul"d within the time period required or (y) any claims with respect to the Pledged Securities
    asserted against an indemnified party by a Credit Party in which such Credit Parly is the
   prevailing party, and (ii) the Lender and its Related Parties shall have no liability or obligation
    arisilg ort-of a1y such claim except for acts of willful misconduct or gross negligence of such
    person, as finally determined by a court of competent jurisdiction iu a non-appealable decision or
    an appealable decision that has not been appealed within the time period required. As an
    altemative to exercising the power of sale herein confened upon it, the Lender may proceed by a
    suit or suits at law or in equity to foreclose upon the Collateral and Pledged Securities under this
    Agreement and to sell the Pledged Securities, or any porlion thereof, pursuant to a judgment or
    decree of a court or coutls having cornpetent jurisdiction.
            12.4                              of Sale              The proceeds of sale of the Pledged
    Securities sold pursuant to this Section shall be applied by the Lender as follows:

                    (a)     First, to the payment of all reasonable and documeuted out-of-pocket costs
    and expenses paid or incured by the Lender in connection with such sale, including, without
    limitation, all iourt costs and the reasonable and documeuted fees and out-of-pocket expenses of
    counsel for the Lender in connection therewith, and the payment of all reasonable and
    documented out-of-pocket costs and expenses paid or incurred by the Lender in enforcing this
    Agreement or i1 any other Fundamental Document, in realizing or protecting any Collateral and
    inllforcing or collecting any Loan Obligation, any Contingent Compensation Obligation or any
    guaranty thereof, including, without limitation, such coutl costs aud attomey's fees and expenses
    incuned by the Lender in connection therewith; and

                    (b)       Then, to the payment in   full of the Loan Obligations in accordance with
    this Agreement;
                                                                                                of
    ple_vidgd, however, that the Lender may in its discretion apply funds comprising the proceeds
    *f" of tf.r" pf.dged  Securities to take such actions or  make  such payments   as the Lender
    reasonably believis is necessary or advisable in order to enhance or preserve the value of the
    Collateral. Any amounts remaining after such payment in full shall be remitted to the
    appropriate Pledgor or as a couft of competent jurisdiction may otherwise direct.
            l2,S Securities Act, etc. In view of the position of each Pledgor in relation to the
    pledged Securiiies pledged by it, or because of other present or future circumstances, a question
    may arise under thi Securities Act of 1933, as amended, as now or hereafter in effect, or any
    similar statute hereafter enacted analogous in purpose or effect (such Act and any such similar
    statute as from time to tirne in effect being hereinafter called the "Federal Securities Laws"),
    with respect to any Disposition of the Pledged Securities permitted hereunder. Each Pledgor

                                                        68

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                Main Document    Page 222 of 365




   under.stands that compliance with the Federal Securities Laws may very strictly lirnit the course
   of conduct of the Lender if the Lender were to atternpt to dispose of all or any part of the Pledged
   Securities, and may also limit the extent to which or the manner in which any subsequent
   transferee of any Pledged Securities may dispose of the same. Similarly, there may be other
                                                                                                  part of
   legal restrictions or limitations affecting the Lender in any attempt to dispose of all or any
   thl eledged Securities under applicable Blue Sky or other state securities laws, or sirnilar laws
   analogous    in purpose or effect. Under Applicable Law, in the absence of an agreement to the
   contriry, the  iender may perhaps be held to have certain general duties and obligations to a
   pledgoi to make some effort towards obtaining a fair price even though the Loan Obligations
   *uyi" discharged or reduced by the proceeds of a sale at a lesser price. Each Pledgor waives to
   the fullest extent permitted by Applicable Law any such general duty or obligation to it,
                                                                                               and the
   pledgors and/or the Credit parties will not attempt to hold the Lender responsible for sellirig all
   o, uriy part of the Pledged Securities at an inadequate price, even if the Lender shall accept the
   first offer received or does not approach more than one possible purchaser. Without limiting the
   generality of the foregoing, the provisions of this Section would apply if, for example, the
   Le.der were to place all ot uny part of the Pledged Securities for private placement by an
   investment bankrng firm, or if suCtr investrnent banking firm purchased all or any
                                                                                            part of the
    pledged Securities for its own account, or if the Lender     placed all or any parl of the Pledged
    Securities privately with a purchaser or purchasers'
             12.6 Continuation and Reinstatement, Each Pledgor further agrees that its pledge
    hereunderuhall conti^r" to be effective or be reinstated, as the case may be, if at any
                                                                                                   time
                                                 Obligation is rescinded or must otherwise  be restored
    payment, or any part thereof, of any  Loan
    fyuny Secured pirty upon the barikruptcy or reorganization of any Pledgor or otherwise.
            l23     Termination. The pledge referenced herein shall tenninate when all of the Loan
    Obligations nu* U"en fUty and paid rn cash and perfolmed and the comrnitment of
                                                                                             the Lender
    to m-ake Advances shall have terminated, at which time the Lender      (at the sole  expense   of the
    Pledgors) shall promptly assign and deliver to the appropriate Pledgor'      or  to such  Person   or
    persJls as such it.dgor.6utl designate, against receipt, such ofthe Pledged Securities    (ifany)  as
                                                                                             hereof
    shall 1ot have been iold or otherwise applied by the Lender pursuant to the tetms
                                                                                                      and

    shall still be held by it hereunder, togeiher with appropriate iustruments of reassignment
                                                                                                      and
                                                                                                 through
    release. Any such reassignment shall be fi'ee and clear of all Liens, alising by, under or
                                    be  without lecourse upon   or wailanty  by  the  Lender  and  at the
    the Lender 6ut shall otherwise
     expense of the Pledgors.

                                            ARTICLE 13
                                   EVENTS OF DEFAULT; REMEDIES

            13.1  Events of Default. It shall constitute an event of default ("Event of Default")       if
    any one or more of the following shall occur for any reason:

                    (a)       Failure of the Bonower to pay the principal of or interest on any of the
     Loan obligations when the same becomes due, whether upon demand or otherwise;

                     (b)   Failure by the Borrower to pay any fees, expenses, or any other Loan
     Obligation      oiherwise specified in the foregoing clause "(a)" within five (5) Business Days
                 'otdate such item is due, whether upon demand or otherwise;
     folloiving the
                                                      69

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                           Desc
                               Main Document    Page 223 of 365




                    (c) Any representation or warranty made by any of the Credit Parlies in this
   Agreement or in any of the other Fundamental Documents, in each case to which it is a pafiy,
   any financial statement, or any reporl furnished by any Credit Parly at any time to the Lender,
    shall prove to be untrue in any material respect as of the date on which made or furnished;

                    (d)     Failure of any Credit Party to comply with any other covenant on its part
    to be performed under this Agreement or any of the other Fundamental Documents, in each case
    to which it is a party, and such failure if capable of cure is not cured within ten (10) Business
    Days after the eailieit of the knowledge of, or any written notice is given to, such Credit Parly of
    such failure;

                    (e)     Failure of any Credit Parly, any Subdistributor or any other Person parly
    to a Fundamental Document to perform or observe any material agreement, covenant,
    lepresentation ol' warranty under (as applicable) any of the Fundamental Documents, in each
    caie to which any -insuch Person is
                                        a party, or any other document or agfeement entered into by
    any such Person       connection with or related to the Film, and such failure if capable of cure is
    noi cured within thirty (30) Business Days after the earliest of the knowledge of, or any written
    notice is given to, such Person ofsuch failure;

                    (0    Any Credit Party or any predecessor'-in-interest to any Credit Party with
    respect to the Film shall becorne insolvent; or admit in writing its inability to pay its debts as
    they rnature; or make an assignment for the benefit of creditors; or apply for or consent to the
    appointment of a receiver or trustee for it or for a substantial part of its property or business, or if
    rui6 u receiver or trustee otherwise shall be appointed; or bankruptcy, insolvency, reorganization
    or liquidation proceedings or other proceedings for relief under any bankruptcy law or any law
    for the relief oi debtors shall be instituted by any Credit Party or any such Person;

                    (g)      Any final, non-appealable money judgment, writ or walTant of attachment,
    reference pro.""di.tg award or similar process shall be entered or filed against any Credit Party
    or any malerial portion of its assets, or any Credit Party enters into any settlement agreement
    with iespect to any litigation or reference proceeding, in an aggregate amount greater than Two
    Hundred Fifty Thousand Dollars ($250,000) (after taking into account the amount, if any,
    covered by independent third-par1y insurance) which shall remain unvacated, unbonded or
    unstayed fl. u p"tiod of thirty (30) days; an involuntary bankruptcy, insolvency, reolganization
    or licluidation proceedings or other proceedings for relief under any bankruptcy law or any law
    fbr the relief of debtorsihall be instituted against any Credit Party, Universal or Amazon, and
     such proceeding shall not be dismissed within thirty (30) days after its commencement, or an
     order^for relief against any such Person shall have been entered in such proceeding, or any order,
    judgment or deciee shall be entered against any such Person decreeing its dissolution or division,
     ptoiiA.a that the Lender shall not be obligated to extend any Loans to the Bonower during such
     period; or

                     (h)   A bankruptcy, insolvency,reorganization, liquidation or other proceedings
     for relief under any bankruptcy law or any law for the relief of debtors shall be instituted by or
     against any Credit Party or, in the case of SFD, if any bankruptcy proceeding shall be instituted
     b! or against SFD and (I) the Distribution Agreement is rejected pursuant to Sectiou 365 of the
     ReviseJBankruptcy Code and (II) the order granting such rejection (or any related order entered
                                                       70

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR                 Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                     Main Document    Page 224 of 365




   in the applicable proceeding) does not preserve the rights of the Bonower under Section 365(n)
   of the Revised Bankruptcy Code with respect to the Distribution Agreement; or

                     (i) Any sale or agreement to sell, any material porlion of (i) the Boffower's
   Credit    party Collateral or (ii) any Credit Parly's interest in the Film (including any Proceeds
   thereof), *i.rl"t-r is not rescinded or otherwise prevented, and which is not otherwise expressly
   p"r-ttritteO by this Agreement or in any of the other Fundamental Documents, without the
   Lender's approval, which shall not be umeasonably withheld;

                    0)         Any of the following occurring which would have a Material           Adverse
    Effect on the Lelder's rights or remedies hereuuder, this Agreement or any other Fundamental
    Document or any other instrument delivered hereunder or thereunder shall at any tirne after its
    execution and delivery and for any reason cease to be in full force and effect, or shall be declared
    to be null and void, or the validity or enforceability thereof shall be contested by any pafiy
    thereto other than the Lender, or any party other than the Lender shall deny that it has any further
    obligation ulder this Agreement or any other Fundamental Document or any other instrument
    delivered hereunder or thereunder, and such event is not cured within three (3) Business Days
    after notice thereof by the Lender to the Credit Parties;

                     (k)           Any of the following occurring which would have a Material Adverse
    Effect on the Lender's rights or remedies hereunder, any Credit Party, Universal or Amazon fails
    to, or fails to confinn in writing, upon request by the Lender, that it will perform or observe any
    material covenant or agreement contained in any of the Fundamental Documents, in each case to
    which such Person is a party and, if capable of cure, such event is not cured within three (3)
    Business Days after the eariiest of the knowledge of, or any written notice is given to, such
    Person of such failure;

                     (l)    Any Guaranty of any portion of the Loan Obligations shall be detennined
    to be ineffective, terminated, revoked, or declared void or invalid;

                     (m)           A Material Adverse Effect on any Credit Party or Universal shall occur;

                     (n)    (i) Any of the Security Documents shall for any reason, other than to the
    extent expressly consented to or authorized in writing by the Lender, not be or shall cease to be
    in full foice and effect or. shall be declared null and void or any of the Security Documents shall
    not give or shall cease to give the Lender the Liens, rights, powers and privileges purported to be
    .r"uld thereby in favor o? the Lender, superior to and prior to the rights of all third Persons and
    subject to rio other Liens (except to the extent constituting a Permitted Lien), or (ii) the validity
    or enforceability of the Liens granted, to be granted, or putpotled to be granted, by any of the
    Security Documents shall be contested by any other Person;

                     (o)   Any other Event of Default occurs and such event is not cured within ten
     (10) Business Days of the earlier of (1) any Credit Patly receiving notice of the occurrence of
     arry such event, and (2) an officer or manager of a Credit Party obtaining knowledge of
                                                                                                       the

     o".ur"r-r." of any such event; provided that, irrespective of such cure period listed in this clause,
     any such Event of Default must be cured before the date that is sixty (60) days prior to the
     Maturity Date;

                                                            7l
     LEGAL_US_W # 95804807,   I7
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                Main Document    Page 225 of 365




                   (p) (i) failure by any Credit Parly or            ERISA Affiliate     to   make any
   contr.ibutions required to be made to a Plan subject to Title lV of ERISA or Multiemployet' Plan,
   (ii) any failure to satisfy the minirnum funding standard (within the meaning of Section 412 of
   the Code or section 302 of ERISA) shall occur with respect to any Plan (whether or not waived),
   (iii) the present value of all benefits under all Plans subject to Title IV of ERISA (based on those
   assumptions used to fund such Plans) exceeds, in the aggregate, as of the last annual valuation
   date applicable thereto, the actuarial value of the assets of such Plans allocable to such benefits,
    (iu) any Credit Party or ERISA Affiliate shall have been notified by the sponsor of                a

    Multiemployer Plan that it has incurred Withdrawal Liability to such Multiemployer Plan, or that
    a Multianpioyer Plan is in reorganization or is being terminated, (v) a Reportable Event with
    respect to a pian shall have occuned, (vi) the withdrawal by any Credit Party or ERISA Affiliate
    from a plan during a plan year in which it was a substantial employer (within the meaning of
    Section 00l(a)(2f or 4062(e) of ERISA), (vii) the termination of a Plan, or the filing of a notice
    of iltent to  terminate a Pla1, under Section 4041(c) of ERISA, (viii) the institution of
    proceedings to terminate, or the appointment of a trustee with respect to, a Plan by the PBGC,
                                                                              uuder Section 4042(a) of
    ii*; uny other event or condition which could constitute grounds to              any Plau, or (x) the
    iRISR-for the tennination of, or the appointment   of a trustee     administer,
    irnposition of a Lien pursuant to Section 430(k)  of the  Code  or  Section  303(k)  of ERISA as to
    any Credit  parly or EfuSe Affiliate, in each case to the  extent  that any of the foregoing  would,
    iniividually or in the aggregate, reasonably be expected    to result  in a Material Adverse   Effect
    upon the Borrower or any other Credit Pafiy;

                    (q) (i) An ERISA Event occurs with respect to a                   Pension Plan or
    Multienploy", Flun whicl'r has resulted or could reasonably be expected to result in liability of
    any Credit party under Title IV of ERISA to the Pension Plan, Multiemployer Plan or the PBGC
    that either individually or in the aggregate could reasonably be expected to have a Matelial
    Adverse Effect, or (ii) the Credit Parties or any ERISA Affiliate fails to pay when due, after the
    expiration of any applicable grace period, any installment payment with respect to its
    Withdrawal Liability uirder Section 4201of ERISA under a Multiemployer Plan and any Credit
    party becomes subject to liability in an aggregate amount in excess of the Threshold Amount
    then, i1        .rr"h event (other than an event specified in clause (g) or (h) above) and at auy
             "u"ry
    time thereafter duling the continuance of such event, the Lender rnay take any or all of the
    following actions, at the same or different times: (x) terminate fofthwith the Lender's
    cornmitdent to make Advances under this Agreement and/or (y) declare the principal of and the
     interest on the Loans and the Notes and all other amounts payable hereunder or thereunder to be
     fbrthwith due and payable, whereupon the same shall become and be forthwith due and payable,
     without presentrnent, demand, proiest, notice of acceleration or other notice of any kind, all of
     which aie hereby expressly waived, anything in this Agreement or in the Note to the contrary
     norwithstanding;

                    G)        A Change ofControl occurs; or

                     (s)      An ,,Event of Def'ault"   occurs under any     of the other     Fundamental
     Docurnents.

             13,2    Remedies


                                                      '72

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                   Main Document    Page 226 of 365




                   (a) If an Event of Default       exists, the Lender may, in its discretion, without
   notice to or demand on the Credit   Pafties, restrict  the amount of or refuse to make Advances. If
   an Event of Default exists, the Lender may,    in its  discretion,  do one or mol'e of the following in
   addition to the actions described in the preceding    sentence,  at any time or times and in any order,
   without notice to or demand on the Credit Parlies:        (i) terminate the Lender's commitment to
   make Advances under this Agreement; (ii) declare any or all Loan Obligations to be immediately
   due and payable; and (iii) pursue its other rights and remedies under the Fundamental Documents
   and Applicable Law. The foregoing shall not be construed to limit the discretion of the Lender
   to take any actions described above at any other time.

                    (b) If any Event of Default exists the Lender shall have, in addition to all
    other rights of the Lender hereunder and/or any other Fundamental Document, the rights and
    remedies of a secured parly under the UCC. The Lender may require the Credit Parties to
    assemble the Collateral and make it available to the Lender at a place or places to be designated
    by the Lender.

                    (c)        any Event of Default exists the Lender may, in its sole discretion, in its
                              If
    name or in the name of the applicable Credit Paffy, or otherwise, demand, sue for, collect or
    receive any money or property at any time payable or receivable on account of or in exchange
    for, or make any compromise or settlement deemed desirable with respect to, any of the
    Collateral, but shall be under no obligation so to do, or the Lender may extend the tirne of
    payment, arrange for payment in installments, or otherwise modify the term of, or release' any of
    itt" Cottut.ral, without thereby incurring responsibility to, or discharging or otherwise affecting
    the liability of, the Credit Parties. The Lender will not be required to take any steps to preserve
    a1y rights against prior parties to the Collateral. If the Credit Parties fail to make payment or take
    any action required under any of the Fundamental Documents to which it is a par1y, the Lender
    may make ru.h puy*"nts and take all such actions as the Lender deems llecessary to protect the
    Lender's Lien in the Collateral and the value thereof. The Lender is hereby authorized (without
     lirniting the general nature of the authority hereinabove conferred) to pay, purchase, and contest
     o1. ,oropro-iie any Liens which the Lender believes appear to be equal to,
                                                                                      prior to or superior to
     the Lien of the Lender in the Collateral.

                    (d)      If any Event of Default exists the Lender may, without notice or demand
    or legal process,  enter  upon any premises, or wherever any portion of the Collateral may be, and
    take posiession   of the  Collateral together with all additions and accessories thereto, demand and
    receive such  possession    from any person who has possession thereof, remove, keep and store the
    Collateral or any    portion   thereof, or put a custodian in charge thereof, and take such other
    measures as it may deem reasonably necessary or proper for the care or protection thereof.

                    (e) If a1y Event of Default exists, the Lender may, with or without taking
    possession thereof, sell, lease, license, or cause to be sold, or othetwise disposed of, at such price
    ^or
        prices as the Lender shall in its sole and absolute discretion so detetmine, and for cash or on
     .r.dit o, for future delivery, without assumption of any credit risk,      and in a commercially
    reasonable mallner, all or any portion of the Collateral,             public or private disposition
                                                                     at. any
    thereof, without demand of performance or notice of intention to sell or of time or place of sale;
    plg-yidg.d, however, that unless the Collateral in the Lender's possession is perishable or threateus
    to O."f*. speedily in value or is of a type customarily sold on a recognized market, the Lender
                                                        '73

     LECAL US W#95804807.17
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                Desc
                                Main Document    Page 227 of 365




   shall give the Credit Parties notice of the time and place of any public disposition thereof or of
   the time after which any private disposition thereof is to be made. The requirement of notice
   shall be met if notice of disposition is delivered or mailed, by registered mail, postage prepaid, to
   the Credit Parties as set forth in Section 15.6 hereof or such other address as the Credit Parties
   may by notice have furnished the Lender in writing for such purpose, at least ten (10) days prior
   to ihe time of such disposition. Each acquirer at any such disposition (including, if applicable,
   the Lender) shall hold the property acquired absolutely free from any claim or right of whatever
   kind including any equiry of redemption and each of the Credit Parties hereby waives (to the
    extent permitted by law) all rights of redemption, stay and/or appraisal which it now has or may
   have ai any time in the future under any rule of law or statute now existing or hereafter enacted.
    Any public or private disposition of the Collateral or any part thereof shall be held at such time
    o1. ii*", within ordinary business hours and at such place or places as the
                                                                                       Lender may fix iri the
    notice of disposition. At any such disposition, the Collateral,          or  any  portion     thereof, to be
    disposed of may be disposed of in one lot as an entirety or in separate       parcels,  as the   Lender may
    (in its sole discretion) detemrine and, if permitted by law, the Lender may           bid  (which   bid may
    be, in whole or in part, i1 the form of cancellation of indebtedness) for and                   purchase   the
    Collateral or any porlion thereof for the account of the Lender. The Lender shall not be obligated
    to make any disposition of the whole or any part of the Collateral if it shall determine not to do
    so, regardless oi the fact that notice of disposition of the Collateral may have been given. The
    Len6er- may by announcement at the time and place fixed for disposition, without
                                                                                                  prior notice or
    publication, ui;outn   any  public  or private  disposition   of the Collateral  or cause    the  same to be
    ad.lourned from time to    time, and   such  disposition  may,   without  further  notice,  be   rnade  at the
    time and place to which the same     was   so adjourned.   In case a disposition  of  all or  any  part of the
     Collaterai is made on credit or for   future  delivery, the  Collateral so  sold may    be  retained   by the
                                                             or purchasers  thereof,  but the  Lender    shall not
     Lender until the sale price is paid by  the purchaser
     incur any liability in case any such purchaser or purchasers shall fail to take up and pay for the
     Collateral so disposed of and, in case of any such failure, such Collateral may be sold again upon
     like notice.

                     (0   Any Laboratory which has possession of any of the Collateral is hereby
    colstituted a1d appoint"d by tn" Credit Parlies as pledgeholder for the Lender. If any Event of
    Default exists the Lender may authorize each such pledgeholder to sell all or any porlion of the
    Collateral upon the order and direction of the Lender, and the Credit Pafiies hereby waive any
    and all claims for darnages, or otherwise, for any action taken by such pledgeholder.]

                     (g) If      any Ever-rt of Default exists the Lender shall be entitled to                 the
    appointment of a receiver to take possession of all or any portion of the Collateral and to exercise
    ,u.h po*"r. as the courl shall confer upon the receiver. Each of the Credit Pafties, to the fullest
                                                                                                      by
    exteni permitted by law, hereby waive notice and the right to receive notice of any application
    the Lender for such appointrnent;  plqvidgd,  however,  that, notwithstanding  any  such application
    or appointment, the iender shall be entitled to apply, without notice to the Credit Parties, any
         o. cash items constituting Collateral in the possession of the Lender to payment of the Loan
    "urh
    Obligations.

                     (h)   Upon any disposition of any item of Collateral by the Lender hereunder
     (whether by virtue of the power of attorney herein granted, pursuant to judicial process or
                                                                                             sufficient
     otherwise), the receipt of the Lender or the officer rnaking the disposition shall be a
                                                          74

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                   Desc
                                   Main Document    Page 228 of 365




   discharge to the purchaser or purchasers of such item or items of Collateral so sold and such
   purchaser or purchasers shall not be obligated to see to the application of any part of the
   purchase money paid over to the Lender or such officer or be answerable in any way for the
   misapplication or non-application thereof.

                   (i)     any Event of Default exists the Lender is hereby authorized, at any time
                              If
    any Event of Default has occured and is continuing, without notice to the Credit Parties (any
    such notice being expressly waived by the Credit Parties), to setoff and apply any and all
    deposits (general or special, time or demand, provisional or final) at any time held, any
    ceitificate'of deposit, utrd uny other indebtedness at any time owing by the Lendel to or for the
    credit or the account of any of the Credit Parties against any and all of the Loan Obligations,
    irrespective of whether or not the Lender shall have made any demand under this Agreement, the
    Note or any other Fundamental Document, The Lender agrees promptly to notify the Credit
    parties after any such setoff and application. The rights of the Lender under this
    Subsection 12.2(ij are in addition to other rights and remedies (including, without limitation,
    other rights of setoff) which the Lender may have.

            13.3    Cumulative Remedies: No Prior Recourse to Collateral. The enumeration herein
    of the Lender'r .ightr and remedies is not intended to be exclusive, and such rights and remedies
    are in addition to and not by way of limitation of any other rights or remedies that the Lender
    may have under the UCC or other Applicable Law. The Lender shall have the right, in its sole
    discretion, to detennine which rights and remedies are to be exercised and in which order. The
    exercise of one right or remedy shall not preclude the exercise of any others, all of which shall be
    cumulative. The Lelder may, without limitation, proceed directly against the Credit Parties to
    collect the Loan Obligations without any prior recoufse to the Collateral.

            13.4   Failure or Indulgence Not Waiver. No failure or delay on the part of the Lender
    or any holder of any Note in the exercise of any power, right, remedy or privilege under this
    Agreement, the Not-e(s) or any of the other Fundamental Documents shall operate as a waiver
    thlreof, nor shall any single or partial exercise of any such power, right, remedy or privilege
    preclude any other oi furth.r exercise thereof or of any other right, power, remedy or privilege.
    itt .ightr and remedies existing under this Agreement, the Note(s) and the other Fundamental
    Documents are cumulative to, and not exclusive of, any rights or remedies otherwise available.

            13.5     performance of Obligations. If any Credit Party shall fail to do any act or thing
    which it has covenanted to do hereunder, under any other Fundamental Document, or if any
    representation or warranty of any Credit Party under any such agreement shall be breached, the
    Lender may (but shall noi be obligated to), perfotm such act or thing on behalf of the applicable
    Credit party or cause it to be done or remedy any such breach, and there shall be added to the
    liabilities oi the Credit parties secured hereunder the cost or expense incuned by the Lender in so
    doing, and any and all amounts expended by the Lender in taking any such action shall be
    repalable to ii upon demand being made to the Credit Parlies therefor and shall bear interest at
    the rate of interest then applicable to the Loans made to the Bonower hereunder from and
    including the date advanced to the date of repayment'




                                                     75

     LECAL US W#95804807.17
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                              Main Document    Page 229 of 365




                                          ARTICLE 14
                                    TERM AND TERMINATION

            14,1   Termination.

                  (a) The Lender may terminate this Agreement with riotice to the Credit Parties
   upon the occuffeuce of an Event of Default. This Agreement shall also terminate when all Loan
   Obligations have been fully and indefeasibly paid and performed and the Lender's commitment
   to make Advances under this Agreement has been tetminated. Upon the effective date of
   termination, all Loan Obligations shall becorne imrnediately due and payable in full.
   Notwithstandilg such termination, the Credit Parlies shall remain bound by all of the tenns and
   conditions of this Agreement until the Loan Obligations have been indefeasibly paid in full in
    cash,

                    (b)   Upon the iridefeasible payment in full of all Loan Obligations and the
    tennination of the Lelder's commitment to make Advances under this Agreement, the Lender
    shall, at the Credit Parlies' request and expense, (i) assign and deliver to each Credit Party, and
    each Credit Parly shall provide a receipt for, all Collateral in which the Lender shall have any
    interest hereunder or which shall then be held by the Lender or in its possession and, if requested
    by any Credit Party, the Lender shall execute and deliver to such Credit Party, at the Credit
    parties' expense, for filing in each office in which any financing statement relative to the
    Collateral, br uny part thereof, shall have been filed, termination statements under the UCC and a
    quitclaim and assignment of the Lender's rights under each Copyright Mortgage and Assignment
    rLleasing the Lender's Lien therein, and any other similar acts that are reasonably requested by
    any Credit Party (including, without limitation, the termination and release, as applicable, of the
    Account Contiol Agreement, the Account Control Agreement Assignment, the Collection
    Account Control Agreement, the Collection Account Control Agreement Assignment, the
    Temerity Guaranty bocuments, the Guaranty under Article 8 hereof and the pledge of the
    pledged Collaterai under Article 12 hereof;, and (ii) provide written notice to Universal,
    Ama-zon, any other Subdistributors and any Laboratory (if applicable) of such repayment and
    termination and the termination of the Lender's interest in the Film, in each case all without
    recourse upon or warranty by the Lender and at the sole cost and expense of the Credit Parties.

                                              ARTICLE      15
                                           MISCELLANEOUS

            15.1    Severability. In case any provision of this Agreement, the Note or of any other
    Fundamental    Document   shall be invalid, illegal or unenforceable in any jurisdiction then, as to
    such jurisdiction only, such provision shall to the extent of such prohibition or unenforceability
    be deemed severed frorn the remainder of such agreement and the validity, legality and
    enforceability of the remaining provisions shall not in any way be affected or impaired thereby'

             15.2   Governing Law. This Agreement and the other Fundamental Documents and all
     other documents provided for therein and the rights and obligations of the parties thereto shall be
     governed by and construed and enfotced in accordance with, the laws of the state of California
     without reference to its conflict or choice of law principles.


                                                     76
     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                    Desc
                                   Main Document    Page 230 of 365




            15.3 Jurisdiction. Except as otherwise provided in Section 15,4 hereof, any legal
    action or proceeding with respect to this Agreement, the other Fundamental Documents or any
    other agreement, docunent or other instrument executed in connection herewith or therewith, or
    any action or proceeding to execute or otherwise enforce any judgment obtained against the
    Credit Parties or any of its properties, may be brought in the courts of the state of Califomia in
    Los Angeles County, California, or in the federal courts of the United States for the Central
    District of California, as the Lender may elect, provided always that suit also may be brought in
    the courts of any country or place where the Credit Parties or any of its assets may be found, and,
    by execution and delivery of this Agreement, the Credit Parties irrevocably submit to each such
    jurisdictiori. The Credit Parties irrevocably waive any objection which it may now or hereafter
    have to the venue of any suit, action or proceeding, arising out of or relating to this Agreement,
     the other Fundamental Documents or any other agreement, document or other instrument
     executed in connection herewith brought in the courts of the state of Califomia in Los Angeles
     County, Califomia, or in the federal coutls of the United States for the Central District of
    Califomia, and hereby further irrevocably waives any claim that any such suit, action or
    proceeding brought in any such court has been brought in an inconvenieut forum.

             15,4    ReferenceProvision.

                     (a) All controversies,     claims, disputes, causes of action and counterclaims,
    including any claim based on or arising from an alleged tort, (each, a "Claim") arising out of or
    relating to this Agreernent or any other agreement, document or other instrument contemplated
    hereby, which Claim is not settled within ten (10) calendar days after the date on which any party
    gives written notice to all other parties to this Agreement that a Claim exists (the "Claim Date")
    shall be resolved pursuant to the provisions for reference and trial by referee (without jury) set
    forlh in Section 638 et seq. of the California Code of Civil Procedure (the "CCP"), or their
    successor sections. The reference proceeding herein contemplated shall be the exclusive remedy
    for the resolution of any Claim (including, but not limited to, whether or not any Claim is subject
    to reference hereunder). Except as set forth above, each of the parties hereby absolutely,
    irrevocably and unconditionally waives (i) its rights to initiate any legal proceedings against the
    other party(ies) in any court or jurisdiction other than the Superior Court of Los Angeles (the
    "Court") and (ii) trial by jury with respect to any Claim. The referee ("Referee") shall be a
    retired Judge of the Court selected by mutual agreement of the pafties, and if they cannot so
    agree withiri thirty (30) days after the Claim Date, the Referee shall be promptly selected by the
    Presiding Judge of the Courl (or his or her representative). A request for appointment of a referee
    may be heard on an ex parte or expedited basis, and the parlies agree that irreparable hann would
    result if ex parte relief is not granted. Pursuant to CCP $ 170.6, each party shall have one
    peremptory challenge to the Referee selected by the Presiding Judge of the Court (or his or her
    representative). The Referee shall be appointed to sit as a temporary judge, with all of the powers
    of a temporary judge, as authorized by law, and upon selection should take and subscribe to the
    oath of office as provided for in Rule 244 of the California Rules of Court (or any subsequently
    enacted Rule). The parties agree that time is of the essence in conducting the reference
    proceeding. Accordingly, the Referee shall (a) be requested to set the matter for hearing within
    sixty (60) days after the date of selection of the Referee, (b) try any and all issues of law or fact
    and reporl a statement of decision upon them, if possible, within ninety (90) days of the Claim
    Date and (c) report a statement of decision within twenty (20) days after the matter has been
    subrnitted for decision. Any decision rendered by the Referee shall be final, binding and
                                                     77
     LEGAL_US_W # 95804807,   I7
Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                                       Main Document    Page 231 of 365




    conclusive and judgrnent shall be entered pursuant to CCP $ 644 in any court in the state of
    California having jurisdiction. Any party may apply for a reference proceeding at any time after
    ten (10) days following the Claim Date, by filing a petition for a hearing or trial. All discovery
    permitted by this Agreement shall be completed no later than fifteen (15) days before the first
    hearing date established by the Referee. The Referee may extend such period if a pafiy refuses
    to provide requested discovery for any reason whatsoever, including, without limitation, legal
    objections raised to such discovery or unavailability of a witness due to absence or illness. No
    party shall be entitled to "priority" in conducting discovery. Depositions may be taken by either
    party upon seven (7) days written notice, and request for production or inspection of documents
    shall be responded to within ten (10) days after service. All disputes relating to discovery which
    cannot be resolved by the parties shall be submitted to the Referee whose decision shall be final
    and bindir,g upon the parties. Pending appointment of the Referee as provided herein, the Court
    is empowered to issue temporary or provisional remedies, as appropriate. Subject to the
    Referee's power to require the losing palty to pay all fees and expenses, the fees and expenses of
    the Referee shall be borne equally by the parties.

                    (b) Except as expressly set forth in this Agreement, the Referee shall
    determine the  manner    in which the reference proceeding is conducted rncluding the time and
    place of all hearings, the order of preser-rtation of evidence, and all other questions that arise with
    respect to the coul'se of the reference proceeding. All proceedings and hearings conducted
    before the Referee, except for trial, shall be conducted without a court repofter except that when
    any parly so requests, a court repofter will be used at any hearing conducted before the Referee.
    The party rnaking such a request shall have the obligation to affange for and pay for the court
    repofter. Subject to the Referee's power to require the losing parly to pay all costs, the costs of
    the court repoder at the trial shall be borne equally by the pafties.

                    (c)     The Referee shall be required to determine all issues in accordance with
    existing case law and the statutory laws of the state of California. The rules of evidence
    applicable to proceedings at law in the state of California shall be applicable to the reference
    proceeding. The Referee shall be empowered to enter equitable as well as legal relief, to provide
    all temporary or provisional remedies and to enter equitable orders that shall be binding upon the
    parties. The Referee shall issue a single judgment at the close of the reference proceeding which
    shall dispose of all of the claims of the parlies that are the subject of the reference. The parties
    hereto expressly reserve the right to contest or appeal from the final judgment or any appealable
    order or appealable judgment entered by the Referee. The parties hereto expressly reserve the
    right to findings of fact, conclusions of laws, a written statement of decision, and the right to
    move for a new trial or a different judgment, which new trial, if granted, is also to be a reference
    proceeding under this provision.

                     (d)     The Referee's decision shall provide for payment by the losing party (i.e.,
    the party or parties against whom the decision is rendered) of the fees and costs incured in
    connection with said proceeding, as well as the outside attorneys' fees and costs incurred by the
    prevailing pafties (i.e,, all parties to the proceeding other than the losing party)'

                     (e)  the enabling legislation which provides for appointment of a Referee is
                                  If
    repealed (and no successor statute is enacted), any dispute between the parlies that would
    otherwise be determined by the reference procedure herein described shall be resolved and
                                                      78
    LEGAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                Main Document    Page 232 of 365




    detennined by arbitration. The arbitration shall be conducted by a retiled judge of the Couft, in
    accordance with the California Arbitration Act, $ 1280 through I 1294.2 of the CCP as amended
    from time to time. The limitations with respect to discovery as set forth hereinabove shall apply
    to any such arbitration proceeding.

                   (0       Nothing in this section shall prejudice the right of the Lender to exercise
    its non-judicial foreclosure rights and remedies in respect of the Collateral, or prejudice the right
    of either parly to obtain provisional relief or other equitable remedies as shall otherwise be
    available judicially pending reference of a dispute to a Referee as provided in this Section.

                  THE PARTIES RECOGNIZE AND AGREE THAT ALL CLAIMS
                    (g)
    RESOLVED UNDER THIS REFERENCE PROVISION WILL BE DECIDED BY A
    REFEREE AND NOT BY A JURY. AFTER CONSULTING (OR HAVING HAD THE
    oppoRTUNITY TO CONSULT) WITH COUNSEL OF ITS, HIS OR HER OWN CHOICE,
    EACH PARTY KNOWINGLY AND VOLUNTARILY, AND FOR THE MUTUAL BENEFIT
    OF ALL PARTIES, AGREES THAT THIS REFERENCE PROVISION WILL APPLY TO
    ANY CLAIM BETWEEN OR AMONG THEM ARISING OUT OF OR IN ANY WAY
    RELATED TO, THIS AGREEMENT, THE LOAN OBLIGATIONS OR THE OTHER
    FLINDAMENTAL DOCUMENTS.

                    (h)       Service             Service of process in any reference or other
                                        of Process.
    proceeding (inclu<ling proceedings to judicially confirm any reference award) may be made in
    ih" -unn". provided in Section 15.6 hereof and shall be deemed effective as provided therein.
    Each of the parties hereto waives application of the procedures for service of process pursuant to
    the Hague Convention for Service Abroad of Judicial and Extrajudicial Documents in Civil or
    Commercial Matters.

                    (i)     waiver of Jury Trial. Etc. THE BORROWER, THE OTHER CREDIT
    PARTIES AND THE LENDER HEREBY WAIVE ANY RIGHT TO TRIAL BY JURY. THE
    BORROWER FURTHER WAIVES ANY RIGHTS OF SETOFF, AND THE RIGHT TO
    IMPOSE COUNTERCLAIMS (OTHER THAN THOSE RIGHTS OF SETOFF AND
    COUNTERCLAIMS ARISING SOLELY AND DIRECTLY FROM THE FILM OR THIS
    AGREEMENT) IN ANY LITIGATION IN ANY COURT WITH RESPECT TO, IN
    CONNECTION WITH, OR ARISING OUT OF THIS AGREEMENT, THE OTHER
    FLINDAMENTAL DOCUMENTS, THE LOAN OBLIGATIONS OR THE COLLATERAL,
    OR ANY INSTRUMENT OR DOCUMENT DELIVERED PURSUANT HERETO OR
    THERETO, OR ANY OTHER CLAIM OR DISPUTE HOWSOEVER ARISING, BETWEEN
    THE BoRRowER OR ANY OTHER CREDIT PARTY AND THE LENDER). ThE PATtiCS
    hereto prefer that any dispute between them to be resolved pursuant to litigation be subject to a
    jury trial waiver as set forth in this Section 15.4'

                     u)       waiver with Respect to Damages. TO THE FULLEST EXTENT
     PERMITTED BY APPLICABLE LAW, NO PARTY SHALL ASSERT, AND EACH PARTY
     HEREBY WAIVES, ANY CLAIMS AGAINST THE OTHER PARTY, OR ANY OF THEIR
     RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS AND ADVISORS, ON
     ANY THEORY OF LIABILITY FOR SPECIAL, INDIRECT, CONSEQUENTIAL                                     OR
     PUNITIVE DAMAGES (AS OPPOSED TO DIRECT OR ACTUAL DAMAGES) ARISING
                                                      79
     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                   Desc
                                 Main Document    Page 233 of 365




    OUT OF, IN CONNECTION WITH, AS A RESULT OF, OR OTHERWISE RELATING TO
    THIS AGREEMENT, ANY OTHER FLTNDAMENTAL DOCUMENTS OR ANY
    AGREEMENT OR INSTRUMENT CONTEMPLATED HEREBY OR THEREBY, OR ANY
    OF THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY, REGARDLESS OF
    THE FORM OF ACTION AND WHETHER OR NOT SUCH DAMAGES WERE
    FORESEEABLE OR CONTEMPLATED.

                      (k)Expenses and Fees. The Credit Parties shall pay in cash all reasonable,
    docurnented and actual out-of-pocket costs and expenses, including reasonable and documented
    attomeys' fees incurred by the Lender after the Closing Date in connection with any action
    requested by any Credit Party to be performed by the Lender in connection with any of the
    Fundamental Documents and, from and after the occutrence of an Event of Default, all other
    reasonable, documented and actual out-of-pocket costs and expenses, including reasonable and
    documented attorneys' fees and out-of-pocket court costs incurred by the Lender in connection
    with this Agreernent, the other Fundamental Documents and the Film, including, without
    limitation, reasonable and documented costs and expenses of preseruing and protecting the
    Collateral, costs and expenses (including reasonable and documented outside attomey's fees and
    out-of-pocket disbursements) paid or incuned to obtain payment of the Loan Obligations,
    enforce the Lender's Liens, sell or otherwise realize upon the Collateral and otherwise enforce
    the provisions of the Fundamental Documents or to defend any claims made or threatened
    against the Lender arisirig out of the transactions contemplated hereby, and in conuection with
    the enforcement of the rights of the Lender thereunder or in connection with the realization upoll
    any Collateral.

                    (l) Any and all payments (including payments of principal, interest and all
    fees) by the Credit Parlies hereunder shall be made free and clear of and without deductiorr for
    any Taxes (other than Excluded Taxes). If the Credit Pafties, the Distributors or any other Person
    shall be required by law to deduct any Indemnified Taxes from or in respect of any sum payable
    hereunder to the Lender, (i) the sum payable shall be increased as may be necessary so that after
    making all required deductions (including deductions applicable to additional sums payable
    under this Section 15.4) the Lender receives an amount equal to the sum it would have received
    had no such deductions been made, (ii) the Credit Parties shall make such deductions aud (iii) the
    Credit Parlies shall pay the full amount deducted to the relevant taxation authority or other
    authority in accordance with Applicable Law.

            15.5      Taxes.

                      (a)      In addition, the Credit Parties shall pay any and all Other Taxes.

                      (b)    The Credit Parties will indemnify the Lender for the full arnount of
    Indernnified Taxes (including, without lirnitation, any Indemnified Taxes irnposed by any
    jurisdiction on amounts payable under this Section 15.5) paid by the Lender and any liability
     (including penalties, interest and expenses) arising therefrom or with respect thereto, whether or
     not such Indemnified Taxes were correctly or legally asserted. This indemnification shall be
     made within thirty (30) days from the date the Lender makes written detnand therefor. The
     Lender shall, at the time of any written demand for indernnification under this subsection (b),


                                                         80
    LEGAL US W#95804807.I7
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                 Main Document    Page 234 of 365




    provide to the Credit Parlies a receipt for, or other evidence of the payment of, the Indemnified
    Taxes for which indemnification is sought.

                   (c)        Within thirty (30) days after the date of any payment of Indemnified
    Taxes, the Credit Parties   will fuinish to the Lender, at its address refered to in Section 15.6, the
    original or a certified copy of   a receipt evidencing payment thereof.

                   (d) Without prejudice to the survival of any other agreement of the Credit
    Parties hereunder, the agreements and obligations of the Credit Parties contained in this
    Section 15.5 shall survive the payment in full of principal and interest hereunder

                  (e) The parties do not intend to form a parlnership for United States federal
    income tax purposes in connection with the transactions contemplated by this Agreement.

                    (0      The Lender shall deliver to the Borrower an executed copy of Internal
    Revenue Service Form W-8BEN-E establishing an exemption from U.S. federal withholding Tax
    pursuant to the "interest" article of an income tax treaty to which the United States is a party and
    with respect to any other applicable payments under any Fundamental Document, executed
    Intemal Revenue Service Forms W-8BEN or W-8BEN-E establishing an exemptiou from, or
    reduction of, U.S. federal withholding Tax pursuaut to the "busittess profits" or "other income"
    afticle of such tax treaty. If the Lender claims the benefits of the exemption for porlfolio interest
    under Section 881(c) of the Internal Revenue Code, the Lender shall deliver to the Borower a
    certificate to the effect that the Lender is not a "bank" within the tneaning of Section
    881(c)(3XB) of the Intemal Revenue Code, or a "controlled foreign corporation" described in
    Section 881(cX3XC) of the Internal Revenue Code.

            15.6 Notices. Except as otherwise expressly provided herein, in order to be effective
    under the temrs hereof, any notice, request, consent, waiver, approval, demand or other
    communication provided for hereunder to be given shall be (i) in writing, (ii) sent to the address
    of the recipient as specified herein, and (iii) delivered by hand, by nationally recognized
    overnight courier (e.g., FedEx, UPS or DHL), by facsimile, or by electronic transmission in
    either i Tagged Image Format File ("TIFF") or Portable Document Format ("PDF") (or, with
    respect to an approval or consent, by electronic transmission without an attachment being
    required). Any such writing so addressed and delivered shall be deemed to have been received by
    the party to which sent on the day of delivery if delivered by harid, or one (l) Business Day after
    being sent by facsirnile (with confinnation of successful transmission issued by sender's
    facsimile machine) or by TIFF or PDF electronic transmission (with confirmation of successful
    transmission issued by sender's email system, and provided that no subsequent delivery failure
    notification is issued by the sender's email system), or one (1) Business Day after being sent by
    nationally recognized overnight courier, and shall be addressed to the parties hereto, as the case
     may be, at their respective addresses:

                    To the Credit Parlies:

                     c/o Aviron Finance, LLC
                     9100 Wilshire Blvd. Suite B00E
                     Beverly Hills, CA 90212

                                                        B1

     LECAL US W#95804807.17
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                     Desc
                                  Main Document    Page 235 of 365




                    Attention: William Sadleir
                    Email: wsadleir@aviron.com

                    With a courlesy copv to:

                    Paul Hastings LLP
                    1999 Avenue of the Stars
                    Los Angeles, Califomia 90067
                    Attention: Mickey Mayerson, Esq. and Nigel Pearson
                    FaxNo.: (310) 620-5865; (310) 620-5832
                    E-mail: mickeyrnayerson@paulhastings,corn; nigelpearson@paulhastings.corn

                    To the Lender:

                    Caim Capital Investment Funds ICAV
                    c/o Cairn Capital Limited
                    27 Knightsbridge
                    London SWIX 7LY
                    United Kingdom
                    Attention: Cairn Legal / Private Credit / Brandon Kufrin / Chris Cottrell
                    Ernail: Caim_Legal@caimcapital.com;Private.Credit.Info@cainicapital.corn;
                    brandon. kufrin@caintcapital. com; Chri s. Cottrell@caimcapital. corn

                    With a couftesy copy to

                    Reed Srnith LLP
                    1901 Avenue of the Stars, Suite 600
                    Los Angeles, California 90067
                    Attention: Michael S. Sherman, Esq. and Moshe Kupietzky, Esq.
                    Email : msherman@reedsmith. com and mkupietzky@reedsmith. com

            15.7    Waiver f Notice. Unless otherwise expressly provided herein, each of the Credit
    Parties waives presentment, protest and notice of demand or dishonor and protest as to any
    instrument, as well as any and all other notices to which it might otherwise be entitled. No
    notice to or demand on the Credit Parties which the Lender rnay elect to give shall entitle the
    Credit Parlies to any or further notice or demand in the same, similar or other circumstances.

             15.8 Successors and Assigns. This Agreement shall be binding upon the parties hereto
    and  their respective successors and assigns, and shall inure to the benefit ofthe parties hereto and
    their respective  successors and assigns; provided, however, that none of the Credit Parlies may
    assign its rights or delegate its duties hereunder or any interest herein without the prior written
    consent of the Lender and any such purporled assignment or delegation shall be null and void.

            15.9 Indemnification. The Credit Parlies shall, at all times, defend and indemnify and
    hold the Lender and its Related Parties harmless from and against any and all liabilities, claims,
    dernands, causes of action, losses, damages, settletnents, judgments or recoveries resulting from
    any alleged or actual breach of the wananties, agreements or covenants made by the Credit

                                                     82

    LEGAL_US_W # 95804807.   I7
Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23               Desc
                                       Main Document    Page 236 of 365




    Parties herein, and from any suit or proceeding of any kind or nature whatsoever against the
    arising fi'om or connected with the transactions contemplated by this Agreetnent, the other
    Fundamental Documents or any of the documents, instrutnents or agreements to be executed
    pursuant hereto or any of the rights and properties assigned to the Lender hereunder', and fi'om
    any suit or proceeding that the Lender may, in the good faith exercise of their business judgment,
    reasonably deern necessary or advisable to institute against any other person or the Credit Parties
    for any reason whatsoever to protect the rights of the Lender hereunder or under the other
    Fundamental Documents, or any rights otherwise granted to the Lender , including outside
    attolxeys' fees and costs and expenses incurred by the Lender, all of which shall be charged to
    and paid by the Credit Parties and shall be secured by the Collateral hereunder; provided,
    however, the Credit Parties shall have no obligation under this Section 15.9 with respect to any
    such event resulting from the Lender's gross negligence oI willful misconduct.

            1   5.   1   0   Assignments and ParticipqlliQlq.

                             (a)
                           The Lender shall have the right at any time to assign to any other Person
    all or any porlion of its rights and obligations under this Agreement without the consent of the
    Borrower or any other Credit Party; provided that the rights under Sections 3.6 and3.7 hereof
    may only be assigned to another fund and/or managed account to which Cairn Capital Limited
    (or any of its Affiliates) provides investment management or advisory services. Upon such
    assignment, the assignee thereunder shall be a pafiy hereto and, to the extent that rights and
    obligations hereunder have been assigned to it, have the rights and obligations of the Lender
    hereunder and, to the extent that rights and obligations hereunder have been assigned by the
    Lender, the LerTder shall relinquish its rights and be released from its obligations under this
    Agreement (and, in the case of an assignment covering all or the remaining porlion of the
    assignilg Lender's rights and obligations under this Agreemeut, the assigning Lender shall cease
    to be a party hereto but shall have the benefit of this Agreement with respect to facts and
    circumstances occurring prior to the date of such assignment). The assigning Lender shall
    execute any amendment, amendment and restatement andlor any other promissory note,
    document and agreement that may be necessary to effectuate such an assignment, including an
    amendment to this Agreement and any other Fundamental Document to provide for multiple
    lenders and an administrative agent to act on behalf of such lenders. Any assignment or transfer
    by the Lender of rights or obligations under this Agreement that does uot comply with this
    subsectionshallbetreatedforpurposesof thisAgreement as a sale by the Lender of                    a
    participation in such rights and obligations in accordance with Subsection 15.10(c).

                             (b)
                           The Lender shall maintain at its address set forth in Section 15.6 a copy of
    the assignment delivered to the Borrower and its and books and records, including computer
    records, in which it shall record the names and addresses of the Lender and the commitment of,
    and prilcipal amount of the Loans owing to, the Lender from time to time (the "Register"). The
    entries in the Register shall constitute rebuttably presumptive evidence, absent tnanifest error
    subject to the Borrower's right to review under Section 4.8, of the accuracy of the information
    coniained therein, and the Borower and the Lender may treat each Person the name of which is
    recorded in the Register as a Lender hereunder for all purposes of this Agreement. The Register
    shall be available for inspection by the Botrower at any reasonable time and fi'orn time to time
    upon reasonable prior notice.

                                                                83

     LEGAL_US_W # 95804807.1       7
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                               Main Document    Page 237 of 365




                    (c) The Lender may at any tirne, without the consent of the Borrower or any
    other Credit  Pafty, grant parlicipations in all or any parl of its rights and obligations under this
    Agreement    to  one  (1) or more other Persons (each, a "Participating Lender"); plovtded,
    however, that  (i) the Lender's obligations under this Agreement shall remain unchanged, (ii) the
    Lender shall remain solely responsible to the other parties hereto for the performance of such
    obligations, (iii) the Lender shall remain the holder of the Note for all purposes under this
    Agreement, (iv) the Borrower and the other Credit Parties shall continue to deal solely and
    directly with the Lender in connection with the Lender's rights and obligations under this
    Agreement and the other Fundamental Documents. Any agreement or instrument pursuant to
    which the Lender sells a participation, at the Lender's election in its sole and absolute discretion,
    shall provide that the Lender retains the sole right to enforce this Agreernent and the other
    Fundamental Documents and to approve any amendment, modification or waiver of any
    provision of this Agreement or any other Fundamental Document. In connection with any
    participation pursuant to this Subsection, the Lender may provide on a confidential basis, to any
    prospective Participating Lender, such infotmation pertaining to the Borower or any other
    Credit Parly as the Lender may deem appropriate. Each Lender that sells a participation shall,
    acting solely for this purpose as a non-fiduciary agent of the Bonower, maintain a register on
    which it enters the name and address of each pafticipant and the principal amounts (and stated
    interest)   of each parlicipant's interest in the Loans or other obligations under the Loan
    documents    (the "Participant Register"); provided that no Lender shall have any obligation to
    disclose all or any portion of the Participant Register (including the identity of any Participant or
    any information relating to a Parlicipant's interest in any comrnitments, loans, letters of credit or
    its other obligations under any Loan document) to any Person except to the extent that such
    disclosure is necessary to establish that such commitment, loan, letter of credit or other
    obligation is in registered form under Section 5f.103-1(c) of the United States Treasury
    Regulations. The entries in the Participant Register shall be conclusive absent manifest error,
    and such Lender shall treat each Person whose name is recorded in the Participant Register as the
    owner of such parlicipation for all putposes of this Agreement notwithstanding any notice to the
    contrary.

                     (d)    The Bonower hereby acknowledges and makes the Note a registered
    obligation fol United States withholding tax purposes. The Lender, as the Bou'ower's non-
    fiduciary agent for this purpose, shall be the registrar for the Note (if any) (the "Resistrar") with
    full powers of substitution. If the Registrar becomes unable or unwilling to act as registlar under
    this Agreernent, the Borrower shall reasonably designate a successor Registrar. The Registlar
    shall maintain, or cause to be maintained, a register for the recordation of the names and
    addresses ofthe Lender and any assignee ofall or any portion ofthe Lender's interest in, and the
    principal amount outstanding of, the Loan (and stated interest accrued but unpaid thereon) (the
    ;'Registered Loan") held by the Lender and each assignee from time to time. The Borrower, the
    Lender and each such assignee shall treat each Person whose name is recorded in the Register as
    a "Lender" hereunder for all purposes of this Agreement. The Register shall be available for
    inspection by the Borrower at any reasonable tirne and frorn time to titne upon reasonable prior
    lotice. A Registered Loan (and the registered Note evidencing the same, if any) may be asstgned
    or sold in whole or in parl orily by registration of such assignment or sale on the Register (and
    each registered Note, if any, shall expressly so provide), which registration the Registrar shall
    effect immediately upon receipt of assignment documentation. Any assignment or sale of all or
    part of such Registered Loan (and the registered Note evidencing the same, if any) may be
                                                      84

     LEGAL US W#95804807.17
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                              Main Document    Page 238 of 365




    effected only by registration   of such assignment or sale on the Register, together with the
    surrender of the registered Note evidencing the same, if any, duly endorsed (or accompanied by a
    written instrument of assignment or sale duly executed) by the holder of such registered Note,   if
    any, whereupon, at the request ofthe designated assignee(s) ol transferee(s), one (1) or more new
    registered Notes in the same aggregate principal amount shall be issued to the designated
    assignee(s) or transferee(s). Prior to the registration of assignment or sale of any Registered
    Loan (and the registered Note evidencing the same, if any), Borrower shal1 treat the Person in
    whose name such Registered Loan (and the registered Note evidencing the same, if any) is
    registered as the owner thereof for the purpose of receiving all payments thereon and for all other
    purposes, nofwithstanding notice to the contrary.

            15.1   1
                   USA Patriot Act Notice. The Lender notifies the Credit Parties that pursuant to
    the requirements of the USA Patriot Act (Title III of Pub. L.I07-56, signed into law October 26,
    2001) (the "Act"), the Lender is required to obtain, verify and record information that identifies
    the Credit Parties, which information includes the name and address of the Credit Parties and
    other information that will allow the Lender to identify the Credit Parties in accordance with the
    Act.

            15.12 Final Agreement. Waivers and Amendments.

                  (a) This Agreement and the other Fundamental Documents are intended by
    the Credit Parties and the Lender to be the final, complete, and exclusive expression of the
    agreement by and among them. This Agreement and the other Fundamental Documents
    supersede any and all prior oral or written agreements relating to the subject matter hereof.

                    (b) No amendment or modification of any provision of this Agreement ol' any
    other Fundamental Document shall be effective without the written agreement of the Lender and
    the Credit Parties affected thereby, and no tennination or waiver of any provision of this
    Agreement, or consent to any departure by the Credit Parties therefrom, shall in any event be
    effective without the written concuffence of the Lender, which concurrence the Lender shall
    have the right to grant or withhold at its sole and absolute discretion,

                    (c) Any waiver or consent shall be effective only in the specific instance and
    for the specific purpose for which it was given. No notice to or demand on the Credit Parties in
    any case shall entitle the Credit Parties to any other or fui'ther notice or demand in similar or
    other circumstances. Any amendment, modification, waiver or consent effected in accordance
    with this Section 15.12 shall be binding on the Lender and, if signed by the Credit Parties, on the
    Credit Palties.

            15,13 Counterparts. This Agreement and the other Fundamental Documents may be
    executed in any number    of counterparls, each of which when so executed and delivered shall be
    deemed to be an original and all of which taken together shall constitute one and the same
    instrurnent, respectively. Delivery of an executed counterpart of this Agreement or any of the
    other Fundamental Documents by facsimile or by electronic transmission in either TIFF or PDF
    format shall be equally effective as delivery of a manually executed countetpart thereof. Any
    party delivering an executed counterpart of this Agreement or any of the other Fundamental
    Documents by facsirnile, TIFF or PDF shall also deliver a manually executed counterpart

                                                     85

    LEGAL US W#95804807.17
Case 2:20-bk-15015-BR             Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                       Desc
                                 Main Document    Page 239 of 365




    thereof, but failule to do so shall not affect the validity, enforceability, or binding effect of this
    Agreement or any of the other Fundamental Documents and the parlies hereby waive any right
    they may have to object to said treatment.

            15.14 Sectiori Headings, The various headings used in this Agreernent are inserled for
    convenience  of reference only and shall not affect the meaning or interpretation of this
    Agreement or any provision hereof.

                                  lremainder of page left intentionally blankl




                                                       86
    r-EGAL rJS W # 95804807.17
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                          Desc
                              Main Document    Page 240 of 365




             IN WITNESS WHEREOF, the Credit Parties       and the Lender have executed this Agreement
                  first above writlen.
     as of the date

      ..BORROWER"                                   .'LENDER''

      Aviron 1703, LLC                               Cairn Capital Investment Funds ICAV,
                                                     for its sub fund Caim Capstone Special
                                                     Opporfunities Fund by Caim Capital Limited
      By: William Sadleir                            AS              manager
      [ts: Manager

                                                     By:James
                                                     Its: Chief LegalOfficer

      Aviron Finance, LLC


      By: William Sadleir
      Its: Manager

      Aviron Licensing, LLC


      By: William Sadleir
      Its: Manager




                                [Execution Page to the Credit Agreement]
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                      Desc
                               Main Document    Page 241 of 365




           IN WITNESS WHEREOF, the Credit Parlies and the Lender have executed this Agreement
                first above written.
    as of the date

     ..BORROWER''                                      ..LENDER''

     Aviron |703,LLC                                   Cairn Capital Investment Funds ICAV,
                     ,'^,trffi.-    "
                                                       for its sub fund Cairn Capstone Special
    _&Mma*a,W;;Xw;WAt                                  Opportunities Fund by Cairn Capital Limited
     By: William Sadleir                               as investment manager
     Its: Manager

                                                       By: Jarnes Starky
                                                       Its: Chief Legal Officer

     Aviron Finance, LLC

    Ws               ".ef2^*",
     By: William Sadleir
     Its: Manager

     Aviron Licensing, LLC

    MBy: Williarn Sadleir
     Its: Manager




                                   fExecution Page to the Credit Agreement]
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 242 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 243 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 244 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 245 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “B”
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 246 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 247 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 248 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 249 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 250 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 251 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 252 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 253 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 254 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 255 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 256 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 257 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 258 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 259 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 260 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 261 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 262 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 263 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “C”
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 264 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 265 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 266 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 267 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 268 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 269 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 270 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 271 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 272 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 273 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 274 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 275 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 276 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 277 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 278 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 279 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 280 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 281 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 282 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 283 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 284 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 285 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 286 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 287 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 288 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 289 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 290 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 291 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 292 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 293 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 294 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 295 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 296 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 297 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 298 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “D”
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                        Desc
                                Main Document    Page 299 of 365



                          CAIRN CAPITAL INVESTMENT FUNDS ICAV
                                   c/o Cairn Capital Limited
                                       27 Knightsbridge
                                      London SW1X 7LY



February 14, 2019


BY EMAIL AND OVERNIGHT DELIVERY

Aviron 1703, LLC
c/o Aviron Finance, LLC
9100 Wilshire Blvd. Suite 800E
Beverly Hills, CA 90212
Attention: William Sadleir
Email: wsadleir@aviron.com

Re:     NOTICE OF DEFAULTS AND RESERVATION OF RIGHTS

Mr. Sadleir:

               Reference is hereby made to that certain Credit, Security, Guaranty and Pledge
Agreement dated as of October 1, 2018 (the “Credit Agreement”), among Aviron 1703, LLC (the
“Borrower”), the other credit parties referred to therein, and Cairn Capital Investment Funds ICAV
for its sub-fund Cairn Capstone Special Opportunities Fund (the “Lender”). Capitalized terms
used but not defined herein shall have the meanings given to them in the Credit Agreement.

                We continue to be concerned that, despite numerous attempts by us and our counsel,
you continue to be unable, or unwilling, to supply the necessary and reasonable information that
has been requested, several of which requests date back to over a month ago or longer. The non-
exhaustive list of things you continue to fail to provide us with includes:

            1. A fully executed copy of each Exhibitor Agreement, together with any
               amendments, restatements, modifications, supplements, renewals, replacements,
               and waivers related thereto;1

            2. All invoices (including, without limitation, those in connection with media
               placement) or any other statements or documentation or communications of any
               kind (including, without limitation, pre-payment requests) delivered by
               MediaStorm to the Borrower or any its affiliates in connection with services



1
         As you have noted in correspondence, there exists a “form of” Exhibitor Agreement, a copy of which we
have seen. We have, on several occasions, requested the fully executed versions of such agreements. To date, no
such agreements have been supplied.
Case 2:20-bk-15015-BR              Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                           Desc
                                  Main Document    Page 300 of 365



                 rendered for the Borrower or any of its affiliates, in each case, related specifically
                 to the Film;2

             3. Any instruction of the Borrower or any of its affiliates delivered to MediaStorm on
                the intended uses or applications of monies disbursed by the Borrower to
                MediaStorm;

             4. A detailed accounting of all of MediaStorm’s media purchase and commissions,
                fees, costs and expenses incurred in connection with its services and deliverables,
                in each case, related specifically to the Film; and

             5. Detailed account statements showing disbursements from the deposit account of
                the Borrower at JPMorgan Chase Bank, N.A. (bank account no. ending -6559) from
                November 7, 2018 to the date of this letter.

               The failure to provide this information constitutes Defaults under Section 13.1(d)
of the Credit Agreement as a result of your failure to comply with one or more covenants under
Sections 5.3 (and paragraph 3 of Schedule 5.3), 9.2(e) and 9.2(f) of the Credit Agreement (the
“Covenant Defaults”).

                Moreover, based upon statements from you and your counsel, we have reason to
believe that you have, effectively, made or permitted to be made substantial changes, modifications
or revisions to the P & A Budget without the express written authorization of the Lender, which
constitutes a Default under Section 6.2(b) of the Credit Agreement (together with the Covenant
Defaults, the “Defaults”).

               Upon the passage of 10 Business Days from the date hereof,3 such Defaults shall
constitute Events of Default under the Credit Agreement and, as applicable, the other Fundamental
Documents.

               Also, we have become concerned with the veracity of the NRG reports you
delivered in connection with a condition precedent to a Lender Advance that was funded by us,
upon reliance on the NRG reports and a purported satisfaction of the applicable Tracking Standard,
such deliveries occurring on or about each of January 3, January 7, and January 8, in each case, in
2019. As you know, the simple arithmetic average of the applicable three (3) distinct observations
of NRG’s “Total Awareness” rating metric in the purported NRG reports you delivered evidence
an amount of such tracking metric equaling 49.7. After directly receiving from NRG its actual
report for the same period, however, the amount of this tracking metric appears to have been
materially less. We continue to investigate this discrepancy and reserve all rights, including as
they may exist against you personally, in connection with this matter.



2
         Pursuant to the Master Services Agreement, MediaStorm agreed to provide invoices and reconciliations.
Such undertakings are contrary to your prior assertions that it would be burdensome to expect that such information
be supplied.
3
         Given that your failure to spend in accordance with the P&A Budget is not susceptible to cure, and since you
had knowledge of such breach for more than 10 Business Days, we reserve the right to assert that such Default
presently constitutes an Event of Default and do not concede that any further grace period applies.


                                                       -2-
Case 2:20-bk-15015-BR         Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                Desc
                             Main Document    Page 301 of 365



                 Be advised that we intend to commence exercising our remedies in accordance with
our rights under the Fundamental Documents and applicable law. The Lender hereby expressly
reserves any and all of the rights, powers, privileges and remedies available to it under the Credit
Agreement and the other Fundamental Documents and applicable law that have arisen, or may
arise, as a result of the Defaults or any Events of Default that have, or may, occur.

               In no event and under no circumstance shall this letter, any past or future
discussions with the Lender and/or its representatives, or any delay or purported forbearance from
exercising any of its rights or remedies under the Fundamental Documents: (i) cause a modification
of the Fundamental Documents; (ii) establish a custom with respect to any of the Fundamental
Documents; (iii) operate as a waiver of or admission regarding any existing or future Default or
Event of Default, including the Defaults or any other Defaults or Events of Default that may exist
but are not identified herein; (iv) entitle the Borrower or any other Person to any other or further
notice or demand whatsoever; (v) in any way modify, change, impair, affect, diminish or release
any of the Borrower’s or any other Person’s obligations or liabilities under or pursuant to the
Fundamental Documents or any other liability the Borrower or any other Person may have to the
Lender; or (vi) waive, limit, impair or condition the Lender’s rights, powers, privileges and
remedies under the Fundamental Documents or applicable law, all of which rights, powers,
privileges and remedies are expressly reserved. This letter shall in no way be deemed to obligate
the Lender to give you or anyone else any notices of any kind in connection with the Fundamental
Documents or otherwise.

                                    [Signature page follows.]




                                               -3-
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 302 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 303 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “E”
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 304 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 305 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 306 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 307 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 308 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 309 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 310 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 311 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “F”
       Case 2:20-bk-15015-BR        Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23             Desc
                                   Main Document    Page 312 of 365

Naznen Rahman

From:                         William Sadleir <wsadleir@aviron.com>
Sent:                         Friday, April 26, 2019 2:52 PM
To:                           Brandon Kufrin
Cc:                           Chris Cottrell; Klingbaum, Leonard; Korn, Jeffrey
Subject:                      Serenity - Theatrical Receipts Reconilliations
Attachments:                  Film Rental Deductions [1].xlsx


Brandon:

Aviron has consistently demonstrated throughout the theatrical receipts collection process, complete
transparent with Cairn—providing all reports and giving you unrestricted viewing access to the respective
bank accounts.

I was puzzled by the differential in the box office sales and the ultimate collections to our account from
several of the major theater chains. Typically, the major chains like Regal, AMC, and Cinemark wait until
about 60-days from the initial release date before paying. But, when they do pay, it’s usually in one lump
sum. That has not been the case so far with Serenity, which to me was unusual.

So, I was just informed by our head of collections in our distribution group that she had authorized several
of the exhibitors to simply deduct from their respective payments, amounts that Aviron owed on trailer
placement, special screenings, and exhibitor convention fees. This, apparently, is standard industry
practice since most studio distributors don’t have different lenders associated with different pictures, as
we do here in the case of Serenity. So, exhibitors net receivables against payables in settling out each
picture.

Consequently, consistent with our assurance that not a penny of leakage between what has been earned
in theatrical rentals and what is paid on Aviron’s Cairn loan, we need to make several reconciliations, the
details of which are set forth below.




Aviron will reconcile these exhibitor deductions by paying to the Serenity collection account
reimbursements from the other film-related SPVs.

   •   $285,275 from Aviron 1706, LLC (A Private War)
   •   $30,000 from Aviron 1702, LLC (The Strangers)
   •   $1,780 from Aviron 1705, LLC (Destination Wedding)
   •   $140,000 from Aviron 1801, LLC (After)
   •   $14,914.27 from Aviron Pictures, LLC for operation-related deductions

The $452,325 that was deducted for Serenity trailer placement is a P&A expense of Aviron 1703, LLC and
will be paid as part of the Cairn loan repayment.

The Cairn loan will be repaid in full, and we will continue to accurately report all collections,
reconciliations, and progress on our $105m funding effort, which we expect to close in late May or early
June.
                                                        1
        Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                                Main Document    Page 313 of 365
Have a pleasant weekend.

Will

William Sadleir
Chairman & CEO

9100 Wilshire Blvd, 800E
Beverly Hills, CA, 90212
310-622-9900 | Main
310-622-9911 | Direct
310-382-6969 | Mobile




______________________________________________________________________
This email has been scanned by the Symantec Email Security.cloud service.
For more information please visit http://www.symanteccloud.com
______________________________________________________________________




                                               2
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 314 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “G”
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23               Desc
                                Main Document    Page 315 of 365

                                                                                     EXECUTION VERSION

                                         Aviron Finance LLC
                                  9100 Wilshire Boulevard, Suite 800E
                                       Beverly Hills, CA 90212

                                              May 24, 2019

Cairn Capital Investment Funds ICAV
c/o Cairn Capital Limited
27 Knightsbridge
London SW1X 7LY
United Kingdom
Attention:     James Starky

RE:      Credit Facility

Dear Mr. Starky:

        This letter agreement (this “Agreement”) is being provided to you in connection with that
certain Credit, Security, Guaranty and Pledge Agreement and other Fundamental Documents
dated as of October 1, 2018 (the “Credit Agreement”) among Aviron 1703, LLC (the
“Borrower”), Aviron Finance, LLC (“Finance”), Aviron Licensing, LLC (“Licensing” and
together with, Finance, and the Borrower, the “Credit Parties”), Temerity Trust Management,
LLC (“Guarantor”) and Cairn Capital Investment Funds ICAV for its sub-fund Cairn Capstone
Special Opportunities Fund (the “Lender” or “you”), including the Deed of Trust and the
Temerity Guaranty (as defined in the Deed of Trust) provided by the Guarantor.

        This Agreement is, in part, in response to your counsel’s e- mail of May 14, 2019 attached
to which was a draft Complaint (the “Complaint”) asserting certain claims against defendants
William Sadleir, Aviron Pictures, LLC, Aviron 1706, LLC, Aviron 1702, LLC, Aviron 1705,
LLC and Aviron 1801, LLC (the defendants are collectively referred to herein as the
“Defendants” and together with the Credit Parties and Guarantor, the “Sadleir Parties”).
Capitalized terms used but not defined herein shall have the meanings ascribed thereto as set
forth in the Credit Agreement.

         Section 1.       Each of the specified parties below acknowledges and agrees as follows:

                  (a) On or before 5:00 p.m. Pacific time on May 30, 2019, Guarantor shall deliver
                       to Willkie Farr & Gallagher (“Willkie”) (i) a fully executed and
                       acknowledged, valid, effective and notarized Deed in Lieu of Foreclosure, in
                       form appropriate for recordation in the relevant governmental office (the
                       “Deed in Lieu”), in the form attached hereto as Exhibit A, relating to the real
                       property Collateral pledged by Guarantor pursuant to the terms of the Deed of
                       Trust (as defined in the Temerity Guaranty), and (ii) evidence reasonably
                       satisfactory to Lender of the due authorization by all necessary organizational
                       action of the execution and delivery of the Deed in Lieu and the authority of
                       the person or persons executing the Deed in Lieu on behalf of the Guarantor.
                       Additionally, within five (5) business days after request, Guarantor shall




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                 Desc
                              Main Document    Page 316 of 365



                    deliver to Willkie such additional documentation (but not including any
                    indemnity agreement) as the title company selected by Lender (the “Title
                    Company”) may reasonably require (at no material cost to Borrower, the
                    Credit Parties or Guarantor) in order to issue to Lender an owner’s policy of
                    title insurance upon the recordation of the Deed in Lieu insuring Lender’s title
                    in the real property subject to the Deed in Lieu (the “Title Policy”). The Deed
                    in Lieu shall be held in escrow by Willkie and returned to the Guarantor
                    within two (2) business days after the timely satisfaction of the obligations set
                    forth in Section 1(c) of this Agreement. In the event that the obligations set
                    forth in Section 1(c) of this Agreement are not satisfied when due, Willkie
                    shall release the Deed in Lieu from escrow, and the Deed in Lieu may
                    thereafter be used by the Lender (or any of its Affiliates) for any purpose,
                    including but not limited to recording the Deed in Lieu at any time after the
                    failure by the Guarantor or Credit Parties timely to comply with Section 1(c)
                    of this Agreement.

                    If the Deed in Lieu is recorded pursuant to the immediately preceding
                    paragraph, the Lender thereafter shall use commercially reasonable efforts
                    promptly to sell the real property that is the subject of the Deed in Lieu on an
                    arms- length (i.e., not a distressed) basis. The Lender shall instruct a reputable
                    real estate broker to conduct such sale, which broker shall be reasonably
                    acceptable to the Guarantor (and in the event of disagreement, the Lender and
                    the Guarantor shall each nominate a reputable broker who shall together
                    nominate a third broker to conduct such sale). The Guarantor agrees that each
                    of James Harris of The Agency is a reasonable broker. If the Deed in Lieu is
                    recorded pursuant to the immediately preceding paragraph, Lender shall take
                    the real property that is the subject of the Deed in Lieu in its “as is/where is
                    and with all faults” condition, except for any intentional waste.

                    Notwithstanding anything to the contrary in the Deed in Lieu, but subject to
                    the last sentence of this paragraph, the Guarantor hereby agrees that the
                    amount of the Guaranteed Obligations (as defined in the Temerity Guaranty)
                    shall not be decreased by virtue of the Lender’s recordation of the Deed in
                    Lieu. If the net proceeds of the sale of the property subject to the Deed in
                    Lieu (including net of the costs and expenses to effectuate such sale and
                    enforce the rights of Lender) are less than the remaining outstanding balance
                    of the Guaranteed Obligations, such proceeds shall be applied immediately on
                    receipt thereof in repayment of such amount of the Guaranteed Obligations.
                    To the extent that the net proceeds of the sale of the property subject to the
                    Deed in Lieu (including net of the costs and expenses to effectuate such sale
                    and enforce the rights of Lender) are in excess of the remaining outstanding
                    balance of the Guaranteed Obligations, such excess promptly shall be paid to
                    the Guarantor (or as the Guarantor directs in writing).

                (b) On or before 5:00 p.m. Pacific time on May 28, 2019, the Sadleir Parties shall
                    cause to be paid to Willkie $100,000 to be applied against the Lender’s costs




CCIF\55899\2111773.3                             -2-
LEGAL_US_W # 98644907.6
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                 Desc
                              Main Document    Page 317 of 365



                    and expenses of counsel. Such payment shall be made by wire transfer to the
                    account identified in Exhibit B attached hereto.

                (c) On or before 5:00 p.m. Pacific time on July 15, 2019, the Sadleir Parties shall
                    cause to be paid to the Lender by wire transfer to the account identified on
                    Exhibit C attached hereto the amount of $3,000,000 from proceeds that do not
                    constitute Collateral, which proceeds shall be applied immediately on receipt
                    thereof in part repayment of the Loan Obligations and the Guaranteed
                    Obligations; provided, however, that, to the extent that there shall be less than
                    $3,000,000 of Loan Obligations and Guaranteed Obligations outstanding on
                    or before July 15, 2019, then the Credit Parties shall instead pay the full
                    amount of the then outstanding Loan Obligations and Guaranteed Obligations,
                    if any.

                (d) The Sadleir Parties agree that (i) each of the agreements set forth in this
                    Section 1 is binding immediately upon the execution of this Agreement, (ii)
                    each of the agreements set forth in this Section 1 is supported by adequate
                    consideration, (iii) time is of the essence, (iv) Lender shall be irreparably
                    harmed in the event that each of the obligations set forth in Section 1(a) of this
                    Agreement is not satisfied by the times specified therein for such obligation;
                    (iv) in the event each of the obligations set forth in Section 1(a) of this
                    Agreement is not satisfied by the times specified therein for such obligation,
                    Lender shall be entitled to obtain specific performance from any court of
                    competent jurisdiction without the requirement of the posting of a bond of the
                    obligations set forth in Section 1(a), and (v) notwithstanding anything to the
                    contrary in Section 2 of this Agreement, in the event any of the obligations set
                    forth in Section 1 of this Agreement (except this Section 1(d)) is not satisfied
                    by the times specified herein, Lender shall have no further obligations under
                    Section 2 of this Agreement and, for the avoidance of doubt, shall be free to
                    file the Complaint and/or record the Deed in Lieu at any time.

                (e) Neither Guarantor nor the Credit Parties shall permit any additional
                    encumbrances on the real property Collateral that is the subject of the Deed in
                    Lieu in the form of a mortgage or other lien secured indebtedness, or permit
                    the premises to be subject to any leasehold interests.

                (f) Guarantor and the Credit Parties shall maintain the real property Collateral
                    that is the subject of the Deed in Lieu in its current condition and repair,
                    subject to normal wear and tear, shall not intentionally commit any waste with
                    respect thereto, and shall keep all real property taxes and assessments on the
                    real property Collateral that is the subject of the Deed in Lieu non-delinquent.

The foregoing covenants and contingencies by Guarantor and the Credit Parties are for Lender’s
benefit only, and not for the benefit of Guarantor, the Credit Parties or the Sadleir Parties. The
foregoing covenants and contingencies may be waived by Lender, but such waiver shall not be
effective unless in writing. Furthermore, the Guarantor acknowledges and agrees that if any of
Guarantor or the Credit Parties breach any provision under this Agreement or any condition



CCIF\55899\2111773.3                             -3-
LEGAL_US_W # 98644907.6
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                              Main Document    Page 318 of 365



herein is not satisfied, the Lender shall have the right to terminate this Agreement and shall have
no obligation to record or take any other action with respect to the Deed in Lieu, and that the
Lender reserves the right to not record the Deed in Lieu and, instead, pursue other remedies,
including a foreclosure of the Deed of Trust.

        Section 2.     Subject to the acknowledgements and agreements of the Sadleir Parties as
set forth in Section 1 of this Agreement, and as consideration for such acknowledgements and
agreements (including timely performance) by the Sadleir Parties, the Lender hereby agrees as
follows:

                (a) Lender shall not file the Complaint (or any similar proceedings) against the
                    Defendants unless the Credit Parties fail to comply with their obligations in
                    Section 1 of this Agreement. Lender agrees to negotiate in good faith and no
                    later than June 1, 2019 execute a settlement agreement with Defendants
                    containing customary settlement terms and conditions, including a release of
                    the claims against Defendants alleged in the Complaint. The foregoing
                    release shall cover only the claims against Defendants in the Complaint and
                    shall not affect in any way any claims under the Credit Agreement or other
                    Fundamental Documents against any of the Credit Parties arising from any
                    alleged Event of Default or otherwise. The Settlement Agreement is not
                    intended to be a renegotiation of the terms set forth in this Agreement or the
                    Deed in Lieu. Neither the Guarantor, the Credit Parties nor Lender shall be
                    deemed to have breached their duty to negotiate the Settlement Agreement in
                    good faith to the extent Lender, Guarantor or the Credit Parties refuses to
                    agree to terms modifying or superseding those terms set forth in either this
                    Agreement or the Deed in Lieu.

                (b) Lender shall accept payment in full of all (but not less than all) of the Loan
                    Obligations and Guaranteed Obligations, including Lender’s outside legal fees
                    and expenses, on or before 5:00 p.m. Pacific time on July 31, 2019 computed
                    without regard to the rate set forth in Section 3.3 of the Credit Agreement, but
                    only with regard to the rate set forth in Section 3.1 of the Credit Agreement.
                    Repayment in full of the Loan Obligations and Guaranteed Obligations shall
                    constitute full and final settlement of all claims by Lender against all Credit
                    Parties and of all Credit Parties and their Affiliates against Lender, its
                    Affiliates, managers, and advisors.

                (c) This Agreement shall not constitute an admission by the Credit Parties of any
                    Events of Default as of the date hereof.

                (d) Lender agrees that it shall refrain from taking any further enforcement action
                    of its rights under the Credit Agreement or other Fundamental Documents
                    until 5:00 p.m. Pacific time on July 31, 2019 or, if earlier, but after the date of
                    this Agreement, on the date that (v) any of the Credit Parties (including the
                    Guarantor) fail timely to comply with any of their obligations under Section 1
                    of this Agreement, (w) any of the Sadleir Parties (including the Guarantor)
                    divert any Collateral or the proceeds thereof to any person other than a Credit



CCIF\55899\2111773.3                             -4-
LEGAL_US_W # 98644907.6
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23               Desc
                              Main Document    Page 319 of 365



                    Party or to an account other than an account owned solely by a Credit Party
                    (other than to the Collection Account and the Chase account ending in 6559),
                    (x) any Event of Default occurs other than the alleged Events of Default in the
                    Lender’s prior correspondence to the Credit Parties (including the Guarantor)
                    and in the Lender’s draft Complaint, (y) any of the Credit Parties (including
                    Guarantor) commences any action against the Lender, or (z) any of the Credit
                    Parties fail to cause any transfer of deposits forming part of the Collateral in
                    excess of $25,000 in the Exhibitor Account or in the account ending in 6559
                    held at Chase Bank to the Collection Account within three (3) Business Days
                    after written notice from the Lender or its advisors to the Credit Parties.

        This Agreement constitutes a Fundamental Document for all purposes, and the
Guarantor’s and the Credit Parties’ obligations hereunder shall constitute covenants and
agreements required to be performed without any grace period, except as expressly set forth
herein. Failure by the Guarantor or Credit Parties timely to perform hereunder shall constitute an
immediate Event of Default and the Lender shall have no obligation to provide the Credit Parties
with written or other notice of such failure.

        For the avoidance of doubt, except as expressly stated herein, the Guarantor and Credit
Parties understand and agree that nothing set forth in this Agreement shall alter or otherwise
affect in any way any of their obligations, or the rights of Lender, under the Credit Agreement or
other Fundamental Documents, and Lender reserves all rights and remedies Lender has against
Guarantor and the Credit Parties under the Fundamental Documents, at law and in equity.

        Further, Guarantor hereby affirms the Temerity Guaranty and agrees that, in the event
Lender seeks to record the Deed in Lieu or takes any actions in connection therewith or related
thereto, Guarantor (A) absolutely, unconditionally, knowingly, and expressly waives until
Lender is paid in full: (i) any right of subrogation Guarantor has or may have as against any
Credit Party or any other person with respect to the Guaranteed Obligations; (ii) any right to
proceed against any Credit Party or any other person, now or hereafter, for contribution,
indemnity, reimbursement, or any other suretyship rights and claims, whether direct or indirect,
liquidated or contingent, whether arising under express or implied contract or by operation of
law, which Guarantor may now have or hereafter have as against any Credit Party or any other
person with respect to the Guaranteed Obligations; and (iii) any right to proceed or seek recourse
against or with respect to any property or asset of any Credit Party included in the Collateral; and
(B) waives any and all benefits, rights and/or defenses which might otherwise be available to
Guarantor under California Civil Code Sections 2809, 2810, 2819, 2839, 2845, 2848, 2849,
2850, 2899, 2953 and 3433 or California Code of Civil Procedure Sections 580a, 580b, 580d and
726.

        Each signatory below hereby represents and warrants that he or she has full and complete
authority to execute this Agreement and each of the other documents referred to herein on behalf
of his or her respective party and to bind such party to the terms of this Agreement and each of
the other documents referred to herein.

       This Amendment may be executed in two or more faxed or .pdf counterparts, each of
which shall be an original, but all of which shall constitute one and the same agreement.



CCIF\55899\2111773.3                            -5-
LEGAL_US_W # 98644907.6
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 320 of 365
Case 2:20-bk-15015-BR       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                           Main Document    Page 321 of 365




                                                                 A viron Licensing, LLC


                                                                 Name: William Sadleir
                                                                 Title: Manager

                                                                 Temerity Trust Management, LLC


                                                                 Name: William Sadleir
                                                                 Title: Manager



 Accepted and Agreed to by:

 Cairn Capital Investment Funds ICAV
 for its sub-fund Cairn Capstone Special Opportunities Fund,
 by Cairn Capital Limited




                                   Signature Page to Letter Agreement
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 322 of 365



                                    Exhibit A
                               Form of Deed in Lieu

                                    [Attached]




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR            Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23              Desc
                                Main Document    Page 323 of 365




RECORDING REQUESTED BY
AND WHEN RECORDED MAIL TO
AND MAIL TAX STATEMENTS TO:

_______________________
_______________________
_______________________


______________________________________________________________________________
                                                         SPACE ABOVE THIS LINE FOR RECORDER’S USE



                                DEED IN LIEU OF FORECLOSURE

The undersigned declares:

(1)      The grantee herein was not the foreclosing beneficiary.
(2)      The amount of the unpaid debt together with costs is $___________.
(3)      The amount paid by the grantee over and above the unpaid
         debt was: Zero.
(4)      The documentary transfer tax is: Zero. No documentary transfer tax is due as the value of
         the Property in this conveyance is less than the value of all liens and encumbrances on the
         Property and there is no additional consideration received by the grantor; R & T 11911.
(5)      Said property is in City of: Los Angeles, California.

FOR A VALUABLE CONSIDERATION, receipt of which is hereby acknowledged,
TEMERITY TRUST MANAGEMENT, LLC, a Delaware limited liability company
(“Grantor”), hereby GRANTS to __________________________, a _______________
(“Grantee”), the nominee of the Beneficiary (as defined below), all of that real property located
in Los Angeles County, State of California more particularly described in Exhibit “A” attached
hereto and made a part hereof (the “Property”).

I.       Grantor hereby acknowledges and declares and agrees that:

(a)     this Deed in Lieu of Foreclosure is intended to be and is an absolute conveyance of title
to the property described herein to Grantee and is not intended as a mortgage, trust conveyance,
or security of any kind;

(b)    it is the intention of Grantor to convey, and by this Deed in Lieu of Foreclosure does
convey, to Grantee all of the herein described property and that possession of said property is
hereby surrendered to Grantee;

(c)     in execution and delivery of this Deed in Lieu of Foreclosure, Grantor is not acting under
misapprehension as to the effect hereof and acts freely and voluntarily and not under coercion or
duress;


CCIF\55899\2111773.3
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                  Desc
                              Main Document    Page 324 of 365




(d)      Grantor has conveyed the Property to Grantee for fair and adequate consideratio n, such
consideration being reasonably equivalent value and being specifically (i) the agreement by
CAIRN CAPITAL INVESTMENT FUNDS ICAV, an Irish Collective Asset-management
Vehicle, for its sub-fund CAIRN CAPSTONE SPECIAL OPPORTUNITIES FUND
(“Beneficiary”), an affiliate of Grantee and the beneficiary under that certain Deed of Trust,
Assignment of Rents, Fixture Filing, Security Agreement and Environmental Indemnity
recorded in the Official Records of Los Angeles County, California on October 9, 2018, as
Instrument No. 20181025433 (the “Deed of Trust”), to not foreclose on such Deed of Trust, and
(ii) the agreement by Beneficiary to accept this Deed in Lieu of Foreclosure in satisfaction of a
portion of the obligations of Grantor secured by the Deed of Trust in accordance with a separate,
unrecorded agreement of even date herewith;

(e)     the execution, delivery and performance of this Deed in Lieu of Foreclosure have been
duly authorized by all necessary organizational action;

(f)      this conveyance is freely and fairly made and that there are no agreements, oral or
written, other than this Deed in Lieu of Foreclosure and the Estoppel Affidavit, attached as
Exhibit B hereto, between Grantor and Grantee with respect to the Property; and

(g)      this conveyance is made and accepted in partial satisfaction of the obligations secured by
the Deed of Trust, not in full satisfaction thereof, and the beneficial interest of Beneficiary in the
Property pursuant to the Deed of Trust shall not merge with the fee interest of Grantee in the
Property pursuant to this Deed in Lieu of Foreclosure and that such interests shall be and remain
at all times separate and distinct.

The individual signing this Deed in Lieu of Foreclosure on behalf of Grantor hereby represents
and warrants that he has the capacity set forth on the signature page hereof and has full power
and authority to bind Grantor to the terms hereof.

                                      [Signature Page Follows]




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR     Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23        Desc
                         Main Document    Page 325 of 365



       IN WITNESS WHEREOF, Grantor has executed and delivered this Deed in Lieu of
Foreclosure as of the date set forth below.

Dated: ________________, 2019            GRANTOR:

                                         TEMERITY TRUST MANAGEMENT, LLC,
                                         a Delaware limited liability company

                                         By:      ___________________________
                                         Name:    William Sadlier
                                         Title:   Sole Manager




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                              Desc
                                   Main Document    Page 326 of 365



                                    NOTARY ACKNOWLEDGEMENT

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

State of California                                     )
County of _____________________                         )


On ____________________, before me, ____________________________, a Notary Public,
personally appeared _______________________________, who proved to me on the basis of
satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within
instrument and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or
the entity upon behalf of which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

WITNESS my hand and official seal.




Signature




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 327 of 365



                        Exhibit A to Deed in Lieu of Foreclosure

                                  Property Description




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                 Desc
                              Main Document    Page 328 of 365



                             Exhibit B to Deed in Lieu of Foreclosure

                                         Estoppel Affidavit

STATE OF CALIFORNIA
COUNTY OF _____________


_____________ (“Affiant”), being first duly sworn, for himself, deposes and says:

        That he is the ______________ of TEMERITY TRUST MANAGEMENT, LLC, a
Delaware limited liability company (“Grantor”), which made, executed, and delivered that
certain Deed in Lieu of Foreclosure, on __________, 2019 (the “Deed”), conveying the real
property in the County of Los Angeles, State of California described as (the “Property”):

                       See Legal Description Attached hereto as Schedule 1

       That the aforesaid Deed is intended to be and is an absolute conveyance of the title to the
Property to the grantee named therein, and was not and is not now intended as a mortgage, trust
conveyance, or security of any kind;

       That it was the intention of Grantor, as grantor in the Deed, to convey, and the Deed did
convey, to Grantee all its right, title and interest absolutely in and to the Property;

         That possession of the Property has been surrendered to Grantee;

       That in execution and delivery of the Deed, Grantor was not acting under
misapprehension as to the effect of the Deed, acted freely and voluntarily, and was not acting
under coercion or duress;

        That the consideration for the Deed was (i) the agreement by CAIRN CAPITAL
INVESTMENT FUNDS ICAV, an Irish Collective Asset-management Vehicle, for its sub-fund
CAIRN CAPSTONE SPECIAL OPPORTUNITIES FUND (“Beneficiary”), an affiliate of the
grantee under said Deed and the beneficiary under that certain Deed of Trust, Assignment of
Rents, Fixture Filing, Security Agreement and Environmental Indemnity recorded in the Official
Records of Los Angeles County, California on October 9, 2018, as Instrument No. 20181025433
(the “Deed of Trust”), to not foreclose on such Deed of Trust, and (ii) the agreement by
Beneficiary to accept said Deed in satisfaction of a portion of the obligations of Grantor secured
by the Deed of Trust in accordance with a separate, unrecorded agreement of even date herewith;

       That at the time of the execution and delivery of the Deed, Affiant, as an officer of
Grantor, believed, and now believes, that the Consideration represents the fair value of the
Property;

        That this Estoppel Affidavit is made for the protection and benefit of the grantee in said
Deed, its successors and assigns, and all other parties hereafter dealing with or who may acquire



CCIF\55899\2111773.3
Case 2:20-bk-15015-BR               Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                              Desc
                                   Main Document    Page 329 of 365



an interest in the Property, and particularly for the benefit of ___________________ Title
Company which is about to insure the title to said Property in reliance thereon, and any other title
company which may hereafter insure the title to said Property;

         That Affiant will testify, declare, depose, or certify before any competent tribunal, office,
or person, in any case now pending or that may hereafter be instituted, to the truth of the
particular facts set forth in this Estoppel Affidavit; and

        That Affiant has executed this Estoppel Affidavit as an individual and also for and on
behalf of Grantor.

         AFFIANT:

         Date: __________, 2019                                  ______________________________
                                                                 Name: ________________________
                                                                 Title: ________________________



A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

State of California                                     )
County of _____________________                         )


On ____________________, before me, ____________________________, a Notary Public,
personally appeared _______________________________, who proved to me on the basis of
satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within
instrument and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or
the entity upon behalf of which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the
foregoing paragraph is true and correct.

WITNESS my hand and official seal.




Signature




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 330 of 365



                           Schedule 1 to Estoppel Affidavit

                                Property Description




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 331 of 365



                                      Exhibit B
                              Willkie Wire Instructions




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR           Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23             Desc
                               Main Document    Page 332 of 365



                                              Exhibit C
                                       Lender Wire Instructions

                  Currency                                           USD
                 A/C Name                             BANA LONDON GCAS CASH
         IBAN (Swift field 58D)                                   6550660591
     SWIFT code (Swift field 57A)                                 BOFAUS3N
             Client A/C Name                    Cairn Capstone Special Opportunities Fund
     Client A/C No. (Swift field 72)                          671850400001
                  ABA No.                                         026-009-593




CCIF\55899\2111773.3
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 333 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “H”
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 334 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 335 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 336 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 337 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 338 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 339 of 365




                  KUFRIN DECLARATION

                              EXHIBIT “I”
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 340 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 341 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 342 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 343 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “J”
Case 2:20-bk-15015-BR       Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23             Desc
                           Main Document    Page 344 of 365

                         CAIRN CAPITAL INVESTMENT FUNDS ICAV
                                 c/o Cairn Capital Limited
                                     27 Knightsbridge
                                    London SWIX 7LY




  May 1, 2019


  VIA ELECTRONIC MAIL AT wsadleir@avironpictures.com; wsadleir@aviron.com


  Temerity Trust Management, LLC
  9100 Wilshire Boulevard
  Suite 800 - East Tower
  Beverly Hills, CA 90212
  Attention: William Sadleir & Hannah Kadadu
  Email: wsadleir@avironpictures.com
          wsadleir@aviron.com

  Re:      Lender Demand Notice: Guaranty for Aviron 1703, LLC

  Dear Mr. Sadleir and Ms. Kadadu:

  This letter concerns that Guaranty dated October 1, 2018 (the “Guaranty”) you executed on
  behalf of Temerity Trust Management, LLC (“TTM”) in favor of Cairn Capital Investment Funds
  ICAV for its sub-fund Cairn Capstone Special Opportunities Fund (“Lender”) for purposes of
  securing repayment of the loan made to Aviron 1703, LLC (“Borrower”) in the original principal
  amount of $22,400,000 (the “Loan”). As you know, Borrower is presently in default of its
  obligations under the loan documents for the Loan (the “Loan Documents”), which include that
  Credit, Security, Guaranty and Pledge Agreement, dated October 1, 2018 and that Promissory
  Note dated October 1, 2018. The Guaranty is secured by that certain Deed of Trust and
  Assignment of Rents, Fixture Filing, Security Agreement and Environmental Indemnity dated as
  of October 8, 2019, which encumbers the property commonly known and addressed at 9135
  Hazen Drive, Los Angeles, CA 90210.

  Non-Payment of Principal and Interest.

  The Loan is delinquent and in default. The total amount due and payable on the Loan
  as of April 29, 2019 is $ 20,811,381.57, with default interest and other amounts of
  indemnified liabilities continuing to accrue.

  Per the terms of the Guaranty, TTM unconditionally and irrevocably guaranteed the full and
  punctual payment of the Guaranteed Obligations (as defined in the Guaranty), including
  payment of the sums referenced above.

  If the total payment demanded above is not made in immediately available funds to
  Lender by 5:00 PM PST on Wednesday May 8, 2019, then Lender will exercise its rights
  under the Guaranty and Deed of Trust to the full extent necessary. TTM, as guarantor, is
  liable for all sums owed under the Loan Documents separate and independent from Borrower’s
  obligations and Lender can file suit against TTM personally. In addition, TTM may be required

  CCIF\55899\2100534.1
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 345 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 346 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “K”
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 347 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 348 of 365
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 349 of 365




                  KUFRIN DECLARATION

                             EXHIBIT “L”
 Case 2:20-bk-15015-BR         Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23               Desc
                              Main Document    Page 350 of 365



                       CAIRN CAPITAL INVESTMENT FUNDS ICAV
                                c/o Cairn Capital Limited
                                    27 Knightsbridge
                                   London SW1X 7LY



January 6, 2020


BY EMAIL AND OVERNIGHT DELIVERY


Temerity Trust Management, LLC
9100 Wilshire Boulevard
Suite 800 - East Tower
Beverly Hills, CA 90212
Attention: William Sadleir &
Hannah Kadadu
Email: wsadleir@aviron.com
wsadleir@avironpictures.com


Re:    LENDER SECOND DEMAND NOTICE

Mr. Sadleir and Ms. Kadadu:

               Reference is hereby made to (a) that certain Credit, Security, Guaranty and Pledge
Agreement dated as of October 1, 2018 (the “Credit Agreement”), among Aviron 1703, LLC
(“Borrower”), the other parties referred to therein, and Cairn Capital Investment Funds ICAV for
its sub-fund Cairn Capstone Special Opportunities Fund (“Lender”), (b) that Promissory Note
dated October 1, 2018 executed by Borrower (together with the Credit Agreement, the “Loan
Documents”), (c) that Guaranty dated October 1, 2018 (the “Guaranty”) you executed on behalf
of Temerity Trust Management, LLC (“TTM”) in favor of Lender for purposes of securing
repayment of the loan under the Credit Agreement, (d) that certain Notice of Defaults and
Reservation of Rights delivered to Borrower on February 14, 2019, (e) that certain Acceleration
and Demand Notice delivered to Borrower on April 2, 2019, (f) that certain Lender Demand Notice
delivered to you on May 1, 2019 (the “First Demand Notice”), (g) that certain Lender Default
Notice delivered to you on May 9, 2019 (the “First Default Notice”), (h) that certain Demand for
Payment delivered to Borrower on December 18, 2019, and (i) Lender’s and its counsel’s prior
correspondence to TTM, Borrower and their counsel relating to the foregoing. Capitalized terms
used but not defined herein shall have the meanings given to them in the Credit Agreement.

                 The Guaranty is secured by that certain Deed of Trust, Assignment of Rents,
Fixture Filing, Security Agreement and Environmental Indemnity dated as of October 8, 2018,
which encumbers the property commonly known and addressed at 9135 Hazen Drive, Los Angeles,
CA 90210 (the “DoT”).

                On May 1, 2019, Lender sent the First Demand Notice to TTM for payment of the
outstanding sums due and owing on the Loans. TTM had until May 8, 2019 to make payment per
its obligations under the Guaranty. It failed to do so. As Lender notified TTM in the First Default
 Case 2:20-bk-15015-BR          Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                   Desc
                               Main Document    Page 351 of 365



Notice dated May 9, 2019, TTM had ten (10) days from that date to cure its default and make
payment. TTM’s failure to do so has given rise to a TTM Event of Default (as defined in the
Guaranty), and Lender has gained the right to declare an Event of Default under the DoT and
(among other things) cause the Property (as defined in the DoT) to be sold.

       Non-Payment of Principal and Interest

              Despite the delivery of the First Demand Notice and First Default Notice, you have
continued to fail to repay the Guaranteed Obligations (as defined in the Guaranty) in full.
Moreover, Borrower failed on December 15, 2019, the scheduled maturity date under the Credit
Agreement, to repay the Loan Obligations in full. Despite delivery of the Demand for Payment on
December 18, 2019, Borrower has failed to repay such obligations in full.

              The Guaranteed Obligations are not less than $16,230,747.68, with default interest
and other amounts of indemnified liabilities continuing to accrue (the “Amounts Due”).

               Per the terms of the Guaranty, TTM unconditionally and irrevocably guaranteed the
full and punctual payment of the Guaranteed Obligations, including payment of the Amounts Due.

               If the total payment of the Amounts Due is not made in immediately available
funds to Lender by January 13, 2020, then Lender will exercise its rights under the Guaranty
and DoT to the full extent necessary including (among other things) causing the Property to
be sold. TTM, as guarantor, is liable for all Amounts Due separate and independent from
Borrower’s obligations and Lender can file suit against TTM personally. In addition, TTM may be
required to pay attorneys’ fees, legal expenses and other charges incurred by Lender, as provided
for in the Guaranty.

               Lender hereby expressly reserves any and all of the rights, powers, privileges and
remedies available to it under the Guaranty, the Loan Documents and applicable law that have
arisen, or may arise, as a result of TTM’s failure to repay the Amounts Due, and the other defaults
that have, or may, occur.

                 In no event and under no circumstance shall this letter, any past or future discussions
with Lender and/or its representatives, or any delay or purported forbearance from exercising any of
its rights or remedies under the Fundamental Documents: (i) cause a modification of the Fundamental
Documents; (ii) establish a custom with respect to any of the Fundamental Documents; (iii) operate
as a waiver of or admission regarding any existing or future Default, Event of Default or TTM Event
of Default, including any Defaults, Events of Default or TTM Events of Default that may exist but
are not identified herein; (iv) entitle TTM or any other Person to any other or further notice or demand
whatsoever; (v) in any way modify, change, impair, affect, diminish or release any of TTM’s or any
other Person’s obligations or liabilities under or pursuant to the Fundamental Documents or any other
liability TTM or any other Person may have to Lender; (vi) waive, limit, impair or condition Lender’s
rights, powers, privileges and remedies under the Fundamental Documents or applicable law, all of
which rights, powers, privileges and remedies are expressly reserved; or (vii) operate as a waiver of
Lender’s collection of the Loan Default Interest Rate to which it is entitled. This letter shall in no
way be deemed to obligate Lender to give you or anyone else any notices of any kind in connection
with the Fundamental Documents or otherwise.


                                                   -2-
Case 2:20-bk-15015-BR    Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23   Desc
                        Main Document    Page 352 of 365
           Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                  Main Document    Page 353 of 365

 8ffad`Wk ad FSdfk DS_W( 8VVdWee( JW^WbZa`W $ =8N                            =EH :EKHJ KI< EDBO
 Dae*( IfSfW 9Sd Da* $ <_S[^ 8VVdWee
 Kasowitz Benson Torres LLP
 Andrew R.J. Muir (CA Bar # 284817)
 101 California Street, Suite 300
 San Francisco, California 94111
 Telephone: (415) 421-6140
 Facsimile: (415) 398-5030
 Email: AMuir@kasowitz.com
 Andrew K. Glenn (pro hac vice application pending)
 Shai Schmidt (pro hac vice application pending)
 1633 Broadway
 New York, New York 10019
 Telephone: (212) 506-1700
 Facsimile: (212) 506-1800
 Email: AGlenn@kasowitz.com
        SSchmidt@kasowitz.com

     7KQ>JO >LLB>MFJD RFOEKPO >J >OOKMJBT
     .OOKMJBT CKM 7KQ>JO

                                            B<8A43 @A0A4@ 10<9?B>A2D 2=B?A
                                                                       LOS ANGELES
                                      24<A?0: 38@A?82A =5 20:85=?<80 & 8>IB           DIVISION
                                                                            KC 38C8@8=<

 @` dW6                                                                      :8I< DE*6 2:20-bk-15015-BR
                                                                             :?8FJ<H6 11
 TEMERITY TRUST MANAGEMENT, LLC,
                                                                                      <=A824 =5 ;=A8=< 0<3 ;=A8=<
                                                                                     5=? ?4:845 5?=; A74 0BA=;0A82
                                                                                        @A0D B<34? ** B'@'2' \ ,.+
                                                                                       #ZMWL VXSSRUWMQK HIGOEUEWMRQV$
                                                                                             #?40: >?=>4?AD$

                                                                             ;8J<6 07/21/2020
                                                                             J@C<6 10:00 a.m.

                                                               ;WTfad&e'*    :EKHJHEEC6 1668

 ;RYEQW/
              Cairn Capital Investment Funds ICAV for its sub fund Cairn Capstone Special Opportunities Fund


-* 7IEUMQK :RGEWMRQ6
          .11 <Sef JW_b^W IfdWWf( Bae 8`YW^We( :8 5,,-.                                   0-- MWef =agdfZ IfdWWf( IS`fS 8`S( :8 5.3,-
          .-,0- 9gdTS`] 9ag^WhSdV( MaaV^S`V ?[^^e( :8 5-/23                               -0-1 IfSfW IfdWWf( IS`fS 9SdTSdS( :8 5/-,-
          /0., JiW^XfZ IfdWWf( H[hWde[VW( :8 5.1,-

.* Daf[UW [e Y[hW` fa fZW ;WTfad S`V fdgefWW &FC >JT'&HWeba`V[`Y FSdf[We'( fZW[d Sffad`Wke &FC >JT'( S`V afZWd [`fWdWefWV
   bSdf[We fZSf a` fZW VSfW S`V f[_W S`V [` fZW Uagdfdaa_ efSfWV STahW( CahS`f i[^^ dWcgWef fZSf fZ[e Uagdf W`fWd S` adVWd
   YdS`f[`Y dW^[WX Xda_ fZW Sgfa_Sf[U efSk Se fa ;WTfad S`V ;WTfadpe TS`]dgbfUk WefSfW a` fZW Ydag`Ve eWf XadfZ [` fZW
   SffSUZWV Caf[a`*

/* Ja X[^W S dWeba`eW fa fZW _af[a`( kag _Sk aTfS[` S` SbbdahWV Uagdf Xad_ Sf iii*USUT*geUagdfe*Yah+Xad_e Xad geW [`
   bdWbSd[`Y kagd dWeba`eW &abf[a`S^ B9H Xad_ = 0,,-)-*H=I*H<IFEDI<'( ad kag _Sk bdWbSdW kagd dWeba`eW ge[`Y
   fZW Xad_Sf dWcg[dWV Tk B9H 5,,0)- S`V fZW :agdf CS`gS^*


          JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

5PJB )'(,                                                              FSYW -                                          5 -))*&*'?5@'?>';=A8=<
           Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                  Main Document    Page 354 of 365

0* MZW` eWdh[`Y S dWeba`eW fa fZW _af[a`( eWdhW S Uabk aX [f gba` fZW CahS`f%e Sffad`Wk &ad gba` CahS`f( [X fZW _af[a`
   iSe X[^WV Tk S` g`dWbdWeW`fWV [`V[h[VgS^' Sf fZW SVVdWee eWf XadfZ STahW*

1* @X kag XS[^ fa f[_W^k X[^W S`V eWdhW S id[ffW` dWeba`eW fa fZW _af[a`( ad XS[^ fa SbbWSd Sf fZW ZWSd[`Y( fZW Uagdf _Sk VWW_
   egUZ XS[^gdW Se Ua`eW`f fa YdS`f[`Y aX fZW _af[a`*

2*        JZ[e _af[a` [e TW[`Y ZWSdV a` H<>KB8H DEJ@:< bgdegS`f fa B9H 5,-/)-&V'* @X kag i[eZ fa abbaeW fZ[e _af[a`(
          kag _gef X[^W S`V eWdhW S id[ffW` dWeba`eW fa fZ[e _af[a` `a ^SfWd fZS` -0 VSke TWXadW fZW ZWSd[`Y S`V SbbWSd Sf
          fZW ZWSd[`Y*

3*        JZ[e _af[a` [e TW[`Y ZWSdV a` I?EHJ<D<; DEJ@:< bgdegS`f fa B9H 5,31)-&T'* @X kag i[eZ fa abbaeW fZ[e
          _af[a`( kag _gef X[^W S`V eWdhW S dWeba`eW `a ^SfWd fZS` &A>OB'     S`V &OFIB'               7 S`V( kag
          _Sk SbbWSd Sf fZW ZWSd[`Y*

     S*        8` Sbb^[USf[a` Xad adVWd eWff[`Y ZWSd[`Y a` eZadfW`WV `af[UW iSe `af dWcg[dWV &SUUadV[`Y fa fZW US^W`VSd[`Y
               bdaUWVgdWe aX fZW See[Y`WV \gVYW'*

     T*        8` Sbb^[USf[a` Xad adVWd eWff[`Y ZWSd[`Y a` eZadfW`WV `af[UW iSe X[^WV S`V iSe YdS`fWV Tk fZW Uagdf S`V egUZ
               _af[a` S`V adVWd ZShW TWW` ad SdW TW[`Y eWdhWV gba` fZW ;WTfad S`V gba` fZW fdgefWW &[X S`k'*

     U*        8` Sbb^[USf[a` Xad adVWd eWff[`Y ZWSd[`Y a` eZadfW`WV `af[UW iSe X[^WV S`V dW_S[`e bW`V[`Y* 8XfWd fZW Uagdf
               dg^We a` fZSf Sbb^[USf[a`( kag i[^^ TW eWdhWV i[fZ S`afZWd `af[UW ad S` adVWd fZSf ebWU[X[We fZW VSfW( f[_W S`V
               b^SUW aX fZW ZWSd[`Y a` fZW SffSUZWV _af[a` S`V fZW VWSV^[`W Xad X[^[`Y S`V eWdh[`Y S id[ffW` abbae[f[a` fa fZW
               _af[a`*

                                                                                  Kasowitz Benson Torres LLP
     ;SfW6 06/19/2020
                                                                                  Fd[`fWV `S_W aX ^Si X[d_ &[X Sbb^[UST^W'
                                                                                  Andrew R.J. Muir
                                                                                  Fd[`fWV `S_W aX [`V[h[VgS^ CahS`f ad Sffad`Wk Xad CahS`f


                                                                                  /s/ Andrew R.J. Muir
                                                                                  RRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRR
                                                                                  I[Y`SfgdW aX [`V[h[VgS^ CahS`f ad Sffad`Wk Xad CahS`f




          JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

5PJB )'(,                                                              FSYW .                                          5 -))*&*'?5@'?>';=A8=<
          Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                 Main Document    Page 355 of 365

             ;=A8=< 5=? ?4:845 5?=; A74 0BA=;0A82 @A0D 0@ A= ?40: >?=>4?AD
-* ;RYEQW MV WLI/
         X ?a^VWd6 CahS`f ZSe bZke[US^ baeeWee[a` aX S bda_[eeadk `afW fZSf W[fZWd &-' `S_We CahS`f Se fZW bSkWW g`VWd
           fZW bda_[eeadk `afW ad &.' [e [`VadeWV fa CahS`f( ad [`VadeWV [` T^S`]( ad bSkST^W fa TWSdWd*
         X 9W`WX[U[Sdk6 CahS`f [e W[fZWd &-' `S_WV Se TW`WX[U[Sdk [` fZW eWUgd[fk [`efdg_W`f a` fZW egT\WUf bdabWdfk &W*Y*(
           _adfYSYW ad VWWV aX fdgef' ad &.' [e fZW See[Y`WW aX fZW TW`WX[U[Sdk*
           IWdh[U[`Y SYW`f SgfZad[lWV fa SUf a` TWZS^X aX fZW ?a^VWd ad 9W`WX[U[Sdk*
           EfZWd &NLB@FCT"-
            See memorandum and declarations filed concurrently herewith.
.* ALI >URSIUW[ EW 8VVXI #>URSIUW[$/

    S* 8VVdWee6

          ;OMBBO >AAMBNN6 9135 Hazen Drive
          =JFO&NPFOB JPI?BM6
          0FOT# NO>OB# UFL @KAB6 Los Angeles, CA, 90210

    T* BWYS^ VWeUd[bf[a`( ad VaUg_W`f dWUadV[`Y `g_TWd &[`U^gV[`Y Uag`fk aX dWUadV[`Y'( Se eWf XadfZ [` CahS`fpe VWWV aX
       fdgef &SffSUZWV Se <jZ[T[f hereto '6

/* 1EQNUXSWG[ 2EVI 7MVWRU[/

    S* 8     ha^g`fSdk     [`ha^g`fSdk TS`]dgbfUk bWf[f[a` g`VWd UZSbfWd                           3       --        -.       -/
       iSe X[^WV a` &A>OB' 06/01/2020 *

    T*          8` adVWd fa Ua`hWdf fZ[e USeW fa UZSbfWd               3       --       -.        -/ iSe W`fWdWV a` &A>OB'                    *
    U*          8 b^S`( [X S`k( iSe Ua`X[d_WV a` &A>OB'                          *

0* 6URXQHV JRU ?IOMIJ JURP @WE[6

    S*          FgdegS`f fa -- K*I*:* m /2.&V'&-'( USgeW Wj[efe fa YdS`f CahS`f dW^[WX Xda_ efSk Se Xa^^aie6
          &-'         CahS`fpe [`fWdWef [` fZW FdabWdfk [e `af SVWcgSfW^k bdafWUfWV*
                &8'       CahS`fpe [`fWdWef [` fZW FdabWdfk [e `af bdafWUfWV Tk S` SVWcgSfW Wcg[fk UgeZ[a`*
                &9'       JZW XS[d _Sd]Wf hS^gW aX fZW FdabWdfk [e VWU^[`[`Y S`V bSk_W`fe SdW `af TW[`Y _SVW fa CahS`f
                          egXX[U[W`f fa bdafWUf CahS`fpe [`fWdWef SYS[`ef fZSf VWU^[`W*
                &:'       FdaaX aX [`egdS`UW dWYSdV[`Y fZW FdabWdfk ZSe `af TWW` bdah[VWV fa CahS`f( VWeb[fW fZW ;WTfadpe
                          aT^[YSf[a` fa [`egdW fZW Ua^^SfWdS^ g`VWd fZW fWd_e aX CahS`fpe Ua`fdSUf i[fZ fZW ;WTfad*
          &.'         JZW TS`]dgbfUk USeW iSe X[^WV [` TSV XS[fZ*
                &8'       CahS`f [e fZW a`^k UdWV[fad( ad a`W aX hWdk XWi UdWV[fade( ^[efWV ad eUZWVg^WV [` fZW ;WTfadpe USeW
                          Ua__W`UW_W`f VaUg_W`fe*
                &9'       JZW FdabWdfk iSe fdS`eXWddWV fa fZW ;WTfad W[fZWd \gef TWXadW fZW TS`]dgbfUk X[^[`Y ad SXfWd fZW X[^[`Y*
                &:'       8 `a`)[`V[h[VgS^ W`f[fk iSe UdWSfWV \gef bd[ad fa fZW TS`]dgbfUk bWf[f[a` VSfW Xad fZW ea^W bgdbaeW aX
                          X[^[`Y fZ[e TS`]dgbfUk USeW*
                &;'       EfZWd TS`]dgbfUk USeWe ZShW TWW` X[^WV [` iZ[UZ S` [`fWdWef [` fZW FdabWdfk iSe SeeWdfWV*
                &<'       JZW ;WTfad X[^WV a`^k S XWi USeW Ua__W`UW_W`f VaUg_W`fe i[fZ fZW TS`]dgbfUk bWf[f[a`* IUZWVg^We
                          S`V fZW efSfW_W`f aX X[`S`U[S^ SXXS[de &ad UZSbfWd -/ b^S`( [X Sbbdabd[SfW' ZShW `af TWW` X[^WV*
                &='       EfZWd &NBB >OO>@EBA @KJOFJP>OFKJ L>DB'*


         JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

5PJB )'(,                                                             FSYW /                                          5 -))*&*'?5@'?>';=A8=<
           Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                  Main Document    Page 356 of 365

          &/'         &0E>LOBM () KM (* @>NBN KJHT"
                &8'       8^^ bSk_W`fe a` SUUag`f aX fZW FdabWdfk SdW TW[`Y _SVW fZdagYZ fZW b^S`*
                              FdWUa`X[d_Sf[a`      FaefUa`X[d_Sf[a` b^S` bSk_W`fe ZShW `af TWW` _SVW fa fZW UZSbfWd -.
                          fdgefWW ad UZSbfWd -/ fdgefWW*

                &9'       FaefbWf[f[a` _adfYSYW bSk_W`fe VgW a` fZW `afW eWUgdWV Tk S VWWV aX fdgef a` fZW FdabWdfk ZShW `af
                          TWW` _SVW fa CahS`f*
          &0'         JZW ;WTfad X[^WV S IfSfW_W`f aX @`fW`f[a`e fZSf [`V[USfWe fZW ;WTfad [`fW`Ve fa egddW`VWd fZW FdabWdfk*

          &1'         JZW CahS`f dWYS[`WV baeeWee[a` aX fZW FdabWdfk a` &A>OB'                                   (
                      iZ[UZ [e    bdWbWf[f[a`   baefbWf[f[a`*

          &2'         =ad afZWd USgeW Xad dW^[WX Xda_ efSk( eWW SffSUZWV Ua`f[`gSf[a` bSYW*

     T*         FgdegS`f fa -- K*I*:* m /2.&V'&.'&8'( fZW ;WTfad ZSe `a Wcg[fk [` fZW FdabWdfk7 S`V( bgdegS`f fa
                m /2.&V'&.'&9'( fZW FdabWdfk [e `af `WUWeeSdk fa S` WXXWUf[hW dWadYS`[lSf[a`*

     U*         FgdegS`f fa -- K*I*:* m /2.&V'&/'( fZW ;WTfad ZSe XS[^WV( i[fZ[` fZW ^SfWd aX 5, VSke SXfWd fZW adVWd Xad dW^[WX ad
                /, VSke SXfWd fZW Uagdf VWfWd_[`WV fZSf fZW FdabWdfk cgS^[X[We Se ne[`Y^W SeeWf dWS^ WefSfWo Se VWX[`WV [`
                -- K*I*:* m -,-&1-9' fa X[^W S dWSea`ST^W b^S` aX dWadYS`[lSf[a` ad fa Ua__W`UW _a`fZ^k bSk_W`fe*

     V*         FgdegS`f fa -- K*I*:* m /2.&V'&0'( fZW ;WTfadpe X[^[`Y aX fZW TS`]dgbfUk bWf[f[a` iSe bSdf aX S eUZW_W fa VW^Sk(
                Z[`VWd( ad VWXdSgV UdWV[fade fZSf [`ha^hWV6
          &-'         JZW fdS`eXWd aX S^^ ad bSdf ai`WdeZ[b aX( ad afZWd [`fWdWef [`( fZW FdabWdfk i[fZagf fZW Ua`eW`f aX CahS`f ad
                      Uagdf SbbdahS^7 ad
          &.'         Cg^f[b^W TS`]dgbfUk USeWe SXXWUf[`Y fZW FdabWdfk*

1'        6URXQHV JRU 0QQXOPIQW RJ WLI @WE[' CahS`f faa] baefbWf[f[a` SUf[a`e SYS[`ef fZW FdabWdfk ad fZW ;WTfad*

     S*         JZWeW SUf[a`e iWdW fS]W` TWXadW CahS`f ]`Wi fZW TS`]dgbfUk USeW ZSV TWW` X[^WV( S`V CahS`f iag^V ZShW
                TWW` W`f[f^WV fa dW^[WX Xda_ fZW efSk fa bdaUWWV i[fZ fZWeW SUf[a`e*

     T*         CahS`f ]`Wi fZW TS`]dgbfUk USeW ZSV TWW` X[^WV( Tgf CahS`f bdWh[age^k aTfS[`WV dW^[WX Xda_ efSk fa bdaUWWV
                i[fZ fZWeW W`XadUW_W`f SUf[a`e [` bd[ad TS`]dgbfUk USeWe SXXWUf[`Y fZW FdabWdfk Se eWf XadfZ [` <jZ[T[f RRRRR*

     U*         EfZWd &NLB@FCT'6



2* 4YMHIQGI MQ @XSSRUW RJ ;RWMRQ/ #3,*2(7(9054"8# $'%& ), 80.4,+ :4+,7 6,4(29; 5- 6,71:7; (4+ (99(*/,+ 95 9/08
   359054$
     S* JZW H<8B FHEF<HJO ;<:B8H8J@ED a` bSYW 2 aX fZ[e _af[a`*
     T*         Igbb^W_W`fS^ VWU^SdSf[a`&e'*
     U*         JZW efSfW_W`fe _SVW Tk ;WTfad g`VWd bW`S^fk aX bWd\gdk Ua`UWd`[`Y CahS`fpe U^S[_e S`V fZW FdabWdfk Se eWf
                XadfZ [` ;WTfadpe USeW Ua__W`UW_W`f VaUg_W`fe* 8gfZW`f[USfWV Uab[We aX fZW dW^WhS`f badf[a`e aX fZW USeW
                Ua__W`UW_W`f VaUg_W`fe SdW SffSUZWV Se <jZ[T[f          *
     V*         EfZWd6



3*        0Q RSWMRQEO ;IPRUEQHXP RJ >RMQWV EQH 0XWLRUMWMIV MV EWWEGLIH WR WLMV PRWMRQ'




          JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

5PJB )'(,                                                              FSYW 0                                          5 -))*&*'?5@'?>';=A8=<
          Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                 Main Document    Page 357 of 365

;RYEQW UITXIVWV WLI JROORZMQK UIOMIJ/

-* HW^[WX Xda_ fZW efSk [e YdS`fWV g`VWd6                -- K*I*:* m /2.&V'&-'             -- K*I*:* m /2.&V'&.'             -- K*I*:* m /2.&V'&/'*

.*       CahS`f &S`V S`k egUUWeeade ad See[Y`e' _Sk bdaUWWV g`VWd Sbb^[UST^W `a`TS`]dgbfUk ^Si fa W`XadUW [fe
         dW_WV[We fa XadWU^aeW gba` S`V aTfS[` baeeWee[a` aX fZW FdabWdfk*

/*       CahS`f( ad [fe SYW`fe( _Sk( Sf [fe abf[a`( aXXWd( bdah[VW S`V W`fWd [`fa S bafW`f[S^ XadWTWSdS`UW SYdWW_W`f( ^aS`
         _aV[X[USf[a`( dWX[`S`UW SYdWW_W`f ad afZWd ^aS` iad]agf ad ^aee _[f[YSf[a` SYdWW_W`f* CahS`f( fZdagYZ [fe
         eWdh[U[`Y SYW`f( _Sk Ua`fSUf fZW ;WTfad Tk fW^WbZa`W ad id[ffW` UaddWeba`VW`UW fa aXXWd egUZ S` SYdWW_W`f*

0*       :a`X[d_Sf[a` fZSf fZWdW [e `a efSk [` WXXWUf*

1*       JZW efSk [e S``g^^WV dWfdaSUf[hW fa fZW TS`]dgbfUk bWf[f[a` VSfW* 8`k baefbWf[f[a` SUf[a`e fS]W` Tk CahS`f fa
         W`XadUW [fe dW_WV[We dWYSdV[`Y fZW FdabWdfk eZS^^ `af Ua`ef[fgfW S h[a^Sf[a` aX fZW efSk*

2*       JZW Ua)VWTfad efSk aX -- K*I*:* m-.,-&S' ad m -/,-&S' [e fWd_[`SfWV( _aV[X[WV ad S``g^^WV Se fa fZW Ua)VWTfad( a`
         fZW eS_W fWd_e S`V Ua`V[f[a`e Se fa fZW ;WTfad*

3*       JZW -0)VSk efSk bdWeUd[TWV Tk =H9F 0,,-&S'&/' [e iS[hWV*

4*       8 VWe[Y`SfWV ^Si W`XadUW_W`f aXX[UWd _Sk Wh[Uf fZW ;WTfad S`V S`k afZWd aUUgbS`f Xda_ fZW FdabWdfk dWYSdV^Wee
         aX S`k XgfgdW TS`]dgbfUk X[^[`Y Ua`UWd`[`Y fZW FdabWdfk Xad S bWd[aV aX -4, VSke Xda_ fZW ZWSd[`Y a` fZ[e Caf[a`6
             i[fZagf XgdfZWd `af[UW( ad     gba` dWUadV[`Y aX S Uabk aX fZ[e adVWd ad Y[h[`Y Sbbdabd[SfW `af[UW aX [fe W`fdk [`
             Ua_b^[S`UW i[fZ Sbb^[UST^W `a`TS`]dgbfUk ^Si*

5*       HW^[WX Xda_ fZW efSk [e YdS`fWV g`VWd -- K*I*:* m /2.&V'&0'6 @X dWUadVWV [` Ua_b^[S`UW i[fZ Sbb^[UST^W efSfW ^Sie
         YahWd`[`Y `af[UWe aX [`fWdWefe ad ^[W`e [` dWS^ bdabWdfk( fZW adVWd [e T[`V[`Y [` S`k afZWd USeW g`VWd fZ[e f[f^W
         bgdbadf[`Y fa SXXWUf fZW FdabWdfk X[^WV `af ^SfWd fZS` . kWSde SXfWd fZW VSfW aX fZW W`fdk aX fZW adVWd Tk fZW Uagdf(
         WjUWbf fZSf S VWTfad [` S egTeWcgW`f USeW g`VWd fZ[e f[f^W _Sk _ahW Xad dW^[WX Xda_ fZW adVWd TSeWV gba` UZS`YWV
         U[dUg_efS`UWe ad Xad YaaV USgeW eZai`( SXfWd `af[UW S`V ZWSd[`Y*

-,*      JZW adVWd [e T[`V[`Y S`V WXXWUf[hW [` S`k TS`]dgbfUk USeW Ua__W`UWV Tk ad SYS[`ef S`k VWTfad iZa U^S[_e S`k
         [`fWdWef [` fZW FdabWdfk Xad S bWd[aV aX -4, VSke Xda_ fZW ZWSd[`Y aX fZ[e Caf[a`6
              i[fZagf XgdfZWd `af[UW( ad     gba` dWUadV[`Y aX S Uabk aX fZ[e adVWd ad Y[h[`Y Sbbdabd[SfW `af[UW aX [fe W`fdk [`
              Ua_b^[S`UW i[fZ Sbb^[UST^W `a`TS`]dgbfUk ^Si*

--*      JZW adVWd [e T[`V[`Y S`V WXXWUf[hW [` S`k XgfgdW TS`]dgbfUk USeW( `a _SffWd iZa fZW VWTfad _Sk TW6
              i[fZagf XgdfZWd `af[UW( ad  gba` dWUadV[`Y aX S Uabk aX fZ[e adVWd ad Y[h[`Y Sbbdabd[SfW `af[UW aX [fe W`fdk [`
              Ua_b^[S`UW i[fZ Sbb^[UST^W `a`TS`]dgbfUk ^Si*

-.*      Kba` W`fdk aX fZW adVWd( Xad bgdbaeWe aX :S^* :[h* :aVW m .5./*1( fZW ;WTfad [e S TaddaiWd Se VWX[`WV [` :S^* :[h*
         :aVW m .5.,*1&U'&.'&:'*
-/*      @X dW^[WX Xda_ efSk [e `af YdS`fWV( SVWcgSfW bdafWUf[a` eZS^^ TW adVWdWV*

-0*      IWW SffSUZWV Ua`f[`gSf[a` bSYW Xad afZWd dW^[WX dWcgWefWV*

                                                                                  Kasowitz Benson Torres LLP
      ;SfW6 06/19/2020
                                                                                 Fd[`fWV `S_W aX ^Si X[d_ &FC >LLHF@>?HB"
                                                                                 Andrew R.J. Muir
                                                                                 Fd[`fWV `S_W aX [`V[h[VgS^ CahS`f ad Sffad`Wk Xad CahS`f
                                                                                 /s/ Andrew R.J. Muir
                                                                                 I[Y`SfgdW aX [`V[h[VgS^ CahS`f ad Sffad`Wk Xad CahS`f


         JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

5PJB )'(,                                                             FSYW 1                                          5 -))*&*'?5@'?>';=A8=<
0;5=487:"1:>69;<6"30,"&2(&(&$0#)$+.#'*+$#.*)$#'-%*'%(2/2$&
              Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                     Main Document    Page 358 of 365

                                                     ?40: >?=>4?AD 342:0?0A8=<

                                      Brandon Kufrin
    @( &LMFJO J>IB KC 1B@H>M>JO'                                                                                                    ( VWU^SdW6


    -* @ ZShW bWdea`S^ ]`ai^WVYW aX fZW _SffWde eWf XadfZ [` fZ[e VWU^SdSf[a` S`V( [X US^^WV gba` fa fWef[Xk( @ Uag^V S`V iag^V
       Ua_bWfW`f^k fWef[Xk fZWdWfa* @ S_ ahWd -4 kWSde aX SYW* @ ZShW ]`ai^WVYW dWYSdV[`Y CahS`fpe [`fWdWef [` fZW dWS^
       bdabWdfk fZSf [e fZW egT\WUf aX fZ[e Caf[a` &FdabWdfk' TWUSgeW &NLB@FCT'6

        S*         @ S_ fZW CahS`f*

        T*         @ S_ W_b^akWV Tk CahS`f Se &NO>OB OFOHB >JA @>L>@FOT'6 a senior portfolio manager at Cairn Capital Limited


        U*         EfZWd &NLB@FCT'6

    .* S*          @ S_ a`W aX fZW UgefaV[S`e aX fZW Taa]e( dWUadVe S`V X[^We aX CahS`f fZSf bWdfS[` fa ^aS`e S`V WjfW`e[a`e aX
                   UdWV[f Y[hW` fa ;WTfad Ua`UWd`[`Y fZW FdabWdfk* @ ZShW bWdea`S^^k iad]WV a` fZW Taa]e( dWUadVe S`V X[^We( S`V
                   Se fa fZW Xa^^ai[`Y XSUfe( @ ]`ai fZW_ fa TW fdgW aX _k ai` ]`ai^WVYW ad @ ZShW YS[`WV ]`ai^WVYW aX fZW_
                   Xda_ fZW Tge[`Wee dWUadVe aX CahS`f a` TWZS^X aX CahS`f* JZWeW Taa]e( dWUadVe S`V X[^We iWdW _SVW Sf ad
                   STagf fZW f[_W aX fZW WhW`fe dWUadVWV( S`V iZ[UZ SdW _S[`fS[`WV [` fZW adV[`Sdk UagdeW aX CahS`fpe Tge[`Wee
                   Sf ad `WSd fZW f[_W aX fZW SUf[a`e( Ua`V[f[a`e ad WhW`fe fa iZ[UZ fZWk dW^SfW* 8`k egUZ VaUg_W`f iSe
                   bdWbSdWV [` fZW adV[`Sdk UagdeW aX Tge[`Wee aX CahS`f Tk S bWdea` iZa ZSV bWdea`S^ ]`ai^WVYW aX fZW WhW`f
                   TW[`Y dWUadVWV S`V ZSV ad ZSe S Tge[`Wee Vgfk fa dWUadV SUUgdSfW^k egUZ WhW`f* JZW Tge[`Wee dWUadVe SdW
                   ShS[^ST^W Xad [`ebWUf[a` S`V Uab[We US` TW egT_[ffWV fa fZW Uagdf [X dWcg[dWV*

        T*         EfZWd &NBB >OO>@EBA"-
                   See memorandum and declarations filed concurrently herewith.
    /* JZW CahS`f [e6

        S*         ?a^VWd6 CahS`f ZSe bZke[US^ baeeWee[a` aX S bda_[eeadk `afW fZSf &-' `S_We CahS`f Se fZW bSkWW g`VWd fZW
                   bda_[eeadk `afW ad &.' [e [`VadeWV fa CahS`f( ad [`VadeWV [` T^S`]( ad bSkST^W fa TWSdWd* 8 fdgW S`V UaddWUf
                   Uabk aX fZW `afW( i[fZ SXX[jWV S^^a`YWe+[`VadeW_W`fe( [e SffSUZWV Se <jZ[T[f hereto*
        T*         9W`WX[U[Sdk6 CahS`f [e W[fZWd &-' `S_WV Se TW`WX[U[Sdk [` fZW eWUgd[fk [`efdg_W`f a` fZW egT\WUf bdabWdfk
                   &W*Y*(_adfYSYW ad VWWV aX fdgef' ad &.' [e fZW See[Y`WW aX fZW TW`WX[U[Sdk* JdgW S`V UaddWUf Uab[We aX fZW
                   dWUadVWV eWUgd[fk [`efdg_W`f S`V See[Y`_W`fe SdW SffSUZWV Se <jZ[T[f hereto*
        U*         IWdh[U[`Y SYW`f SgfZad[lWV fa SUf a` TWZS^X aX fZW6
                        ?a^VWd*
                        9W`WX[U[Sdk*
        V*         EfZWd &NLB@FCT"- See memorandum and declarations filed concurrently herewith.

    0* S*       JZW SVVdWee aX fZW FdabWdfk [e6
                ;OMBBO >AAMBNN6 9135 Hazen Drive
                =JFO&NPFOB JK%6
                0FOT# NO>OB# UFL @KAB6 Los Angeles, CA, 90210

        T* JZW ^WYS^ VWeUd[bf[a` aX fZW FdabWdfk ad VaUg_W`f dWUadV[`Y `g_TWd &[`U^gV[`Y Uag`fk aX dWUadV[`Y' eWf XadfZ [` fZW
           CahS`fpe VWWV aX fdgef [e6

             See memorandum and declarations filed concurrently herewith.




             JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

    5PJB )'(,                                                             FSYW 2                                          5 -))*&*'?5@'?>';=A8=<
0;5=487:"1:>69;<6"30,"&2(&(&$0#)$+.#'*+$#.*)$#'-%*'%(2/2$&
                Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                       Main Document    Page 359 of 365

    1* JkbW aX bdabWdfk &@EB@G >HH >LLHF@>?HB ?KSBN'6

          S*          ;WTfadpe bd[`U[bS^ dWe[VW`UW                               T*            EfZWd dWe[VW`UW
          U*          Cg^f[)g`[f dWe[VW`f[S^                                     V*            :a__WdU[S^
          W*          @`Vgefd[S^                                                 X*            LSUS`f ^S`V
          Y*          EfZWd &NLB@FCT'6

    2* DSfgdW aX fZW ;WTfadpe [`fWdWef [` fZW FdabWdfk6

        S*          Ia^W ai`Wd
        T*          :a)ai`Wd&e' &NLB@FCT'6
        U*          B[W`Za^VWd &NLB@FCT'6
        V*          EfZWd &NLB@FCT'6
        W*          JZW ;WTfad           V[V       V[V `af ^[ef fZW FdabWdfk [` fZW ;WTfadpe eUZWVg^We*
        X*          JZW ;WTfad SUcg[dWV fZW [`fWdWef [` fZW FdabWdfk Tk                       YdS`f VWWV         cg[fU^S[_ VWWV           fdgef VWWV*
                    JZW VWWV iSe dWUadVWV a` &A>OB'                              *

    3* CahS`f Za^Ve S      VWWV aX fdgef                    \gVY_W`f ^[W`             afZWd &NLB@FCT'
       fZSf W`Ug_TWde fZW FdabWdfk*
        S*          8 fdgW S`V UaddWUf Uabk aX fZW VaUg_W`f Se dWUadVWV [e SffSUZWV Se <jZ[T[f hereto*
        T*          8 fdgW S`V UaddWUf Uabk aX fZW bda_[eeadk `afW ad afZWd VaUg_W`f fZSf Wh[VW`UWe fZW CahS`fpe U^S[_ [e
                    SffSUZWV Se <jZ[T[f hereto*
        U*          8 fdgW S`V UaddWUf Uabk aX fZW See[Y`_W`f&e' fdS`eXWdd[`Y fZW TW`WX[U[S^ [`fWdWef g`VWd fZW `afW S`V VWWV aX
                    fdgef fa CahS`f [e SffSUZWV Se <jZ[T[f     *

    4* 8_ag`f aX CahS`fpe U^S[_ i[fZ dWebWUf fa fZW FdabWdfk6
                                                                                     FH<F<J@J@ED             FEIJF<J@J@ED                     JEJ8B
        S*       Fd[`U[bS^6                                                     "                           "                         "
        T*       8UUdgWV [`fWdWef6                                              "                           "                         "
        U*       BSfW UZSdYWe                                                   "                           "                         "
        V*       :aefe &Sffad`Wkpe XWWe( XadWU^aegdW XWWe( afZWd
                 Uaefe'6                                                        "                           "                         "
        W*       8VhS`UWe &bdabWdfk fSjWe( [`egdS`UW'6                          "                           "                         "
        X*       BWee egebW`eW SUUag`f ad bSdf[S^ TS^S`UW bS[V6                 "P                      Q   "P                    Q   "P                Q
        Y*       JEJ8B :B8@C Se aX &A>OB'6 June 18, 2020                        "                           "                         " 14,724,332
        Z*           BaS` [e S^^ VgW S`V bSkST^W TWUSgeW [f _SfgdWV a` &A>OB' See memorandum and declarations filed concurrently
                                                                                                herewith.
    5* IfSfge aX CahS`fpe XadWU^aegdW SUf[a`e dW^Sf[`Y fa fZW FdabWdfk &CFHH OEB A>OB KM @EB@G OEB ?KS @KJCFMIFJD JK NP@E >@OFKJ
       E>N K@@PMMBA'6
        S* Daf[UW aX VWXSg^f dWUadVWV a` &A>OB' 01/30/2020                     ad          `a`W dWUadVWV*
        T* Daf[UW aX eS^W dWUadVWV a` &A>OB' 05/04/2020 ad                           `a`W dWUadVWV*
        U*     =adWU^aegdW eS^W ad[Y[`S^^k eUZWVg^WV Xad &A>OB' 06/02/2020                      ad   `a`W eUZWVg^WV*
        V* =adWU^aegdW eS^W UgddW`f^k eUZWVg^WV Xad &A>OB' 06/30/2020 ad                             `a`W eUZWVg^WV*
        W* =adWU^aegdW eS^W S^dWSVk ZW^V a` &A>OB'                                    ad      `a`W ZW^V*
        X*     JdgefWWpe VWWV gba` eS^W S^dWSVk dWUadVWV a` &A>OB'                                   ad      `a`W dWUadVWV*



               JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

    5PJB )'(,                                                               FSYW 3                                          5 -))*&*'?5@'?>';=A8=<
0;5=487:"1:>69;<6"30,"&2(&(&$0#)$+.#'*+$#.*)$#'-%*'%(2/2$&
                 Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                        Main Document    Page 360 of 365

    -,* 8ffSUZWV &KLOFKJ>H' Se <jZ[T[f       [e S fdgW S`V UaddWUf Uabk aX S FEIJF<J@J@ED efSfW_W`f aX SUUag`f fZSf
        SUUgdSfW^k dWX^WUfe fZW VSfWe S`V S_ag`fe aX S^^ UZSdYWe SeeWeeWV fa S`V bSk_W`fe _SVW Tk fZW ;WTfad e[`UW fZW
        TS`]dgbfUk bWf[f[a` VSfW*

    --*          &@E>LOBM , >JA (( @>NBN KJHT' IfSfge aX CahS`fpe ^aS`6
          S* 8_ag`f aX UgddW`f _a`fZ^k bSk_W`f Se aX fZW VSfW aX fZ[e VWU^SdSf[a`6 "                                                    Xad fZW _a`fZ aX
                             ., *
          T* Dg_TWd aX bSk_W`fe fZSf ZShW Ua_W VgW S`V iWdW `af _SVW6                                  * JafS^ S_ag`f6 "
          U*     =gfgdW bSk_W`fe VgW Tk f[_W aX S`f[U[bSfWV ZWSd[`Y VSfW &FC >LLHF@>?HB'6
                 8` SVV[f[a`S^ bSk_W`f aX "                          i[^^ Ua_W VgW a` &A>OB'              ( S`V a` fZW         VSk
                 aX WSUZ _a`fZ fZWdWSXfWd* @X fZW bSk_W`f [e `af dWUW[hWV i[fZ[`       VSke aX eS[V VgW VSfW( S ^SfW UZSdYW aX
                 "                        i[^^ TW UZSdYWV fa fZW ^aS`*

          V* JZW XS[d _Sd]Wf hS^gW aX fZW FdabWdfk [e "                                          ( WefST^[eZWV Tk6
                 &-'       8` SbbdS[eWdpe VWU^SdSf[a` i[fZ SbbdS[eS^ [e SffSUZWV Se <jZ[T[f                       *
                 &.'       8 dWS^ WefSfW Tda]Wd ad afZWd WjbWdfpe VWU^SdSf[a` dWYSdV[`Y hS^gW [e SffSUZWV Se <jZ[T[f                             *
                 &/'       8 fdgW S`V UaddWUf Uabk aX dW^WhS`f badf[a`&e' aX fZW ;WTfadpe eUZWVg^We [e SffSUZWV Se <jZ[T[f                             *
                 &0'       EfZWd &NLB@FCT'6
                           See memorandum and declarations filed concurrently herewith.
          W* 2EOGXOEWMRQ RJ ITXMW[(ITXMW[ GXVLMRQ MQ >URSIUW[/

                 9SeWV gba`      S bdW^[_[`Sdk f[f^W dWbadf    fZW ;WTfadpe SV_[ee[a`e [` fZW eUZWVg^We X[^WV [` fZ[e USeW( fZW
                 FdabWdfk [e egT\WUf fa fZW Xa^^ai[`Y VWWV&e' aX fdgef ad ^[W`&e' [` fZW S_ag`fe ebWU[X[WV eWUgd[`Y fZW VWTf SYS[`ef
                 fZW FdabWdfk6
                                                                                             8_ag`f Se IUZWVg^WV               8_ag`f ]`ai` fa
                                                       DS_W aX ?a^VWd
                                                                                               Tk ;WTfad &FC >JT'            ;WU^SdS`f S`V IagdUW
               -ef VWWV aX fdgef6 Cairn Capital Investment Funds ICAV                        " 14,341,996.00                 "
               .`V VWWV aX fdgef6                                                            "                               "
               /dV VWWV aX fdgef6                                                            "                               "
               AgVY_W`f ^[W`e6                                                               "                               "
               JSjWe6             Los Angeles County Tax Collector                           " 188,979.95                    "
               EfZWd6                                                                        "                               "
               A=A0: 341A/ " 14,530,975.95

          X*     <h[VW`UW WefST^[eZ[`Y fZW Wj[efW`UW aX fZWeW VWWV&e' aX fdgef S`V ^[W`&e' [e SffSUZWV Se <jZ[T[f                                S`V
                 Ua`e[efe aX6
                 &-'       FdW^[_[`Sdk f[f^W dWbadf*
                 &.'       HW^WhS`f badf[a`e aX fZW ;WTfadpe eUZWVg^We*
                 &/'       EfZWd &NLB@FCT'6 See memorandum and declarations filed concurrently herewith.

          Y*           ** B'@'2' \ ,.+#H$#*$ & 4TXMW[ 2XVLMRQ/
                       @ US^Ug^SfW fZSf fZW hS^gW aX fZW nWcg[fk UgeZ[a`o [` fZW FdabWdfk WjUWWV[`Y CahS`fpe VWTf S`V S`k ^[W`&e'
                       eW`[ad fa CahS`fpe VWTf [e "                                          S`V [e        # aX fZW XS[d _Sd]Wf hS^gW
                       aX fZW FdabWdfk*

          Z*           ** B'@'2' \ ,.+#H$#+$#0$ & 4TXMW[/
                       9k egTfdSUf[`Y fZW fafS^ S_ag`f aX S^^ ^[W`e a` fZW FdabWdfk Xda_ fZW hS^gW aX fZW FdabWdfk Se eWf XadfZ [`
                       FSdSYdSbZ --&W' STahW( @ US^Ug^SfW fZSf fZW ;WTfadpe Wcg[fk [` fZW FdabWdfk [e " 0                                                  *



                JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

    5PJB )'(,                                                                FSYW 4                                          5 -))*&*'?5@'?>';=A8=<
0;5=487:"1:>69;<6"30,"&2(&(&$0#)$+.#'*+$#.*)$#'-%*'%(2/2$&
                Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                       Main Document    Page 361 of 365

          [*        <ef[_SfWV Uaefe aX eS^W6 " TBD                                 &Wef[_SfW TSeWV gba`                     # aX Wef[_SfWV Ydaee eS^We
                    bd[UW'
          \*        JZW XS[d _Sd]Wf hS^gW aX fZW FdabWdfk [e VWU^[`[`Y TWUSgeW6



    -.*        &0E>LOBM () >JA (* @>NBN KJHT' IfSfge aX CahS`fpe ^aS` S`V afZWd TS`]dgbfUk USeW [`Xad_Sf[a`6
          S* 8 /0-&S' _WWf[`Y aX UdWV[fade [e UgddW`f^k eUZWVg^WV Xad &KM @KJ@HPABA KJ' fZW Xa^^ai[`Y VSfW6                                                 *
             8 b^S` Ua`X[d_Sf[a` ZWSd[`Y UgddW`f^k eUZWVg^WV Xad &ad Ua`U^gVWV a`' fZW Xa^^ai[`Y VSfW6                                              *
             8 b^S` iSe Ua`X[d_WV a` fZW Xa^^ai[`Y VSfW &FC >LLHF@>?HB'6              *
          T* FaefbWf[f[a` bdWUa`X[d_Sf[a` bSk_W`fe VgW 9KJ H<C8@D@D> KDF8@; e[`UW fZW X[^[`Y aX fZW USeW6
                 Dg_TWd aX         Dg_TWd aX          8_ag`f aX <SUZ FSk_W`f
                                                                                                     JafS^
                 FSk_W`fe         BSfW :ZSdYWe           ad BSfW :ZSdYW
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
               &IWW SffSUZ_W`f Xad SVV[f[a`S^ TdWS]Vai` aX [`Xad_Sf[a` SffSUZWV Se <jZ[T[f RRRRRR*'
          U*   FaefbWf[f[a` baefUa`X[d_Sf[a` bSk_W`fe VgW 9KJ H<C8@D@D> KDF8@; e[`UW fZW X[^[`Y aX fZW USeW6
                 Dg_TWd aX         Dg_TWd aX          8_ag`f aX WSUZ FSk_W`f
                                                                                                     JafS^
                 FSk_W`fe         BSfW :ZSdYWe           ad BSfW :ZSdYW
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
                                                      "                                   "
          V* FaefbWf[f[a` SVhS`UWe ad afZWd UZSdYWe VgW Tgf g`bS[V6                                              "
             &3KM ABO>FHN KC OTLB >JA >IKPJO# NBB 2SEF?FO     '
          W* 8ffad`Wkep XWWe S`V Uaefe6                                                                          "
             &3KM ABO>FHN KC OTLB >JA >IKPJO# NBB 2SEF?FO RRRRR'
          X*   BWee egebW`eW SUUag`f ad bSdf[S^ bS[V TS^S`UW6                                                    "P                                     Q
                                    JEJ8B FEIJF<J@J@ED ;<B@DGK<D:O6                                              "
          Y* =gfgdW bSk_W`fe VgW Tk f[_W aX S`f[U[bSfWV ZWSd[`Y VSfW &FC >LLHF@>?HB'6                                      *
             8` SVV[f[a`S^ bSk_W`f aX "                         i[^^ Ua_W VgW a`                                       ( S`V a`
             fZW        VSk aX WSUZ _a`fZ fZWdWSXfWd* @X fZW bSk_W`f [e `af dWUW[hWV Tk fZW                               VSk aX fZW _a`fZ( S ^SfW
             UZSdYW aX "                  i[^^ TW UZSdYWV fa fZW ^aS`*

          Z* 8_ag`f S`V VSfW aX fZW ^Sef / baefbWf[f[a` bSk_W`fe dWUW[hWV Xda_ fZW ;WTfad [` YaaV Xg`Ve( dWYSdV^Wee aX Zai
             Sbb^[WV &[X Sbb^[UST^W'6
              "                            dWUW[hWV a` &A>OB'
              "                            dWUW[hWV a` &A>OB'
              "                            dWUW[hWV a` &A>OB'
          [*     JZW W`f[dW U^S[_ [e bdah[VWV Xad [` fZW UZSbfWd -. ad -/ b^S` S`V baefbWf[f[a` b^S` bSk_W`fe SdW VW^[`cgW`f*
                 8 b^S` bSk_W`f Z[efadk [e SffSUZWV Se <jZ[T[f         * IWW SffSUZWV VWU^SdSf[a`&e' aX UZSbfWd -. fdgefWW ad
                 -/ fdgefWW dWYSdV[`Y dWUW[bf aX bSk_W`fe g`VWd fZW b^S` &>OO>@E 6/: CKMI 3 +''($(%120%.428<%<:=;<22'*
               JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

    5PJB )'(,                                                               FSYW 5                                          5 -))*&*'?5@'?>';=A8=<
0;5=487:"1:>69;<6"30,"&2(&(&$0#)$+.#'*+$#.*)$#'-%*'%(2/2$&
                Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                       Main Document    Page 362 of 365

    -/*        FdaaX aX [`egdS`UW dWYSdV[`Y fZW FdabWdfk ZSe `af TWW` bdah[VWV fa CahS`f( VWeb[fW fZW ;WTfadpe aT^[YSf[a` fa
               [`egdW fZW Ua^^SfWdS^ g`VWd fZW fWd_e aX CahS`fpe Ua`fdSUf i[fZ fZW ;WTfad*

    -0*        JZW Uagdf VWfWd_[`WV a` &A>OB'                  fZSf fZW FdabWdfk cgS^[X[We Se ne[`Y^W SeeWf dWS^ WefSfWo Se VWX[`WV [`
               -- K*I*:* m -,-&1-9'* CadW fZS` 5, VSke ZShW bSeeWV e[`UW fZW X[^[`Y aX fZW TS`]dgbfUk bWf[f[a`7 _adW fZS` /,
               VSke ZShW bSeeWV e[`UW fZW Uagdf VWfWd_[`WV fZSf fZW FdabWdfk cgS^[X[We Se e[`Y^W SeeWf dWS^ WefSfW7 fZW ;WTfad
               ZSe `af X[^WV S b^S` aX dWadYS`[lSf[a` fZSf ZSe S dWSea`ST^W baee[T[^[fk aX TW[`Y Ua`X[d_WV i[fZ[` S dWSea`ST^W
               f[_W7 ad fZW ;WTfad ZSe `af Ua__W`UWV _a`fZ^k bSk_W`fe fa CahS`f Se dWcg[dWV Tk -- K*I*:* m /2.&V'&/'*

    -1*        JZW ;WTfadpe [`fW`f [e fa egddW`VWd fZW FdabWdfk* 8 fdgW S`V UaddWUf Uabk aX fZW ;WTfadpe efSfW_W`f aX [`fW`f[a`e [e
               SffSUZWV Se <jZ[T[f           *

    -2*        CahS`f dWYS[`WV baeeWee[a` aX fZW FdabWdfk a` &A>OB'                                   ( iZ[UZ [e        bdWbWf[f[a`         baefbWf[f[a`*

    -3*        JZW TS`]dgbfUk USeW iSe X[^WV [` TSV XS[fZ6

          S*        CahS`f [e fZW a`^k UdWV[fad ad a`W aX XWi UdWV[fade ^[efWV [` fZW ;WTfadpe USeW Ua__W`UW_W`f VaUg_W`fe*

          T*        EfZWd TS`]dgbfUk USeWe ZShW TWW` X[^WV [` iZ[UZ S` [`fWdWef [` fZW FdabWdfk iSe SeeWdfWV*

          U*        JZW ;WTfad X[^WV a`^k S XWi USeW Ua__W`UW_W`f VaUg_W`fe* IUZWVg^We S`V S efSfW_W`f aX X[`S`U[S^ SXXS[de
                    &ad UZSbfWd -/ b^S`( [X Sbbdabd[SfW' ZShW `af TWW` X[^WV*

          V*        EfZWd &NLB@FCT'6

                    See memorandum and declarations filed concurrently herewith.


    -4*        JZW X[^[`Y aX fZW TS`]dgbfUk bWf[f[a` iSe bSdf aX S eUZW_W fa VW^Sk( Z[`VWd( ad VWXdSgV UdWV[fade fZSf [`ha^hWV6
               S*         JZW fdS`eXWd aX S^^ ad bSdf ai`WdeZ[b aX( ad afZWd [`fWdWef [`( fZW FdabWdfk i[fZagf fZW Ua`eW`f aX CahS`f ad
                          Uagdf SbbdahS^* IWW SffSUZWV Ua`f[`gSf[a` bSYW Xad XSUfe WefST^[eZ[`Y fZW eUZW_W*
               T*         Cg^f[b^W TS`]dgbfUk USeWe SXXWUf[`Y fZW FdabWdfk [`U^gVW6
                    -* :SeW `S_W6
                       :ZSbfWd6            :SeW `g_TWd6
                       ;SfW V[e_[eeWV6                    ;SfW V[eUZSdYWV6                ;SfW X[^WV6
                       HW^[WX Xda_ efSk dWYSdV[`Y fZW FdabWdfk    iSe      iSe `af YdS`fWV*

                    .* :SeW `S_W6
                       :ZSbfWd6            :SeW `g_TWd6
                       ;SfW V[e_[eeWV6                    ;SfW V[eUZSdYWV6                ;SfW X[^WV6
                       HW^[WX Xda_ efSk dWYSdV[`Y fZW FdabWdfk    iSe      iSe `af YdS`fWV*

                    /* :SeW `S_W6
                       :ZSbfWd6            :SeW `g_TWd6
                       ;SfW V[e_[eeWV6                    ;SfW V[eUZSdYWV6               ;SfW X[^WV6
                       HW^[WX Xda_ efSk dWYSdV[`Y fZW FdabWdfk     iSe     iSe `af YdS`fWV*

                    IWW SffSUZWV Ua`f[`gSf[a` bSYW Xad [`Xad_Sf[a` STagf afZWd TS`]dgbfUk USeWe SXXWUf[`Y fZW FdabWdfk*
                    IWW SffSUZWV Ua`f[`gSf[a` bSYW Xad XSUfe WefST^[eZ[`Y fZSf fZW _g^f[b^W TS`]dgbfUk USeWe iWdW bSdf aX S
                    eUZW_W fa VW^Sk( Z[`VWd( ad VWXdSgV UdWV[fade*




               JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

    5PJB )'(,                                                              FSYW -,                                          5 -))*&*'?5@'?>';=A8=<
0;5=487:"1:>69;<6"30,"&2(&(&$0#)$+.#'*+$#.*)$#'-%*'%(2/2$&
                Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                       Main Document    Page 363 of 365

    -5*        <`XadUW_W`f SUf[a`e fS]W` SXfWd fZW TS`]dgbfUk bWf[f[a` iSe X[^WV SdW ebWU[X[WV [` fZW SffSUZWV egbb^W_W`fS^
               VWU^SdSf[a`&e'*
          S*        JZWeW SUf[a`e iWdW fS]W` TWXadW CahS`f ]`Wi fZW TS`]dgbfUk bWf[f[a` ZSV TWW` X[^WV( S`V CahS`f iag^V
                    ZShW TWW` W`f[f^WV fa dW^[WX Xda_ efSk fa bdaUWWV i[fZ fZWeW SUf[a`e*
          T*        CahS`f ]`Wi fZW TS`]dgbfUk USeW ZSV TWW` X[^WV( Tgf CahS`f bdWh[age^k aTfS[`WV dW^[WX Xda_ efSk fa bdaUWWV
                    i[fZ fZWeW W`XadUW_W`f SUf[a`e [` bd[ad TS`]dgbfUk USeWe SXXWUf[`Y fZW FdabWdfk Se eWf XadfZ [` <jZ[T[f RRRRR*
          U*        =ad afZWd XSUfe \gef[Xk[`Y S``g^_W`f( eWW SffSUZWV Ua`f[`gSf[a` bSYW*

    @ VWU^SdW g`VWd bW`S^fk aX bWd\gdk g`VWd fZW ^Sie aX fZW K`[fWV IfSfWe fZSf fZW XadWYa[`Y [e fdgW S`V UaddWUf*



      6/19/2020                           Brandon Kufrin
     1>OB                                 9MFJOBA J>IB                                                      ;FDJ>OPMB




               JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

    5PJB )'(,                                                              FSYW --                                          5 -))*&*'?5@'?>';=A8=<
         Case 2:20-bk-15015-BR                   Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                Main Document    Page 364 of 365

                                        >?==5 =5 @4?C824 =5 3=2B;4<A
@ S_ ahWd fZW SYW aX -4 S`V `af S bSdfk fa fZ[e TS`]dgbfUk USeW ad SVhWdeSdk bdaUWWV[`Y* Ck Tge[`Wee SVVdWee [e6
101 California Street, Suite 3000, San Francisco, CA 94111


8 fdgW S`V UaddWUf Uabk aX fZW XadWYa[`Y VaUg_W`f W`f[f^WV6 <=A824 =5 ;=A8=< 0<3 ;=A8=< 5=? ?4:845 5?=;
A74 0BA=;0A82 @A0D B<34? ** B'@'2' \ ,.+ #ZMWL VXSSRUWMQK HIGOEUEWMRQV$ #?40: >?=>4?AD$ i[^^ TW eWdhWV
ad iSe eWdhWV #E$ a` fZW \gVYW [` UZS_TWde [` fZW Xad_ S`V _S``Wd dWcg[dWV Tk B9H 1,,1).&V'7 S`V #F$ [` fZW _S``Wd
efSfWV TW^ai6

** A= 14 @4?C43 1D A74 2=B?A C80 <=A824 =5 4:42A?=<82 58:8<6 #<45$6 FgdegS`f fa Ua`fda^^[`Y >W`WdS^
EdVWde S`V B9H( fZW XadWYa[`Y VaUg_W`f i[^^ TW eWdhWV Tk fZW Uagdf h[S D<= S`V ZkbWd^[`] fa fZW VaUg_W`f* E` &A>OB'
 06/19/2020 ( @ UZWU]WV fZW :C+<:= VaU]Wf Xad fZ[e TS`]dgbfUk USeW ad SVhWdeSdk bdaUWWV[`Y S`V VWfWd_[`WV fZSf fZW
Xa^^ai[`Y bWdea`e SdW a` fZW <^WUfda`[U CS[^ Daf[UW B[ef fa dWUW[hW D<= fdS`e_[ee[a` Sf fZW W_S[^ SVVdWeeWe efSfWV TW^ai6
David B Golubchik – dbg@lnbyb.com
Ron Maroko – ron.maroko@usdoj.gov
Kurt Ramlo – kr@lnbyb.com
United States Trustee (L.A.) – ustpregion16.la.ecf@usdoj.gov

                                                                                           IWdh[UW [`Xad_Sf[a` Ua`f[`gWV a` SffSUZWV bSYW

+' @4?C43 1D B<8A43 @A0A4@ ;08:6
E` &A>OB'                ( @ eWdhWV fZW Xa^^ai[`Y bWdea`e S`V+ad W`f[f[We Sf fZW ^Sef ]`ai` SVVdWeeWe [` fZ[e TS`]dgbfUk
USeW ad SVhWdeSdk bdaUWWV[`Y Tk b^SU[`Y S fdgW S`V UaddWUf Uabk fZWdWaX [` S eWS^WV W`hW^abW [` fZW K`[fWV IfSfWe _S[^(
X[def U^See( baefSYW bdWbS[V( S`V SVVdWeeWV Se Xa^^aie* B[ef[`Y fZW \gVYW ZWdW Ua`ef[fgfWe S VWU^SdSf[a` fZSf _S[^[`Y fa fZW
\gVYW i[^^ TW Ua_b^WfWV `a ^SfWd fZS` .0 Zagde SXfWd fZW VaUg_W`f [e X[^WV*




                                                                                           IWdh[UW [`Xad_Sf[a` Ua`f[`gWV a` SffSUZWV bSYW

,' @4?C43 1D >4?@=<0: 34:8C4?D% =C4?<867A ;08:% 502@8;8:4 A?0<@;8@@8=< =? 4;08: &efSfW _WfZaV
Xad WSUZ bWdea` ad W`f[fk eWdhWV'6 FgdegS`f fa =*H*:[h*F* 1 S`V+ad Ua`fda^^[`Y B9H( a` &A>OB'                  ( @ eWdhWV fZW
Xa^^ai[`Y bWdea`e S`V+ad W`f[f[We Tk bWdea`S^ VW^[hWdk( ahWd`[YZf _S[^ eWdh[UW( ad &Xad fZaeW iZa Ua`eW`fWV [` id[f[`Y fa
egUZ eWdh[UW _WfZaV'( Tk XSUe[_[^W fdS`e_[ee[a` S`V+ad W_S[^ Se Xa^^aie* B[ef[`Y fZW \gVYW ZWdW Ua`ef[fgfWe S VWU^SdSf[a`
fZSf bWdea`S^ VW^[hWdk a`( ad ahWd`[YZf _S[^ fa( fZW \gVYW i[^^ TW Ua_b^WfWV `a ^SfWd fZS` .0 Zagde SXfWd fZW VaUg_W`f [e
X[^WV*




                                                                                           IWdh[UW [`Xad_Sf[a` Ua`f[`gWV a` SffSUZWV bSYW


@ VWU^SdW g`VWd bW`S^fk aX bWd\gdk g`VWd fZW ^Sie aX fZW K`[fWV IfSfWe fZSf fZW XadWYa[`Y [e fdgW S`V UaddWUf*



  06/19/2020                          Andrew R.J. Muir                                /s/ Andrew R.J. Muir
 1>OB                          9MFJOBA 8>IB                                                  ;FDJ>OPMB


        JZ[e Xad_ [e _S`VSfadk* @f ZSe TWW` SbbdahWV Xad geW Tk fZW K`[fWV IfSfWe 9S`]dgbfUk :agdf Xad fZW :W`fdS^ ;[efd[Uf aX :S^[Xad`[S*

5PJB )'(,                                                           FSYW -.                                          5 -))*&*'?5@'?>';=A8=<
        Case 2:20-bk-15015-BR                     Doc 25 Filed 06/19/20 Entered 06/19/20 19:11:23                                      Desc
                                                 Main Document    Page 365 of 365



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 101 California Street, Suite 3000, San Francisco, CA 94111


                                                                      Notice of Motion and Motion for Order
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Appointing Trustee Pursuant to 11 U​​.S.C. § 1​​
                                               104(a); Memorandum of Points and Authorities; Declarations of
________________________________________________________________________________________________
 Brandon Kufrin and Andrew K. Glenn in Support Thereof
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/19/2020
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
  David B Golubchik – dbg@lnbyb.com
  Ron Maroko – ron.maroko@usdoj.gov
  Kurt Ramlo – kr@lnbyb.com
  United States Trustee (L.A.) – ustpregion16.la.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

06/19/2020         Andrew R.J. Muir                                                            /s/ Andrew R.J. Muir
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
